    24-22284-dsj      Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59                      Main Document
                                               Pg 1 of 270



John R. Dodd (pro hac vice pending)
Baker & McKenzie LLP
1111 Brickell Avenue, 10th Floor
Miami, FL 33130
Telephone: 305-789-8900
Facsimile: 305-789-8953
Email: john.dodd@bakermckenzie.com

Blaire Cahn
Baker & McKenzie LLP
452 Fifth Avenue
New York, NY 10018
Telephone: 212-626-4695
Facsimile: 212-310-1695
Email: blaire.cahn@bakermckenzie.com

Proposed Counsel for the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re                                                                   Chapter 11

ACORDA THERAPEUTICS, INC., et al.,1                                     Case No. 24-22284 (DSJ)

      Debtors.                                                          Joint Administration Requested
___________________________________/

               DECLARATION OF MICHAEL A. GESSER IN SUPPORT OF THE
              DEBTORS’ CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS
         I, Michael A. Gesser, hereby declare as follows:

         1.       I am the Chief Financial Officer (“CFO”) and Treasurer of Acorda Therapeutics,

Inc. (“Acorda”), one of the debtors and debtors in possession (collectively, the “Debtors” and

together with its non-Debtor affiliates, collectively, the “Company”) in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”). I have served as Acorda’s CFO since November 2021,

1
  The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax identification
number, are: Acorda Therapeutics, Inc. (1168), Civitas Therapeutics, Inc. (2814), Biotie Therapies, LLC (2149),
Biotie Therapies AG (N/A), Neuronex, Inc. (5094), and Acorda Therapeutics Limited (N/A). For the purposes of
these chapter 11 cases, the address for the Debtors is: 2 Blue Hill Plaza, 3rd Floor, Pearl River, New York 10965.
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 2 of 270



and Treasurer since June 2022. With respect to the other Debtor entities, I also hold the following

positions and roles: President and Treasurer of Civitas Therapeutics, Inc., Director of Biotie

Therapies, LLC, Director of Neuronex, Inc., and Director of Biotie Therapies AG. I am a Director

of non-Debtor entity Acorda Therapeutics Ireland Limited.

       2.      In addition to my roles with the Company, I have also served as a member of the

board of directors of Flow Sciences, Inc., a provider of pharmaceutical safety containment

solutions since October 2021. Before joining the Company, from January 2020 to August 2021, I

served as CFO of Tergus Pharma, an end-to-end contract service provider for topical

pharmaceutical products. Prior to that, from September 2017 to August 2019, I served as the CFO

and Chief Operating Officer of BioMedomics, Inc., an early-stage medical device development

company. Between September 2011 and August 2017, I held CFO positions at several other

biopharmaceutical and medical device companies, including Osmotica Pharmaceutical Corp.,

SunTech Medical Inc., and HAP Innovations LLC. I earned a Bachelor of Science in Economics

and Finance from the Cameron School of Business at the University of North Carolina at

Wilmington and a Master of Business Administration from the Belk School of Business at the

University of North Carolina at Charlotte.

       3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of New

York (the “Court”). The Debtors intend to continue to operate their business and manage their

properties as debtors in possession.     To minimize any business disruption caused by the

commencement of these Chapter 11 Cases, the Debtors seek various types of relief through “first

day” applications and motions filed contemporaneously herewith (collectively, the “First Day




                                                2
 24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                           Pg 3 of 270



Pleadings”). I submit this declaration (the “Declaration”) (i) in support of the Debtors’ voluntary

petitions for relief under chapter 11 of the Bankruptcy Code, (ii) in support of the First Day

Pleadings, and (iii) to assist the Court and other interested parties in understanding the

circumstances giving rise to the commencement of these Chapter 11 Cases.

        4.      I am familiar with the day-to-day operations and business and financial affairs of

the Debtors. Except as otherwise indicated herein, all facts set forth in this Declaration are based

upon my personal knowledge of the Debtors’ operations and finances, information learned from

my review of relevant documents, information provided to me by the Debtors’ management team,

employees, or the Debtors’ advisors, and/or my opinion based on my experience and knowledge

of the Debtors’ operations and the pharmaceutical industry. I am authorized to submit this

Declaration on behalf of the Debtors, and, if called upon to testify, I would testify competently to

the facts set forth in this Declaration.

        5.      This Declaration is divided into five sections: section I provides an overview of

these Chapter 11 Cases, section II describes the Debtors’ business, organizational, and capital

structure, section III describes the events leading up to these Chapter 11 Cases, section IV

describes the Debtors’ prepetition restructuring initiatives, including the execution of the

Restructuring Support Agreement (as defined below), and section V summarizes the relief

requested in the First Day Pleadings and provides the factual basis in support thereof. Finally,

Exhibit C through Exhibit N attached hereto provide certain information required by Rule 1007-

2 of the Local Bankruptcy Rules for the Southern District of New York.

                                           I.   OVERVIEW

        6.      The Debtors commenced these Chapter 11 Cases to pursue the sale of substantially

all of their assets pursuant to section 363 of the Bankruptcy Code (the “363 Sale”). As described




                                                 3
 24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                           Pg 4 of 270



in greater detail below, prior to the Petition Date, and following a competitive marketing process

and comprehensive exploration of proposals from potential bidders, the Debtors, in conjunction

with their advisors, determined that the offer of Merz (as defined herein), a third-party strategic

acquiror, to make a “stalking horse bid” to purchase substantially all of the Debtors’ assets in the

363 Sale for an aggregate purchase price of approximately $185 million plus the assumption of

certain liabilities represented the best available path to maximizing the value of their estates.

        7.      Simultaneous with the prepetition sales and marketing efforts, the Company

engaged in negotiations with its secured-creditor constituency and entered into a Restructuring

Support Agreement with the Ad Hoc Noteholder Group (as defined below). The Restructuring

Support Agreement contemplates a 363 Sale, followed by a chapter 11 plan of liquidation, which

the Debtors intend to file within 21 days of the Petition Date. The Debtors commenced these

Chapter 11 Cases consistent with the terms of the Restructuring Support Agreement and will seek

in these Chapter 11 Cases to close on the 363 Sale as promptly as practicable following June 15,

2024 and in no event later than December 31, 2024, and go effective on its chapter 11 plan no later

than July 30, 2024.

        8.      In addition, to support the Company’s working capital needs during these Chapter

11 Cases, certain members of the Ad Hoc Noteholder Group (the “Consenting Convertible

Noteholders”) are also providing debtor-in-possession financing to the Company in the amount

of approximately $60.0 million, consisting of (i) a term loan facility in an aggregate maximum

principal amount of $10,000,000 available on the entry of the interim DIP order, (ii) a delayed

draw term loan facility in an aggregate maximum principal amount of $10,000,000 available on

the entry of the final DIP order, and (iii) subject to the entry of the final DIP order, a roll-up facility

in the aggregate maximum principal amount of $40,000,000.




                                                    4
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 5 of 270



       9.      The Debtors believe that an expeditious chapter 11 process is essential to preserving

the value of their assets and estates for the benefit of all stakeholders. A sale transaction and the

consummation of a chapter 11 plan of liquidation in line with the end dates set forth above and

more detailed series of milestones proposed herein and in the Bidding Procedures Motion (defined

below) will enable the Debtors to achieve this result, while also minimizing the impact on the

Debtors’ current operations and ensuring a smooth transition of the business to the ultimate buyer.

                                     II.    BACKGROUND

A.     The Debtors’ Business

       10.     Acorda is a biopharmaceutical company that has developed breakthrough products,

therapies, and biotechnology to restore function and improve the lives of people with neurological

disorders. The Debtors market two main products: AMPYRA® (“Ampyra”), which is marketed

and distributed as FAMPYRA® (“Fampyra”) outside of the United States by Biogen International

GmbH (“Biogen”), and INBRIJA® (“Inbrija,” and together with Ampyra, the “Products”). The

Debtors sell their Products to a variety of customers, principally specialty pharmacies (the

“Specialty Pharmacies”) and an exclusive wholesale distributor (the “Wholesaler”).               The

Debtors’ Products are primarily distributed in the United States through its Specialty Pharmacy

customers who in turn sell the Products to patients. For the year ended December 31, 2023, net

revenue for Ampyra sales was $63.9 million and the Company recognized royalty revenue of

approximately $11.3 million for Fampyra sales. For the year ended December 31, 2023, net

revenue for Inbrija sales in the United States was $33.6 million and net revenue for Inbrija sales

outside of the United States was $4.8 million.

       i.      Ampyra/Fampyra
       11.     Ampyra is an extended-release tablet, which is approved by the U.S. Food and Drug

Administration (“FDA”) as a treatment to improve walking in adults with multiple sclerosis.


                                                 5
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                         Pg 6 of 270



Ampyra was made commercially available in the United States in March 2010 and the Company

believes that Ampyra was the first FDA-approved drug indicated to improve walking in adults

with multiple sclerosis. Acorda does not manufacture or distribute Ampyra itself. Instead, Acorda

manages its production and distribution of Ampyra through third-party contractual relationships.

Patheon, Inc. is the Company’s sole manufacturer and packager of Ampyra for sales in the United

States.

          12.   The Company was historically dependent on sales of Ampyra in the United States

for a majority of its revenue. In late 2018, the Company experienced a significant decline in

Ampyra sales due to competition from several generic versions of Ampyra that began entering the

United States market. Additional manufacturers may market generic versions of Ampyra, and the

Company expects that Ampyra sales will continue to decline over time.

          13.   With respect to Fampyra, Biogen markets Fampyra outside of the United States

pursuant to a Collaboration and License Agreement entered into with Acorda on June 30, 2009

(the “Collaboration Agreement”). On January 8, 2024, Biogen terminated the Collaboration

Agreement, effective January 1, 2025. As a result, Acorda will regain global commercialization

rights to Fampyra. To ensure that the majority of people with multiple sclerosis currently being

served continue to have access to Fampyra, Acorda has been working with Biogen on a plan to

assume commercialization responsibilities as marketing authorization transfers and distribution

arrangements are finalized for each applicable territory. Fampyra has been approved for use in a

number of countries across Europe, Asia, and the Americas.         Fampyra patents have been

successfully challenged in Germany and Canada, and it is likely there will be similar challenges

in other countries where Fampyra is marketed by Biogen. There is generic competition for




                                               6
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 7 of 270



Fampyra in Germany and Canada. Alkermes Plc, through an arrangement with Biogen, is the sole

manufacturer and packager of Fampyra for sales outside of the United States.

       ii.    Inbrija
       14.    Inbrija is the first and only levodopa inhalation powder approved by the FDA in the

United States for as-needed intermittent treatment for episodic motor fluctuations (or “OFF

episodes”) in adults with Parkinson’s disease treated with a carbidopa/levodopa regimen. Inbrija

utilizes the Debtors’ ARCUS® (“Arcus”) pulmonary delivery system for inhaled therapeutics.

Arcus is a dry-powder pulmonary drug delivery technology designed to deliver medication through

inhalation by transforming molecules into a light, porous dry powder.

       15.    The Company relies on Catalent Massachusetts LLC (“Catalent”) for the

manufacture and supply of Inbrija. All commercial supply of Inbrija is currently manufactured at

Catalent’s Chelsea, Massachusetts facility, which was sold by the Company to Catalent in

February 2021.    As the Company’s Inbrija supplier, Catalent is responsible for all Inbrija

components other than the inhaler and levodopa, which are supplied by other third parties.

Effective January 1, 2023, the Company entered into a new manufacturing services agreement

with Catalent, which was subsequently amended in March 2023 (as amended in March 2023, the

“New MSA”). Under the New MSA, Catalent will continue to manufacture Inbrija through 2030,

with reduced minimum annual commitments through 2024 and significantly lower pricing

thereafter. The New MSA provides for the scale-up of new spray drying equipment, which will

offer expanded capacity for the long-term worldwide manufacturing requirements of Inbrija.

       16.    Inbrija is approved for use outside of the United States in the European Union and

the United Kingdom. The Debtors have entered into agreements to commercialize Inbrija in Spain,

Germany, Latin America, and China, and are working with their partners in Latin America and




                                               7
    24-22284-dsj         Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                       Main Document
                                                 Pg 8 of 270



China to obtain the applicable marketing and regulatory approvals to market Inbrija in these

jurisdictions.

B.         The Debtors’ Finances and Employees

           17.      For the twelve months ended December 31, 2023, the Company recorded total net

revenues of approximately $117.6 million and posted a net loss of $252.9 million. Net revenues for

Inbrija were $38.4 million, which represents a year-over-year growth in sales of approximately

24.43%. Net revenues for Ampyra were $63.9 million, continuing a year-over-year decline in sales

that is largely attributable to the loss of Ampyra’s patent exclusivity in 2018. As of December 31,

2023, the Company had an accumulated deficit of approximately $1.2 billion.

           18.      The Debtors currently employ a highly-skilled and dedicated workforce of 101 full-

time salaried employees (the “Employees”), 2 30 independent contractors (the “Independent

Contractors”), 29 sales representatives (the “Contracted Sales Representatives”) who are

contracted through Syneos Health LLC (“Syneos Health”), and 13 temporary workers that are

retained through certain temporary staffing agencies (the “Temporary Workers,” and collectively

with the Employees, Independent Contractors, and Contracted Sales Representatives, the

“Workforce”). The Workforce performs a variety of functions including field sales, commercial

and digital strategy, market research, drug safety, product supply, regulatory affairs, legal,

analytical development, marketing, medical affairs, pharmaceutical development, quality control,

trade relations, information technology, finance, administrative services, and human resources.

The majority of the Workforce is critical to the Debtors’ operations and their services have enabled

the Debtors to continue to achieve their goals of improving patients’ lives. Many of these

individuals are highly trained and/or have an essential working knowledge of the Debtors’ business



2
    There are four (4) employees on long-term disability leave that are not included in this calculation.


                                                             8
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 9 of 270



that cannot easily be replicated. The Workforce is located within the United States. None of the

Employees are party to collective bargaining agreements or other similar labor agreements.

C.     The Debtors’ Corporate and Capital Structure

       19.    Acorda was founded on March 17, 1995, as a Delaware corporation, and is the

direct or indirect parent of each of the Debtors. Acorda’s principal executive offices are located

in Pearl River, New York. An organizational chart illustrating the corporate structure of the

Company is annexed hereto as Exhibit A and depicted below.




       i.      The 6.00% Convertible Senior Secured Notes

       20.    In December 2019, the Company completed the private exchange of $276 million

aggregate principal amount of its then outstanding 1.75% convertible senior notes due 2021 (the

“2021 Notes”) in exchange for a combination of approximately $207 million aggregate principal

amount of newly-issued 6.00% convertible senior secured notes due 2024 (the “2024 Notes”) and a

cash payment of approximately $55.2 million to participating holders. As a result of the exchange,

approximately $69 million of the 2021 Notes remained outstanding, which were repaid at maturity

on June 15, 2021 using cash on hand.

       21.    The 2024 Notes were issued pursuant to that certain Indenture, dated as of December

23, 2019 (as amended, supplemented, or modified from time to time, the “Indenture”), by and



                                                9
    24-22284-dsj      Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                              Pg 10 of 270



among Acorda, as issuer, its wholly-owned subsidiary Civitas Therapeutics, Inc. (“Civitas”), along

with any domestic subsidiaries acquired or formed after the date of issuance, as guarantors

(collectively, the “Guarantors”), 3 and Wilmington Trust, National Association, as trustee and

collateral agent. The 2024 Notes bear interest of 6.00% per year from December 23, 2019, until they

mature on December 1, 2024. The 2024 Notes are secured by a first priority security interest in

substantially all of the assets of Acorda and the Guarantors, subject to certain exceptions described

in the Security Agreement, dated as of December 23, 2019 (as amended, supplemented, or modified

from time to time, the “Security Agreement”), between the grantors party thereto and Wilmington

Trust, National Association, as collateral agent. As of the Petition Date, the principal balance

outstanding under the 2024 Notes is approximately $207 million.

         ii.      Acorda’s Common Stock

         22.     Acorda’s common stock is publicly traded on the Nasdaq Global Market under the

symbol “ACOR.” As of March 27, 2024, there were approximately 1,242,098 shares of Acorda’s

common stock outstanding. 4 On March 28, 2024, the closing price of Acorda’s stock was

$13.21/share.

                        III.    EVENTS LEADING TO THE CHAPTER 11 CASES
         23.     Several factors have put downward pressure on the Company’s financial

performance over the past several years and have necessitated a comprehensive solution for the

Company’s capital structure. These factors include: (i) the acquisition of Biotie Therapies Ltd. for

$363 million, which subsequently generated and continues to generate net operating losses, (ii) an

adverse court ruling that invalidated certain Ampyra patents, allowing generic versions of the drug


3
 Civitas has not formed or acquired any domestic subsidiaries since December 23, 2019.
4
 On June 2, 2023, the Company filed an Amended and Restated Certificate of Incorporation with the Secretary of
State of Delaware to effect a 1-for-20 reverse stock split and a proportionate reduction in the number of authorized
shares from 61,666,666 to 3,083,333. The common stock began trading on a split-adjusted basis on the Nasdaq Global
Select Market on June 5, 2023.


                                                        10
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                          Pg 11 of 270



to enter the United States market in late 2018, and resulting in the rapid loss of substantial revenue,

(iii) slower than expected growth of Inbrija sales, due in part to prescribing challenges and the

COVID-19 global pandemic, which had a material adverse effect on the Company’s business; and

(iv) the inability of the Company to invest in its pipeline or other development opportunities.

A.     Acorda Acquires Biotie

        24.    In 2016, Acorda acquired Biotie Therapies Ltd. (a Finnish company that was

liquidated in 2023) and its subsidiaries (including debtors Biotie Therapies, LLC and Biotie

Therapies AG, collectively, “Biotie”) for cash consideration of approximately $363 million.

Through the acquisition, Acorda obtained global rights to a Phase 3 Parkinson’s disease treatment

(“Tozadenant”) and additional clinical-stage assets, which were promising therapies at the time.

However, in November 2017, Acorda discontinued its clinical development program for

Tozadenant after serious adverse events occurred in patients during Phase 3 trials. Biotie never

generated any revenue for the Company, and as of December 31, 2023, Biotie had net operating

losses of $120.8 million.

B.     Sharp Decline in Ampyra Sales

        25.    Patented pharmaceutical products enjoy a certain period of patent exclusivity,

typically up to 20 years, during which generic versions of the drug may not enter the market. After

a product’s loss of exclusivity, generic competitors may enter the market and erode the drug’s

profitability. With respect to Ampyra, the Company held five patents, one of which expired on

July 30, 2018. The remaining four patents were set to expire between 2025 and 2027. However,

in March 2017, a United States district court issued a ruling that upheld the Ampyra patent that

was set to expire on July 30, 2018, and invalidated the other four patents (the “Patent Decision”).

In April 2017, following the Patent Decision, the Company implemented a corporate restructuring

to reduce its cost structure and focus resources on other initiatives, including developing Inbrija


                                                  11
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                         Pg 12 of 270



and maximizing the value of Ampyra. As part of this restructuring, the Company reduced

headcount by 20%.

       26.     The Patent Decision was ultimately upheld on appeal in September 2018 (the

“Appellate Decision”), which led to a rapid and significant decline in Ampyra sales due to

competition from several generic versions of the drug that entered the domestic market. Additional

manufacturers continue to enter the market with generic versions of Ampyra, and Ampyra sales

are expected to continue to decline over time. Before the Appellate Decision, the Company

derived substantially all of its revenue from the sale of Ampyra, reporting net revenues of $543

million for the year ended December 31, 2017. Net revenue for Ampyra was $63.9 million for the

year ended December 31, 2023. As such, maintaining brand loyalty and market access are critical

to continuing to maximize the value of the Ampyra franchise because it continues to face

competition from generic versions.

C.     Inbrija Sales Failed to Meet Initial Projections

       27.     In October 2014, Acorda acquired Civitas Therapeutics, Inc. for approximately

$525 million. In connection with the acquisition, Acorda acquired the global rights to Inbrija (at

the time, a Phase 3 treatment candidate for OFF episodes of Parkinson’s disease) and the Arcus

technology. Inbrija was approved by the FDA in December 2018 and became commercially

available in the United States in February 2019. In October 2019, to further reduce costs and focus

its resources on the commercial launch of Inbrija, which was the Company’s key strategic priority

for 2019 and 2020, the Company implemented a corporate restructuring and again reduced its

headcount by a further 25%.

       28.     When Inbrija launched, annual net revenues were projected to peak in the range of

$300 to $500 million per year, and the Company structured itself accordingly. However, due to

prescribing challenges and unavoidable disruptions to the healthcare system caused by the


                                                12
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 13 of 270



COVID-19 global pandemic, among other factors, sales did not meet this projected level. Indeed,

shortly after the launch of Inbrija, the Company’s efforts to drive the commercial success of Inbrija

were significantly disrupted by COVID-19, the effects of which are discussed in more detail below.

Net revenue for Inbrija for the year ended December 31, 2020, the first full year it was on the

market, was $24.2 million. Since Inbrija’s release, sales have not exceeded $38.4 million per year.

D.     Restructuring of the 2021 Notes

       29.     Due to a number of adverse factors, including the sharp decline in Ampyra sales

after the Appellate Decision, the slow rise of Inbrija revenue after the product launch, and the

upcoming maturity of its 2021 Notes, in December 2019, the Company completed a private

exchange of $276 million of its 2021 Notes in exchange for a combination of approximately $207

million aggregate principal amount of newly-issued 2024 Notes and a cash payment of

approximately $55.2 million to participating holders. As a result of this exchange, approximately

$69 million of 2021 Notes remained outstanding.

       30.     In February 2021, the Company completed the sale of its Chelsea, Massachusetts

manufacturing operations to Catalent, resulting in net proceeds of approximately $74 million. The

Company used the net proceeds received from the transaction for general corporate purposes,

subject to compliance with the terms of the 2024 Notes, which included funding capital

expenditures and payment of the outstanding 2021 Notes in June 2021.

E.     Impacts of the COVID-19 Pandemic

       31.     The Company’s business and financial condition has also been impacted by the

COVID-19 global pandemic. The travel restrictions, “shelter in place” orders, and general

concerns about the spread and effects of COVID-19 disrupted the delivery of healthcare to patients

and made it more difficult for some patients to visit their physician and obtain pharmaceutical

prescriptions. Further, COVID-19 caused certain patients to lessen their mobility and therefore


                                                 13
 24-22284-dsj       Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 14 of 270



their apparent need for certain therapeutics, including Inbrija. These factors contributed to

decreases in new Inbrija prescriptions and the Company’s ability to market Inbrija to physicians

and patients and expand sales outside of the United States, the impact of which continued into

2022. During this time, to further reduce costs and focus resources on Inbrija, the Company

effected two further corporate restructurings in January and September of 2021 and reduced

headcount by approximately 16% and 15%, respectively. The Company is still managing the

indirect implications of the pandemic on the commercial growth of Inbrija and the Company

continues to focus on re-engaging physicians and commercializing Inbrija outside of the United

States.

F.        The Company’s Inability to Invest in New Therapies

          32.   The Company operates in a highly competitive industry in which many

biotechnology and pharmaceutical companies, as well as academic laboratories, are engaged in

research, development, and/or marketing of therapeutics for various neurological conditions,

including Parkinson’s disease and multiple sclerosis. Given the events above, the drastic decline

in revenue, and the inability of the Company to generate enough cash to sustain its operations at a

larger scale, the Company’s ability to invest in its pipeline (including the Company’s ability to

retain highly qualified personnel) and pursue value-enhancing development opportunities to

compete with its competitors has been constrained and all development activities have been

suspended.

                  IV.    PREPETITION RESTRUCTURING INITIATIVES

          33.   In response to the challenges described above, the Company recognized that, given

its Product mix and scale, it would be difficult to continue to support its funded debt obligations

going forward and generate the cash flow needed to pay the 2024 Notes at maturity. Acorda’s

management team thus took proactive steps to enhance the Company’s operations and cash flow.


                                                14
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                          Pg 15 of 270



A.      Early Restructuring Initiatives

        34.     As set forth above, the Company implemented four corporate restructurings and

reductions in its Workforce in April 2017 (following the Patent Decision), October 2019, January

2021, and September 2021, to reduce costs, more closely align operating expenses with expected

revenue, and focus its resources on Inbrija.

        35.     Even with these restructurings and associated organizational changes, the Company

was unable to adequately reduce its expenses to generate sufficient cash flow or additional capital

to drive growth. As a result, the Company engaged Ducera Partners LLC (“Ducera”) in the

summer of 2022 and then Ernst & Young LLP (“E&Y”) in September 2022 to assist management

with its review of strategic alternatives. Over the next several months, the Company worked with

its advisors to explore appropriate solutions to support its funded debt obligations and generate

cash flow.

B.      Sale and Marketing Process

        36.     Facing the near-term maturity of the 2024 Notes, in April 2023, the Company

engaged Leerink Partners (“Leerink Partners”) as its investment banker to conduct a sale process.

The Company also engaged Baker & McKenzie LLP (“Baker McKenzie”) in July 2023 to assist

management with its legal review of strategic alternatives. Over the past several months, the

Company, with the assistance of outside legal and financial advisors, has been engaged in a robust

process to explore strategic alternatives and maximize value for all stakeholders in light of the

upcoming maturity of the 2024 Notes.

        37.     The Company has evaluated every aspect of its business, taken proactive steps to

respond to the challenges outlined above, and reviewed a number of potential strategic alternatives,

including (i) a restructuring or refinancing of the Debtors’ liabilities, (ii) raising additional debt or




                                                   15
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 16 of 270



equity capital, and (iii) the sale of all or certain assets. For the reasons set forth below, the

Company determined that a sale of substantially all of its assets under chapter 11 of the Bankruptcy

Code would present the best path to maximize value for the benefit of the Debtors’ stakeholders,

while at the same time helping to ensure that the Products would continue to be provided on an

uninterrupted basis to patients who benefit from these much-needed medications.

       38.     As set forth in greater detail in the Declaration of Byron Webster in Support of

Motion of Debtors for Entry of Orders (i)(a) Authorizing and Approving Bidding Procedures and

Stalking Horse Bid Protections, (b) Scheduling Auction and Sale Hearing, (c) Approving Form

and Manner of Notice Thereof, (d) Establishing Notice and Procedures for the Assumption and

Assignment of Certain Executory Contracts, and (e) Granting Related Relief; and (ii)(a)

Approving the Asset Purchase Agreement, (b) Authorizing the Sale of Assets Free and Clear of

Liens, Claims, Encumbrances, and Other Interests, (c) Authorizing Assumption and Assignment of

Executory Contracts, (d) Authorizing Distribution to the Prepetition Noteholders, and (e) Granting

Related Relief, filed contemporaneously herewith, in April 2023, the Debtors, with the assistance

of Leerink Partners, commenced a comprehensive process to market the opportunity for third

parties to engage in a strategic transaction with the Company.

       39.     This process included the solicitation of such interest and/or receipt of inbound

interest from 49 parties, comprised of 45 potential strategic and four potential financial

counterparties. These strategic and financial entities represented a broad spectrum of potential

counterparties including large, diversified pharmaceutical companies, small and mid-sized public

specialty and generic pharmaceutical companies, privately-held specialty and generic

pharmaceutical companies, foreign pharmaceutical companies, and private equity investors with

experience in the pharmaceutical sector and/or healthcare bankruptcies and turnaround situations,




                                                16
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                          Pg 17 of 270



as well as potential counterparties that had expressed interest in the Company in the past. The

Company also engaged in discussions with the Ad Hoc Noteholder Group to explore its interest in

a strategic transaction with the Company. Throughout this process, the Debtors made clear to all

potentially interested parties that they were receptive to any value-maximizing strategic

transaction, whether in the form of a sale, restructuring, financing or otherwise, either in or out of

court.

         40.   This process resulted in the Company entering into in-depth due diligence with four

potential counterparties and initiating two rounds for the submission of non-binding indications of

interest. Although the Company received a “whole company” bid and multiple expressions of

interests for the purchase of its assets, the Company did not receive any indications of interest on

terms that would satisfy its funded debt obligations in full. In light of the interest in an asset-based

sale transaction, Leerink Partners reset the bidding process in September 2023 and distributed

letters requesting revised proposals from interested counterparties.

         41.   After September 2023, the Company received six non-binding indications of

interest. Following thorough exploration of these proposals and arm’s length negotiations between

these potential third-party bidders and the Debtors, the Debtors determined that a stalking horse

bid (the “Stalking Horse Bid”) from Merz Pharmaceuticals, LLC (“Merz” or the “Stalking Horse

Bidder”), represented the best available path to a value-maximizing transaction. The Stalking

Horse Bid includes an offer to purchase substantially all of the Debtors’ assets pursuant to section

363 of the Bankruptcy Code for an aggregate purchase price composed of approximately $185

million plus the assumption of certain liabilities (the “Purchase Price”) as specified in the Asset

Purchase Agreement, dated as of March 31, 2024, by and among the Debtors and the Stalking

Horse Bidder (the “Stalking Horse APA”).




                                                  17
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 18 of 270



       42.     As described in further detail in the Motion of Debtors for Entry of Orders (i)(a)

Authorizing and Approving Bidding Procedures and Stalking Horse Bid Protections, (b)

Scheduling Auction and Sale Hearing, (c) Approving Form and Manner of Notice Thereof, (d)

Establishing Notice and Procedures for the Assumption and Assignment of Certain Executory

Contracts, and (e) Granting Related Relief; and (ii)(a) Approving the Asset Purchase Agreement,

(b) Authorizing the Sale of Assets Free and Clear of Liens, Claims, Encumbrances, and Other

Interests, (c) Authorizing Assumption and Assignment of Executory Contracts, (d) Authorizing

Distribution to the Prepetition Noteholders, and (e) Granting Related Relief (the “Bidding

Procedures Motion”), to ensure that the Stalking Horse Bid is in fact the highest or otherwise best

offer for the purchase of the Debtors’ assets, the Debtors have developed bidding and auction

procedures (the “Bidding Procedures”) that will allow interested parties to submit competing bids

for the Debtors’ assets. The Debtors intend to conduct an open, transparent and thorough sale and

marketing process to ensure that the Debtors receive the maximum value possible for their assets

for the benefit of their stakeholders while preserving the Debtors’ business as a going concern.

       43.     In light of the comprehensive pre-petition marketing process and the fact that the

parties that engaged in this process are already familiar with the Debtors and their assets, the

Debtors have determined that a postpetition marketing and diligence period of 45 days is a

reasonable and sufficient amount of time for potentially interested bidders to formulate a

competing bid. The Debtors have therefore proposed the following timeline for their sale process,

which is calibrated to achieve the twin goals of a value maximizing sale via a robust marketing

and auction process and consummating a transaction as quickly as practicable so as to preserve the

value of their assets and business. It is also important to complete a sale in an expeditious manner

to ensure the continued supply of the Debtors’ Products to patients.




                                                18
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 19 of 270



                    Event                                             Date
 Hearing to approve Bidding Procedures          On or before April 26, 2024
 Deadline for submission of potentially         May 16, 2024 at 5:00 p.m. (prevailing Eastern
 Qualified Bids (as defined in the Bidding      Time)
 Procedures)
 Deadline to notify each bidder whether its     One (1) day before the Auction
 bid is a Qualified Bid
 Auction (if necessary)                         May 22, 2024 at 10:00 a.m. (prevailing Eastern
                                                Time)
 Sale Hearing                                   If no Auction, no later than May 24, 2024;
                                                otherwise, May 31, 2024


C.     Restructuring Support Agreement

       44.      Contemporaneously with the sales and marketing process, in the months leading up

to these Chapter 11 Cases, the Debtors began negotiations with ad hoc group of holders of over

90% of the Company’s 2024 Notes (the “Ad Hoc Noteholder Group”) represented by Perella

Weinberg Partners LP as its investment banker and King & Spalding LLP as its legal advisor

(together, the “Ad Hoc Group Advisors”) regarding the terms of a comprehensive restructuring,

while the Debtors simultaneously pursued other options to address their liquidity and overleverage

issues by engaging with other parties, both inside and outside the corporate structure, including

potential third-party financing providers and potential asset purchasers.

       45.      The Debtors provided the Ad Hoc Group Advisors with extensive diligence

information concerning the Debtors and their operations. Subsequently, the members of the Ad

Hoc Noteholder Group executed non-disclosure agreements and became restricted to negotiate a

restructuring transaction. The extensive and arms’ length negotiations with the Ad Hoc Note

Holder Group culminated in the Restructuring Support Agreement (the “Restructuring Support

Agreement”) attached hereto as Exhibit B.




                                                19
    24-22284-dsj        Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59                     Main Document
                                              Pg 20 of 270



           46.       The Restructuring Support Agreement contemplates the restructuring of the

Company through a prearranged chapter 11 filing providing for (i) the sale of certain of the

Company’s core assets under section 363 of the Bankruptcy Code pursuant to the Stalking Horse

Agreement (subject to higher or better offers as set forth in Bidding Procedures) (the “Sale

Transaction”) and (ii) a chapter 11 plan (the “Plan”). The Restructuring Support Agreement sets

out certain milestones and conditions of the Company relating to the Sale Transaction and the Plan.

Specifically, the Restructuring Support Agreement contains the following key terms, among other

things:5

                    Following the Petition Date, the Company shall oversee and manage a
                     comprehensive sale and marketing process to solicit higher or otherwise better bids
                     to the Stalking Horse Bid, in accordance with the Bidding Procedures in good-faith
                     consultation with the Requisite Consenting Creditors (the “Sale Process”);

                    The members of the Ad Hoc Noteholder Group (the “DIP Lenders”) shall provide
                     the Company with a secured debtor-in-possession financing as set forth in a debtor-
                     in-possession financing agreement, the proceeds of which shall be used for, among
                     other things, general corporate purposes during the pendency of the Chapter 11
                     Cases and to conduct the Sale Process on the terms and conditions consistent with
                     those set forth in the DIP Credit Agreement (the “DIP Facility”);

                    The Consenting Convertible Noteholders will also consent to the Debtors’ use of
                     the cash collateral of the Convertible Noteholders to help fund the administration
                     of the Chapter 11 Cases;

                    A Liquidating Trust will be formed and the Debtors shall transfer the Liquidating
                     Trust Assets to the Liquidating Trust and the Debtors and the Liquidating Trustee
                     shall execute the Liquidating Trust Agreement and shall take all steps necessary to
                     establish the Liquidating Trust in accordance with the Plan and the beneficial
                     interests therein; and

                    The Consenting Creditors will accept the Plan on a timely basis following
                     commencement of the solicitation of acceptances of the Plan in accordance with
                     sections 1125 and 1126 of the Bankruptcy Code.




5
 Capitalized terms not otherwise defined in this section shall have the meaning ascribed to them in the Restructuring
Support Agreement.


                                                        20
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                         Pg 21 of 270



       47.    The Restructuring Support Agreement also contemplates the following milestones

(the “Milestones”) to facilitate these Chapter 11 Cases:

                     As of 11:59 p.m. prevailing Eastern Time on the date that is three days from
                      the Petition Date, the Debtors have filed the Bidding Procedures Motion;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 5 days from the
                      Petition Date, the Interim DIP Order has been entered by the Court;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 21 days from
                      the Petition Date, the Debtors have filed the Disclosure Statement and the
                      Plan;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 28 days
                      following the filing of the Bidding Procedures Motion, the Bidding
                      Procedures Order has been entered by the Court;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 29 days from
                      the Petition Date, the Final DIP Order has been entered by the Court;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 51 days from
                      the Petition Date, the Debtors have commenced the Auction, if applicable
                      (as defined in the Bidding Procedures);
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 60 days from
                      the Petition Date, the Sale Order has been entered by the Court approving
                      the sale of the Acquired Assets (as defined in the Bidding Procedures),
                      provided that if there is no overbid for the Acquired Assets, then then the
                      Sale Order shall be entered no later than 53 days from the Petition Date;
                     As of 11:59 p.m. prevailing Eastern Time on the date that is 60 days from
                      the Petition Date, the Court has entered the Disclosure Statement Order;
                     As promptly as practicable following June 15, 2024 and in no event later
                      than the Outside Date (as defined in the Bidding Procedures), the Debtors
                      shall have consummated the sale of Acquired Assets;
                     As of the 11:59 p.m. prevailing Eastern Time on the date that is 105 days
                      from the Petition Date, the Court has entered the Confirmation Order; and
                     As of the 11:59 p.m. prevailing Eastern Time on the date that is 120 days
                      from the Petition Date, the Plan Effective Date has occurred.

       48.     The Debtors believe that, to be successful, these Chapter 11 Cases must proceed in

the most expeditious manner permitted by the Bankruptcy Code. The terms of the Restructuring

Support Agreement reflect that belief.     The proposed timeline for these Chapter 11 Cases



                                               21
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 22 of 270



appropriately balances the Debtors’ need to complete the Sale Transaction and their need to

confirm a Plan that will provide for the administration of claims, the realization of any remaining

assets, and the wind down of any remaining operations, and dissolution of the entities.

D.     DIP Financing

       49.     In addition, as described in the Declaration of Jay K. Sinha in Support of Motion of

Debtors for (i) Authorizing Debtors to Obtain Postpetition Financing Pursuant to Section 364 of

the Bankruptcy Code, (ii) Authorizing the Use of Cash Collateral Pursuant to Section 363 of the

Bankruptcy Code, (iii) Granting Adequate Protection to the Prepetition Secured Parties Pursuant

to Sections 361, 362, 363 and 364 of the Bankruptcy Code, (iv) Granting Liens and Superpriority

Claims, (v) Modifying the Automatic Stay, and (vi) Scheduling a Final Hearing (the “DIP

Motion”), filed contemporaneously herewith, the Debtors, with the assistance of their financial

advisors, conducted a process to solicit financing offers from potential third-party lenders,

including traditional bank lenders and other firms experienced in direct non-bank lending in similar

circumstances, to fund the Company’s continued operations during the Chapter 11 Cases. Due to

the Debtors’ financial position and existing capital structure, the Debtors found limited options to

secure an adequate amount of financing, and, ultimately, the Debtors did not receive any financing

proposals from the third-party financing sources it contacted.

       50.     In connection with the Restructuring Support Agreement, the DIP Lenders agreed

to enter into a superpriority senior secured debtor-in-possession credit facility in an aggregate

principal amount of up to $60.0 million, consisting of (i) a term loan facility in an aggregate

maximum principal amount of $10,000,000 available on the entry of the Interim DIP Order, (ii) a

delayed draw term loan facility in an aggregate maximum principal amount of $10,000,000

available on the entry of the Final DIP Order, and (iii) a roll-up facility in the aggregate maximum




                                                22
    24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                            Pg 23 of 270



principal amount of $40,000,000 available upon entry of the Final DIP Order. The Debtors have

an immediate need for this financing. Absent the authority to enter into and access the DIP Facility,

even for a limited period of time, the Company will be unable to continue operating its businesses.

The proposed DIP Facility will provide critical liquidity necessary to, among other things, (i)

operate the business in the ordinary course, (ii) administer these Chapter 11 Cases, including to

satisfy working capital and other operational needs, and (iii) provide sufficient liquidity to operate

until the consummation of the 363 Sale. The proposed DIP Facility is conditioned upon the

Debtors’ compliance with the Milestones.

                                   V.      FIRST DAY PLEADINGS

         51.    As mentioned above, the Company operates in a highly competitive industry. It is

imperative that the Company make a seamless transition into chapter 11 to preserve the patient

supply of Products, the reputation of the business and the loyalty and goodwill of customers,

suppliers, patients, and employees. The Company’s sales and operations must continue in the

ordinary course of business to ensure the uninterrupted supply of Products to patients, preserve

and maximize the value of the Debtors’ estates, and effectuate a timely and efficient sale process.

Accordingly, the Debtors have filed a number of First Day Pleadings designed to facilitate their

transition into these Chapter 11 Cases. The Debtors anticipate that the Court will conduct a hearing

soon after the Petition Date at which the Court will hear and consider many of the First Day

Pleadings.6

         52.    I have reviewed each of the First Day Pleadings, including any exhibits thereto. I

believe that the relief requested by the First Day Pleadings is necessary to enable the Debtors to

preserve and maximize the value of their estates, and to efficiently implement their sale efforts


6
 Capitalized terms used below in the descriptions of the First Day Pleadings and not otherwise defined have the
meanings given to them in the applicable First Day Pleading.


                                                      23
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                          Pg 24 of 270



without disruption or delay. As such, I respectfully request that the Court grant all relief requested

in the First Day Pleadings and such other and further relief as may be just and proper.

A.     Administrative Pleadings

       53.     The Debtors have filed four administrative pleadings that seek to (i) jointly

administer the Chapter 11 Cases for procedural purposes only, (ii) authorize the Debtors to file a

consolidated list of creditors, (iii) extend the time period by which the Debtors must file their

Schedules and Statements (defined below), and (iv) authorize the Debtors to retain Kroll

Restructuring Administration LLC (“Kroll”) as claims and noticing agent.

       i.      Joint Administration Motion
       54.     The Debtors have requested that the Chapter 11 Cases be jointly administered for

procedural purposes only. As set forth above, the Debtors are affiliated with each other. Joint

administration of these cases will avoid the unnecessary time and expense of duplicative motions,

applications, orders, and other papers and related notices that otherwise would need to be filed in

all of the cases absent joint administration.         Accordingly, joint administration will save

considerable time and expense.

       ii.     Motion to File Consolidated List of Creditors

       55.     The Debtors seek entry of an order (i) authorizing the Debtors to (a) prepare a

consolidated list containing the name and complete address of each creditor (the “Creditor

Matrix”) in electronic format only in lieu of submitting separate mailing matrices for each Debtor,

(b) file a consolidated list of their 30 largest unsecured creditors, (c) redact certain personal

identifiable information, and (ii) approving the form and manner for the mailing and publication

of the notice to creditors and other parties-in-interest announcing the commencement of the

Chapter 11 Cases (the “Procedures”) in the form attached to the Proposed Order as Exhibit 1 (the

“Notice of Commencement”).


                                                 24
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 25 of 270



       56.     First, Permitting the Debtors to maintain a consolidated Creditor Matrix in

electronic format only, in lieu of each Debtor filing a separate Creditor Matrix, is warranted under

the circumstances of these cases. The Debtors anticipate that there will be over 2,000 entities or

individuals listed on the Creditor Matrix. I understand that converting the Debtors’ computerized

information to a format compatible with the matrix requirements would be a burdensome task and

would greatly increase the risk of error with respect to information already on computer systems

maintained by the Debtors or their agents. The Debtors have been working with Kroll, their

proposed claims and noticing agent, to prepare a single, consolidated list of the Debtors’ creditors

in electronic format. If the motion to retain Kroll is granted, I understand that Kroll will, among

other things, complete the mailing of the applicable notices to the parties in the Creditor Matrix.

The Debtors are also prepared to make the Creditor Matrix available in electronic form to any

party in interest who so requests (or in non-electronic form at such requesting party’s sole cost and

expense), in lieu of submitting a mailing matrix to the clerk of this Court.

       57.     Second, with respect to the list of unsecured creditors, it would be more efficient to

compile a separate top 20 creditor lists for each individual Debtor. The Debtors believe a single,

consolidated list of the Debtors’ 30 largest unsecured, non-insider creditors will provide the U.S.

Trustee with a clearer picture of the Debtors’ creditor constituency and aid in its efforts to

communicate with these creditors. As such, the Debtors believe that filing a single, consolidated

list of the Debtors’ 30 largest unsecured creditors in these Chapter 11 Cases is appropriate.

       58.     Third, I believe that redacting certain personal identifiable information of any

individual listed on, or appearing in, any document (i) made publicly available on the Debtors’

case website, (ii) filed with the Court, or (iii) otherwise submitted to Kroll, including the

consolidated Creditor Matrix, the claims register for each Debtor (the “Claims Registers”), and




                                                 25
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                          Pg 26 of 270



the Schedules and Statements is appropriate. The Debtors are not familiar with the personal

circumstances of each of their creditors to know with sufficient certainty whether a release of their

personal information could potentially jeopardize their safety or violate any foreign jurisdictions’

privacy data protection regulations. While the Debtors understand the concerns that arise from

imposing potential impediments on certain creditors’ ability to communicate and organize, they

maintain that measures can be implemented to facilitate any necessary communications while

maintaining a baseline of confidentiality and protection. Further, the Debtors are sensitive to the

privacy and safety concerns of their former and current employees and other individuals. As with

any large employer, certain employees’ personal circumstances, including circumstances unrelated

to their employment, would be negatively impacted by the disclosure of their residential addresses.

Such disclosure of personal addresses would likely hinder the Debtors’ efforts to attract and retain

the employees necessary to preserve the value of the Debtors’ estates for the benefit of their

creditors and other parties-in-interest.

        59.    Additionally, I understand based on discussions with the Company’s advisors,

including Baker McKenzie, that certain foreign data privacy laws (specifically, the UK GDPR and

EU GDPR) restrict the processing and disclosure of certain personal information, and that violation

of these laws could result in severe penalties, including monetary fines. For these reasons, the

Debtors seek authority to redact from any paper filed or to be filed with the Court in these Chapter

11 Cases, including the Creditor Matrix and Schedules and Statements, (i) the home addresses of

individual creditors—including the Debtors’ employees—and individual equity holders, and (ii)

the names, addresses, and other Personal Data of any natural person to the extent they are processed

subject to foreign data privacy laws. The Debtors propose to provide an unredacted version of the

Creditor Matrix and any other redacted filings to the Court, the U.S. Trustee, counsel to any




                                                 26
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                          Pg 27 of 270



statutory committee appointed in the Chapter 11 Cases, and other parties in interest upon

reasonable request. In each case, this would be subject to a review of whether such disclosure, on

a case-by-case basis, would violate any obligation under the UK GDPR, EU GDPR, or any other

privacy or data protection law or regulation.

        60.     Finally, the Debtors propose that Kroll undertake all mailings directed by the Court

or the U.S. Trustee, or as required by the Bankruptcy Rules, including the Notice of

Commencement of these Chapter 11 Cases. The Debtors believe that using Kroll to promptly

provide notices to all applicable parties will maximize efficiency in administering these Chapter

11 Cases and will ease administrative burdens that would otherwise fall upon the Court and the

U.S. Trustee.

       iii.     Motion Extending Time to File Schedules and Statements

        61.     The Debtors seek entry of an order extending the 14-day period to file the (i)

schedules of assets and liabilities, (ii) schedules of current income and expenditures, (iii) schedules

of executory contracts and unexpired leases, and (iv) statements of financial affairs (collectively,

the “Schedules and Statements”) for an additional 30 days, for a total of 45 days after the Petition

Date, without prejudice to the Debtors’ right to request additional time should it become necessary.

        62.     I believe that, given the numerous burdens imposed by the Debtors’ chapter 11

efforts, particularly in the early days of these Chapter 11 Cases, such relief is appropriate.

Specifically, the Debtors have a limited number of employees available to gather the information

for the Schedules and Statements, and there are competing demands on these employees, including

efforts in preserving the Debtors’ assets and concluding a sale of those assets. Not only have the

same employees with the expertise to complete the Schedules and Statements been diligently

preparing for the chapter 11 filings, they also have been heavily engaged on numerous other work




                                                  27
    24-22284-dsj      Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                              Pg 28 of 270



streams related to the sale of the Debtors’ assets. In light of the amount of work necessary to

complete the Schedules and Statements, and the competing demands upon the Debtors’ employees

and professionals to assist in efforts to stabilize business operations during the initial postpetition

period, cause exists to extend the deadline to file the Schedules and Statements. I do not believe

that any party in interest will be prejudiced by the requested extension of time.

         iv.     Application to Retain Kroll as Claims and Noticing Agent

         63.     The Debtors seek authority to retain Kroll as the claims and noticing agent for the

Debtors in the Chapter 11 Cases. I understand that requesting such appointment is required by the

local rules of this Court, given that the Debtors anticipate that there will be more than 250 creditors

and/or parties-in-interest listed on their creditor matrix. I believe that Kroll’s retention is the most

effective and efficient manner of noticing these creditors and parties in interest of the filing of the

Chapter 11 Cases and other developments in the Chapter 11 Cases. In addition, Kroll will assume

full responsibility for the distribution of notices and the maintenance, processing and docketing of

proofs of claim filed in the Debtors’ Chapter 11 Cases. Accordingly, I believe that retention of

Kroll, an independent third party with significant experience in this role, to act as an agent of this

Court, is in the best interests of both the Debtors’ estates and their creditors.7

B.       Operational Pleadings

         64.     The Debtors have filed 10 “operational” pleadings that seek to (i) authorize the

Debtors to continue using their Cash Management System, (ii) authorize the Debtors to pay

Employees, (iii) authorize the Debtors to pay Taxes and Regulatory Fees, (iv) authorize the

Debtors to pay their Utility Providers and provide adequate assurance of payment to those Utility

Providers, (v) authorize the Debtors to maintain their Customer and Sales Programs, (vi) authorize


7
 The Debtors also intend to file a subsequent application to retain Kroll to perform certain administrative services
under section 327 of the Bankruptcy Code.


                                                        28
    24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                                Pg 29 of 270



the Debtors to pay certain Critical Vendor claims, (vii) authorize the Debtors to pay certain Lien

Claimants, (viii) establish procedures for trading the Debtors’ equity securities, (ix) authorize the

Debtors to obtain postpetition financing and authorize the use of cash collateral,8 and (x) approve

Bidding Procedures related to the 363 Sale, approve the APA, and authorize the assumption and

assignment of executory contracts9 (each capitalized term herein as defined below).

           i.       Cash Management Motion

           65.      The Debtors seek entry of interim and final orders (i) authorizing the Debtors to (a)

continue using their existing Cash Management System, Bank Accounts, and Business Forms, (b)

continue intercompany transactions, (ii) granting administrative expense status to postpetition

intercompany claims, and (iii) waiving certain of the operating guidelines and reporting

requirements for chapter 11 Debtors. The Debtors also request the right, in their discretion, to (a)

pay any Bank Account related fees and (b) to close or otherwise modify the terms of certain of the

Bank Accounts and open new debtor-in-possession accounts as may be necessary to facilitate these

Chapter 11 Cases and operations, or as may otherwise be necessary to comply with the

requirements of any debtor-in-possession financing and/or cash collateral order entered in these

Chapter 11 Cases.

           66.      Before the commencement of these Chapter 11 Cases, and in the ordinary course of

business, the Debtors maintained 16 bank accounts (each a “Bank Account”, and collectively, the

“Bank Accounts”) at various financial institutions (each a “Bank”, and collectively, the “Banks”)

in the United States and Switzerland to conduct transactions necessary to the Debtors’ operations,

including collecting and disbursing funds generated by the sale of the Debtors’ Products or




8
    Contemporaneously herewith, the Debtors have filed a declaration in support of their DIP Motion.
9   Contemporaneously herewith, the Debtors have filed a declaration in support of their Bidding Procedures Motion.


                                                          29
 24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                             Pg 30 of 270



received by the Debtors. The Debtors primarily bank with Bank of America, N.A. (“Bank of

America”).10

        67.      The Bank Accounts are part of the Debtors’ prepetition cash management system

(the “Cash Management System”) that enables the Debtors to monitor the collection and

disbursement of funds and maintain control over the administration of their Bank Accounts. The

Cash Management System is not automated, other than daily lockbox sweeps and bi-monthly

funding to the Payroll Account, as further described below. Employees of the Debtor maintain

daily oversight over the Cash Management System and implement cash management controls for

entering, processing, and disbursing funds. The Cash Management System generally operates

similarly to those used by other companies comparable in size and complexity to the Debtors to

manage the cash of several operating units in a cost-effective, efficient manner.

        68.      Main Operating Accounts. The Debtors maintain four (4) main operating accounts

to manage the collections and disbursement of funds: one (1) maintained by Acorda, which is used

to collect customer receipts, make vendor disbursements, and fund other Bank Accounts for the

Debtors’ operations, as needed (the “Acorda Operating Account”); one (1) maintained by Civitas

Therapeutics, Inc. (“Civitas”), which is used to collect customers receipts and make vendor

payments for Civitas’ operations (the “Civitas Operating Account”); one (1) maintained by

Biotie Therapies, LLC. that was historically used to receive royalty payments from the sales of

certain products, however, those arrangements are no longer active (the “Biotie Operating

Account”), and one (1) maintained by Biotie Therapies AG that can be used for disbursements

(the “Biotie AG Operating Account”, and together with the aforementioned operating accounts,



10
  The Debtors previously banked with Citibank, N.A. (“Citibank”) before transitioning a majority of their accounts
to Bank of America. The Debtors maintain three (3) Bank Accounts with Silicon Valley Bank and three (3) Bank
Accounts with Citibank, which are either inactive or used on a limited basis as described herein.


                                                       30
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 31 of 270



the “Main Operating Accounts”). The interest earned on each Main Operating Account is

credited to the respective account at the end of each month.

       69.     As of the Petition Date, the balance of cash in the Acorda Operating Account is

approximately $417,232, the balance of cash in the Civitas Operating Account is approximately

$280,793, the balance of cash in the Biotie Operating Account is approximately $36,414, and the

balance of cash in the Biotie AG Operating Account is approximately $7,937,116.

       70.     Cash Collection. With respect to cash collections, the Debtors generate and receive

funds from sales of the Debtors’ Products. The Debtors’ receipts generated from the sale of

Ampyra and Inbrija are deposited directly into either the Acorda Operating Account or the Civitas

Operating Account, depending on the customer. With respect to Fampyra, the Debtors receive a

quarterly payment from Biogen, deposited into the Acorda Operating Account.               Customer

payments are made mainly by wire or electronic fund transfers, with the remainder received by

check. The Debtors utilize a lockbox arrangement to collect customer receipts.

       71.     In addition to the Main Operating Account, Acorda maintains a predecessor account

with Citibank that is largely inactive but collects a limited number of receipts from customers that

are deposited directly into the account (the “Acorda Predecessor Customer Account”).

Occasionally, the funds from the Acorda Predecessor Customer Account are manually transferred

into the Acorda Operating Account. As of the Petition Date, the balance of cash in the Acorda

Predecessor Customer Account is approximately $11,473. Similar to the Acorda Predecessor

Customer Account, Civitas maintains an account with Silicon Valley Bank that collects receipts

from customers that are deposited directly into the account (the “Civitas Predecessor Customer

Account”). Occasionally, the funds from the Civitas Predecessor Customer Account are manually




                                                31
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 32 of 270



transferred into the Civitas Operating Account. As of the Petition Date, there is no balance of cash

in the Civitas Predecessor Customer Account.

       72.     Cash Disbursements.      The Debtors use receipts concentrated in their Main

Operating Accounts to satisfy their financial obligations. Specifically, the Main Operating

Accounts disburse funds for payments on account of operating expenses, interest, taxes and

regulatory fees, utilities, and other vendors. Disbursements are paid or auto-debited by wire, ACH,

and check out of the respective Main Operating Account. Also, the Debtors have separate and

additional disbursement accounts dedicated to fund the Debtors’ (i) payroll obligations, (ii)

medical benefits, (iii) utilities, (iv) professional fees, (v) landlord deposit, and (vi) foreign

disbursements, which are described in further detail below.

       73.     Payroll. The Debtors utilize a separate payroll account with Bank of America (the

“Payroll Account”) to fund the Debtors’ payroll obligations. UKG Inc. (“UKG”) is the payroll

processor for the Debtors. UKG has authority to automatically draw funds from the Payroll

Account, as needed, for the purpose of making payroll disbursements. The Payroll Account is

funded on a bi-monthly basis, approximately two (2) to three (3) business days in advance of each

pay date, which falls on the 15th day of each month and the last day of each month, by automated

transfer from the Acorda Operating Account to the Payroll Account. UKG draws the funds from

the Payroll Account the same day the funds are transferred to further process and disburse payroll.

The Payroll Account is a zero-balance account.

       74.     Medical Benefits. The Debtors maintain a separate medical benefits account with

Citibank to make payments to settle employer obligations for employee claims covered under

company sponsored programs (the “Benefits Account”). Acorda maintains a self-funded medical

benefits plan for its employees, administered by Cigna Health and Life Insurance Company




                                                 32
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 33 of 270



(“Cigna”). Cigna manages the Benefits Account and has the authority to automatically draw funds

from the account to settle claims. The Debtors receive a daily statement from Cigna, outlining the

account balance and amounts paid out each day to settle claims. The Benefits Account is funded

on a monthly basis, between the 1st and the 5th of each month, by an automated reverse-wire from

the Acorda Operating Account to the Benefits Account, which is initiated by a payment draw from

Cigna. The Benefits Account is restricted and the Debtors do not have authorization or access to

the Benefits Account to initiate payments. If there are insufficient funds to meet Cigna’s payments

draws, Cigna would be unable to process employee medical claims. The balance of the Benefits

Account will fluctuate throughout the year based on estimated employee claims calculated by

Cigna. As of the Petition Date, the balance of cash in the Benefits Account is approximately

$762,519.

       75.     Utilities. The Debtors maintain a separate utilities account with Bank of America,

which they intend to use to maintain an adequate assurance deposit for the benefit of the Debtors’

utility providers throughout the course of the Chapter 11 Cases.

       76.     Professional Fees. In connection with the debtor-in-possession financing, the

Debtors have opened a deposit account to hold in escrow professional fees related to these Chapter

11 Cases (“Professional Fees Account”). On a weekly basis, the Debtors intend to fund the

Professional Fees Account based on pay estimates received by its retained professionals, with

payment of fees from the Professional Fees Account subject to Court approval in all respects.

       77.     Foreign Disbursements. With respect to the Debtors’ foreign operations, the

Debtors maintain one foreign Bank Account. Specifically, Biotie Therapies AG maintains an

account with UBS Switzerland to make local vendor disbursements (the “Biotie Swiss Account”).

The account is denominated in Swiss Francs. The Biotie Swiss Account is managed and operated




                                                33
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 34 of 270



by a third-party consultant, Intertrust, which administers the payment of operating expenses and

fees for Biotie Therapies AG. Prior to any payment being made from the Biotie Swiss Account,

the payments are entered into the Debtors’ accounts payable system and approved by Acorda. As

of the Petition Date, the balance of cash in the Biotie Swiss Account is approximately $712,635.

       78.     Investment Account. The Debtors maintain one account at Bank of America for

the purpose of holding funds to earn interest (the “Investment Account”). Funds are manually

transferred between the Acorda Operating Account and the Investment Account at the Debtors’

discretion on an as-needed basis. As of the Petition Date, the balance of cash in the Investment

Account is approximately $66,600.

       79.     Lease Deposit Account. Acorda has a lease with Xenon Property, LLC with respect

to a facility in Waltham, Massachusetts (the “Waltham Facility Lease”). On March 14, 2023,

Bank of America issued an Irrevocable Standby Letter of Credit on behalf of Civitas for the benefit

of Xenon Property, LLC, with respect to the obligations under the Waltham Facility Lease (the

“Letter of Credit”). The Letter of Credit was automatically extended through December 31, 2024,

and will continue to be automatically extended for one (1) year periods until December 31, 2026.

Civitas thus maintains a restricted account to hold funds as collateral against the Letter of Credit

not to exceed $255,000 (“Landlord Deposit Account”). As of the Petition Date, the balance of

cash in the Landlord Deposit Account is approximately $255,029.

       80.     Existing Business Forms. In the ordinary course of business, the Debtors utilize a

variety of business forms, including checks, invoices, purchase orders, envelopes, and other

business forms (the “Business Forms”). In the event the Debtors generate new Business Forms

during the pendency of these Chapter 11 Cases, the Debtors will include a legend referring to the

Debtors as “Debtors-In-Possession” status on such newly created Business Forms, However, to




                                                34
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                         Pg 35 of 270



minimize administrative expense and delay, the Debtors request authority to continue to use their

pre-existing Business Forms substantially in the forms existing immediately before the Petition

Date, without reference to the Debtors’ “Debtor-in-Possession” status, rather than incur the

expense and delay of ordering new Business Forms. I understand that all parties doing business

with the Debtors will be on inquiry notice of the commencement of the Chapter 11 Cases. The

Debtors will communicate with the various parties with which the Debtors conduct business in

order to notify them and believe that such communications will provide adequate notice of the

Debtors’ status as debtors in possession.

       81.     Bank Fees. In the ordinary course of business, the Debtors incur and pay, or allow

to be deducted from the appropriate Bank Account, certain service charges and other related fees,

costs, and expenses charged by the Banks (collectively, the “Bank Fees”). The Debtors incur

Bank Fees on account of, among other things, initiating ACH payments, wires, or checks. The

Bank Fees average approximately $7,112 per month and are deducted from the Debtors’ Bank

statements at the end of each month. As of the Petition Date, the Debtors do not believe that they

have any Bank Fees currently due and owing. However, out of an abundance of caution, and to

ensure continued access to the Bank Accounts and related banking services, the Debtors seek

authority to pay any prepetition Bank Fees that may have been incurred and to continue to pay the

Bank Fees in accordance with past practices.

       82.     Corporate Cards. As part of the Cash Management System, and in the ordinary

course of business, the Debtors maintain company-provided American Express credit cards (the

“Corporate Cards”) that employees are required to utilize to pay for certain work-related

expenses, travel expenses, business meals, and other small, non-recurring expenses. Certain of the

Debtors’ employees also use their Corporate Cards to pay for the Debtors’ recurring operating




                                               35
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                          Pg 36 of 270



costs, including monthly hosting fees for Amazon Web Services, monthly fees for domain name

registrations, and annual fees for cloud storage providers. The Debtors directly incur the business-

related expenses through the Corporate Cards, without the Debtors’ employees incurring any

reimbursable expenses.       Employees submit business-related expenses for approval through

Concur®. Such reports are then automatically routed to the employee’s respective manager for

review and approval. The Debtors receive monthly statements from American Express for

purchases (the “Corporate Card Expenses”) made with the Corporate Cards in the preceding

month. The Debtors estimate that as of the Petition Date there are approximately $120,000 of

accrued but unpaid Corporate Card Expenses that will become due and payable within the interim

period.

          83.    Intercompany Transactions. In the ordinary course of business, the Main Operating

Accounts are used to meet the funding requirements of all of the Debtors. As best as possible,

collections and disbursements of the Debtor entities are kept in the respective Main Operating

Accounts (e.g., Acorda receipts are collected into, and obligations paid from, the Acorda Operating

Account and Civitas receipts are collected into, and obligations paid from, the Civitas Operating

Account).       However, in certain limited circumstances funds are comingled between Bank

Accounts and thus accounted for via an intercompany receivable / payable transaction (an

“Intercompany Transaction”). Examples of Intercompany Transactions include, but are not

limited to, when the Debtors receive a consolidated customer remittance for both Acorda and

Civitas, a vendor incorrectly invoices the wrong entity, or when payroll is made. In these

circumstances, payments made or receipts received are recorded in the Debtors’ books and records

and added to the respective intercompany balance. The Debtors engaged in these Intercompany

Transactions on a regular basis prepetition and believe that such Intercompany Transactions ensure




                                                36
 24-22284-dsj       Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                            Pg 37 of 270



the efficient operation of the Debtors’ enterprise. Consistent with their prepetition practices, the

Debtors intend to continue maintaining records and reconciling all Intercompany Transactions

postpetition in the ordinary course of business.

        ii.     Employee Motion

        84.     The Debtors seek interim and final orders (i) authorizing, but not directing, the

Debtors to (a) pay prepetition obligations on account of the Compensation and Benefits Programs11,

and (b) continue the Compensation and Benefits Programs in the ordinary course; and (ii) granting

related relief. I believe that failure to maintain the continued, uninterrupted services of the

Workforce could upend the Debtors’ smooth transition into chapter 11 and jeopardize the value of

the Debtors’ estates.

        85.     The Debtors believe that the vast majority of their Workforce relies on the

Compensation and Benefits Programs to pay for daily living expenses and to support their families.

These individuals will thus be exposed to significant financial constraints if the Debtors are not

permitted to continue their Compensation and Benefits Programs. Further, the Debtors’ failure to

honor their obligations in connection with the Compensation and Benefits Programs likely would

result in attrition at a time when the Debtors need their Workforce to maximize estate value by

facilitating the Debtors’ ongoing business operations.

        86.     As of the Petition Date, the Debtors owe approximately $2,854,000 on account of

the Compensation and Benefits Programs, of which $1,786,000 will become due and payable

during the interim period.

        87.     Compensation Obligations. In the ordinary course of business, the Debtors incur

obligations to the Workforce for (i) Employee Compensation, (ii) Withholding Obligations, (iii)


11
   The Compensation Obligations, Employee Benefits, Reimbursement Obligations, and Severance Obligations, each
as defined herein, are collectively referred to as the “Compensation and Benefits Programs.”


                                                     37
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                          Pg 38 of 270



Payroll Processing Fees, (iv) Independent Contractor Obligations, (v) Sales Representative

Obligations, and (vi) Temporary Worker Obligations (each of the foregoing terms as defined

herein and collectively, the “Compensation Obligations”). The Debtors seek authority to pay

certain prepetition amounts related to the Compensation Obligations and to continue to pay the

Compensation Obligations on a postpetition basis in the ordinary course of business and pursuant

to past practices.

        88.     Employee Compensation.        The Debtors pay Employees’ wages, salaries,

commissions, and bonuses. Employees are paid wages (the “Employee Wages”) on a bi-monthly

basis, on the 15th day of the month and the last day of the month. When the date of payment is a

weekend or holiday, the Employees are paid on the last working day preceding the weekend or

holiday. The Debtors estimate that their average gross payroll per payroll period for the Employee

Wages is approximately $920,000. The Debtors’ last regular, bi-weekly payroll was made on

March 29, 2024.

        89.     To acknowledge Employees’ hard work and commitment to the company, Acorda

provides Employees with a service award for each five-year milestone of service (the “Service

Awards”). The Service Awards differ depending on the milestone, but typically include a one-

time cash payment and/or additional days of paid time off (“PTO”). In 2023, Debtors paid

approximately $65,000 in Service Awards. The Debtors estimate that, as of the Petition Date,

there are no amounts with respect to the Service Awards that are due and owing.

        90.     Additionally, Employees responsible for field sales and commercial strategy for the

promotion and sale of the Debtors’ products are entitled to commissions for, among other things,

achieving certain sales or other performance objectives (“Employee Commissions,” and

collectively with the Employee Wages and Service Awards, the “Employee Compensation”).




                                                38
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                        Pg 39 of 270



Employee Commissions are paid quarterly and calculated based on the applicable Employee’s

performance on the last day of each respective quarter, with various incentive components

designed to align such Employee’s interests with the operational goals and objectives of the

Debtors. Employee Commissions are paid approximately ten weeks after the end of the applicable

quarter. Employee Commissions are an integral part of the aggregate compensation package for

eligible Employees and provide substantial value to the Debtors because they encourage such

Employees to achieve important performance goals, including maintaining strong revenue.

Payment of Employee Commissions is critical to maintaining the morale and productivity of the

Debtors’ operational salesforce and to maximizing the value of the Debtors’ estate.

       91.    Consistent with past practice, Employee Commissions for the quarterly period

ending March 31, 2024 (the “Q1 Commissions”) would be paid to eligible Employees no sooner

than ten weeks after March 31, 2024. The Debtors estimate that the Q1 Commissions total

approximately $360,000, based on estimated Employee performance. The Debtors seek authority

to pay the Q1 Commissions pursuant to the Final Order, and to continue to honor and pay

Employee Commissions in the ordinary course and consistent with past practices.

       92.    Withholding Obligations. The Debtors are required by law to withhold income

taxes, as well as Social Security and Medicare taxes (collectively, the “Withholding Taxes”) and

remit them to the appropriate taxing authorities. The Debtors are also required to make payments

from their own funds on account of Social Security and Medicare taxes and to pay for, among

other things, state and federal unemployment insurance (collectively, the “Payroll Taxes” and,

together with the Withholding Taxes, the “Payroll Tax Obligations”). The Debtors also are

required by law to withhold from certain Employee’s Wages amounts for various garnishments,

such as tax levies, child support or other court-ordered garnishments (together with the Payroll




                                               39
 24-22284-dsj        Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                           Pg 40 of 270



Tax Obligations, the “Withholding Obligations”). Accordingly, the Debtors seek authority to

remit such prepetition Withholding Obligations, and to continue to remit Withholding Obligations

on a postpetition basis to the appropriate parties when such amounts become due in the ordinary

course of business and consistent with past practices. As of the Petition Date, there are no amounts

with respect to the Withholding Obligations that are due and owing.

       93.        Payroll Processing Fees. The Debtors use UKG as their payroll administrator to

processes payment of Employee Compensation and transmit Withholding Obligations to the

Employees and various tax authorities, for which service the Debtors pay certain fees (the “Payroll

Processing Fees”). As of the Petition Date, the Debtors owe UKG approximately $9,000 in

accrued but unpaid Payroll Processing Fees, of which $9,000 will become due and payable in the

interim period.

       94.        Independent Contractor Obligations. In addition to the Employees, the Debtors rely

on 30 Independent Contractors that provide technical and industry knowledge in key areas

including quality reviews, compliance metrics, strategic market access, corporate registration and

filing, human resources, information technology, and marketing. A number of the Independent

Contractors are former employees retained to provide continued support given their specialized

knowledge of the Debtors’ operations and the pharmaceutical industry.             The Independent

Contractors’ skills, knowledge, and understanding with respect to the Debtors’ operations are

essential to preserving the value of the Debtors’ estates. The Independent Contractors are

compensated by the Debtors for such services (the “Independent Contractor Obligations”) in

accordance with their individual contracts. As of the Petition Date, the aggregate amount of earned

but unpaid Independent Contractor Obligations totals approximately $335,000, of which

approximately $335,000 will become due and payable during the interim period.




                                                  40
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 41 of 270



       95.     Sales Representative Obligations. The Debtors contract with Syneos Health to

provide full-time Contracted Sales Representatives to promote the Debtors products. As of the

Petition Date, Syneos Health provides 29 Contracted Sales Representatives to promote the Debtors

products in the field, including to potential prescription writers and/or customers. The Contracted

Sales Representatives also earn quarterly commissions similar to the Employee Commissions,

which are based on the Contracted Sales Representatives’ achievement of certain sales or other

performance objectives.     The Debtors pay Syneos Health a fixed monthly fee, the Sales

Representatives’ commissions, and certain travel, recruitment, and training expenses (collectively,

the “Sales Representative Obligations”). As of the Petition Date, the aggregate amount of

accrued but unpaid Sales Representative Obligations totals approximately $1,495,000, of which

approximately $890,000 will become due and payable during the interim period.

       96.     Temporary Worker Obligations. In the ordinary course of business, the Debtors

hire Temporary Workers through the Temporary Staffing Agencies and remit to the Temporary

Staffing Agencies payment for the services provided by the Temporary Workers and

administrative fees for services rendered by the Temporary Staffing Agencies (the “Temporary

Worker Obligations”). As of the Petition Date, the Debtors had 13 Temporary Workers that

provide staffing support across certain departments, including accounts payable, information

technology, communications, and legal and compliance. In addition, Temporary Workers are

engaged to supplement and support sales campaigns, including tele-sales support for brand

promotion. The average monthly amount paid on account of the Temporary Worker Obligations

is approximately $121,507. As of the Petition Date, the aggregate amount of earned, but unpaid

Temporary Worker Obligations totals approximately $152,000, of which approximately $152,000

will become due and payable during the interim period.




                                                41
 24-22284-dsj         Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                           Pg 42 of 270



       97.     Health and Welfare Benefits. In the ordinary course of business, the Debtors

provide various employee benefits programs to eligible Employees. As part of these employee

benefits, the Debtors offer their Employees the ability to participate in a number of health-related

plans and policies, including (i) the Medical Plan, (ii) the Dental Plan, (iii) the Vision Plan, (iv)

the FSA, and (v) the Insurance Obligations (as each is defined below and collectively, the “Health

and Welfare Benefits”). The Health and Welfare Benefits are available to full-time Employees

who are scheduled to work 30 or more hours per week. The Debtors seek authority to pay certain

prepetition amounts related to the Employee Benefits and to continue to pay the Employee Benefits

on a postpetition basis in the ordinary course of business and pursuant to past practices.

       98.     The Medical Plan. The Debtors provide a self-funded healthcare and prescription

plan to Employees and their families (the “Medical Plan”) that is administered by Cigna. The

Debtors fund a majority of the Medical Plan through their own contributions and take regular

deductions from Employee Wages to fund the remainder of the Medical Plan. As the Medical Plan

is self-funded, the Debtors’ costs are subject to fluctuations depending upon the number and

amount of claims filed by Employees in any given month. As of the Petition Date, the Debtors

estimate they owe approximately $275,000 on account of accrued but unpaid Medical Plan claims

and administrative fees, of which approximately $178,000 will become due and payable during

the interim period.

       99.     The Dental and Vision Plan. The Debtors also offer their Employees the option of

participating in dental insurance coverage (the “Dental Plan”) and vision insurance coverage (the

“Vision Plan”), both of which are administered by Cigna. Employees and their dependents are

able to participate in the Dental Plan and Vision Plan regardless of whether they are enrolled in

the Medical Plan. The Dental Plan and Vision Plan are self-funded and the premiums are paid on




                                                 42
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                         Pg 43 of 270



a monthly basis by the Debtors.      As of the Petition Date, the Debtors estimate they owe

approximately $13,000 on account of the Dental Plans and Visions Plan, of which $7,000 will

become due and payable during the interim period.

       100.   FSA. The Debtors also offer their Employees the opportunity to contribute a

portion of their pre-tax compensation to pay for IRS-eligible healthcare, dependent care, and

commuter expenses that are not covered by insurance plans through a flexible spending account

program (the “FSA”). As of the Petition Date, there are no amounts with respect to administrative

fees and other costs related to the FSA that are due and owing.

       101.   Insurance Obligations. The Debtors also offer life insurance, accidental death and

dismemberment insurance, short-term disability insurance, long-term disability insurance, long-

term care insurance, the employee assistance program, and the option to purchase additional

supplemental insurance (the “Insurance Plans”). The Debtors also subsidize or continue to

provide certain benefits to certain former Employees for 18 months after their termination,

retirement, or disability leave, including, without limitation, benefits provided under the

Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA,” and collectively with the

Insurance Plans, the “Insurance Obligations”). The former Employees pay the premiums on the

Insurance Obligations. As of the Petition Date, the aggregate amount of accrued and outstanding

Insurance Obligations total approximately $15,000, of which $15,000 will become due and

payable during the interim period.

       102.   Stop Loss Policy. The Debtors maintain an aggregate stop loss policy with Cigna

related to the self-insured Medical Plans (the “Stop Loss Policy”). The Stop Loss Policy protects

the Debtors against catastrophic claims, and generally provides an individual stop loss limit of

$165,000 for each individual covered under the Medical Plans on a policy year basis. The Debtors




                                               43
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 44 of 270



pay approximately $30,000 per month in Stop Loss Policy premiums. As of the Petition Date,

there are no amounts with respect to premiums for the Stop Loss Policy that are due and owing.

       103.    Paid Leave. In the ordinary course of business, the Debtors provide PTO to certain

of their Employees, which may be used for vacation or personal time. PTO generally accrues at

specific rates based on the Employee’s length of service and position. Typically, Employees

receive up to 15 days of PTO in their first year of employment, prorated depending on when an

employee is hired. Employees receive one additional day of PTO for each additional year of

service, which is capped at 20 days, after the Employee’s sixth year of service. Employees who

reach 10 years of service receive an additional five (5) days of PTO to be used consecutively within

the year it is earned. Employees who reach 15 years of service receive an additional 20 days of

PTO to be used consecutively within two (2) years. Employees who reach 20 years of service

receive an additional 10 days of PTO that must be used in blocks of at least five (5) days and used

within two (2) years. After 25 years of employment, Employees receive a total of 25 days of PTO.

Aside from the specific exceptions noted below, accrued but unused PTO is generally paid out at

termination.

       104.    Employees working in California may carry over accrued but unused PTO up to the

equivalent of one and one-half times their annual PTO allotment based on their current length of

service (the “Accrual Cap”). Once the Employee’s accrued but unused PTO reaches the Accrual

Cap, PTO will stop accruing until PTO is taken and the accumulated PTO falls below the Accrual

Cap. For all other Employees not in California, certain amounts of accrued but unused PTO may

roll over, depending on the position of the Employee. Employees at the senior director level or

above may carry over up to 10 days of PTO. Employees from the associate to the director level

may carry over up to five (5) days of PTO. In limited circumstances, if an associate is unable to




                                                44
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 45 of 270



take PTO for a valid business reason, additional carryover days may be granted if certain criteria

are met.   As of the Petition Date, the Debtors estimate that the Employees have accrued

approximately $715,000 for unused prepetition PTO. This amount, however, is not a current cash

payment obligation.

       105.    The Debtors also provide other forms of paid leave for certain eligible Employees

as a benefit, including for holidays, jury duty, bereavement leave, military leave, leave under the

Family and Medical Leave Act (the “FMLA”), voting leave, and parental leave (with PTO,

collectively “Paid Leave”). These other forms of Paid Leave do not involve incremental cash

outlays beyond standard payroll obligations. The Debtors believe that the continuation of Paid

Leave policies in accordance with past practice is essential to maintaining Employee morale during

these Chapter 11 Cases, and thus seek to continue their Paid Leave practices in the ordinary course

and consistent with past practices.

       106.    401(k) Plan. The Debtors maintain a retirement savings plan for the benefit of their

Employees (the “401(k) Plan”), managed and administered by Empower Annuity Insurance

Company of America. The 401(k) Plan allows for automatic pre-tax or post-tax salary deductions

of eligible compensation (the “Contribution”) up to the limits set forth by the Internal Revenue

Code. Employees who do not make a Contribution election within 30 days of being hired are

automatically enrolled with a 10% Contribution, which can be changed at the Employee’s election

at any time. Acorda matches 50% of an Employee’s Contribution, up to a maximum of 6% of the

Employee’s eligible compensation. In 2023, the Debtors’ matching obligations for the 401(k) Plan

average approximately $50,000 per month. As of the Petition Date, the Debtors believe they are

current on the 401(k) Plan matching obligations.




                                                45
 24-22284-dsj        Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                            Pg 46 of 270



        107.     Workers’ Compensation.          The Debtors also maintain workers’ compensation

insurance coverage (the “Workers’ Compensation Program”). Under the laws of the states

where the Debtors operate,12 the Debtors are required to maintain the Workers’ Compensation

Program for their Employees for claims arising from or related to their employment with the

Debtors. To implement the Workers’ Compensation Program, the Debtors maintain a workers’

compensation policy through Berkley Life Sciences (the “Workers’ Compensation Policy”).

The premium for the Workers’ Compensation Policy is approximately $30,000 and paid annually

for the complete policy period. As of the Petition Date, there are no amounts owed with respect

to the Workers’ Compensation Policy. Additionally, there are currently no covered workers’

compensation claims open against the Debtors. Accordingly, as of the Petition Date, the Debtors

do not owe any obligations for claims under the Workers’ Compensation Program.

        108.     Vehicle Reimbursement Program. The Debtors maintain a vehicle reimbursement

program (the “Vehicle Reimbursement Program”), pursuant to which certain Employees using

their personal vehicles for business purposes are reimbursed consistent with the rate per mile

allowance as published by the Internal Revenue Service. The Vehicle Reimbursement Program is

administered by Motus, LLC (“Motus”), and the Debtors pay certain administration fees to Motus

(the “Motus Fees”). In the three months before the Petition Date, the average monthly amount

paid on account of the Vehicle Reimbursement Program, including the Motus Fees, was

approximately $31,000. As of the Petition Date, the Debtors estimate they owe approximately

$35,000 on account of the Vehicle Reimbursement Program and the Motus Fees, of which $35,000

will become due and payable during the interim period.



12
  The Debtors operate in the following states: Alabama, Arizona, California, Colorado, Florida, Idaho, Illinois,
Kentucky, Louisiana, Maine, Massachusetts, Michigan, Missouri, New Hampshire, New Jersey, New York, North
Carolina, Ohio, Tennessee, Texas, and Wisconsin.


                                                      46
 24-22284-dsj       Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                          Pg 47 of 270



          109.   Other Employee Programs. In addition to the foregoing, the Debtors have certain

other practices, programs, and policies that provide benefits to their Employees, such as an

employee assistance program that offers confidential access to counseling, programs, and services

needed to balance home and work life (the “Other Employee Programs”). The Debtors intend

to continue and honor such practices, programs, and policies after the Petition Date, and such

practices, programs, and policies may be modified, amended, or supplemented from time to time

in the ordinary course of the Debtors’ business. As of the Petition Date, the Debtors estimate that

there are no amounts due and owing with respect to the Other Employee Programs.

          110.   Reimbursement Obligations. In the ordinary course of business, the Debtors

reimburse its Employees for reasonable business-related expenses that the Employees may pay out

of pocket while performing their duties on behalf of the Debtors (the “Reimbursement

Obligations”). These Reimbursement Obligations include reasonable business travel expenses

such as airfare, car rentals, lodging, and business meals. Business travel must be approved in

advance and expenses submitted as soon as possible after being incurred. Once processed,

Reimbursement Obligations are paid to the Employees via direct deposit. As of the Petition Date,

the Debtors estimate that approximately $165,000 in prepetition amounts have accrued in relation

to Reimbursement Obligations, of which $165,000 will become due and payable during the interim

period.

          111.   Severance Obligations. In the ordinary course of their business, the Debtors have

a practice of providing severance and other benefits (including accrued but unused PTO in

accordance with the policies described above) to Employees. The Debtors’ severance policy (the

“Severance Policy”) provides for certain severance benefits to Employees that do not otherwise

have an individual agreement in the event of a termination of employment. Under this Severance




                                                47
 24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                           Pg 48 of 270



Policy, the Debtors provide all eligible employees with (i) a lump-sum cash payment equal to three

months’ salary, and (ii) a lump-sum payment in lieu of COBRA benefits (collectively, the

“Severance Obligations”). As of the Petition Date, there are no accrued but unpaid Severance

Obligations. However, the Debtors anticipate that, as a result of the sale of substantially all the

Debtors’ assets, certain Employees will be terminated and the Debtors will incur approximately

$4,385,000 in Severance Obligations, which payments the Debtors believe arise entirely

postpetition.

        iii.    Taxes Motion

        112.    In the ordinary course of the Debtors’ businesses, the Debtors collect, withhold, and

incur sales and use, income, personal property, franchise, and other governmental taxes, fees, and

assessments (collectively, the “Taxes and Regulatory Fees”) that they remit periodically to

various federal, state, and local government entities (collectively, the “Governmental

Authorities”). With the exception of the sales and use taxes, the Debtors generally pay and remit

the Taxes and Regulatory Fees to the applicable Governmental Authorities through checks and

electronic transfers that are processed through their Banks and other financial institutions. From

time to time, the Debtors may also receive tax credits for overpayments or refunds in respect to

Taxes and Regulatory Fees. The Debtors generally use these credits in the ordinary course of

business to offset against future Taxes and Regulatory Fees, or the amount of such credits are

refunded to the Debtors. The Debtors seek entry of interim and final orders authorizing (i) the

Debtors to pay Taxes and Regulatory Fees owed to the Governmental Authorities, whether

asserted prior to, on or after the Petition Date, and (ii) granting related relief.

        113.    Sales and Use Taxes. The Debtors incur, collect, and remit state and local sales and

use taxes to various Governmental Authorities in connection with the sale of their Products and




                                                   48
 24-22284-dsj         Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59         Main Document
                                           Pg 49 of 270



the purchase of inventory and supplies (the “Sales and Use Taxes”). The Debtors pay Sales and

Use Taxes on a monthly, quarterly, semi-annual, or annual basis depending upon the relevant

jurisdiction. As of the Petition Date, the Debtors owe approximately $15,200 in prepetition Sales

and Use Taxes that have not yet become due and payable, of which approximately $13,500 will

become due and payable during the interim period. In the ordinary course of business, the Debtors

utilize a third-party, Vertex Inc. (“Vertex”), to manage and administer payments of the Debtors’

Sales and Use Taxes to the applicable Governmental Authorities. The Debtors typically pay

Vertex a monthly processing fee of $1,647 per month in arrears (the “Vertex Fees”). As of the

Petition Date, the Debtors estimate that approximately $3,294 is due and owing to Vertex on

account of the Vertex Fees, of which approximately $3,294 will become due and payable during

the interim period.

       114.    Income Taxes. The Debtors are required to make payments for amounts due to

certain Governmental Authorities that require that the Debtors pay income or corporate taxes

(“Income Taxes”). Generally, most Income Taxes are calculated as a percentage of net income

(the difference between gross receipts and expenses, after accounting for additional write-offs).

As of the Petition Date, the Debtors owe approximately $1,419,000 in prepetition Income Taxes

that have not yet become due and payable, of which $1,392,900 will become due and payable

during the interim period.

       115.    Personal Property Taxes. The Debtors are required to pay certain taxes on their

personal property that is located in the facility in Waltham, Massachusetts (the “Personal

Property Taxes”), which Acorda Therapeutics, Inc. leases from a third-party landlord. The

Personal Property Taxes are due on a quarterly basis. As of the Petition Date, the Debtors estimate




                                                49
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                          Pg 50 of 270



that they owe approximately $133 in prepetition Personal Property Taxes, all of which will become

due and payable after the interim period.

       116.    Franchise Taxes. The Debtors are required to pay certain state franchise taxes and

related fees (the “Franchise Taxes”) to operate their businesses in particular jurisdictions. Certain

states may refuse to qualify a company to do business in the state, or recognize a name change,

merger, or other activity if the Franchise Taxes have not been paid. The Debtors generally pay

Franchise Taxes on an annual basis. As of the Petition Date, the Debtors estimate that they owe

approximately $135,700 in prepetition Franchise Taxes, all of which will become due and payable

during the interim period.

       117.    Regulatory, Health, and Safety Fees and Assessments. In connection with the

normal operations of their businesses, the Debtors incur various fees and assessments in

connection with domestic and foreign health and safety laws and regulations, and participation in

state and federal regulatory programs and boards (collectively, the “Regulatory, Health, and

Safety Fees and Assessments”). These Regulatory, Health, and Safety Fees and Assessments

include certifications, distribution licenses, product registration fees, wholesaling licenses, and

manufacturer licenses. Certain of the Regulatory, Health, and Safety Fees and Assessments carry

substantial administrative, civil, and criminal penalties in the event the Debtors fail to comply as

required. The Debtors are required to remit these Regulatory, Health, and Safety Fees and

Assessments to the relevant Governmental Authorities primarily on an annual or biannual basis.

As of the Petition Date, the Debtors estimate that they owe approximately $39,100 in prepetition

Regulatory, Health, and Safety Fees and Assessments, all of which will become due and payable

during the interim period.




                                                 50
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                          Pg 51 of 270



        iv.     Utilities Motion

        118.   In the ordinary course of their businesses, the Debtors obtain electricity, telephone,

internet, gas, and other essential utility services (collectively, the “Utility Services”) from a

number of utility companies (collectively, the “Utility Providers”). The Debtors rely on the

Utility Providers to provide Utility Services at their office in Pearl River, New York and the facility

in Waltham, Massachusetts. I believe that preserving the Utility Services on an uninterrupted basis

is essential to the Debtors’ ongoing operations, and even a brief alteration or discontinuation of

service would likely cause severe disruption to the Debtors’ operations. Accordingly, the Debtors

seek entry of interim and final orders (i) establishing procedures for determining adequate

assurance of payment to the Utility Providers, (ii) finding Utility Providers adequately assured of

payment, (iii) prohibiting Utility Providers from altering, refusing or discontinuing Utility Services,

and (iv) granting related relief.

        119.   The Debtors have historically paid the Utility Providers in the ordinary course of

business in a timely manner. To the best of the Debtors’ knowledge, there are no material defaults

or arrearages with respect to the Debtors’ undisputed Utility Services invoices, other than payment

interruptions that may be caused by the commencement of these Chapter 11 Cases. The Debtors’

aggregate average monthly cost for Utility Services is approximately $49,157.

        120.   The Debtors intend to pay all undisputed postpetition obligations owed to Utility

Providers in a timely manner. The Debtors expect that their cash on hand, cash generated in the

ordinary course of business, and proceeds from the Debtors’ postpetition financing facility will be

sufficient to timely pay all postpetition obligations owed to the Utility Providers in the ordinary

course of business.




                                                  51
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 52 of 270



       121.    However, to provide adequate assurance to the Utility Providers, the Debtors

propose to deposit into a segregated account for the benefit of the Utility Providers (the “Adequate

Assurance Account”) an amount equal to one-half of one month’s cost of Utility Services,

calculated based on a historical average over the last twelve months (the “Adequate Assurance

Deposit”). The aggregate amount of the proposed Adequate Assurance Deposit is approximately

$24,578. The Adequate Assurance Deposit will be held by the Debtors in the Adequate Assurance

Account for the benefit of the Utility Providers during the pendency of the Chapter 11 Cases and

the Debtors will not use the Adequate Assurance Account for any purpose other than holding the

Adequate Assurance Deposit.

       v.      Customer Programs Motion

       122.    Prior to the Petition Date and in the ordinary course of their business, the Debtors

offered various programs that are integral to the sale of their Products (the “Customer and Sales

Programs”). The Debtors’ Customer and Sales Programs include, among other things, (i) Prompt

Pay Discounts, (ii) Product Return Policy, (iii) Chargeback Program, and (iv) Co-Pay Discount

Program (each as defined below).       Through these Customer and Sales Programs, the Debtors

provide certain incentives, discounts, and other accommodations and incur obligations thereunder

(the “Customer and Sales Programs Obligations”). The Debtors seek entry of interim and final

orders (i) authorizing the Debtors to (a) maintain and administer the Customer and Sales Programs,

and (b) pay and honor related prepetition Customer and Sales Programs Obligations (including by

way of ordinary course setoffs and recoupment), and (ii) granting related relief, including (a)

granting relief from the automatic stay to permit setoffs in connection with the Customer and Sales

Programs and permit TrialCard (as defined below) to draw down on the Debtors’ deposit and (b)

authorizing financial institutions to receive, process, honor and pay related checks or transfers.




                                                 52
 24-22284-dsj      Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                            Pg 53 of 270



       123.    The Debtors’ Customer and Sales Programs are customary in the pharmaceutical

industry and essential to preserving the value of the Debtors’ businesses. These Customer and

Sales Programs are necessary to preserve the Debtors’ critical relationships with their Customers

(as defined herein) and, ultimately, to provide the Products to patients in a timely and cost efficient

manner. Maintaining the goodwill of the Debtors’ Customers is vital to the Debtors’ ongoing

operations and the preservation and maximization of stakeholder value. Indeed, absent the ability

to continue the Customer and Sales Programs and to satisfy prepetition obligations in connection

therewith, the Debtors risk losing their current market share in an already competitive market and

negatively impacting their business and revenue growth.

       124.    The Debtors sell the Products to a variety of customers, including Specialty

Pharmacies and its Wholesaler, ASD Specialty Healthcare, Inc., an affiliate of AmerisourceBergen

Corp. (the Wholesaler and Specialty Pharmacies are collectively referred to as the “Distributors”).

The Debtors also sell the Products to customers through direct purchase accounts, which primarily

include university-affiliated medical centers, integrated delivery networks, and independently

owned local pharmacies (together with the Distributors, the “Customers”).

       125.    The Products are primarily distributed in the United States through Specialty

Pharmacies. Between January 1, 2023, and January 31, 2024, Specialty Pharmacies accounted for

approximately 98% of Ampyra sales and 90% of Inbrija sales in the United States, with sales to

the other Customers accounting for approximately 2% and 10% of Ampyra and Inbrija sales in the

United States, respectively.

       126.    Prompt Payment Discounts. The Debtors sell the Products to Customers at either

the wholesale acquisition cost (the “WAC”), which is the base price set by the Debtors in their

sole discretion and adjusted from time to time, or at a contractually-agreed price, which is typically




                                                  53
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 54 of 270



less than the WAC. In the ordinary course of business, the Debtors offer cash discounts to their

Customers if amounts owed are paid within an agreed-upon period of time (the “Prompt Payment

Discounts”). The Prompt Payment Discount is typically a one percent (1%) discount on Ampyra

and a two percent (2%) discount on Inbrija, off of either the WAC or the contract price (as

applicable). Prompt Payment Discounts are standard in the Debtors’ industry, and the program

incentivizes Customers to remit payments promptly. Paying and honoring the Prompt Pay

Discounts is vital to preserving Customer loyalty and goodwill, as it demonstrates the Debtors’

ability to provide the Products on competitive terms. Prompt Payment Discounts are typically

applied in the form of a setoff or recoupment against the Debtors’ accounts receivable at the time

of prompt payment of the relevant receivable.

       127.   For the last quarter of 2023, on average, the Debtors accrued approximately

$205,000 per month in Prompt Payment Discounts. As of the Petition Date, the Debtors estimate

that approximately $230,000 has accrued in Prompt Payment Discounts, all of which is expected

to become due and payable in the interim period. Failure to pay and honor the Prompt Pay

Discounts would likely result in loss of Customer loyalty or market share and an erosion of

Customer satisfaction and goodwill, as the Debtors would not be providing their Products on

market-competitive terms, causing Customers to seek alternative pharmaceutical treatments or

generic versions of the Debtors’ Product, where available, or reduce purchasing the Product. The

Debtors seek authority to continue to offer the Prompt Payment Discounts and allow their

Customers to continue to setoff or recoup amounts against the Debtor’s accounts receivable in the

ordinary course and pursuant to prepetition customary terms between the Debtors and their

Customers, even if such amounts constitute prepetition claims.




                                                54
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 55 of 270



       128.    Product Return Policy. In the ordinary course of business, the Debtors allow

Customers to return purchased Products that they may be unable to sell, typically because the

Product is near or beyond its expiration date or damaged (a “Return”). The expiration date of the

Products is approved by the FDA. The Products have an expiration period of 36 months from the

date of manufacture. Customers may return the expired Product within six (6) months prior to and

12 months after the expiration date and may return damaged goods if the Debtors are notified of

the damage within five (5) days of receipt of the damaged goods (the “Product Return Policy”).

Returns are applied in the form of a setoff or recoupment against accounts receivable and are not

paid separately by the Debtors.

       129.    The Product Return Policy is both a valuable safety net for the Customers and their

retail network (who can, in turn, return Products to the Customers) and an important Customer

retention tool for the Debtors. Due to a number of potential factors, including consumer demand,

Product production, distribution timing, and Product expiration, the Debtors’ Products may reach

their expiration date before they are sold. Policies similar to the Debtors’ Product Return Policy

are standard in the pharmaceutical industry and provide necessary comfort to the Debtors’

Customers and are thus vital to maintaining Customer loyalty and goodwill.

       130.    For the last quarter of 2023, the Debtors had no liability for Product Returns. As

of the Petition Date, the Debtors estimate that there are no amounts that are due and owing related

to prepetition Returns under the Product Return Policy. Notwithstanding that, failure to honor the

Product Return Policy would erode Customer loyalty and goodwill. Customers would likely

decrease Product purchases, resulting in decreased revenues, Product outages, and ultimately,

reduced market share. By this Motion, the Debtors seek authority to continue to honor valid

Returns under the Product Return Policy and continue to allow credits against Customer payments




                                                55
 24-22284-dsj     Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                           Pg 56 of 270



to the Debtors for Returns under the Product Return Policy, in each case, in the ordinary course of

business.

       131.    The Chargeback Program.       The Debtors’ participation in certain government

programs—specifically, the 340B Program and the FSS (each as defined below)—requires the

Debtors’ Wholesaler to sell the Products at a price lower than either the WAC or contract price.

In such cases, the Debtors are subject to an obligation to compensate the Wholesaler for the

deficiency. Accordingly, the Wholesalers will submit a chargeback request to the Debtors in an

amount equal to the difference between the sale price (i.e., the price that the Wholesaler sold the

Products to their customers) and the purchase price (i.e., the price that the Wholesaler purchased

the Products from the Debtors) (the “Chargeback Program”). The Wholesaler typically deducts

the amounts due on account of the Chargeback Program against outstanding payments due to the

Debtors for Product purchases (a “Chargeback”) and, therefore, the Debtors generally do not

make a cash payment to the Wholesaler for Chargebacks under the Chargeback Program.

       132.    340B Program. The Debtors are enrolled in the 340B drug pricing program, which

is a federal program provided through the U.S. Department of Health and Human Services (the

“340B Program”). Certain hospitals and health care facilities (the “340B Covered Entities”)

that predominantly serve low- income patients receive payments from the Centers for Medicare

& Medicaid Services to cover the costs of providing care to uninsured patients. Under the 340B

Program, the Debtors must offer the Products to 340B Covered Entities at significantly reduced

prices (which prices are set by statute and calculated on a quarterly basis) as compared to the

private end-customer price.    340B Covered Entities purchase the Products at these reduced rates

through the Wholesaler, which then submits a Chargeback to the Debtors for the difference




                                                56
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 57 of 270



between the either the WAC or contract price that the Wholesaler paid to the Debtors and the

discounted price that the 340B Covered Entity paid to the Wholesaler.

       133.    Federal Supply Schedule. To participate in Medicaid, the Debtors must comply

with the Federal Supply Schedule (“FSS”). The FSS requires the Debtors to offer deeply

discounted pricing for the Products to federal agencies such as the U.S. Department of Veterans

Affairs, the U.S. Department of Defense, the Coast Guard, and the Public Health Service

(collectively, the “FSS Organizations”). The FSS establishes the maximum amount that can be

charged to the FSS Organizations for pharmaceuticals based upon a formula that is set annually

(“FSS Price”). This federally-mandated pricing that is often significantly lower than the WAC

for the Products. Typically, the FSS Organizations place orders for the Products through the

Wholesaler, which purchases the Products from the Debtors at the WAC and delivers them to

various hospitals and clinics at the FSS Price. In cases where the FSS Price is lower than the WAC,

the Wholesaler charges back the price difference to the Debtors. Participation in the Medicaid

program is an important component of the Debtors’ business, and the Chargeback Program is key

to the Debtors’ continued ability to do so.

       134.    The Chargeback Program is standard in the pharmaceutical industry. For the last

quarter of 2023, the Debtors’ average monthly liability for the Chargeback Program was

approximately $335,000. As of the Petition Date, the Debtors estimate that approximately

$750,000 in liabilities have accrued in connection with the Chargeback Program, of which

$400,000 is expected to become due and payable in the interim period. Failure to pay and honor

the prepetition Chargebacks would likely result in loss of Wholesaler loyalty and goodwill. If the

Debtors are unable to honor the Chargebacks, the Wholesaler may seek alternative pharmaceutical

treatments or generic alternatives, where available, to meet its demand, further resulting in a loss




                                                57
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                          Pg 58 of 270



of market share. The Debtors seek authority to continue the Chargeback Program and allow their

Wholesaler to continue to setoff or recoup amounts against the Debtor’s accounts receivable in the

ordinary course and pursuant to prepetition customary terms between the Debtors and their

Wholesaler, even if such Chargebacks constitute prepetition claims.

       135.     Patient Co-Pay Discount Program. The Debtors participate in patient discount and

assistance programs through the use of co-pay discounts in connection with the sale of the Products

(the “Co-Pay Discount Program”). Co-pay discounts are offered to commercially-insured

patients to help reduce or eliminate the out-of-pocket costs set by the patients’ health insurers.

Through the Co-Pay Discount Program, the Debtors fund some or all of a patient’s co-pay—

enabling the patient to purchase the Debtors’ Products without incurring the full financial liability

of the co-pay

       136.     When a patient utilizes the co-pay discount as part of a purchase, the pharmacy will

submit the co-pay claim and transaction receipt to the Debtors’ contracted co-pay claims

adjudicator, TrialCard (n/k/a Mercalis) (“TrialCard”) and seek reimbursement of the discount

provided. TrialCard reviews the co-pay claim and reimburses the pharmacy for qualifying co-pay

claims, with such reimbursements funded from a deposit provided by the Debtors as described

below. TrialCard charges monthly adjudication fees for these services. Absent authority to honor

any prepetition claims, the Debtors will have to analyze all co-pay claims to determine whether

they are pre- or postpetition, creating a costly and time-consuming administrative burden that the

Debtors and their estates cannot reasonably undertake. Further, in the event of any delays or

interruptions to TrialCard’s services, it would not be feasible to use an alternative co-pay claims

adjudicator or to bring the adjudication tasks in house.




                                                 58
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 59 of 270



       137.    The Co-Pay Discount Program is a critical marketing effort and similar programs

are typical in the pharmaceutical industry. The Co-Pay Discount Program provides patients with

access to the Debtors’ Products and allows the Debtors to keep their prices competitive and more

accessible for patients. Any interruption in TrialCard’s services will likely have a significant

adverse impact on the Debtors’ ability to reduce financial barriers for patients to access the

Products and increase their target market, thus having a detrimental impact on the Debtors’

business.

       138.    TrialCard utilizes a deposit balance, provided by the Debtors, to settle co-pay

reimbursement claims of pharmacies.        The deposit amount held by TrialCard is generally

replenished by the Debtors on a bi-monthly basis once TrialCard provides an invoice specifying

the required sums for the replenishment of the deposit, along with any applicable adjudication fees.

The average monthly liability of the Debtors to replenish Trial Card’s deposit in connection with

the Co-Pay Discount Program for January and February 2024 was approximately $950,000, and

the average liability for services payable to TrialCard was $28,000. The Debtors seek the authority

to continue the Co-Pay Discount Program and to satisfy any prepetition obligations related to the

Co-Pay Discount Program (i) by permitting TrialCard to draw on the Debtors’ deposit to settle co-

pay reimbursement claims in the ordinary course, even if such claims constitute prepetition claims;

(ii) by allowing the Debtors to replenish TrialCard’s deposit for the portion drawn down to satisfy

prepetition claims, which the Debtors estimate will be approximately $1,250,000, of which

approximately $1,000,000 is expected to be replenished in the interim period; and (iii) by

authorizing payment of amounts owed for TrialCard’s prepetition administrative services.

       vi.     Critical Vendor Motion




                                                59
 24-22284-dsj          Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                        Main Document
                                               Pg 60 of 270



         139.     The Debtors rely on third-party vendors to provide goods and services that are

essential to the Debtors’ operations, including the manufacturing and marketing of its Products

(the “Critical Vendors”). The Debtors seek entry of interim and final orders (i) granting them the

authority in their sole discretion to pay all or a portion of their prepetition obligations to certain

Critical Vendors in an amount not to exceed $2,000,000 on an interim basis, (ii) authorizing

financial institutions to receive, process, honor and pay checks or electronic transfers used by the

Debtors to pay the foregoing, and (iii) granting related relief. To identify vendors to be paid

pursuant to the relief requested in this Motion, the Debtors, in consultation with their advisors,

closely reviewed their accounts payable and prepetition vendor lists, and consulted with employees

most familiar with the Debtors’ supply chain to identify those vendors that are most essential to

the Debtors’ operations.13

         140.     Specialty Manufacturers. In the ordinary course of their business, the Debtors rely

on third parties to (i) manufacture the active pharmaceutical ingredients (“APIs”) for its Products,

and (ii) manufacture the related components for its Products, including medical devices such as

inhalers (collectively, the “Specialty Manufacturers”). The Debtors do not have any internal

manufacturing capacity and do not take physical possession of the API, manufactured

pharmaceuticals, or the medical devices at any point in the supply chain. Rather, the Debtors rely

on other third-party manufacturers to manufacture the API into consumable pharmaceuticals, test



13
  The criteria considered included: (i) whether a vendor is a sole- or limited-source supplier of materials, parts, or
other services for use in the Debtors’ business; (ii) whether alternative vendors are available that can provide requisite
volumes, specifications, customization, and expedited delivery of similar goods or services on equal (or better) terms
and, if so, whether the Debtors would be able to continue operations without interruption while transitioning business
thereto; (iii) the degree to which replacement costs (including pricing, transition expenses, professional fees, and lost
sales or future revenue) exceed the amount of a vendor’s prepetition claim; (iv) whether an agreement exists by which
the Debtors could compel a vendor to continue performing on prepetition terms; (v) whether certain specifications,
customization, location, or other relevant characteristics of ongoing operations prevent the Debtors from obtaining
goods or services from alternative sources; and (vi) whether an amount less than the full amount of a vendor’s claim
could induce continuation of shipments.


                                                           60
 24-22284-dsj            Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59                      Main Document
                                                  Pg 61 of 270



the pharmaceuticals, package the Debtors’ commercial Product, and distribute the Product to end-

users.14 Any disruption to this supply chain could result in the failure to produce, or a delay in

production of, adequate supplies of the components necessary to manufacture the Debtors’

Products, delaying or reducing commercial sales, materially harming the Debtors’ businesses, and

negatively impacting the patients that rely on the Debtors’ Products.

           141.      The Specialty Manufacturers are sole-source providers and are already familiar

with the Debtors’ businesses and the above manufacturing processes. Further, in order to ensure

the quality of drug products, the FDA carefully monitors a drug manufacturer’s compliance with

its Current Good Manufacturing Practice (“CGMP”) regulations. For the Debtors to remain in

compliance with the CGMP regulations, each of their manufacturers and suppliers must also be in

compliance. The Debtors’ current manufacturers and suppliers have each passed the CGMP audit

and certification. To replace any of these vendors would require the Debtors to undertake an

exhaustive and costly regulatory and review process to ensure the manufacturing facilities and

processes of the new prospective vendor were also in compliance with the CGMP regulations.

Such process could take anywhere from six to twelve (12) months to complete. In short, the

Debtors’ business is ill-equipped to switch vendors or suppliers on short notice and faces

significant risks to its supply chain if certain prepetition amounts cannot be paid. Due to the

regulated nature of the Debtors’ business and its relationship with sole-source providers, the

Debtors have limited-to-no options for replacing the Specialty Manufacturers.

           142.      The Debtors do business with certain of their Specialty Manufacturers without the

benefit of contracts and, therefore, these Specialty Manufacturers generally are not obligated to do

business with the Debtors or to honor particular trade terms for future orders. Absent some



14
     For the Inbrija product, there is an added assembly step in this process, as the product includes an inhaler device.


                                                             61
 24-22284-dsj        Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                           Pg 62 of 270



payment of the prepetition Critical Vendor Claims, these Specialty Manufacturers may cease doing

business with the Debtors. Any failure of a Specialty Manufacturer to provide the necessary

product for delivery to the Debtors’ customers likely would create shortages in the Debtors’ supply

chain and adversely affect the customers’ willingness to do business with the Debtors in the future,

thereby impacting cash flow, profitability, and the ability of the Debtors to complete the sale of

their business.

       143.       Marketing Agencies. The Debtors engage advertising and creative agencies, some

of whom do not have contracts with the Debtors, to perform a range of marketing and promotional

activities, including but not limited to: (i) brand strategy development; (ii) promotional product

campaigns; (iii) production of promotional content (digital and physical); and (iv) coordination of

marketing events (the “Marketing Agencies”).          The market for developing and marketing

pharmaceutical products is highly competitive, and it is essential to the Debtors’ business that it

maintain its marketing efforts without interruption to preserve the Product brands. The Marketing

Agencies are subject to regulations that govern the sale and promotion of the Debtors Products,

which vary across jurisdiction and require the Marketing Agencies to have specialized knowledge

and experience to navigate these regulations effectively. As a result, it would be difficult, if not

impossible, to find replacement Marketing Agencies during these Chapter 11 Cases without

compromising the Product brands and incurring unnecessary replacement time and cost. The risk

of damage to the Product brands and certainty of additional fees and expenses in seeking a

replacement would no doubt outweigh the prepetition amounts owed to these Marketing Agencies.

       144.       Because the Debtors do not have contracts with certain Marketing Agencies, if the

Debtors fail to pay certain prepetition amounts owed, the Marketing Agencies could (i) cease

working on a project and keep all content or work that is not yet completed for a project, or (ii)




                                                 62
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 63 of 270



withhold any physical promotional materials used for the staging and hosting of marketing events

of the Debtor. Further, even if the Debtors do have a contract with the Marketing Agencies, certain

Marketing Agencies receive a substantial amount (25% or more) of their business from the Debtors,

and if they are not paid, would likely be rendered insolvent and unable to continue to provide the

Debtors services. Additionally, the Marketing Agencies have source files with data that may not

be compelled even if the Debtors do have contracts with the Marketing Agencies. Accordingly,

the Debtors seek authority, in their sole discretion, to pay any prepetition amounts owed to the

Marketing Agencies that it deems critical on a final basis.

       145.    Foreign Vendors. Although the Debtors believe that many of their foreign suppliers

of goods and services (collectively, the “Foreign Vendors”) may continue to do business with the

Debtors after commencement of the Chapter 11 Cases, certain Foreign Vendors may not. In the

ordinary course, the Debtors use a limited number of foreign vendors to source essential goods

and services required to operate their businesses, primarily in relation to ensuring that the Debtors

are in compliance with certain regulatory requirements in Europe so that the Debtors’ can sell and

market their Products in Europe. The Debtors believe that there is a material risk that the Foreign

Vendors holding Critical Vendor Claims against the Debtors may consider themselves to be

beyond the jurisdiction of this Court, disregard the automatic stay and engage in conduct that

disrupts the Debtors’ operations, or simply may be confused by the chapter 11 process, particularly

those in countries with liquidation-oriented insolvency procedures. Notably, Foreign Vendors that

believe the automatic stay does not govern their actions may exercise self-help (if permitted under

local law), which could include shutting down the Debtors’ access to essential goods and services.

       146.    I understand that Foreign Vendors also may be able to sue the Debtors in a foreign

court to recover prepetition amounts owed to them. If they are successful in obtaining a judgment




                                                 63
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                          Pg 64 of 270



against the Debtors, the Foreign Vendors may seek to exercise post-judgment remedies, including

seeking to attach the Debtors’ foreign assets or withhold vital supplies and services from the

Debtors. Because the Debtors would have limited, if any, effective and timely recourse and no

practical ability to remedy this situation (absent payment of amounts sought), their businesses

could be irreparably harmed by any such action to the detriment of the Debtors’ estates and

creditors.

        vii.   Lien Claimants Motion

        147.   As part of their business operations, the Debtors rely extensively and continually

on a variety of third-party shippers, packagers, third-party logistics providers, and storage facilities

(collectively, the “Lien Claimants”) to ensure the timely packaging, storage, and distribution of

Ampyra and Inbrija, throughout the manufacturing process and to various customers and patients.

The Debtors seek entry of interim and final orders (i) authorizing the Debtors to pay certain

prepetition claims held by the Lien Claimants; and (ii) authorizing financial institutions to honor

and process checks or electronic transfers used by the Debtors to pay the foregoing.

        148.   The services provided by the Lien Claimants, including the timely, reliable delivery

of products for the Debtors is an absolute necessity to the Debtors’ ability to conduct business and

critical to the Debtors’ day-to-day operations. The Debtors have a reputation for reliability and

dependability amongst their customers. Many of the Debtors’ pricing policies and marketing

strategies revolve around their reliability and dependability. This reputation depends in substantial

part on the timely delivery of product to the Debtors’ customers and patients. In turn, the Debtors’

ability to make timely deliveries depends on a successful and efficient system for receipt of the

Products that the Debtors sell. This supply and delivery system involves the use of reputable

service providers. Any disruption in the packaging, warehousing or transport of the Debtors’




                                                  64
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                          Pg 65 of 270



Products would have a serious negative impact on the Debtors’ ability to conduct their businesses

and to ensure consumers and patients timely receive the Debtors’ Products.

       149.    Cardinal Health. As part of their business operations, the Debtors use Cardinal

Health 105, Inc. (“Cardinal Health”) as their sole third-party logistics provider. In the ordinary

course, the Debtors’ Products are shipped from either contract manufacturing organizations

(“CMOs”) or a secondary packager to Cardinal Health’s warehouse, where the products are stored

prior to ultimately being delivered to the Debtors’ customers.

       150.    Cardinal Health also manages the Debtors’ inventory, receives and fulfills customer

orders, prepares customer invoices on behalf of the Debtors, and tracks accounts receivable

including cash receipt reconciliation. Cardinal Health provides the Debtors access to crucial

information related to these services, including sales data, inventory records, lot tracking, customer

profiles, pricing, and other terms, as well as real-time updated aged accounts receivable

information. This information, in turn, supports various functions of the Debtors’ business, such

as operations, accounting, and financial management and reporting. Cardinal Health invoices the

Debtors monthly for provided services, based on a pre-established fee schedule.

       151.    Further, in order to ensure the quality of drug products, the FDA carefully monitors

a drug manufacturer’s compliance with CGMP regulations.             For the Debtors to remain in

compliance with the CGMP regulations, each of their manufacturers, suppliers, or packagers,

including Cardinal Health, must also be in compliance. To this end, Cardinal Health must maintain

its warehouse facility in accordance and comply with federal, state, and local laws, rules and

regulations including CGMP regulations. The Debtors would be unable to replace Cardinal Health

without undertaking an extensive regulatory process that might last months or even a year in order

to comply with CGMP regulations, and without Cardinal Health’s services the Debtors would not




                                                 65
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 66 of 270



be able to operate their day-to-day business, causing irreparable harm to the Debtors’ supply chain

and operations. As of the Petition Date, Cardinal Health held approximately $7,400,000 worth of

the Debtors products. As of the Petition Date, the Debtors estimate that approximately $35,000

has accrued and is owing to Cardinal Health, of which $35,000 is expected to become due and

payable in the interim period.

       152.    The Hibbert Group. The Debtors are also reliant on the Hibbert Group (“Hibbert”)

as their sole service provider to store Inbrija and related inhalers. The Products held by Hibbert

are then shipped to the Debtors’ packager, Sharp (defined below), for packaging. Hibbert also

holds inventory for the purpose of distribution to physicians as part of samples, demonstration kits,

and promotional materials. In warehousing, storing, and handling the Debtors’ Product, Hibbert

is also subject to the CGMP regulations and other applicable laws. Any interruption in Hibbert’s

services would cause irreparable harm to the Debtors’ supply chain, as products would not get

timely delivered. Further, given that Hibbert is the Debtors sole service provider to store Inbrija

and related inhalers and subject to CGMP regulations, the Debtors would be unable to replace

Hibbert without undertaking a costly, time-consuming, and extensive regulatory process. As of

the Petition Date, Hibbert held approximately $1,000,000 worth of the Debtors’ products. As of

the Petition Date, the Debtors estimate that approximately $50,000 has accrued and is owing to

Hibbert, of which $30,000 is expected to become due and payable in the interim period.

       153.    Sharp Corporation. In the ordinary course of their business, the Debtors exclusively

rely on Sharp Corporation (“Sharp”) to package and label their Inbrija products. Sharp routinely

stores the product and charges the Debtors a fee for any product or packaged product held at the

facility for more than sixty (60) days. Once Sharp packages the product, the finished goods are

shipped from Sharp to Cardinal Health via the Debtors’ Shippers (defined below). In packaging,




                                                 66
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                          Pg 67 of 270



storing, and handling the Debtors’ product, Sharp is also subject to the CGMP regulations and

other applicable laws. Further, any interruption in Sharp’s services would cause irreparable harm

to the Debtors’ supply chain, as products would not get timely delivered. Further, given the

regulated and specialized nature of the packaging and labeling undertaken by Sharp, the Debtors

would not be able to easily replace Sharp. As of the Petition Date, Sharp held approximately

$3,900,000 worth of the Debtors’ products. As of the Petition Date, the Debtors estimate that

approximately $100,000 has accrued and is owing to Sharp, of which $85,000 is expected to

become due and payable in the interim period.

       154.    Shippers. The Debtors rely on a number of shippers (the “Shippers”) to transport

its products. The Debtors rely exclusively on Prime, Inc. to transport Inbrija from the CMO to

Hibbert or Sharp, and then on to Cardinal Health. The Debtors rely exclusively on FedEx

Corporation to ship their products from Cardinal Health to the Debtors’ customers. Finally, the

Debtors rely exclusively on DHL Global Forwarding to ship their Inbrija product from the United

States to the Debtors’ distributor in Spain and Germany. As a result of the services they provide,

the Shippers regularly possess certain of the Debtors’ raw materials, product, and equipment in the

ordinary course of the Debtors’ operations. On any given day, the Debtors’ have inventory that is

in transit and at risk of not being delivered if the Shippers’ claims are not paid. Due to the variable

nature of inventory movements, it is highly challenging to calculate the value of the inventory in

transit as of the Petition Date. As of the Petition Date, the Debtors estimate that approximately

$40,000 has accrued and is owing to the Shippers, of which $40,000 is expected to become due

and payable in the interim period.




                                                  67
 24-22284-dsj         Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                           Pg 68 of 270



        viii.   NOL Motion

        155.    The Debtors seek entry of interim and final orders establishing notice and objection

procedures for certain transfers of Acorda’s common stock (the “Equity Securities”) that must be

complied with before such transfers are made and deemed effective and granting related relief.

        156.    Acorda has experienced losses from the operation of its business. As a result,

Acorda estimates that its current U.S. federal income tax net operating losses are approximately

$117 million (the “NOLs”) as of December 31, 2022 (the last date for which U.S. federal income

tax returns were filed; the tax returns for 2023 have not yet been filed), some of which are already

subject to limits on annual use due to an ownership change that took place on June 1, 2022. Acorda

expects to have incurred additional NOLs from December 31, 2022, through the Petition Date.

For example, assuming that utilizable NOLs amount to $107 million, Acorda would be able to

minimize current U.S. federal income tax liabilities of approximately $22.5 million based on a

corporate federal income tax rate of 21% for 2024, along with additional state income tax savings.

These tax savings could substantially enhance Acorda’s cash position for the benefit of parties-in-

interest and contribute to the Debtors’ efforts to maximize the value of their estates for the benefit

of their creditors.

        157.    Acorda may lose the ability to use its NOLs (and some of its other tax attributes) if

it experiences another “ownership change” for federal income tax purposes. It is my understanding

that if left unrestricted, transfers of Equity Securities during the pendency of these Chapter 11

Cases could limit severely Acorda’s ability to use its NOLs to minimize current income, which

could have significant, negative consequences for the Debtors, their estates and their efforts to

maximize value for creditors. Specifically, transfers of Equity Securities could affect adversely

Acorda’s NOLs if (i) too many 5% or greater blocks of Equity Securities are created or (ii) too




                                                 68
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 69 of 270



many Equity Securities are added to or sold from such blocks, such that, together with previous

transfers by or to 5% shareholders during the preceding three-year period (or shorter period where

there has been a more recent ownership change), an ownership change within the meaning of IRC

section 382 has occurred. In particular, asset sales by Acorda could generate significant taxable

income, and in this case Acorda’s NOLs will be essential to minimize cash taxes payable on such

asset sales.

        158.   Thus, to preserve to the fullest extent possible the ability of the Debtors to shelter

current income, the Debtors seek limited relief that will enable them to closely monitor certain

transfers of Equity Securities, and thereby put the Debtors in a position to act expeditiously to

prevent or to limit such Transfers if necessary to preserve Acorda’s NOLs.

        Pursuant to Section 1746 of title 28 of the United States Code, I declare under penalty of

perjury under the laws of the United States of America that the foregoing is true and correct.



Dated: April 2, 2024

                                              /s/ Michael A. Gesser
                                              Michael A. Gesser
                                              Chief Financial Officer
                                              Acorda Therapeutics, Inc.




                                                69
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                    Pg 70 of 270



                                    Exhibit A
                              Organizational Chart
                       24-22284-dsj       Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                                                  Pg 71 of 270




                                         Corporate Organizational Chart


                                                                     Acorda
                                                                Therapeutics, Inc.
                                                                   (Delaware)




     Civitas         Biotie Therapies,     Biotie Therapies          Acorda          Neuronex, Inc.           MS Research &                Acorda
Therapeutics, Inc.          LLC.                                  Therapeutics        (Delaware)              Development
                                                GmbH                                                                                    Therapeutics
   (Delaware)           (Delaware)                              Ireland Limited                                Corporation
                                              (Germany)                                                                                    Limited
                                                                    (Ireland)                                   (Delaware)            (United Kingdom)



                     Biotie Therapies
                                                                                                      Debtor Entity
                            AG
                       (Switzerland)
                                                                                                      Non-Debtor Entity

                                                                                                *Unless otherwise indicated ownership is 100%
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                    Pg 72 of 270



                                    Exhibit B
                         Restructuring Support Agreement
     24-22284-dsj        Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                               Pg 73 of 270
                                                                                                 Execution Version

THIS RESTRUCTURING SUPPORT AGREEMENT IS NOT AN OFFER OR ACCEPTANCE WITH RESPECT
TO ANY SECURITIES OR A SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR SOLICITATION
WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS AND/OR PROVISIONS OF THE
BANKRUPTCY CODE. NOTHING CONTAINED IN THIS RESTRUCTURING SUPPORT AGREEMENT
SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE SUPPORT
EFFECTIVE DATE ON THE TERMS DESCRIBED IN THIS AGREEMENT, DEEMED BINDING ON ANY
OF THE PARTIES TO THIS AGREEMENT.



                                 RESTRUCTURING SUPPORT AGREEMENT
This RESTRUCTURING SUPPORT AGREEMENT (this “Agreement”), dated as of April 1, 2024, is entered into
by and between:

                      (i)    Acorda Therapeutics, Inc. (“Acorda”), and its direct and indirect debtor subsidiaries
                             (each, a “Company Party” and, collectively, the “Company Parties”);

                     (ii)    the undersigned holders of Convertible Notes (as defined herein) (together with their
                             respective successors and permitted assigns, each a “Consenting Convertible
                             Noteholder” and, collectively, the “Consenting Convertible Noteholders”); and
                     (iii)   the undersigned holders of DIP Commitments (as defined herein) or loans under the
                             DIP Facility (as defined herein) (together with their respective successors and
                             permitted assigns, each a “DIP Lender” and, collectively, the “DIP Lenders” and,
                             collectively with the Consenting Noteholders, the “Consenting Creditors” and, each a
                             “Consenting Creditor”).
        Each Company Party, each Consenting Creditor, and any subsequent Person that becomes a party hereto in
accordance with the terms hereof are referred to herein as the “Parties” and individually as a “Party.” Capitalized
terms used but not otherwise defined herein shall have the meanings ascribed to them in the Restructuring Term
Sheet (as defined below).
                                                   RECITALS
       WHEREAS, the Company has outstanding obligations under that certain Indenture, dated as of December
23, 2019 (as amended, supplemented or otherwise modified from time to time, “Indenture” and, the 6.00%
Convertible Senior Secured Notes issued thereunder, the “Convertible Notes” and, each holders thereof, a
“Convertible Noteholder” and, collectively, the “Convertible Noteholders”);
       WHEREAS, as of the date hereof, the Consenting Convertible Noteholders collectively hold approximately
[▪]% aggregate principal amount outstanding of the Convertible Notes issued pursuant to the Indenture;

        WHEREAS, the Parties have agreed to the Restructuring Transactions (as defined herein) consistent with
the terms and subject to the conditions set forth in this Agreement and consistent with the Restructuring Term Sheet
attached hereto as Exhibit A (together with all schedules, exhibits, and annexes attached thereto, and as may be
modified in accordance with Section 9 hereof, the “Restructuring Term Sheet”), which are the product of arms’
length, good faith discussions between the Parties and their respective professionals;
        WHEREAS, the Company will implement the Restructuring Transactions in connection with pre-arranged
cases (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as
     24-22284-dsj       Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                                Pg 74 of 270


amended from time to time, the “Bankruptcy Code”), in the United States Bankruptcy Court for the Southern
District of New York (the “Bankruptcy Court”);
        WHEREAS, the DIP Lenders have agreed to commit to provide the DIP Facility (as defined below) (such
commitment, in each case, a “DIP Commitment”), and the Company and the Consenting Convertible Noteholders
have reached an agreement for the consensual use of Cash Collateral (as defined in section 363(a) of the Bankruptcy
Code), in accordance with and subject to the terms and conditions set forth in the DIP Orders (as defined below)
and the DIP Credit Agreement (as defined below); and

        WHEREAS, the Parties desire to express to each other their mutual support and commitment in respect of
the matters discussed in this Agreement and in the Restructuring Term Sheet.

         NOW, THEREFORE, in consideration of the premises and the mutual covenants and agreements set forth
herein, and for other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the Parties, intending to be legally bound, agree as follows:

        1.      Certain Definitions & Other Interpretive Provisions.

        (a)     Definitions. As used in this Agreement, the following terms have the following meanings:
        “Acorda” has the meaning assigned to such term in the preliminary statement of this Agreement.

        “Ad Hoc Group” means, collectively, the Consenting Convertible Noteholders represented by King &
        Spalding LLP.
        “Ad Hoc Group Advisors” means King & Spalding LLP, Perella Weinberg Partners LP and any other
        advisor retained by the Ad Hoc Group from time to time.

        “Agreement” has the meaning assigned to such term in the preliminary statement hereto.
        “Alternative Transaction” means any plan, dissolution, winding up, liquidation, sale or disposition,
        reorganization, merger or restructuring of the Company Parties or their assets other than the Restructuring
        Transactions.

        “B&M” has the meaning set forth in Section 3(b)(i).

        “Bankruptcy Code” has the meaning assigned to such term in the recitals of this Agreement.

        “Bankruptcy Court” has the meaning assigned to such term in the recitals of this Agreement.

        “Beneficial Ownership” means the direct or indirect economic ownership of, and/or the power, whether by
        contract or otherwise, to direct the exercise of the voting rights and the disposition of, any Claims subject
        to this Agreement or the right to acquire such Claims.

        “Bidding Procedures” means the procedures governing the auction and Sale Process, as approved by the
        Bankruptcy Court.
        “Bidding Procedures Motion” means a motion filed by the Company Parties with the Bankruptcy Court
        for entry of the Bidding Procedures Order.

        “Bidding Procedures Order” means an order (i) approving the Bidding Procedures, (ii) setting dates for the
        submission of bids and the auction (if any) in accordance with the Bidding Procedures, and (iii) granting
        related relief.

        “Chapter 11 Cases” has the meaning assigned to such term in the recitals of this Agreement.


                                                         2
24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                         Pg 75 of 270



 “Claim” has the meaning set forth in the Bankruptcy Code.

 “Collateral Agent” means Wilmington Trust, National Association, in its capacity as collateral agent under
 the Indenture, and its successors and assigns.

 “Company Party” has the meaning assigned to such term in the preliminary statement of this Agreement.

 “Company Termination Event” has the meaning set forth in Section 5(b).
 “Confidentiality Agreements” means, each of the following agreements: (i) the Confidentiality Agreement,
 dated as of November 30, 2023, by and among, Acorda, and Canyon Capital Advisors LLC, on behalf of
 its participating funds and accounts, (ii) the Confidentiality Agreement, dated as of November 30, 2023, by
 and among, Acorda and Davidson Kempner Capital Management LP, (iii) the Confidentiality Agreement,
 dated as of December 1, 2023, by and among, Acorda and D. E. Shaw Valence Portfolios, L.L.C., (iv) the
 Confidentiality Agreement, dated as of December 1, 2023, by and among, Acorda and Highbridge Capital
 Management, LLC, (v) the Confidentiality Agreement, dated as of November 29, 2023, by and among,
 Acorda and Soros Fund Management LLC, and (vi) the Confidentiality Agreement, dated as of November
 30, 2023, by and among, Acorda and NINETEEN77 Global Multi-Strategy Alpha Master Limited.
 “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan.

 “Consenting Convertible Noteholder” has the meaning assigned to such term in the preliminary statement
 of this Agreement.

 “Consenting Creditors” has the meaning assigned to such term in the preliminary statement of this
 Agreement.

 “Convertible Noteholders” has the meaning assigned to such term in the recitals of this Agreement.

 “Convertible Notes” has the meaning assigned to such term in the recitals of this Agreement.

 “Creditor Termination Event” has the meaning set forth in Section 5(b).
  “Definitive Documents” means the documents (including any related orders, agreements, instruments,
  schedules or exhibits) that are contemplated by the Restructuring Term Sheet and that are otherwise
  necessary or desirable to implement, or otherwise relate to the Restructuring Transactions, including,
  without limitation: (i) the Sale Documents; (ii) the Plan; (iii) each of the documents comprising the Plan
  Supplement; (iv) the Disclosure Statement; (v) the Disclosure Statement Motion; (vi) the Disclosure
  Statement Order; (vii) the Confirmation Order; (viii) the motion seeking approval by the Bankruptcy Court
  of the DIP Facility and the DIP Orders (including any declarations or affidavits submitted in support thereof)
  (the “DIP Motion”); (ix) the interim and final orders of the Bankruptcy Court approving the DIP Motion
  and authorizing the use of cash collateral (the “Interim DIP Order” and the “Final DIP Order,”
  respectively and together the “DIP Orders”)), (x) the DIP Credit Agreement and (xi) any other material,
  agreements, motions (including “first day” motions), pleadings, briefs, applications (other than applications
  to retain or compensate the Company Parties’ advisors), orders and other filings made by the Company
  Parties with the Bankruptcy Court. Each of the Definitive Documents shall contain terms and conditions
  consistent in all material respects with this Agreement and the Restructuring Term Sheet, and shall
  otherwise be reasonably acceptable to the Requisite Consenting Creditors, including with respect to any
  modifications, amendments, deletions, or supplements to such Definitive Documents at any time during the
  RSA Support Period; provided, notwithstanding anything to the contrary herein, the DIP Orders and the
  DIP Credit Agreement shall be acceptable (including any modifications, amendments, deletions, or
  supplements thereof) in all respects to the Requisite Consenting Creditors in their sole discretion.



                                                   3
24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                        Pg 76 of 270



 “DIP Commitment” has the meaning assigned to such term in the recitals of this Agreement.

 “DIP Credit Agreement” means the credit agreement evidencing the DIP Facility, substantially in the form
 attached to this Agreement as Exhibit C and as otherwise acceptable to the Company and the DIP Lenders.

 “DIP Facility” means the debtor-in-possession financing facility to be provided to the Company Parties in
 accordance with the terms, and subject in all respects to the terms and conditions, as set forth in the DIP
 Credit Agreement and the DIP Orders.

 “DIP Lender” has the meaning assigned to such term in the preliminary statement of this Agreement.

 “DIP Motion” has the meaning assigned to such term in the definition of “Definition Documents”.

 “DIP Orders” means, collectively, the Interim DIP Order and the Final DIP Order.

 “Disclosure Statement” means the disclosure statement in respect of the Plan, including all exhibits and
 schedules thereto, as approved or ratified by the Bankruptcy Court pursuant to section 1125 of the
 Bankruptcy Code.

 “Disclosure Statement Motion” means the motion seeking approval of the Disclosure Statement and entry
 of the Disclosure Statement Order.
 “Disclosure Statement Order” means an order of the Bankruptcy Court approving the Disclosure Statement,
 the Plan Solicitation Materials, and the procedures for solicitation of the Plan.

 “Final DIP Order” has the meaning assigned to such term in the definition of “Definition Documents”.

 “Indenture” has the meaning assigned to such term in the recitals of this Agreement.

 “Interim DIP Order” has the meaning assigned to such term in the definition of “Definition Documents”.

 “Joinder Agreement” has the meaning set forth in Section 3(b)(i).
 “K&S” has the meaning set forth in Section 3(b)(i).

 “Non-Consenting Creditor” has the meaning set forth in Section 9(b).

 “Party” has the meaning assigned to such term in the preliminary statement of this Agreement.
 “Permitted Transfer” has the meaning set forth in Section 3(b)(i).

 “Permitted Transferee” has the meaning set forth in Section 3(b)(i).
 “Person” means any “person” as defined in section 101(41) of the Bankruptcy Code, including, without
 limitation, any individual, corporation, limited liability company, partnership, joint venture, association,
 joint-stock company, trust, unincorporated organization or government or any agency or political
 subdivision thereof or other entity.
 “Petition Date” has the meaning set forth in Section 2(b).

 “Plan” means a chapter 11 plan implementing the Restructuring Transactions.
 “Plan Effective Date” means the date upon which all conditions precedent to the effectiveness of the Plan
 have been satisfied or waived in accordance with the terms thereof, as the case may be, and the Plan is
 substantially consummated.



                                                  4
24-22284-dsj     Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                         Pg 77 of 270



 “Plan Solicitation Materials” means the ballots and other related materials to be distributed in connection
 with the solicitation of votes on the Plan.
 “Plan Supplement” means a supplemental appendix to the Plan containing, among other things, forms or
 term sheets of applicable documents, schedules, and exhibits to the Plan to be filed with the Court.

 “Qualified Marketmaker” means an entity that (a) holds itself out to the public, the syndicated loan market,
 or the applicable private markets as standing ready in the ordinary course of business to purchase from
 customers and sell to customers claims against, or equity interests in, the Company Parties, or enter with
 customers into long and short positions in claims against the Company Parties, in its capacity as a dealer or
 market maker in such claims and (b) is, in fact, regularly in the business of making a market in claims
 against issuers or borrowers (including term, loans, or debt or equity securities).

 “Qualified Marketmaker Joinder Date” has the meaning set forth in Section 3(b)(i).
 “Requisite Consenting Creditors” means, as of the date of determination, Consenting Creditors holding at
 least a majority in aggregate principal amount outstanding of the Convertible Notes held by all Consenting
 Creditors as of such date.
 “Restructuring Expenses” means all reasonable and documented fees, costs and out-of-pocket expenses of
 the Ad Hoc Group Advisors, in each case, in connection with the negotiation, formulation, preparation,
 execution, delivery, implementation, consummation and/or enforcement of this Agreement and/or any of
 the other Definitive Documents, and/or the transactions contemplated hereby or thereby, and/or any
 amendments, waivers, consents, supplements or other modifications to any of the foregoing and the Chapter
 11 Cases, in each case, if applicable, pursuant to any engagement letters or fee reimbursement letters entered
 into between the applicable Company Parties, on the one hand, and each Ad Hoc Group Advisor, on the
 other hand.

 “Restructuring Term Sheet” has the meaning assigned to such term in the recitals of this Agreement.
 “Restructuring Transactions” means all acts, events, and transactions contemplated by, required for, and
 taken to implement the restructuring of the Company Parties in accordance with this Agreement and the
 Restructuring Term Sheet, including the Plan and the Sale Transactions.

 “RSA Support Period” means the period commencing on the Support Effective Date and ending on the
 earlier of (i) the date on which this Agreement is terminated in accordance with Section 5 and (ii) the Plan
 Effective Date.

 “Sale Documents” means, collectively, (i) any asset purchase agreements and related motions, orders or
 other documents for or related to the Sale Transactions, (ii) the Bidding Procedures Motion and any other
 related motions, orders or other documents related to the Bidding Procedures (including, but not limited to,
 the Bidding Procedures Order) and (iii) any other motions, orders or other documents related to, or entered
 into by the Company Parties in connection with, the Sale Process.

 “SEC” means the Securities and Exchange Commission.
 “Securities Act” means the Securities Act of 1933, as amended.

 “Stalking Horse Agreement” means that certain asset purchase agreement by and among the Company
 Parties party thereto, as “Sellers”, and [Purchaser], as “Purchaser”, for sale pursuant to section 363 of the
 Bankruptcy Code of the assets identified therein as the “Acquired Assets”.




                                                   5
     24-22284-dsj        Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                                Pg 78 of 270



        “Support Effective Date” means the date on which the counterpart signature pages to this Agreement have
        been executed and delivered by the Company Parties and Consenting Creditors holding at least 66.7% of
        the aggregate principal amount of outstanding Convertible Notes.

        “Transfer” has the meaning set forth in Section 3(b)(i).
        “Trustee” means Wilmington Trust, National Association, in its capacity as trustee under the Indenture,
        and its successors and assigns.

        (b)     Other Interpretive Provisions. With reference to this Agreement unless otherwise specified herein:
                (i)     the meanings of defined terms are equally applicable to the singular and plural forms of the
                        defined terms;

                (ii)    unless otherwise specified, any reference herein to an existing document, schedule, or
                        exhibit shall mean such document, schedule, or exhibit, as it may have been or may be
                        amended, restated, amended and restated, supplemented, or otherwise modified from time
                        to time in accordance with its terms; provided that any capitalized terms herein which are
                        defined with reference to another agreement, are defined with reference to such other
                        agreement as of the date of this Agreement, without giving effect to any termination of such
                        other agreement or amendments to such capitalized terms in any such other agreement
                        following the date hereof;

                (iii)   unless otherwise specified, all references herein to “Sections” are references to Sections of
                        this Agreement;

                (iv)    the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety rather than
                        to any particular portion of this Agreement;

                (v)     captions and headings to Sections are inserted for convenience of reference only and are
                        not intended to be a part of or to affect the interpretation of this Agreement;
                (vi)    the use of “include” or “including” is without limitation, whether stated or not; and

                (vii)    the provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
                        prescribed or allowed herein.

        2.      Restructuring Term Sheet.

         (a)      The Restructuring Term Sheet is expressly incorporated herein by reference and made part of this
Agreement as if fully set forth herein. The Restructuring Term Sheet, including the schedules, annexes and exhibits
thereto, sets forth certain material terms and conditions of the Restructuring Transactions; provided, however, that
the Restructuring Term Sheet may be supplemented by the terms and conditions of this Agreement. Notwithstanding
anything else in this Agreement to the contrary, in the event of any inconsistency between this Agreement and the
Restructuring Term Sheet (including the attachments thereto, as applicable), the Restructuring Term Sheet
(including the attachments thereto, as applicable) shall control.

        (b)      Commencement of the Chapter 11 Cases. The Company hereby agrees that, as soon as reasonably
practicable, but in no event later than April 2, 2024 (the date on which such filing occurs, the “Petition Date”), the
Company shall file with the Bankruptcy Court voluntary petitions for relief under chapter 11 of the Bankruptcy
Code and any and all other documents necessary to commence the Chapter 11 Cases of the Company.




                                                          6
     24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                              Pg 79 of 270



        (c)    DIP Financing and Cash Collateral. No later than the close of business on the second business day
following the Petition Date, the Company shall file a motion with the Bankruptcy Court seeking entry of the DIP
Orders.

       3.      Agreements of the Consenting Creditors.
        (a)    Agreement to Support. During the RSA Support Period, subject to the terms and conditions hereof,
each of the Consenting Creditors agrees, severally and not jointly, that it shall:

               (i)    use its commercially reasonable efforts to support the Restructuring Transactions, act in
               good faith and take any and all reasonable actions necessary to consummate the Restructuring
               Transactions, in a manner consistent with this Agreement and the Restructuring Term Sheet;

               (ii)    refrain from initiating (or directing or encouraging the Trustee, Collateral Agent or any
               other Person to initiate) any actions, including legal proceedings, that are inconsistent with, or that
               would delay, prevent, frustrate or impede the approval, confirmation or consummation, as
               applicable, of the Chapter 11 Cases, this Agreement or the other Restructuring Transactions;

               (iii)   not direct the Collateral Agent, the Trustee, or any other administrative agent, collateral
               agent, notes agent or indenture trustee to take any action inconsistent with the Consenting Creditors’
               obligations under this Agreement, and, if the Collateral Agent, Trustee or any other administrative
               agent, collateral agent, notes agent or indenture trustee takes any action inconsistent with the
               Consenting Creditors’ obligations under this Agreement, the Consenting Creditors shall direct and
               use their commercially reasonable efforts to cause the Collateral Agent, Trustee or any other
               administrative agent, collateral agent, notes agent or indenture trustee to cease, withdraw, and
               refrain from taking any such action;

               (iv)     (a) timely vote (pursuant to the Plan) or cause to be voted all of its Claims (including on
               account of any claims other than those relating to the Indenture that are owned or controlled by
               such Consenting Creditor) to accept the Plan by delivering its duly executed and completed ballot
               or ballots, as applicable, accepting the Plan on a timely basis following commencement of the
               solicitation of acceptances of the Plan in accordance with sections 1125 and 1126 of the Bankruptcy
               Code and the Disclosure Statement Order and (b) to the extent such election is available, not elect
               on its ballot to preserve claims, if any, that such Consenting Creditor may own or control that may
               be affected by any releases contemplated under the Plan (and, to the extent required by such ballot,
               to affirmatively “opt in” to any such releases and exculpation);

               (v)    negotiate in good faith with the Company Parties the forms of the Definitive Documents
               and execute the Definitive Documents (to the extent such Consenting Creditor is a party thereto);
               (vi)    not change or withdraw its votes to accept the Plan (or cause or direct such vote to be
               changed or withdrawn); provided, however, that such vote shall, without any further action by the
               applicable Consenting Creditor, be deemed automatically revoked (and, upon such revocation,
               deemed void ab initio) by the applicable Consenting Creditor at any time following the expiration
               of the RSA Support Period or termination of this Agreement in accordance with the terms hereof,
               or vote or cause to be voted its Claims in support any Alternative Transaction;
               (vii) other than in respect of any such rights preserved under Section 3(d) below, not directly or
               indirectly, through any Person, (x) seek, solicit, propose, support, assist, engage in negotiations in
               connection with or participate in the formulation, preparation, filing or prosecution of any
               Alternative Transaction or (y) take any action, including initiating (or encouraging any other Person




                                                         7
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                       Pg 80 of 270



        to initiate) any legal proceeding, that is inconsistent with or that would reasonably be expected to
        prevent, interfere with, delay, or impede the consummation of the Restructuring Transactions;
        (viii) to the extent any legal or structural impediment arises that would prevent, hinder, or delay
        the consummation of the Restructuring Transactions, negotiate in good faith appropriate additional
        or alternative provisions to address any such impediment;

        (ix)    use its commercially reasonable efforts to obtain any and all required regulatory and third-
        party approvals for such Consenting Creditor to consummate the Restructuring Transactions and
        to support the Company Parties in connection with the same;

        (x)     support and take all reasonable actions necessary to confirm such Consenting Creditors’
        support for the Bankruptcy Court’s approval of the Plan and Disclosure Statement, the solicitation
        of votes on the Plan by the Company Parties, and the confirmation and consummation of the Plan
        and the Restructuring Transactions;

        (xi)    not challenge or support any other party that challenges the validity, enforceability, or
        priority of the Indenture or the Notes Security Document (as defined in the Indenture) and the
        Claims thereunder;

        (xii) not to submit any credit bid against the Stalking Horse Bidder (as defined in the Bidding
        Procedures);
        (xiii) not to object to allowance and treatment of the Breakup Fee and Expense Reimbursement
        Amount (each as defined in the Bidding Procedures as of the date hereof), if applicable, as a
        superpriority claim with priority over any and all administrative expenses, debtor-in-possession
        financing, adequate protection claims, diminution claims, and all other claims against the Sellers’
        bankruptcy estates now existing or hereafter arising, of any kind whatsoever, including, without
        limitation, all administrative expenses of the kind specified in sections 503(b) and 507(b) of the
        Bankruptcy Code, over any and all administrative expenses or other claims arising under sections
        105, 326, 327, 328, 330, 331, 361, 362, 363, 364, 365, 506(b), 506(c), 507(a), 507(b), 726, 1113,
        or 1114 of the Bankruptcy Code or otherwise (subject to any carve-out for professional fees set
        forth in the applicable debtor-in-possession and/or cash collateral orders entered by the Bankruptcy
        Court); and

        (xiv) to the extent it is permitted to elect whether to opt out of the releases set forth in the Plan,
        agree to provide, and to not opt-out of, the releases substantially in the form set forth in the
        Restructuring Term Sheet.

 (b)    Transfers.
        (i)     Each Consenting Creditor agrees that, for the duration of the RSA Support Period, such
        Consenting Creditor shall not sell, transfer, loan, issue, participate, pledge, hypothecate, assign or
        otherwise dispose of (other than ordinary course pledges or swaps) (each, a “Transfer”), directly
        or indirectly, in whole or in part, any of its Claims (including any Beneficial Ownership in any such
        Claims or any proxies, deposit any Claims into a voting trust or enter into a voting agreement with
        respect to any such Claims), or any option thereon or any right or interest therein, unless the
        transferee thereof either (A) is a Consenting Creditor (with respect to a Transfer by a Consenting
        Creditor), in which case, within two (2) business days of such Transfer the transferee shall provide
        written notice to Baker & McKenzie LLP (“B&M”), as counsel to the Company Parties, and King
        & Spalding LLP, as counsel to the Consenting Creditors (“K&S”), detailing the principal amount
        of the Claims transferred and the identities of the transferee and the Consenting Creditor who has



                                                 8
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                       Pg 81 of 270



        transferred the Claims or (B) prior to such Transfer, agrees in writing for the benefit of the Parties
        to become a Consenting Creditor and to be bound by all of the terms of this Agreement applicable
        to Consenting Creditors (including with respect to any and all Claims it already may hold against
        or in the Company Parties prior to such Transfer) by executing a joinder agreement, a form of which
        is attached hereto as Exhibit B (a “Joinder Agreement”), and delivering an executed copy thereof
        within two (2) business days of such execution, to (1) B&M and (2) K&S, in which event (x) the
        transferee shall be deemed to be a Consenting Creditor hereunder to the extent of such Transferred
        Claims and (y) the transferor shall be deemed to relinquish its rights (and be released from its
        obligations) under this Agreement to the extent of and solely with respect to such Transferred
        Claims (but not with respect to any other Claims or equity interests acquired or held by such
        transferor) (such Transfer, a “Permitted Transfer” and such party to such Permitted Transfer, a
        “Permitted Transferee”); provided that notwithstanding anything to the contrary hereto, any
        Consenting Creditor may Transfer its Claims to an affiliate or subsidiary of such Consenting
        Creditor and such affiliate or subsidiary will automatically be deemed to be a “Consenting Creditor”
        hereunder; provided, further such affiliate or subsidiary transferee will provide a Joinder
        Agreement to K&S within two (2) business days of any such affiliate or subsidiary transfer. Each
        Consenting Creditor agrees that any Transfer of any Claim that does not comply with the terms and
        procedures set forth herein shall be deemed void ab initio, and the Company Parties and each other
        Consenting Creditor shall have the right to enforce the voiding of such Transfer; provided that a
        Consenting Creditor may Transfer its Claims to an entity that is acting in its capacity as a Qualified
        Marketmaker without the requirement that the Qualified Marketmaker execute a Joinder
        Agreement, so long as (I) any subsequent Transfer by such Qualified Marketmaker of the right,
        title, or interest in such Claims is to a transferee that is or becomes a Consenting Creditor at the
        time of such Transfer and (II) the Qualified Marketmaker complies with Section 3(b)(ii) hereof.

        (ii)    If at the time of a proposed Transfer of Claims to a Qualified Marketmaker, such Claims (i)
        may be voted on the Plan, the proposed transferor Consenting Creditor must first vote such Claims
        in accordance with Section 3(a) hereof or (ii) have not yet been and may not yet be voted on the
        Plan and such Qualified Marketmaker does not Transfer such Claims or Interests to a subsequent
        transferee prior to the third (3rd) business day prior to the expiration of the applicable voting
        deadline (such date, the “Qualified Marketmaker Joinder Date”), such Qualified Marketmaker
        shall be required to (and the transfer documentation to the Qualified Marketmaker shall have
        provided that it shall), on the first (1st) business day immediately following the Qualified
        Marketmaker Joinder Date, become a Consenting Creditor with respect to such Claims in
        accordance with the terms hereof (including the obligation to vote in favor of the Plan) and shall
        vote in favor of the Plan in accordance with the terms hereof; provided that the Qualified
        Marketmaker shall automatically, and without further notice or action, no longer be a Consenting
        Creditor with respect to such Claims at such time that the transferee of such Claims becomes a
        Consenting Creditor, with respect to such Claims.

        (iii)   This Section 3(b) shall not impose any obligation on the Company Parties to issue any
        “cleansing letter” or otherwise publicly disclose information for the purpose of enabling a
        Consenting Creditor to Transfer any Claims. Notwithstanding anything to the contrary herein, to
        the extent the Company Parties and another Party have entered into a separate agreement with
        respect to the issuance of a “cleansing letter” or other public disclosure of information, the terms
        of such confidentiality agreement shall continue to apply and remain in full force and effect
        according to its terms.

        (iv)    Each Consenting Creditor, severally and not jointly, agrees not to transfer any equity
        interests in any Company Party prior to the Petition Date in a manner that would change the



                                                 9
     24-22284-dsj         Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                                  Pg 82 of 270



                 ownership of such equity interests for purposes of section 382 of title 26 of the United States Code
                 without the prior consent of the Company Parties not to be unreasonably withheld, conditioned, or
                 delayed.

                 (v)     Conversion Waiver. From the date hereof until the Conversion Waiver Termination Date,
                 each of the Consenting Convertible Noteholders (each a “Specified Holder”, and collectively, the
                 “Specified Holders”) hereby waives its right to convert any of the outstanding principal amount of
                 the Convertible Notes held by such Specified Holder into equity securities of the Company,
                 pursuant to each Specified Holder’s respective Convertible Note (the “Conversion Waiver”);
                 provided, however, that, for the avoidance of doubt, the foregoing agreement not to convert shall
                 cease to apply immediately and without further action by any Specified Holder upon any
                 Conversion Waiver Termination Date. This Section 3(b)(v) shall automatically terminate sixty-one
                 (61) days after the date that this Agreement expires or is terminated (the “Conversion Waiver
                 Termination Date”).

         (c)     Additional Claims. This Agreement shall in no way be construed to preclude a Consenting Creditor
from acquiring additional Claims; provided that, to the extent any Consenting Creditor (i) acquires additional
Claims, (ii) holds or acquires any other claims against the Company Parties entitled to vote on the Plan or (iii) holds
or acquires any equity interests in the Company Parties entitled to vote on the Plan, then, in each case, each such
Consenting Creditor shall notify B&M and K&S no more than two (2) business days following such acquisition,
and each such Consenting Creditor agrees that all such Claims and/or equity interests shall be subject to this
Agreement, and agrees that, for the duration of the RSA Support Period with respect to such Consenting Creditor
and subject to the terms of this Agreement, it shall vote in favor of the Plan (or cause to be voted) any such additional
Claims and/or equity interests entitled to vote on the Plan (to the extent still held by it on or on its behalf at the time
of such vote), in a manner consistent with Section 3(a) hereof. For the avoidance of doubt, any obligation to vote
for the Plan or any other plan of reorganization shall be subject to sections 1125 and 1126 of the Bankruptcy Code.

         (d)     Preservation of Rights. Nothing in this Agreement, and neither a vote to accept the Plan by any
Consenting Creditor, nor the acceptance of the Plan by any Consenting Creditor, shall: (i) be construed to limit
consent and approval rights provided in this Agreement, the Restructuring Term Sheet, and the Definitive
Documents; (ii) be construed to prohibit any Consenting Creditor from contesting whether any matter, fact, or thing
is a breach of, or is inconsistent with, this Agreement; (iii) except as expressly set forth herein, be construed to limit
the rights of a Consenting Creditor to consult with any other Convertible Noteholder or party in interest; (iv) limit
the rights of any Consenting Creditor under any applicable bankruptcy, insolvency, foreclosure or similar
proceeding, or be construed to prohibit any Consenting Creditor from appearing as a party-in-interest in any matter
to be adjudicated in or arising in connection with the Chapter 11 Cases, so long as such appearance and the positions
advocated in connection therewith are not inconsistent with this Agreement or such Consenting Creditors’
obligations hereunder and are not for the purpose of hindering, delaying, or preventing the consummation of the
Restructuring Transactions (and could not be reasonably expected to accomplish the same); (v) limit the ability of
any Consenting Creditor to purchase, sell, or enter into any transaction in connection with its Claims, in compliance
with the terms hereof and applicable law; (vi) constitute a waiver or amendment of any provision of the Indenture,
the Note Security Documents (as defined in the Indenture) or any related documents or any other documents or
agreements that give rise to a Consenting Creditor’s Claims; (vii) bar any Consenting Creditor or the Collateral
Agent or the Trustee on behalf of the Consenting Creditors from filing a proof of claim with the Bankruptcy Court,
or taking action to establish the amount of such claim; or (viii) limit the ability of any Consenting Creditor to assert
any rights, claims, or defenses under the Indenture, the Notes Security Documents (as defined in the Indenture), and
any related documents or any other documents or agreements that give rise to a Consenting Creditor’s Claims, to
the extent the assertion of such rights, claims, or defenses are not inconsistent with this Agreement or such
Consenting Creditors’ obligations hereunder.




                                                            10
     24-22284-dsj        Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                                Pg 83 of 270



         (e)    DIP Facility Commitment. Each Party, that has executed this Agreement prior to the Petition Date
as a DIP Lender hereby commits, severally and not jointly, directly or through one more affiliated funds or financing
vehicles (or funds or accounts advised or sub-advised by such person), to participate in the DIP Loans based on
their commitments set forth in Schedule 2.01 to the DIP Credit Agreement. In exchange for the DIP Loans, each
DIP Lender shall be entitled to a commitment fee equal to 2.00% on its applicable DIP Commitment as further set
forth in the DIP Credit Agreement.

       (f)     Tax Attribute Protection Motions. Each Consenting Creditor agrees not to contest the filing of a
customary stock trading order that restricts the accumulation and disposition of equity interests in Acorda by persons
who own, or would own, more than approximately 4.50% of the equity interests during the pendency of the Chapter
11 Cases.
        (g)     Joint and Several. The covenants and agreements of the Consenting Creditors in this Section 3 are
several and not joint.

        4.      Agreements of the Company Parties.
      (a)     Covenants. Each Company Party agrees that, for the duration of the RSA Support Period, such
Company Party shall:

                (i)      (A) support and use commercially reasonable efforts to consummate and complete the
                Restructuring Transactions, and all transactions contemplated under this Agreement (including,
                without limitation, those described in the Restructuring Term Sheet), and take any and all
                reasonably necessary actions in furtherance thereof, including, without limitation, (1) complete and
                file, within the timeframes contemplated herein, the Sale Documents, the Plan, the Disclosure
                Statement, and the other Definitive Documents, (2) use commercially reasonable efforts to obtain
                orders of the Bankruptcy Court approving the DIP Credit Agreement, the DIP Orders, the Sale
                Documents (to the extent requiring approval of the Bankruptcy Court), the Disclosure Statement,
                and confirming the Plan, and any other Definitive Document requiring the approval of the
                Bankruptcy Court within the timeframes contemplated by this Agreement (or, if this Agreement is
                silent, as soon as reasonably practicable); and (3) prosecute and defend any objections or appeals
                relating to the DIP Orders, any orders approving the Sale Documents, the Disclosure Statement
                Order, the Confirmation Order, and/or the Restructuring Transactions or any Definitive Document
                filed or entered into by a Company Party in connection therewith; and (B) not take any action that
                is inconsistent with, or to alter, delay, impede, or interfere with, approval of the DIP Motion, the
                Sale Documents, the Disclosure Statement, confirmation of the Plan, or consummation of the Plan
                and the Restructuring Transactions or any Definitive Document filed or entered into by a Company
                Party;

                (ii)    not seek, solicit, propose, or support an Alternative Transaction; provided, however, that if
                the Company Parties receive an unsolicited bona fide proposal or expression of interest in
                undertaking an Alternative Transaction that the boards of directors, members, or managers (as
                applicable) of the Company Parties, determine, upon advice of legal counsel and in their good-faith
                judgment, provides a higher or better economic recovery to the Company Parties’ stakeholders
                (including the Consenting Creditors) than that set forth in this Agreement, and such Alternative
                Transaction is from a proponent that the boards of directors, members, or managers (as applicable)
                of the Company Parties have reasonably determined is capable of timely consummating such
                Alternative Transaction, the Company Parties will, within 48 hours of the receipt of such proposals
                or expression of interest, notify the Consenting Creditors in accordance with Section 20 hereof of
                the receipt thereof, with such notice to include the materials terms thereof, including the identity of
                the Person or Persons involved;



                                                         11
24-22284-dsj    Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                        Pg 84 of 270



        (iii)   at least two (2) business days before the Petition Date, provide draft copies of “first day”
        motions and orders, including a first day declaration, the motion seeking approval of the DIP
        Facility, the Bidding Procedures Motion, and the Bidding Procedures Order, in each case, in form
        and substance reasonably acceptable to the Requisite Consenting Creditors;

        (iv)    provide draft copies of all material motions or applications and other documents (including
        the Plan, the Disclosure Statement, the ballots and other solicitation materials in respect of the Plan,
        and the Confirmation Order) that the Company Parties intend to file with the Bankruptcy Court to
        K&S, at least two (2) business days prior to the date when the Company Parties intend to file any
        such pleading or other document and shall consult in good faith with such counsel regarding the
        form and substance of any such proposed filing with the Bankruptcy Court;
        (v)      file the “first day” motions reasonably determined by the Company Parties, in form and
        substance reasonably acceptable to the Requisite Consenting Creditors, to be necessary, and to seek
        interim and final (to the extent necessary) orders, in form and substance reasonably acceptable to
        the Company Parties and the Requisite Consenting Creditors, from the Bankruptcy Court approving
        the relief requested in the first day” motions;

        (vi)   not, nor encourage any other person or entity to, take any action which would, or would
        reasonably be expected to, breach or be inconsistent with this Agreement or delay, impede, appeal,
        or take any other negative action, directly or indirectly, to interfere with the acceptance,
        confirmation, or consummation of the Plan or implementation of the Restructuring Transactions;

        (vii) subject to appropriate confidentiality arrangements, provide to the Consenting Creditors’
        professionals, upon reasonable advance notice to the Company Parties: (A) reasonable access
        (without any material disruption to the conduct of the Company Parties’ business) during normal
        business hours to the Company Parties’ books, records, and facilities; (B) reasonable access to the
        respective management and advisors of the Company Parties for the purposes of evaluating the
        Company Parties’ finances and operations and participating in the planning process with respect to
        the Restructuring Transactions; (C) prompt access to any information provided to any existing or
        prospective financing sources (including lenders under any debtor-in-possession and/or exit
        financing); and (D) prompt and reasonable responses to all reasonable diligence requests; provided,
        that, in each case, the Company Parties shall not be required to disclose, permit the inspection,
        examination or making copies or abstracts of, or discussion of, any document, information or other
        matter that (a) constitutes non-financial trade secrets or non-financial proprietary information, (b)
        in respect of which disclosure is prohibited by law or any confidentiality obligation binding on such
        Company Parties, or (c) is subject to attorney-client or similar privilege or constitutes attorney work
        product;

        (viii) use their commercially reasonable efforts to support and take all actions as are reasonably
        necessary and appropriate to obtain any and all required regulatory and/or third-party approvals
        necessary to consummate the Restructuring;

        (ix)    promptly pay all Restructuring Expenses in accordance with Section 16 of this Agreement;
        (x)     to the extent any legal or structural impediment arises that would prevent, hinder, or delay
        the consummation of the Restructuring Transactions, negotiate in good faith appropriate additional
        or alternative provisions to address any such impediment;

        (xi)    not enter into any commitment or agreement with respect to debtor-in-possession financing,
        use of cash collateral, adequate protection, exit financing, and/or any other financing arrangements
        other than the DIP Facility unless otherwise agreed to by the Company Parties, and the Requisite


                                                  12
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                                 Pg 85 of 270



                 Consenting Lenders, other than such financing arrangements that arise in the ordinary course of the
                 Company Parties’ business operations;
                 (xii) not sell any assets outside of the ordinary course of business other than in connection with
                 the Sale Transactions contemplated by the Bidding Procedures Motion without the prior written
                 consent (including e-mail) of the Requisite Consenting Creditors;

                 (xiii) subject to applicable laws, use commercially reasonable efforts to, consistent with the
                 pursuit and consummation of the Restructuring Transactions, preserve intact in all material respects
                 the current business operations of the Company Parties (other than as consistent with applicable
                 fiduciary duties), keep available the services of its current officers and material employees (in each
                 case, other than as contemplated by the Company Parties’ current business plan provided to the
                 Consenting Creditors, voluntary resignations, terminations for cause, or terminations consistent
                 with applicable fiduciary duties) and preserve in all material respects its relationships with
                 customers, sales representatives, suppliers, distributors, and others, in each case, having material
                 business dealings with the Company Parties (other than terminations for cause or consistent with
                 applicable fiduciary duties);

                 (xiv) not commence or support any avoidance action or other legal proceeding (or consent to any
                 other Person obtaining standing to commence any such avoidance action or other legal proceeding)
                 that challenges the validity, enforceability, or priority of the Credit Agreement;

                 (xv) provide prompt written notice (in accordance with Section 20 hereof) to the Consenting
                 Creditors and K&S between the date hereof and the Plan Effective Date of (A) receipt of any written
                 notice from any third party alleging that the consent of such party is or may be required in
                 connection with the Restructuring Transactions; (B) receipt of any written notice from any
                 governmental body in connection with this Agreement or the Restructuring Transactions; and (C)
                 receipt of any written notice of any proceeding commenced, or, to the actual knowledge of the
                 Company Parties, threatened against the Company Parties, relating to or involving or otherwise
                 affecting in any material respect the Restructuring Transactions.
         (b)    Automatic Stay. The Company Parties acknowledge and agree and shall not dispute that after the
commencement of the Chapter 11 Cases, the giving of notice of termination by any Party pursuant to this Agreement
shall not be a violation of the automatic stay of section 362 of the Bankruptcy Code (and the Company Parties
hereby waive, to the greatest extent legally possible, the applicability of the automatic stay to the giving of such
notice); provided that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of default
or termination was not proper under the terms of this Agreement.

        5.      Termination of Agreement.

         (a)     This Agreement shall terminate upon the receipt of written notice to the other Parties, delivered in
accordance with Section 20 hereof, from, as applicable, (x) the Requisite Consenting Creditors at any time after and
during the continuance of any Creditor Termination Event (as defined herein); or (y) Company Parties at any time
after and during the continuance of any Company Termination Event, as applicable. Notwithstanding any provision
to the contrary in this Section 5, no Party may exercise any of its respective termination rights as set forth herein if
such Party has failed to perform or comply in all material respects with the terms and conditions of this Agreement
(unless such failure to perform or comply arises as a result of another Party’s actions or inactions), with such failure
to perform or comply causing, or resulting in, the occurrence of a Creditor Termination Event or Company
Termination Event (as defined herein) specified herein. This Agreement shall terminate on the Plan Effective Date
without any further required action or notice.

        (b)     A “Creditor Termination Event” shall mean any of the following:


                                                          13
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                       Pg 86 of 270



        (i)     the breach in any material respect by any Company Party of (a) any covenant contained in
        this Agreement or (b) any other obligations of the Company Parties set forth in this Agreement,
        and, in either respect, such breach remains uncured (solely to the extent capable of being cured) for
        a period of three (3) business days following the Company Parties’ receipt of written notice from
        the Requisite Consenting Creditors pursuant to Sections 5(a) and 20 hereof (as applicable);
        (ii)    any representation or warranty in this Agreement made by a Company Party shall have been
        untrue in any material respect when made or shall have become untrue in any material respect, and
        such breach remains uncured for a period of five (5) business days following the Company’s receipt
        of notice pursuant to Sections 5(a) and 20 hereof (as applicable);

        (iii)   the Definitive Documents and any amendments, modifications, or supplements thereto filed
        or entered into by the Company Parties include terms that are materially inconsistent with the
        Restructuring Term Sheet and are not otherwise reasonably acceptable to the Requisite Consenting
        Creditors, and such event remains unremedied for a period of five (5) calendar days following the
        Company Parties’ receipt of notice pursuant to Sections 5(a) and Section 20 hereto (as applicable);
        (iv)   a Definitive Document alters the treatment of the DIP Lenders specified in the
        Restructuring Term Sheet without complying with Section 9 hereof and the Requisite Consenting
        Creditors have not otherwise consented to such Definitive Document;
        (v)     the issuance by any governmental authority, including any regulatory authority or court of
        competent jurisdiction, of any final, non-appealable ruling or order that (a) enjoining the
        consummation of the Restructuring Transactions or rendering illegal this Agreement, the Plan or
        the Restructuring Transactions, and (b) remains in effect for twenty-five (25) business days after
        such terminating Consenting Creditors transmit a written notice in accordance with Section 20
        hereof detailing any such issuance; provided, that this termination right may not be exercised by
        any Consenting Creditor that sought or requested such ruling or order in contravention of any
        obligation set out in this Agreement;

        (vi)    the Support Effective Date shall not have occurred on or before the Petition Date;
        (vii) the Company Parties shall not have complied with Milestones set out in the Restructuring
        Term Sheet; provided that the date for compliance with any such Milestone may be extended with
        the consent of the Requisite Consenting Creditors;
        (viii) the Bankruptcy Court enters an order that is not stayed (A) directing the appointment of a
        trustee or examiner with expanded powers to operate the Company Parties’ business in the Chapter
        11 Cases, (B) converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code,
        (C) dismissing the Chapter 11 Cases, (D) denying confirmation of the Plan, the effect of which
        would render the Plan incapable of consummation on the terms set forth herein or (E) granting
        relief that is inconsistent with this Agreement or the Plan in any materially adverse respect to the
        Consenting Creditors, in each case;

        (ix)   the Confirmation Order is reversed or vacated by a final order without the consent of the
        Requisite Consenting Creditors;

        (x)      if either (A) any Company Party (or any person or entity on behalf of any Company Party
        or its bankruptcy estate with proper standing) files a motion, application or adversary proceeding
        (or supports or fails to timely object to such a filing) (1) challenging the validity, enforceability,
        perfection or priority of, or seeking invalidation, avoidance, disallowance, recharacterization or
        subordination of any of the obligations or Claims under the Indenture and Note Security Document



                                                 14
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                       Pg 87 of 270



        (as defined in the Indenture), or (B) the Bankruptcy Court (or any court with jurisdiction over the
        Chapter 11 Cases) enters an order providing relief against the interests of the Lenders with respect
        to any of the foregoing causes of action or proceedings, including, but not limited to, invalidating,
        avoiding, disallowing, recharacterizing, subordinating, or limiting the enforceability of any of the
        obligations or Claims arising under or related to the Indenture and Note Security Documents (as
        defined in the Indenture);

        (xi)    the DIP Facility is not approved by the Bankruptcy Court or is terminated in accordance
        with the terms of the DIP Credit Agreement and the DIP Orders;

        (xii) the Company Parties’ use of cash collateral is not approved by the Bankruptcy Court or has
        been terminated in accordance with the terms of the DIP Orders;
        (xiii) any Company Party files or seeks approval of, or supports (or fails to timely object to)
        another party in, filing or seeking approval of an Alternative Transaction;

        (xiv) if any Company Party (A) withdraws the Plan or the Bidding Procedures Motion, (B)
        announces its intention not to support the Restructuring Transactions or the Plan, (C) files a motion
        with the Bankruptcy Court seeking the approval of an Alternative Transaction or (D) agrees to
        pursue (including, for the avoidance of doubt, as may be evidenced by a term sheet, letter of intent,
        or similar document) or announces its intent to pursue an Alternative Transaction;
        (xv) the Bankruptcy Court enters an order modifying or terminating the Company Parties’
        exclusive right to file and solicit acceptances of a plan of reorganization (including the Plan);

        (xvi) the Bankruptcy Court grants relief terminating, annulling, or modifying the automatic stay
        (as set forth in section 362 of the Bankruptcy Code) in order for the moving party to foreclose on
        any Material Asset of a Company Party in a manner that materially impacts Restructuring
        Transactions without the prior written consent of the Requisite Consenting Creditors;

        (xvii) the termination of the Stalking Horse Agreement or the asset purchase agreement(s) entered
        into in connection with the Sale Process (if not the Stalking Horse Agreement) without entry into
        a new purchase agreement reasonably acceptable to the Requisite Consenting Creditors within ten
        (10) business days; or

        (xviii) the Bankruptcy Court enters a final order disallowing, invalidating, subordinating,
        recharacterizing, or declaring unenforceable the claims, liens or interests, in any material respect,
        held by any Consenting Creditor or the Collateral Agent or Trustee arising under the Credit
        Agreement.

 (c)    A “Company Termination Event” shall mean any of the following:

        (i)    the breach in any material respect by one or more of the Consenting Creditors, of any of the
        undertakings, representations, warranties, or covenants of the Consenting Creditors set forth herein
        in any material respect that remains uncured (solely to the extent capable of being cured) for a
        period of five (5) business days after the receipt of written notice of such breach pursuant to
        Sections 5(a) and 20 hereof (as applicable), provided, that this Agreement is still binding on other
        Consenting Creditors if they hold more than 66 2/3% of the aggregate outstanding amount of the
        Convertible Notes;

        (ii)   the board of directors, members, or managers (as applicable) of any Company Party
        reasonably determines in good faith based upon the advice of outside counsel that continued
        performance under this Agreement or pursuit of the Restructuring Transactions would be


                                                15
     24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                               Pg 88 of 270



                inconsistent with the exercise of its fiduciary duties under applicable law; provided, that the
                Company Parties shall provide notice of such determination to K&S via email within one (1)
                business day after the date thereof; provided further that the Consenting Creditors reserve all rights
                they may have to challenge the exercise by the Company Parties of their ability to terminate this
                Agreement pursuant to this Section 5(c)(ii);
                (iii)   the Company Parties shall not have obtained votes accepting the Plan from holders of the
                Convertible Notes sufficient to satisfy the conditions for acceptable set forth in section 1126(c) of
                the Bankruptcy Code on or before the voting deadline set forth in the solicitation materials
                distributed in connection with the Plan;

                (iv)    the Support Effective Date shall not have occurred on or before the Petition Date;

                (v)    if the Plan Effective Date shall not have occurred on before 120 days following the Petition
                Date; or

                (vi)    the issuance by any governmental authority, including any regulatory authority or court of
                competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the
                consummation of a material portion of the Restructuring Transactions and (ii) remains in effect for
                twenty-five (25) business days after the Company Parties transmits a written notice in accordance
                with Section 20 hereof detailing any such issuance; provided, that this termination right may not
                be exercised by the Company Parties if it sought or requested such ruling or order in contravention
                of any obligation set out in this Agreement.
        (d)     Mutual Termination. This Agreement may be terminated by mutual agreement of the Company
Parties and the Requisite Consenting Creditors upon the receipt of written notice delivered in accordance with
Section 20 hereof.
        (e)     Automatic Termination. This Agreement shall terminate automatically, without any further action
required by any Party, upon the occurrence of the Plan Effective Date.

        (f)      Effect of Termination. Upon the termination of this Agreement in accordance with this Section 5
(other than pursuant to Section 5(e) if the Restructuring Transactions have not been consummated, and except as
provided in Section 13 hereof, this Agreement shall forthwith become void and of no further force or effect and
each Party shall, except as provided otherwise in this Agreement, be immediately released from its liabilities,
obligations, commitments, undertakings and agreements under or related to this Agreement and shall have all the
rights and remedies that it would have had and shall be entitled to take all actions, whether with respect to the
Restructuring Transactions or otherwise, that it would have been entitled to take had it not entered into this
Agreement, including all rights and remedies available to it under applicable law, the Indenture and any ancillary
documents or agreements thereto; provided, however, that in no event shall any such termination relieve a Party
from liability for its breach or non-performance of its obligations hereunder prior to the date of such termination.
Upon any such termination of this Agreement, each vote or any consents given by any Consenting Creditor prior to
such termination shall be deemed, for all purposes, to be null and void ab initio and shall not be considered or
otherwise used in any manner by the Parties in connection with the Restructuring Transactions and this Agreement,
in each case, without further confirmation or other action by such Consenting Creditor. If this Agreement has been
terminated in accordance with Section 5(a), the Company Parties shall not oppose any attempt by a Consenting
Creditor to change or withdraw (or cause to change or withdraw) its vote to accept the Plan. Such Consenting
Creditor shall have no liability to the Company Parties or to any other Consenting Creditor in respect of any
termination of this Agreement in accordance with the terms of this Section 5 and Section 21 hereof.

        (g)    If the Restructuring Transactions have not been consummated prior to the date of termination of
this Agreement, nothing herein shall be construed as a waiver by any Party of any or all of such Party’s rights and


                                                         16
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                                 Pg 89 of 270



the Parties expressly reserve any and all of their respective rights. Pursuant to Federal Rule of Evidence 408 and
any other applicable rules of evidence, this Agreement and all negotiations relating hereto shall not be admissible
into evidence in any proceeding other than a proceeding to enforce its terms.

        6.      Definitive Documents; Good Faith Cooperation; Further Assurances.

         (a)     Subject to the terms and conditions described herein, during the RSA Support Period, each Party,
severally and not jointly, hereby covenants and agrees to reasonably cooperate with each other in good faith in
connection with, and shall exercise commercially reasonable efforts with respect to the pursuit, approval,
implementation, and consummation of the Plan and the Restructuring Transactions, as well as the negotiation,
drafting, execution (to the extent such Party is a party thereto), and delivery of the Definitive Documents, which
will, after the Support Effective Date, remain subject to negotiation and shall, upon completion, contain terms,
conditions, representations, warranties, and covenants consistent in all material respects with the terms of this
Agreement (including the exhibits and schedules) and be in a form and substance reasonably acceptable to the
Requisite Consenting Creditors (subject to any consent rights with respect to the applicable Definitive Document,
including those in the definition of such Definitive Document or set forth herein or in the Restructuring Term Sheet).
Furthermore, subject to the terms and conditions hereof, each of the Parties shall take such action as may be
reasonably necessary or reasonably requested by the other Parties to carry out the purposes and intent of this
Agreement, and shall refrain from taking any action that would frustrate the purposes and intent of this Agreement;
provided that no Consenting Creditor shall be required to incur any cost, expense, or liability in connection therewith.

        (b)     Each of the Parties agrees to negotiate in good faith any amendments and modifications to the
Definitive Documents as reasonably necessary and appropriate to effectuate the Restructuring Transaction and
obtain confirmation of the Plan pursuant to an order of the Bankruptcy Court; provided that each Party shall have
no obligation to agree to any modification that (i) is inconsistent with this Agreement in any material respect, (ii)
creates any new material obligations on any Party, or (iii) adversely changes or otherwise adversely affects the
economic treatment of such Party whether such change is made directly to the treatment of the Consenting Creditors
or otherwise.

        7.      Representations and Warranties.
       (a)      Each Party, severally and not jointly, represents and warrants to the other Parties that the following
statements are true, correct and complete as of the date hereof (or, with respect to a Consenting Creditor that
becomes a party hereto after the date hereof, as of the date such Consenting Creditor becomes a party hereto):

                (i)      such Party is validly existing and in good standing under the laws of its jurisdiction of
                         incorporation or organization, and has all requisite corporate, partnership, limited liability
                         company or similar authority to enter into this Agreement and carry out the transactions
                         contemplated hereby and perform its obligations contemplated hereunder, and the
                         execution and delivery of this Agreement and the performance of such Party’s obligations
                         hereunder have been duly authorized by all necessary corporate, limited liability company,
                         partnership or other similar action on its part;

                (ii)     the execution, delivery and performance by such Party of this Agreement does not and will
                         not (A) violate any material provision of law, rule or regulation applicable to it or its charter
                         or bylaws (or other similar governing documents) or (B) conflict with, result in a breach of
                         or constitute (with due notice or lapse of time or both) a default under any material
                         contractual obligation to which it is a party other than any default caused by the
                         commencement of the Chapter 11 Cases or as contemplated by the Restructuring
                         Transactions; and




                                                           17
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                                 Pg 90 of 270



                (iii)    this Agreement is the legally valid and binding obligation of such Party, enforceable against
                         it in accordance with its terms, except as enforcement may be limited by bankruptcy,
                         insolvency, reorganization, moratorium or other similar laws relating to or limiting
                         creditors’ rights generally or by equitable principles relating to enforceability or a ruling of
                         the Bankruptcy Court.

        (b)      Each Consenting Creditor severally (and not jointly), represents and warrants to the Company
Parties that, as of the date hereof (or as of the date such Consenting Creditor becomes a party hereto), such
Consenting Creditor (i) is the beneficial owner of, or investment advisor or manager of funds that are beneficial
owners of, the aggregate principal amount of Convertible Notes set forth below its name on the signature page
hereof (or below its name on the signature page of a Joinder Agreement for any Consenting Creditor that becomes
a party hereto after the date hereof) and does not beneficially own, or manager or advisor funds that own, any other
Convertible Notes and (ii) has, with respect to the beneficial owners of such Convertible Notes, (A) sole investment
or voting discretion with respect to such Convertible Notes, (B) full power and authority to vote on and consent to
matters concerning such Loans or to exchange, assign and transfer such Convertible Notes, and (C) full power and
authority to bind or act on the behalf of, such beneficial owners.

        8.      Disclosure; Publicity.

Each Company Party shall submit drafts to K&S of any press releases that constitute disclosure of the existence or
terms of this Agreement or any amendment to the terms of this Agreement at least two (2) business days before
making any such disclosure. Except as required by applicable law or otherwise permitted under the terms of any
other agreement between the Company Parties and any Consenting Creditor, no Party or its advisors shall disclose
to any person (including, for the avoidance of doubt, any other Consenting Creditor), other than advisors to the
Company Parties and the Consenting Creditors, the principal amount of the Loans held by the Consenting Creditor
or the identity of the Consenting Creditor, without such Consenting Creditor’s prior written consent, including,
without limitation, in any public filing or press release; provided, however, that (i) if such disclosure is required by
law, subpoena, or other legal process or regulation, the disclosing Party shall afford the relevant Consenting Creditor
a reasonable opportunity to review and comment in advance of such disclosure and shall take all reasonable
measures to limit such disclosure, (ii) the foregoing shall not prohibit the disclosure of the aggregate percentage or
aggregate outstanding principal amount of the Loans held by all the Consenting Creditors collectively, and (iii) any
Party may disclose information requested by a regulatory or licensing authority with jurisdiction over its operations
to such authority without limitation or notice to any Party or other person. Notwithstanding the provisions in this
Section 8, any Party may disclose, only to the extent consented to in writing by such Consenting Creditor, such
Consenting Creditor’s individual holdings. Any public filing of this Agreement, with the Bankruptcy Court or
otherwise, which includes executed signature pages to this Agreement shall include such signature pages only in
redacted form with respect to the Consenting Creditors and holdings of each Consenting Creditors (provided that
the names and holdings disclosed in such signature pages may be filed in unredacted form with the Bankruptcy
Court under seal).

        9.      Amendments and Waivers.

        (a)      This Agreement, including any exhibits or schedules hereto, may not be waived, modified, amended
or supplemented except with the written consent of the Company Parties and the Requisite Consenting Creditors;
provided, however, that any waiver, modification, amendment or supplement to this Section 9 shall require the
written consent of all of the Parties; provided, further, to the extent the DIP Credit Agreement is not yet executed
and effective, any amendment, modification or change to the form of DIP Credit Agreement shall require the written
consent of the DIP Lenders; provided, further, that any modification, amendment or change to the definition of
Requisite Consenting Creditors shall require the written consent of each Consenting Creditor that is a holder of
Convertible Notes; provided, further, that any change, waiver, modification or amendment to this Agreement or the
Restructuring Term Sheet that treats or affects any Consenting Creditor in a manner that is materially


                                                          18
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                                 Pg 91 of 270



disproportionately and adverse, on an economic basis to the manner in which any of the other Consenting Creditors
are treated (after taking into account each of the Consenting Creditor’s respective Claims, the relative priorities of
such Claims set forth in the Indenture, and the recoveries contemplated by the Restructuring Term Sheet (as in
effect on the date hereof)) shall require the written consent of such Consenting Creditor.

       (b)      In the event that an adversely affected Consenting Creditor does not consent to a waiver, change,
modification or amendment to this Agreement requiring the consent of each Consenting Creditor (such lender, a
“Non-Consenting Creditor”), but such waiver, change, modification or amendment receives the consent of
Consenting Creditors owning at least 66 2/3% of the aggregate outstanding principal amount of Convertible Notes,
this Agreement shall be deemed to have been terminated only as to such Non-Consenting Creditor, but this
Agreement shall continue in full force and effect in respect to all other Consenting Creditors who have so consented,
in a way consistent with this Agreement and the Restructuring Term Sheet as waived, changed, modified, or
amended, as applicable.

        10.     Effectiveness.
This Agreement shall become effective and binding upon each Party upon the execution and delivery by such Party
of an executed signature page hereto and shall become effective and binding on all Parties on the Support Effective
Date; provided that signature pages executed by Consenting Creditors shall be delivered to (a) the other Consenting
Creditors in a redacted form that removes such Consenting Creditors’ holdings of the Loans or any other Claims
against or interests in the Company Parties and any schedules to such Consenting Creditors’ holdings (if applicable)
and (b) the Company Parties, B&M, and K&S in an unredacted form (and to be kept confidential by the Company
Parties, B&M, and K&S).

        11.     Governing Law; Jurisdiction; Waiver of Jury Trial.

         (a)   This Agreement shall be construed and enforced in accordance with, and the rights of the parties
shall be governed by, the law of the State of New York, without giving effect to the conflict of laws principles
thereof.

         (b)      Each of the Parties irrevocably agrees that any legal action, suit or proceeding arising out of or
relating to this Agreement brought by any Party or its successors or assigns shall be brought and determined in any
federal or state court in the Borough of Manhattan in the State of New York, and each of the Parties hereby
irrevocably submits to the exclusive jurisdiction of the aforesaid courts for itself and with respect to its property,
generally and unconditionally, with regard to any such proceeding arising out of or relating to this Agreement or
the Restructuring Transactions. Each of the Parties agrees not to commence any proceeding relating hereto or thereto
except in the courts described above in the Borough of Manhattan in the State of New York, other than proceedings
in any court of competent jurisdiction to enforce any judgment, decree or award rendered by any such court in New
York as described herein. Each of the Parties further agrees that notice as provided herein shall constitute sufficient
service of process and the Parties further waive any argument that such service is insufficient. Each of the Parties
hereby irrevocably and unconditionally waives, and agrees not to assert, by way of motion or as a defense,
counterclaim or otherwise, in any proceeding arising out of or relating to this Agreement or the Restructuring
Transactions, (i) any claim that it is not personally subject to the jurisdiction of the courts in New York as described
herein for any reason, (ii) that it or its property is exempt or immune from jurisdiction of any such court or from
any legal process commenced in such courts (whether through service of notice, attachment prior to judgment,
attachment in aid of execution of judgment, execution of judgment or otherwise) and (iii) that (A) the proceeding
in any such court is brought in an inconvenient forum, (B) the venue of such proceeding is improper or (C) this
Agreement, or the subject matter hereof, may not be enforced in or by such courts. Notwithstanding the foregoing,
during the pendency of the Chapter 11 Cases, all proceedings contemplated by this Section 11(b) shall be brought
in the Bankruptcy Court.




                                                          19
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                  Main Document
                                                 Pg 92 of 270



      (c)   EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING
DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY
OTHER THEORY). EACH PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY
OF ANY OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED TO ENTER
INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND
CERTIFICATIONS IN THIS SECTION.

        12.     Specific Performance/Remedies.

It is understood and agreed by the Parties that money damages would not be a sufficient remedy for any breach of
this Agreement by any Party and each non-breaching Party shall be entitled to specific performance and injunctive
or other equitable relief (including attorneys’ fees and costs) as a remedy of any such breach, without the necessity
of proving the inadequacy of money damages as a remedy, including an order of the Bankruptcy Court requiring
any Party to comply promptly with any of its obligations hereunder. Each Party also agrees that it will not seek, and
will waive any requirement for, the securing or posting of a bond in connection with any Party seeking or obtaining
such relief.

        13.     Survival.

Notwithstanding the termination of this Agreement pursuant to Section 5 hereof, the agreements and obligations of
the Parties in this Section 13, and Sections 4(b), 5(g), 10 (with respect to the redacted information), 11, 12, 13, 14,
15, 17, 18, 19, 20, 21, 22, 23 (and any defined terms used in any such Sections) shall survive such termination and
shall continue in full force and effect in accordance with the terms hereof; provided, however, that any liability of
a Party for failure to comply with the terms of this Agreement shall survive such termination.

        14.     Headings.
The headings of the sections, paragraphs and subsections of this Agreement are inserted for convenience only and
shall not affect the interpretation hereof or, for any purpose, be deemed a part of this Agreement.

        15.     Successors and Assigns; Severability; Several Obligations.

This Agreement is intended to bind and inure to the benefit of the Parties and their respective successors, permitted
assigns, heirs, executors, administrators and representatives; provided, however, that nothing contained in this
Section 15 shall be deemed to permit Transfers of the Convertible Notes or Claims other than in accordance with
the express terms of this Agreement. If any provision of this Agreement, or the application of any such provision
to any Person or circumstance, shall be held invalid or unenforceable in whole or in part, such invalidity or
unenforceability shall attach only to such provision or part thereof and the remaining part of such provision hereof
and this Agreement shall continue in full force and effect so long as the economic or legal substance of the
transactions contemplated hereby is not affected in any manner materially adverse to any Party. Upon any such
determination of invalidity, the Parties shall negotiate in good faith to modify this Agreement so as to effect the
original intent of the Parties as closely as possible in a reasonably acceptable manner in order that the transactions
contemplated hereby are consummated as originally contemplated to the greatest extent possible. The agreements,
representations and obligations of the Parties are, in all respects, ratable and several and neither joint nor joint and
several.




                                                          20
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                                 Pg 93 of 270



        16.      Restructuring Expenses.

Whether or not the transactions contemplated by this Agreement are consummated, the Company Parties hereby
agree to pay, in cash, all Restructuring Expenses as follows: (i) all accrued and unpaid Restructuring Expenses shall
be paid in full in cash on or prior to the Support Effective Date, (ii) prior to the Petition Date and after the Support
Effective Date, all Restructuring Expenses incurred during such period (and not previously paid pursuant to the
preceding clause (i), if any) shall be paid in full in cash by the Company Parties on a regular and continuing basis
as soon as reasonably practicable after receipt of invoices, and in any event, prior to the Petition Date, and (iii) after
the Petition Date and during the RSA Support Period, all accrued and unpaid Restructuring Expenses incurred up
to (and including) the Plan Effective Date (including all accrued and unpaid fees and expenses incurred through the
Support Effective Date) shall be paid in full in cash on the Plan Effective Date (provided, for the avoidance of doubt,
that such Restructuring Expenses have not been satisfied during the Chapter 11 Cases pursuant to the DIP Orders)
against receipt of invoices, without any requirement for Bankruptcy Court review or further Bankruptcy Court order.
Notwithstanding the foregoing, nothing herein shall affect or limit any obligations of the Company Parties to pay
the Restructuring Expenses as provided in the DIP Orders.
        17.      No Third-Party Beneficiaries.

Subject to Section 25 and unless otherwise expressly stated herein, this Agreement shall be solely for the benefit of
the Parties (and their respective successors, permitted assigns, heirs, executors, administrators and representatives)
and no other Person shall be a third-party beneficiary hereof.

        18.      Prior Negotiations; Entire Agreement.
This Agreement, including the exhibits and schedules hereto (including the Restructuring Term Sheet) constitutes
the entire agreement of the Parties, and supersedes all other prior negotiations, with respect to the subject matter
hereof and thereof, except that the Parties acknowledge that any confidentiality agreements (if any) heretofore
executed between the Company Parties and each Consenting Creditor shall continue in full force and effect.

        19.      Counterparts.

This Agreement may be executed in counterparts, each of which shall be deemed to be an original, and all of which
together shall be deemed to be one and the same agreement. Execution copies of this Agreement may be delivered
by electronic mail in portable document format (pdf), which shall be deemed to be an original for the purposes of
this paragraph.

        20.      Notices.

All notices hereunder shall be deemed given if in writing and delivered, if contemporaneously sent by electronic
mail, by overnight courier or by registered or certified mail (return receipt requested) to the following addresses:

        (a)      If to the Company Parties, to:

                         c/o Acorda Therapeutics, Inc.
                         2 Blue Hill Plaza, 3rd Floor
                         Pearl River, NY United States 10965
                         Attention:      Neil Belloff
                         E-mail:         nbelloff@acorda.com

                         with a copy (which shall not constitute notice) to:




                                                           21
     24-22284-dsj         Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                                  Pg 94 of 270



                          Baker & McKenzie LLP
                          452 Fifth Avenue
                          New York, New York 10018
                          Attention:     Blaire Cahn; John Dodd
                          E-mail:        Blaire.Cahn@bakermckenzie.com; John.Dodd@bakermckenzie.com

        (b)    if to a Consenting Creditor or a transferee thereof, to the addresses or e-mail addresses set forth
below such Consenting Creditor’s signature hereto (or as directed by any transferee thereof), as the case may be,
with a copy (which shall not constitute notice) to:
                          King & Spalding LLP
                          110 N Wacker Drive
                          Suite 3800
                          Chicago, IL 60606
                          Attention:     Matthew Warren; Lindsey Henrikson;
                          E-mail:        mwarren@kslaw.com; lhenrikson@kslaw.com

Any notice given by delivery, mail or courier shall be effective when received. Any notice given by electronic mail
shall be effective upon transmission.

        21.      Reservation of Rights; No Admission.

         (a)     Nothing contained herein shall limit (A) the ability of any Party to consult with other Parties or (B)
the rights of any Party under any applicable bankruptcy, insolvency, foreclosure, or similar proceeding, including
the right to appear as a party in interest in any matter to be adjudicated in order to be heard concerning any matter
arising in the Chapter 11 Cases, in each case, so long as such consultation or appearance is consistent with such
Party’s obligations hereunder.
         (b)      Except as expressly provided in this Agreement, nothing herein is intended to, or does, in any
manner waive, limit, impair, or restrict the ability of each of the Parties to protect and preserve its rights, remedies,
and interests, including its claims against any of the other Parties (or their respective affiliates or subsidiaries) or its
full participation in any bankruptcy case filed by the Company Parties. This Agreement and the Restructuring Term
Sheet are part of a proposed settlement of matters that could otherwise be the subject of litigation among the Parties.
Pursuant to Rule 408 of the Federal Rules of Evidence and any other applicable rules of evidence, and any other
applicable law, foreign or domestic, this Agreement and all negotiations relating hereto shall not be admissible into
evidence in any proceeding other than a proceeding to enforce its terms. This Agreement shall in no event be
construed as or be deemed to be evidence of an admission or concession on the part of any Party of any claim or
fault or liability or damages whatsoever. Each of the Parties denies any and all wrongdoing or liability of any kind
and does not concede any infirmity in the claims or defenses which it has asserted or could assert.

        22.      Relationship Among Consenting Creditors.
It is understood and agreed that no Consenting Creditor has any duty of trust or confidence of any kind or form with
any other Consenting Creditor, and, except as expressly provided in this Agreement, there are no commitments
among or between them. No prior history, pattern, or practice of sharing confidences among or between the
Consenting Creditor shall in any way affect or negate this understanding and agreement.

        23.      No Solicitation; Representation by Counsel; Adequate Information.

       (a)      This Agreement is not and shall not be deemed to be a solicitation for votes in favor of the Plan in
the Chapter 11 Cases by the Consenting Creditors or a solicitation to tender or exchange any of the Loans. The
acceptances of the Consenting Creditors with respect to the Plan will not be solicited until such Consenting Creditor



                                                            22
     24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                                 Pg 95 of 270



has received the Disclosure Statement and related ballots and solicitation materials, each as approved or ratified by
the Bankruptcy Court.
         (b)     Each Party acknowledges that it has had an opportunity to receive information from the Company
Parties and that it has been, or is part of a group that has been, represented by counsel in connection with this
Agreement and the transactions contemplated hereby. Accordingly, any rule of law or any legal decision that would
provide any Party with a defense to the enforcement of the terms of this Agreement against such Party based upon
lack of legal counsel shall have no application and is expressly waived.

         (c)     Although none of the Parties intends that this Agreement should constitute, and they each believe
it does not constitute, a solicitation or acceptance of a chapter 11 plan of reorganization or an offering of securities,
each Consenting Creditor acknowledges, agrees and represents to the other Parties that it (i) is an accredited investor
(as such term is defined in Rule 501(a) of Regulation D promulgated under the Securities Act) and a qualified
institutional buyer as such term is defined in Rule 144A of the Securities Act, (ii) understands that the securities to
be acquired by it (if any) pursuant to the Restructuring have not been registered under the Securities Act and that
such securities are, to the extent not acquired pursuant to section 1145 of the Bankruptcy Code, being offered and
sold pursuant to an exemption from registration contained in the Securities Act, based in part upon such Consenting
Creditor’s representations contained in this Agreement and cannot be sold unless subsequently registered under the
Securities Act or an exemption from registration is available, and (iii) has such knowledge and experience in
financial and business matters that such Consenting Creditor is capable of evaluating the merits and risks of the
securities to be acquired by it (if any) pursuant to Restructuring and understands and is able to bear any economic
risks with such investment.

        24.     Confidentiality Agreement Amendment

        Each Consenting Convertible Noteholder hereby agrees that Section 13 of the Confidentiality Agreement
applicable to it is hereby amended to replace the date “March 31, 2024” contained in the second sentence thereof,
with “April 1, 2024”.

        25.     Prepetition Agent
        Each Consenting Convertible Noteholder hereby authorizes and directs the Prepetition Agent (as defined in
the DIP Orders) to consent to the DIP Orders and the terms and conditions set forth therein, and the Consenting
Convertible Noteholders agree that the Prepetition Agent shall be afforded and entitled to all benefits, indemnities,
immunities, privileges, protections and rights that are conferred upon it under the Indenture and other Notes
Documents and applicable law in connection with its compliance with such instruction and direction, and the
Prepetition Agent shall have no liability to any Convertible Noteholder for, or in any way related to or arising from,
whether directly or indirectly, such instruction and direction. Each of the Parties agrees that the Prepetition Agent
is an express third party beneficiaries of, and may enforce, any of the provisions of this Section 25.


                                    [Remainder of Page Intentionally Left Blank]




                                                           23
     24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                               Pg 96 of 270



IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and delivered by their respective
duly authorized officers, solely in their respective capacity as officers of the undersigned and not in any other
capacity, as of the date first set forth above.

                                                         ACORDA THERAPEUTICS, INC.
                                                         on its own behalf and on behalf of its direct and
                                                         indirect debtor subsidiaries




                                                         By:
                                                               Name: Michael Gesser
                                                               Title:   Chief Financial Officer




                              [Signature Pag t Restructurin Suppor Agreement]
DocuSign Envelope ID: 303A9FDE-C99B-4951-BBD3-EDF053B38E66
              24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                                        Pg 97 of 270



                                                             Davidson Kempner Arbitrage, Equities and Relative
                                                             Value LP, as a Consenting Creditor and Convertible
                                                             Noteholder
                                                             By: Davidson Kempner Multi-Strategy GP II LLC, its
                                                             general partner
                                                             By: Davidson Kempner Liquid GP Topco LLC, its
                                                             managing member



                                                                By:
                                                                Name:     Gabriel T. Schwartz
                                                                Title:    Co-Deputy Executive Managing Member


                                                             M.H. Davidson & Co., as a Consenting Creditor and
                                                             Convertible Noteholder
                                                             By: M.H. Davidson & Co. GP, L.LC., its general
                                                             partner
                                                             By: Davidson Kempner Liquid GP Topco LLC, its
                                                             managing member



                                                                By:
                                                                Name:     Gabriel T. Schwartz
                                                                Title:    Co-Deputy Executive Managing Member


                                                             Midtown Acquisitions L.P., as a Consenting Creditor
                                                             and a DIP Lender
                                                             By: Midtown Acquisitions GP LLC, its general partner



                                                                By:
                                                                Name:     Gabriel T. Schwartz
                                                                Title:    Co-Deputy Executive Managing Member




                                    [Signature Page to Restructuring Support Agreement (DK)]
DocuSign Envelope ID: 303A9FDE-C99B-4951-BBD3-EDF053B38E66
              24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                                        Pg 98 of 270


         Notice Address:
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                    Pg 99 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 100 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 101 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                   Pg 102 of 270



                                             Quantum Partners LP, as a Consenting Creditor and
                                             Convertible Noteholder
                                             By: QP GP LLC, its general partner



                                             By:
                                             Name: Neal Paul Donnelly
                                             Title:   Attorney-in-Fact


                                             Palindrome Master Fund LP, as a Consenting Creditor,
                                             a DIP Lender and Convertible Noteholder
                                             By: Palindrome Master Fund GP LLC, its general
                                             partner



                                             By:
                                             Nam:     Neal Paul Donnelly
                                             Title:   Attorney-in-Fact


                                             Cedar Grove Holdings Ltd., as a Consenting Creditor
                                             and DIP Lender



                                             By:
                                             Name: Neal Paul Donnelly
                                             Title:   Attorney-in-Fact




                [Signature Page to Restructuring Support Agreement (Soros)]
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 103 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 104 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 105 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 106 of 270
   24-22284-dsj      Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                         Pg 107 of 270



                                     (b)     such other transactions acceptable to the Company and the
                                             Requisite Consenting Creditors, in their sole discretion.

Sale Process:                Following the Petition Date, the Company shall oversee and manage a
                             comprehensive sale and marketing process to solicit bids in accordance with the
                             Bidding Procedures in good-faith consultation with the Requisite Consenting
                             Creditors (the “Sale Process”).

                             The Sale Process shall be conducted in accordance with the procedures and
                             timeline set forth in the Bidding Procedures, subject to approval of the
                             Bankruptcy Court. The Consenting Creditors and their advisors shall have the
                             right to review all information, diligence, and materials provided by the
                             Company or its advisors to any bidder or prospective bidder with respect to the
                             sale and to consult with the Company and its advisors with respect to any
                             potential Sale Transaction.
                             In the event that the Debtors close a Sale Transaction, the Debtors shall
                             distribute the proceeds of such Sale Transaction, if any, and the Debtors’
                             remaining assets to the Convertible Noteholders and DIP Lenders in accordance
                             with the terms of the DIP Facility and the Sale Order, subject to a Wind-Down
                             Reserve (as defined below), Liquidating Trust (as defined below) funding, and
                             payment of certain other claims and expenses.
                             The Wind-Down Budget shall be in an amount sufficient to fund payment of
                             professional fees, administrative expenses, priority claims, and all other post-
                             Sale Transaction expenses as may be necessary or appropriate to confirm and
                             effectuate the Plan. The Parties shall determine the amount of the Wind-Down
                             Budget in good faith prior to the closing date of a Sale Transaction. After the
                             closing date of a Sale Transaction, proceeds of such Sale Transaction, if any, in
                             the amount of the Wind-Down Budget shall be held by the Debtors to be used
                             to fund an orderly liquidation of the Chapter 11 Cases and the dissolution of the
                             Debtors (the “Wind-Down Reserve”) in accordance the Wind-Down Budget.

                             The plan solicitation process shall generally be conducted in accordance with
Plan Process:
                             the Milestones (as defined herein) and the procedures and timeline set forth in
                             the order approving the Disclosure Statement, subject to approval of the
                             Bankruptcy Court.

DIP Facility:                Certain of the Parties shall provide the Company with a secured
                             debtor-in-possession financing as set forth in a debtor-in-possession financing
                             agreement (the “DIP Credit Agreement”), the proceeds of which shall be used
                             for, among other things, general corporate purposes during the pendency of the
                             Chapter 11 Cases and to conduct the Sale Process on the terms and conditions
                             consistent with those set forth in the DIP Credit Agreement attached hereto as
                             Exhibit C (the “DIP Facility”).

Use of Cash Collateral:      The Debtors will seek authority promptly upon commencement of the Chapter
                             11 Cases to use cash collateral of the Convertible Noteholders to help fund the
                             administration of the Chapter 11 Cases. In connection with the Debtors’ use of
                             cash collateral and DIP Facility, subject to Bankruptcy Court approval, the
   24-22284-dsj      Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                         Pg 108 of 270



                             Company will agree to provide “adequate protection” (as such term is defined
                             in sections 361 and 363 of the Bankruptcy Code) to the Consenting Creditors on
                             terms and conditions mutually acceptable to the Debtors and the Consenting
                             Creditors, in exchange for the Consenting Creditors’ consent to use cash
                             collateral.

Liquidating Trust:           On the Effective Date, the Debtors shall transfer the Liquidating Trust Assets to
                             the Liquidating Trust and the Debtors and the Liquidating Trustee shall execute
                             the Liquidating Trust Agreement and shall take all steps necessary to establish
                             the Liquidating Trust in accordance with the Plan and the beneficial interests
                             therein. Additionally, on the Effective Date, the Debtors shall transfer and shall
                             be deemed to transfer to the Liquidating Trust all of their rights, title and interest
                             in and to all of the Liquidating Trust Assets, and in accordance with section
                             1141 of the Bankruptcy Code, the Liquidating Trust Assets shall automatically
                             vest in the Liquidating Trust free and clear of all Claims and Liens, and such
                             transfer shall be exempt from any stamp, real estate transfer, mortgage reporting,
                             sales, use or other similar tax. The Liquidating Trustee shall be the exclusive
                             administrator of the assets of the Liquidating Trust for purposes of 31 U.S.C. §
                             3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representatives of the estate
                             of each of the Debtors appointed pursuant to section 1123(b)(3)(B) of the
                             Bankruptcy Code, solely for purposes of carrying out the Liquidating Trustee’s
                             duties under the Liquidating Trust Agreement. The Liquidating Trust shall be
                             governed by the Liquidating Trust Agreement and administered by the
                             Liquidating Trustee. The powers, rights, and responsibilities of the Liquidating
                             Trustee shall be specified in the Liquidating Trust Agreement. The Liquidating
                             Trustee shall hold and distribute the Liquidating Trust Assets in accordance with
                             the provisions of the Plan and the Liquidating Trust Agreement. Other rights
                             and duties of the Liquidating Trustee shall be as set forth in the Liquidating
                             Trust Agreement. After the Effective Date, the Debtors shall have no interest in
                             the Liquidating Trust Assets except as set forth in the Liquidating Trust
                             Agreement.

                             “Liquidating Trust” means the trust established pursuant to the Liquidating
                             Trust Agreement.
                             “Liquidating Trust Agreement” means a trust agreement by and among the
                             Debtors and the Liquidating Trustee, which shall be in form and substance
                             reasonably acceptable to the Requisite Consenting Creditors, the official
                             creditors’ committee, if any, and the Debtors.

                             “Liquidating Trust Assets” shall consist of (i) any assets or property of the
                             Debtors not purchased pursuant to any Sales Transaction; (ii) Avoidance
                             Actions; and (iii) cash in an amount sufficient to fund the Liquidating Trust,
                             which amount the Parties shall determine in good faith prior to the closing date
                             of a Sale Transaction.

                             “Liquidating Trustee” means the person selected by the official creditors’
                             committee, if any, with the consent of the Requisite Consenting Creditors and
                             in consultation with the Debtors to serve as the trustee of the Liquidating Trust,
                             and any successor thereto in accordance with the Liquidating Trust Agreement.
   24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                      Pg 109 of 270



Milestones:               The Consenting Creditors’ support for the Restructuring shall be subject to the
                          timely satisfaction of the following milestones (the “Milestones”), which may
                          be extended with the prior written consent of the Requisite Consenting
                          Creditors:

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 3
                                         days from the Petition Date, the Debtors have filed the Bidding
                                         Procedures Motion;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 5
                                         days from the Petition Date, the Interim DIP Order has been
                                         entered by the Bankruptcy Court;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 21
                                         days from the Petition Date, the Debtors have filed the
                                         Disclosure Statement and the Plan;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 28
                                         days following the filing of the Bidding Procedures Motion, the
                                         Bidding Procedures Order has been entered by the
                                         Bankruptcy Court;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 29
                                         days from the Petition Date, the Final DIP Order has been
                                         entered by the Bankruptcy Court;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 51
                                         days from the Petition Date, the Debtors have commenced the
                                         Auction, if applicable (as defined in the Bidding Procedures);

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 60
                                         days from the Petition Date, the Sale Order has been entered by
                                         the Bankruptcy Court approving the sale of the Acquired Assets
                                         (as defined in the Bidding Procedures), provided that if there is
                                         no overbid for the Acquired Assets, then then the Sale Order
                                         shall be entered no later than 53 days from the Petition Date;

                                 •       As of 11:59 p.m. prevailing Eastern Time on the date that is 60
                                         days from the Petition Date, the Bankruptcy Court has entered
                                         the Disclosure Statement Order;

                                 •       As promptly as practicable following June 15, 2024 and in no
                                         event later than the Outside Date (as defined in the Bidding
                                         Procedures), the Debtors shall have consummated the sale of
                                         Acquired Assets;

                                 •       As of the 11:59 p.m. prevailing Eastern Time on the date that is
                                         105 days from the Petition Date, the Bankruptcy Court has
                                         entered the Confirmation Order; and
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 110 of 270
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 111 of 270
   24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                           Pg 112 of 270



Releases:                      The Plan will contain standard and customary estate and consensual third-party
                               release provisions mutually acceptable to the Company and the Requisite
                               Consenting Creditors.

Exculpation:                   The Plan will contain standard and customary exculpation provisions mutually
                               acceptable to the Company and the Requisite Consenting Creditors.

Injunction:                    The Plan will contain standard and customary injunction provisions mutually
                               acceptable to the Company and the Requisite Consenting Creditors.

Definitive Documents and       This Restructuring Term Sheet is indicative, and any final agreement will be
Due Diligence:                 subject to the Definitive Documents. The Definitive Documents will contain
                               terms, conditions, representations, warranties, and covenants, each customary
                               for the transactions described herein consistent with the terms of this
                               Restructuring Term Sheet and the RSA.

Tax Structure:                 To the extent practicable, the Restructuring contemplated by this Restructuring
                               Term Sheet will be structured so as to obtain the most beneficial structure for
                               the Company, as agreed to by the Company and the Requisite Consenting
                               Creditors

Retention of Jurisdiction:     The Plan will provide for a broad retention of jurisdiction by the Bankruptcy
                               Court for (a) resolution of claims, (b) allowance of compensation and expenses
                               for pre-Plan Effective Date services, (c) resolution of motions, adversary
                               proceedings or other contested matters, (d) entering such orders as necessary to
                               implement or consummate the Plan and any related documents or agreements,
                               and (e) other purposes.

Resolution of                  The Plan will provide customary procedures for the resolution of disputed
Disputed Claims:               Claims, including the ability (but not requirement) to establish a claims bar date
                               pursuant to an order of the Bankruptcy Court. Once resolved, the claimants will
                               receive distributions, if any, in accordance with the provisions of the Plan and
                               the classification of their allowed Claim, mutually acceptable to the Company
                               and the Requisite Consenting Creditors.

Conditions to Effectiveness:   The Plan will be subject to usual and customary conditions to confirmation and
                               effectiveness (as applicable), as well as such other conditions that are mutually
                               acceptable to the Company and the Requisite Consenting Creditors.

                               The conditions to effectiveness may be waived in writing by the Company
                               together with the Requisite Consenting Creditors.
     24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                 Main Document
                                              Pg 113 of 270



                                          Exhibit B
                   [FORM OF JOINDER AGREEMENT FOR CONSENTING CREDITORS]

This joinder agreement (the “Joinder Agreement”) to the Restructuring Support Agreement dated [▪], 2024 (as
amended, supplemented or otherwise modified from time to time, the “Agreement”), between Acorda Therapeutics,
Inc. (“Acorda”), and its direct and indirect subsidiaries (each, a “Company Party” and collectively, the “Company
Parties”) and the [●] (together with their respective successors and permitted assigns, the “Consenting Creditors”
and each, a “Consenting Creditor”) is executed and delivered by                                       (the “Joining
Party”) as of                 , 2024. Each capitalized term used herein but not otherwise defined shall have the
meaning set forth in the Agreement.

Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the terms of the Agreement, a copy
of which is attached to this Joinder Agreement as Annex I (as the same has been or may be hereafter amended,
restated or otherwise modified from time to time in accordance with the provisions thereof). The Joining Party shall
hereafter be deemed to be a “Consenting Creditor” and a “Party” for all purposes under the Agreement and with
respect to any and all Claims held by such Joining Party.
Representations and Warranties. With respect to the aggregate principal amount of [●] set forth below its name on
the signature page hereto, the Joining Party hereby makes the representations and warranties of the Consenting
Creditors set forth in Section 7 of the Agreement to each other Party to the Agreement.
Governing Law. This Joinder Agreement shall be governed by and construed in accordance with the internal laws
of the State of New York, without regard to any conflict of laws provisions which would require the application of
the law of any other jurisdiction.
                                             [Signature pages follow.]
     24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                            Pg 114 of 270



IN WITNESS WHEREOF, the Joining Party has caused this Joinder Agreement to be executed as of the date first
written above.

                                                     [CONSENTING CREDITOR] , as a Consenting
                                                     Creditor, [a DIP Lender] and Convertible Noteholder




                                                     By:
                                                           Name:
                                                           Title:




 Principal amount of Outstanding Convertible Notes:        $[▪]
 [Principal amount of DIP Commitments and DIP Loans:]      $[▪]

 Notice Address:




 Fax:
 Attention
 E-mail:




                       [Signature Page to Joinder to Restructuring Support Agreement]
24-22284-dsj   Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                    Pg 115 of 270



                                           Acknowledged:


                                           ACORDA THERAPEUTICS, INC., on its own behalf
                                           and on behalf of its direct and indirect debtor subsidiaries




                                           By:
                                                 Name:
                                                 Title:




               [Signature Page to Joinder to Restructuring Support Agreement]
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 116 of 270



                                    Exhibit C

                               DIP Credit Agreement
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59        Main Document
                                   Pg 117 of 270


                                                            Proposed Execution Version




                DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                              Dated as of April 1, 2024

                                      Among

                         ACORDA THERAPEUTICS, INC.,
                 as Borrower and as Debtor and Debtor-in-Possession,

                         THE LENDERS PARTY HERETO

                                        and

                                 GLAS USA LLC,
                              as Administrative Agent

                                        and

                               GLAS Americas LLC,
                                as Collateral Agent
24-22284-dsj   Doc 7        Filed 04/02/24 Entered 04/02/24 00:10:59                                      Main Document
                                        Pg 118 of 270



                                       TABLE OF CONTENTS

                                                                                                                               Page

                                                   ARTICLE I

                       DEFINITIONS AND ACCOUNTING TERMS

     Section 1.01   Defined Terms ............................................................................................ 2
     Section 1.02   Other Interpretive Provisions .................................................................... 28
     Section 1.03   Accounting Terms ..................................................................................... 29
     Section 1.04   References to Agreements, Laws, Etc. ..................................................... 29
     Section 1.05   Times of Day............................................................................................. 29
     Section 1.06   Timing of Payment or Performance .......................................................... 29
     Section 1.07   UCC Terms ............................................................................................... 29
     Section 1.08   Swiss Terms .............................................................................................. 30

                                                  ARTICLE II

                         THE COMMITMENTS AND THE LOANS

     Section 2.01   The Commitments and the Loans ............................................................. 30
     Section 2.02   Borrowings of Loans................................................................................. 31
     Section 2.03   Prepayments .............................................................................................. 32
     Section 2.04   Repayment of Loans ................................................................................. 34
     Section 2.05   Interest....................................................................................................... 34
     Section 2.06   Fees ........................................................................................................... 35
     Section 2.07   Computation of Interest and Fees ............................................................. 36
     Section 2.08   Evidence of Indebtedness ......................................................................... 36
     Section 2.09   Payments Generally .................................................................................. 37
     Section 2.10   Sharing of Payments ................................................................................. 37

                                                 ARTICLE III

           TAXES, INCREASED COSTS PROTECTION AND ILLEGALITY

     Section 3.01   Taxes ......................................................................................................... 38
     Section 3.02   [Reserved .................................................................................................. 42
     Section 3.03   [Reserved .................................................................................................. 42
     Section 3.04   Increased Cost and Reduced Return; Capital and Liquidity
                    Requirements. ........................................................................................... 42
     Section 3.05   [Reserved] ................................................................................................. 43
     Section 3.06   Matters Applicable to All Requests for Compensation ............................ 43
     Section 3.07   Mitigation Obligations; Replacement of Lenders under Certain
                    Circumstances ........................................................................................... 44
     Section 3.08   Survival ..................................................................................................... 45


                                                           i
24-22284-dsj       Doc 7        Filed 04/02/24 Entered 04/02/24 00:10:59                                     Main Document
                                            Pg 119 of 270



                                                     ARTICLE IV

                               CONDITIONS PRECEDENT TO LOANS

     Section 4.01 Conditions to Initial Loans........................................................................ 45
     Section 4.02 Conditions to all Loans. ............................................................................ 47

                                                      ARTICLE V

                            REPRESENTATIONS AND WARRANTIES

     Section 5.01       Existence, Qualification and Power; Compliance with Laws ................... 48
     Section 5.02       Authorization; No Contravention ............................................................. 49
     Section 5.03       Governmental Authorization; Other Consents.......................................... 49
     Section 5.04       Binding Effect ........................................................................................... 50
     Section 5.05       No Material Adverse Effect ...................................................................... 50
     Section 5.06       Litigation ................................................................................................... 50
     Section 5.07       Ownership of Property; Liens ................................................................... 50
     Section 5.08       Secured, Super-Priority Obligations ......................................................... 50
     Section 5.09       Environmental Compliance ...................................................................... 51
     Section 5.10       Taxes ......................................................................................................... 52
     Section 5.11       Compliance with ERISA........................................................................... 53
     Section 5.12       Labor Matters ............................................................................................ 53
     Section 5.13       Insurance ................................................................................................... 53
     Section 5.14       Subsidiaries; Equity Interests.................................................................... 53
     Section 5.15       Margin Regulations; Investment Company Act; Anti-Terrorism
                        Laws; Sanctions and Other Regulations ................................................... 53
     Section 5.16       Disclosure ................................................................................................. 54
     Section 5.17       Intellectual Property .................................................................................. 55
     Section 5.18       Initial Approved Budget ........................................................................... 55
     Section 5.19       EEA Financial Institution ......................................................................... 55
     Section 5.20       Contractual Obligations ............................................................................ 55
     Section 5.21       Financing Order. ....................................................................................... 55

                                                     ARTICLE VI

                                       AFFIRMATIVE COVENANTS

     Section 6.01       Financial Statements ................................................................................. 56
     Section 6.02       Certificates; Reports; Other Information .................................................. 57
     Section 6.03       Notice Requirements; Other Information ................................................. 58
     Section 6.04       Environmental Matters.............................................................................. 59
     Section 6.05       Maintenance of Existence ......................................................................... 61
     Section 6.06       Maintenance of Properties ........................................................................ 61
     Section 6.07       Maintenance of Insurance ......................................................................... 61
     Section 6.08       Compliance with Laws ............................................................................. 62


                                                              ii
24-22284-dsj   Doc 7        Filed 04/02/24 Entered 04/02/24 00:10:59                                     Main Document
                                        Pg 120 of 270



     Section 6.09   Books and Records ................................................................................... 62
     Section 6.10   Inspection Rights; Lender Calls ................................................................ 62
     Section 6.11   Additional Guarantors ............................................................................... 63
     Section 6.12   Use of Proceeds......................................................................................... 63
     Section 6.13   Anti-Corruption and Sanctions Laws........................................................ 64
     Section 6.14   Taxes ......................................................................................................... 64
     Section 6.15   End of Fiscal Years; Fiscal Quarters ........................................................ 64
     Section 6.16   ERISA ....................................................................................................... 64
     Section 6.17   Further Assurances.................................................................................... 65
     Section 6.18   Business .................................................................................................... 65
     Section 6.19   Post-Closing Matters................................................................................. 65
     Section 6.20   Compliance with Financing Order ............................................................ 65
     Section 6.21   Milestones ................................................................................................. 65
     Section 6.22   Bankruptcy Covenants .............................................................................. 66
     Section 6.23   Cash Management ..................................................................................... 66
     Section 6.24   No Flowback to Switzerland ..................................................................... 66

                                                ARTICLE VII

                                      NEGATIVE COVENANTS

     Section 7.01   Liens.......................................................................................................... 66
     Section 7.02   Investments ............................................................................................... 68
     Section 7.03   Indebtedness .............................................................................................. 69
     Section 7.04   Fundamental Changes ............................................................................... 70
     Section 7.05   Dispositions............................................................................................... 70
     Section 7.06   Restricted Payments .................................................................................. 70
     Section 7.07   Change in Nature of Business ................................................................... 71
     Section 7.08   Transactions with Affiliates ...................................................................... 71
     Section 7.09   Prepayments and Modifications of Certain Agreements .......................... 71
     Section 7.10   Negative Pledge ........................................................................................ 72
     Section 7.11   Amendments to Organization Documents ................................................ 72
     Section 7.12   Use of Proceeds......................................................................................... 72
     Section 7.13   Accounting Changes ................................................................................. 73
     Section 7.14   OFAC ........................................................................................................ 73
     Section 7.15   Ownership of Subsidiaries ........................................................................ 73
     Section 7.16   Compliance with Financing Orders and Approved Budget ...................... 73
     Section 7.17   Compliance With Certain Laws ................................................................ 73
     Section 7.18   Chapter 11 Claims..................................................................................... 73
     Section 7.19   Revision of Orders; Applications to Bankruptcy Court............................ 74
     Section 7.20   Adequate Protection. ................................................................................. 74




                                                          iii
24-22284-dsj        Doc 7         Filed 04/02/24 Entered 04/02/24 00:10:59                                    Main Document
                                              Pg 121 of 270



                                                     ARTICLE VIII

                               EVENTS OF DEFAULT AND REMEDIES

     Section 8.01 Events of Default ...................................................................................... 74
     Section 8.02 Remedies Upon Event of Default ............................................................. 78
     Section 8.03 Application of Funds................................................................................. 80

                                                       ARTICLE IX

                       ADMINISTRATIVE AGENT AND OTHER AGENTS

     Section 9.01         Appointment and Authorization ............................................................... 81
     Section 9.02         Delegation of Duties ................................................................................. 83
     Section 9.03         Liability of the Agent ................................................................................ 83
     Section 9.04         Reliance by the Agent ............................................................................... 84
     Section 9.05         Notice of Default....................................................................................... 85
     Section 9.06         Credit Decision; Disclosure of Information by the Agent ........................ 85
     Section 9.07         Indemnification of the Agent .................................................................... 85
     Section 9.08         The Agent in its Individual Capacity ........................................................ 86
     Section 9.09         Successor Agents ...................................................................................... 86
     Section 9.10         Agent May File Proofs of Claim ............................................................... 87
     Section 9.11         Release of Collateral and Guarantee ......................................................... 87
     Section 9.12         Other Agents; Arrangers and Managers ................................................... 88
     Section 9.13         Appointment of Supplemental Agent ....................................................... 88
     Section 9.14         Certain Bankruptcy Matters ...................................................................... 89
     Section 9.15         Erroneous Payments.................................................................................. 90
     Section 9.16         Collateral. .................................................................................................. 94

                                                       ARTICLE X

                                                 MISCELLANEOUS

     Section 10.01 Amendments, Etc. ..................................................................................... 95
     Section 10.02 Notices and Other Communications; Facsimile and Electronic
                   Copies ....................................................................................................... 96
     Section 10.03 No Waiver; Cumulative Remedies ......................................................... 100
     Section 10.04 Costs and Expenses ................................................................................. 100
     Section 10.05 Indemnification by the Borrower ............................................................ 101
     Section 10.06 Payments Set Aside................................................................................. 102
     Section 10.07 Successors and Assigns........................................................................... 103
     Section 10.08 Confidentiality ........................................................................................ 107
     Section 10.09 Setoff ....................................................................................................... 107
     Section 10.10 Counterparts ............................................................................................ 108
     Section 10.11 Integration ............................................................................................... 108
     Section 10.12 Survival of Representations and Warranties ........................................... 108


                                                                iv
24-22284-dsj        Doc 7        Filed 04/02/24 Entered 04/02/24 00:10:59                                 Main Document
                                             Pg 122 of 270



     Section 10.13 Severability ............................................................................................. 108
     Section 10.14 GOVERNING LAW ............................................................................... 109
     Section 10.15 WAIVER OF RIGHT TO TRIAL BY JURY......................................... 109
     Section 10.16 Binding Effect ......................................................................................... 109
     Section 10.17 Lender Action ......................................................................................... 110
     Section 10.18 PATRIOT Act ......................................................................................... 110
     Section 10.19 No Advisory or Fiduciary Responsibility ............................................... 110
     Section 10.20 Acknowledgement and Consent to Bail-In of Affected Financial
                   Institution ................................................................................................ 111
     Section 10.21 Conflicts with Financing Orders. ............................................................ 111
     Section 10.22 Limitations for Swiss Loan Parties. ........................................................ 111

                                                     ARTICLE XI

                                                    GUARANTEE

     Section 11.01. Guarantee ................................................................................................ 113
     Section 11.02. Guarantee of Payment and Performance; Continuing Guarantee ........... 113
     Section 11.03. No Limitations, Etc ................................................................................. 113
     Section 11.04. Reinstatement.......................................................................................... 115
     Section 11.05. Agreement To Pay; Contribution; Subrogation ...................................... 115
     Section 11.06. Information ............................................................................................. 116
     Section 11.07. Maximum Liability ................................................................................. 116
     Section 11.08. Taxes ....................................................................................................... 117

                                                     ARTICLE XII

                                           PLEDGE OF SECURITIES

     Section 12.01 Pledge ...................................................................................................... 117
     Section 12.02 Voting Rights; Dividends and Interest, Etc ............................................ 118
     Section 12.03 Agent Not Partner or Limited Liability Company Member ................... 120

                                                    ARTICLE XIII

                 SECURITY INTERESTS IN OTHER PERSONAL PROPERTY

     Section 13.01 Security Interest ...................................................................................... 120
     Section 13.02 Security Interest Absolute ....................................................................... 122
     Section 13.03 Binding Effect; Several Agreement ........................................................ 123
     Section 13.04 Agent’s Fees and Expenses; Indemnification ......................................... 123
     Section 13.05 Collateral Agent Appointed Attorney-in-Fact ........................................ 123
     Section 13.06 Additional Subsidiaries ........................................................................... 124
     Section 13.07 Financing Orders; Matters Relating to Security. .................................... 124




                                                              v
 24-22284-dsj       Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                        Pg 123 of 270



SCHEDULES
 Schedule 1                 -   Closing Checklist
 Schedule 2                 -   Subsidiary Guarantors & Subsidiary Loan Parties
 Schedule 2.01              -   Commitments
 Schedule 2.02(d)           -   Roll-Up Lenders
 Schedule 5.01              -   Existence, Qualification and Power; Compliance with Laws
 Schedule 5.02              -   Authorizations; No Contravention
 Schedule 5.06              -   Litigation
 Schedule 5.07(b)           -   Real Property
 Schedule 5.09              -   Environmental Compliance
 Schedule 5.10              -   Taxes
 Schedule 5.14              -   Subsidiaries and Other Equity Investments
 Schedule 5.17              -   Intellectual Property, Licenses
 Schedule 5.20              -   Material Contracts
 Schedule 7.01(b)           -   Existing Liens
 Schedule 7.02(c)           -   Existing Investments
 Schedule 7.03(b)           -   Surviving Indebtedness
 Schedule 7.08              -   Transactions with Affiliates
 Schedule 10.02             -   Administrative Agent’s Office, Certain Addresses for Notices




                                                vi
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59   Main Document
                                   Pg 124 of 270



EXHIBITS

Exhibit A-1     --     Form of Committed Loan Notice
Exhibit A-2     --     Form of Prepayment Notice
Exhibit B       --     Form of Note
Exhibit C       --     Form of Compliance Certificate
Exhibit D       --     Form of Assignment and Assumption
Exhibit E       --     Form of Officer’s Certificate
Exhibit F       --     Form of Administrative Questionnaire
Exhibit G       --     Form of Interim Order




                                         vii
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                        Pg 125 of 270



                    DEBTOR-IN-POSSESSION CREDIT AGREEMENT

                This DEBTOR-IN-POSSESSION CREDIT AGREEMENT (this “Agreement”) is
entered into as of [_____], 2024 among ACORDA THERAPEUTICS, INC., a Delaware
corporation and a debtor and debtor-in-possession under Chapter 11 of the Bankruptcy Code (as
hereinafter defined) (the “Borrower”), each Subsidiary Guarantor (together each other Person that
executes a joinder agreement and becomes a “Guarantor” hereunder, each a “Guarantor” and
collectively, the “Guarantors”) each Lender (as hereinafter defined) from time to time party hereto
and GLAS USA LLC, a limited liability company organized and existing under the laws of the
State of New Jersey, as administrative agent (in such capacities, together with any successor
administrative agent, the “Administrative Agent”) and GLAS Americas, LLC, a limited liability
company organized and existing under the laws of the State of New York, as collateral agent for
the Lenders (in such capacities, together with any successor collateral agent, the “Collateral
Agent”).

                               PRELIMINARY STATEMENTS

               1.      On April [1], 2024 (the “Petition Date”), the Borrower and certain of its
Subsidiaries (collectively, the “Debtors”) filed in the United States Bankruptcy Court for the
Southern District of New York (the “Bankruptcy Court”) a voluntary petition for relief under
Chapter 11 of the United States Code (the “Bankruptcy Code”) and have continued in the
possession of their assets and in the management of their business pursuant to Sections 1107 and
1108 of the Bankruptcy Code, and such reorganization case is being jointly administered under
Case Number [___] (the “Chapter 11 Case”).

                2.      Prior to the Petition Date, certain of the Lenders and/or certain of their
affiliates or controlled funds provided financing to the Borrower, pursuant to those certain 6.00%
Convertible Senior Secured Notes due 2024, dated as of December 23, 2019 (the “Prepetition
Notes”) among the Borrowers, the guarantors from time to time party thereto, the lenders party
thereto from time to time (the “Prepetition Noteholders”), and Wilmington Trust, National
Association as administrative agent and collateral agent (the “Prepetition Agent”) (the Prepetition
Notes, as amended, restated, amended and restated, supplemented or otherwise modified through
the Petition Date, the “Prepetition Indenture” and, together with all related Loan Documents (as
defined therein), the “Prepetition Notes Documents”, and the outstanding principal amount of debt
under the Prepetition Indenture, the “Prepetition Secured Obligations”).

                 3.     The Borrower has requested that the Lenders party hereto provide a senior
secured, “superpriority” debtor-in-possession term loan facility available in multiple draws as set
forth herein to the Borrowers in the maximum aggregate original principal amount of $60,000,000,
consisting of (i) an interim term loan facility in an aggregate maximum original principal amount
of $10,000,000 (the “Interim DIP Loans”) available immediately upon entry of the Interim Order;
and (ii) a final delayed draw term loan facility in an aggregate maximum original principal amount
of $10,000,000 (the “Final DIP Loans”, such loans, together with the Interim DIP Loans, the “New
Money DIP Loans”) (clauses (i) and (ii) hereof, the “New Money DIP Facility”) and (iii) a roll-up
facility in the aggregate maximum principal amount of $40,000,000, representing a roll-up of
Prepetition Secured Obligations on a two dollars to one dollar basis of the Commitments hereunder
made pursuant to the Prepetition Notes Documents (the “Roll-Up Financing”, and such loans the


                                                1
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 126 of 270



“Roll-Up Loans”), which shall be included, in the Final Order (clause (iii) hereof, the “Roll-Up
DIP Facility” and together with the New Money DIP Facility, the “DIP Facility”).

               4.     The Guarantors have agreed to guarantee the obligations of the Borrower
hereunder and the Borrower and the Guarantors have agreed to secure their respective Obligations
by granting to the Administrative Agent, for the benefit of the Secured Parties (as hereinafter
defined), a lien on substantially all of their respective assets, in accordance with the priorities
provided in the Loan Documents (as hereinafter defined) and the Final Order (as hereinafter
defined).

                Subject to and upon the terms and conditions set forth herein, the Lenders are
willing to make available to the Borrower the “super-priority” debtor-in-possession term loan
facility provided for herein:

                                           ARTICLE I

                        DEFINITIONS AND ACCOUNTING TERMS

Section 1.01 Defined Terms. As used in this Agreement, the following terms shall have the
meanings set forth below:

              “Accounting Changes” means changes in accounting principles required by the
promulgation of any rule, regulation, pronouncement or opinion by the Financial Accounting
Standards Board of the American Institute of Certified Public Accountants (or successor thereto
or any agency with similar functions).

               “Administration Fee” has the meaning specified in Section 2.06(d).

              “Administrative Agent” has the meaning specified in the first paragraph of this
Agreement and shall include any successor administrative agent appointed in accordance with
Section 9.09.

               “Administrative Agent’s Office” means, the Administrative Agent’s address and,
as appropriate, account as set forth on Schedule 10.02, or such other address or account as the
Administrative Agent may from time to time notify the Borrower and the Lenders.

                “Administrative Questionnaire”       means    an   Administrative    Questionnaire
substantially in the form of Exhibit F.

              “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any
UK Financial Institution.

                “Affiliate” means, in respect of any Person which, directly or indirectly, controls,
is controlled by or is under common control with such Person; and for the purposes of this
definition, “control” (including, with correlative meanings, the terms “controlled by” or “under
common control with”) means the power to direct or cause the direction of the management and
policies of any Person, whether through the ownership of voting Equity Interests or by contract or
otherwise;


                                                 2
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 127 of 270



               “Agent” means, individually or collectively, Administrative Agent or Collateral
Agent. as applicable.

           “Agent Fee Letter” means that certain fee letter by and among GLAS Americas
LLC, GLAS USA LLC and the Borrower.

               “Agent Parties” has the meaning specified in Section 10.02(f).

                “Agent-Related Persons” means the Administrative Agent, together with its
Affiliates, and the officers, directors, employees, agents and attorneys-in-fact of such Persons and
Affiliates.

               “Aggregate Commitments” means the Commitments of all the Lenders. As of the
Closing Date, the amount of the Aggregate Commitments is $60,000,000.

               “Agreement” has the meaning specified in the introductory paragraph hereto.

               “Anti-Corruption Laws” has the meaning specified in Section 5.15(g).

              “Anti-Terrorism Law” means any Requirement of Law related to money laundering
or financing terrorism, including the PATRIOT Act, and its implementing regulations, The
Currency and Foreign Transactions Reporting Act (also known as the Bank Secrecy Act, 31 U.S.C.
§§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and 1951-1959), the Trading With the Enemy
Act (50 U.S.C. § 1 et seq., as amended), Executive Order 13224 (effective September 24, 2001)
and the Money Laundering Control Act of 1986 (18 U.S.C. §§ 1956 and 1957).

                 “Applicable Lending Office” means for any Lender, such Lender’s office, branch
or affiliate designated for the Loans, as notified to the Administrative Agent and the Borrower or
as otherwise specified in the Assignment and Assumption pursuant to which such Lender became
a party hereto, any of which offices may, subject to the applicable provisions of Article III, be
changed by such Lender upon ten (10) days’ prior written notice to the Administrative Agent and
the Borrower; provided that for the purposes of the definition of “Excluded Taxes” and
Section 3.01, any such change shall be deemed an assignment made pursuant to an Assignment
and Assumption.

               “Applicable Rate” means a percentage per annum equal to, as of any date of
determination, 10.5%.

                “Approved Bankruptcy Court Order” means (a) the applicable Financing Order, as
such order is in effect from time to time and (b) any other order entered by the Bankruptcy Court
that (x) is in form and substance satisfactory to the Required Lenders in all respects, (y) once
entered, has not been vacated, reversed or stayed, and (z) has not been amended or modified except
in a manner satisfactory to the Required Lenders.

              “Approved Budget” means, initially, the Initial Approved Budget, and, following
approval of any Supplemental Approved Budget, the “Approved Budget” as defined in and
approved pursuant to the Financing Orders.



                                                 3
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 128 of 270



                “Approved Fund” means any Fund that is administered, advised or managed by
(a) a Lender, (b) an Affiliate of a Lender, or (c) an entity or Affiliate of an entity that administers,
advises or manages a Lender.

               “Article 9 Collateral” shall have the meaning assigned to such term in Section
13.01.

                “Assignment and Assumption” means an Assignment and Assumption
substantially in the form of Exhibit D.

               “Attorney Costs” means and includes, regardless of if any transactions are ever
actually consummated, all reasonable and documented fees, out-of-pocket costs, disbursements
and expenses and actual disbursements of any law firm or other external legal counsel, limited to
one counsel to the Agent (which on the date hereof is King & Spalding LLP) and one counsel to
the Lenders (which on the date hereof is King & Spalding LLP) and, to the extent reasonably
necessary, local counsel for each of the Agent and the Lenders in any relevant jurisdiction (and, in
the event of any actual conflict of interest, additional counsel to the affected parties).

                 “Attributable Indebtedness” means, at any date, (a) in respect of any Capital Lease
Obligation (other than a lease resulting from a Sale Leaseback) of any Person, the capitalized
amount thereof that would appear on a balance sheet of such Person prepared as of such date in
accordance with GAAP, and (b) in respect of any Sale Leaseback, the lesser of (i) the present
value, discounted in accordance with GAAP at the interest rate implicit in the related lease, of the
obligations of the lessee for net rental payments over the remaining term of such lease (including
any period for which such lease has been extended or may, at the option of the lessor be extended)
and (ii) the fair market value of the assets subject to such transaction.

               “Bail-In Action” means the exercise of any Write-Down and Conversion Powers
by the Resolution Authority in respect of any liability of an Affected Financial Institution.

               “Bail-In Legislation” means (a) with respect to any EEA Member Country
implementing Article 55 of Directive 2014/59/EU of the European Parliament and of the Council
of the European Union, the implementing law for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule, and (b) with respect to the United
Kingdom, Part I of the United Kingdom Banking Act 2009 (as amended from time to time) and
any other law, regulation or rule applicable in the United Kingdom relating to the resolution of
unsound or failing banks, investment firms or other financial institutions or their affiliates (other
than through liquidation, administration or other insolvency proceedings).

              “Bankruptcy Code” means Title 11 of the United States Code entitled
“Bankruptcy,” as now or hereafter in effect, or any successor thereto.

               “Bankruptcy Court” has the meaning specified in the Preliminary Statements
hereto.

               “Borrower” has the meaning specified in the introductory paragraph hereto.

               “Business Day” means any day other than a Saturday, Sunday or other day on which


                                                   4
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 129 of 270



commercial banks are authorized or required to close under the Laws of, or are in fact closed in,
the State of New York.

               “Capital Lease” means, with respect to any Person, any leasing or similar
arrangement conveying the right to use any property, whether real or personal property, or a
combination thereof, by that Person as lessee that, in conformity with GAAP, is required to be
accounted for as a capital lease on the balance sheet of such Person.

               “Capital Lease Obligation” means, with respect to any Person, all monetary or
financial obligations of such Person and its Subsidiaries under any Capital Leases, and the amount
of such obligations shall be the capitalized amount thereof determined in accordance with GAAP
and the stated maturity thereof shall be the date of the last payment of rent or any other amount
due under such lease prior to the first date on which such lease may be terminated by the lessee
without payment of a penalty.

               “Carve-Out” means the “Carve-Out” as defined in the Financing Orders.

                 “Cash Equivalents” means any of the following: (a) readily marketable direct
obligations of the Government of the United States or any agency or instrumentality thereof or
obligations unconditionally guaranteed by the full faith and credit of the Government of the United
States, (b) insured certificates of deposit of or time deposits with any commercial bank that is a
Lender or any other domestic commercial bank having capital and surplus in excess of
$500,000,000 maturing not more than one year after the date of issuance, (c) repurchase
obligations of any Lender or of any commercial bank satisfying the requirements of clause (b) of
this definition, having a term of not more than thirty (30) days, with respect to securities issued or
fully guaranteed or insured by the Government of the United States, (d) securities with maturities
of three hundred and sixty-five (365) days or less from the date of acquisition that are issued or
fully guaranteed by any state, district or territory of the United States, by any political subdivision
or taxing authority of any such state, district or territory or by any foreign government, the
securities of which state, district or territory, taxing authority or foreign government (as the case
may be) are rated at least A by S&P or A by Moody’s, (e) commercial paper maturing not more
than two hundred and seventy (270) days from the date of issue and issued by a corporation (other
than an Affiliate of any Loan Party) organized under the laws of any state of the United States of
America or of the District of Columbia and, at the time of acquisition thereof, rated A 2 or higher
by S&P, P 2 or higher by Moody’s or F2 or higher by Fitch, (f) money market mutual or similar
funds that invest substantially all of their assets in one or more type of securities satisfying the
requirements of clauses (a) through (e) of this definition, (g) Investments, classified in accordance
with GAAP as current assets of the Borrower or any of its Subsidiaries, in money market
investment programs registered under the Investment Company Act of 1940, as amended, which
are administered by financial institutions having capital of at least $500,000,000, and the portfolios
of which are limited solely to Investments of the character, quality and maturity described in
clauses (a) and (b) of this definition, (h) agencies (LSE’s), State (municipal bonds), or corporate
bonds having a long term rating of at least A- or A3 from S&P, Moody’s or Fitch, having maturities
of not more than fifteen (15) months from the date of acquisition and (i) money market funds
having a rating of AAAm/Aaa or better from S&P, Moody’s or Fitch.




                                                  5
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 130 of 270



               “Casualty Event” means any casualty, loss, damage, destruction or other similar
loss with respect to real or personal property or improvements.

               “CERCLA” means the Comprehensive Environmental Response, Compensation
and Liability Act of 1980, as amended from time to time.

                “CERCLIS” means the Comprehensive Environmental Response, Compensation
and Liability Information System maintained by the U.S. Environmental Protection Agency.

                “Change in Law” means (a) the adoption of any law, treaty, order, policy, rule or
regulation after the date of this Agreement, (b) any change in any law, treaty, order, policy, rule or
regulation or in the interpretation or application thereof by any Governmental Authority after the
date of this Agreement or (c) the making or issuance of any guideline, request or directive issued
or made after the date hereof by any central bank or other Governmental Authority (whether or
not having the force of law); provided that notwithstanding anything herein to the contrary, (x) the
Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests, rules, guidelines,
requirements or directives thereunder or issued in connection therewith or in implementation
thereof and (y) all requests, rules, guidelines, requirements or directives promulgated by the Bank
for International Settlements, the Basel Committee on Banking Supervision (or any successor or
similar authority) or the United States regulatory authorities, in each case pursuant to Basel III,
shall in each case be deemed to be a “Change in Law”, regardless of the date enacted, adopted,
issued or implemented.

               “Change of Control” means the occurrence of any of the following events:

                (a)    any direct or indirect Subsidiary of the Borrower on the Closing Date shall
        cease to be a Wholly-owned direct or indirect Subsidiary of the Borrower; or

                (b)     any Person or “group” (within the meaning of Rules 13d-3 and 13d-5 under
        the Exchange Act) shall have (x) acquired beneficial ownership or control of 25% or more
        on a fully diluted basis of the voting and/or economic interest in the Equity Interests of the
        Borrower; or (y) obtained the power (whether or not exercised) to elect a majority of the
        members of the board of directors (or similar governing body) of the Borrower;

For the avoidance of doubt the proposal or entry into (but not the consummation of the transactions
pursuant to) the definitive documents contemplated by the Restructuring Support Agreement shall
not constitute a Change of Control.

               “Chapter 11 Case” has the meaning specified in the Preliminary Statements hereto.

               “Closing Date” means the date on which all the conditions precedent in
Section 4.01 are satisfied or waived in accordance with Section 10.01.

               “Code” means the U.S. Internal Revenue Code of 1986, as amended from time to
time.

               “Collateral” means a collective reference to all property required to be pledged to
the Collateral Agent, for the benefit of the Secured Parties, to secure all or part of the Obligations


                                                  6
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 131 of 270



pursuant to the Collateral Documents or the applicable Financing Order; provided that “Collateral”
shall include the collective reference to Article 9 Collateral and Pledged Collateral.

             “Collateral Agent” has the meaning specified in the first paragraph of this
Agreement and shall include any successor agent appointed in accordance with Section 9.09.

                “Collateral Documents” means, collectively, the applicable Financing Order (with
respect to the granting of Liens thereunder), this Agreement, and, to the extent required hereunder
or reasonably requested by the Administrative Agent (at the direction of the Required Lenders)
and the Lenders, any mortgages, any collateral assignments, any security agreements, pledge
agreements, control agreements or other similar agreements, or any supplements to any of the
foregoing, in each case delivered to the Administrative Agent and the Lenders in connection with
this Agreement or any other Loan Document or any transaction contemplated hereby or thereby to
secure or guarantee the payment of any part of the Obligations or the performance of any Loan
Party’s other duties and obligations under the Loan Documents. The Collateral Documents shall
supplement, and shall not limit, the grant of a Lien on the Collateral pursuant to this Agreement or
the applicable Financing Order.

               “Commitment” means, as to each Lender, its obligations to make Loans pursuant
to Section 2.01 in an aggregate principal amount not to exceed the amount set forth opposite such
Lender’s name on Schedule 2.01 hereto under the caption “Commitment”. Commitments will
reduce on a dollar for dollar basis once advanced.

              “Commitment Expiration Date” means the earliest to occur of (i) the date on which
the entire amount of the Aggregate Commitments has been drawn and (ii) the date on which the
Aggregate Commitments have been terminated pursuant to this Agreement and the applicable
Financing Order.

               “Commitment Fee” has the meaning provided in Section 2.06(a).

               “Committed Loan Notice” means a notice of borrowing substantially in the form of
Exhibit A-1.

               “Communications” has the meaning specified in Section 10.02(e).

               “Compliance Certificate” means a certificate substantially in the form of Exhibit C.

               “Confirmation Order” means the “Confirmation Order” as defined in the
Restructuring Support Agreement.

             “Connection Income Taxes” means Other Connection Taxes that are imposed on
or measured by net income (however denominated) or that are franchise Taxes or branch profits
Taxes.

                “Contractual Obligation” means, as to any Person, any provision of any security
issued by such Person or of any agreement, instrument or other undertaking to which such Person
is a party or by which it or any of its property is bound.



                                                 7
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 132 of 270



                “Copyright License” shall mean any written agreement, now or hereafter in effect,
granting any right to any Pledgor under any Copyright now or hereafter owned by any other person,
and all rights of any Pledgor under any such agreement (including, without limitation, any such
rights that such Pledgor has the right to license).

              “Copyright Security Agreement” means any Copyright Security Agreement, in
form and substance satisfactory to Required Lenders.

                “Copyrights” shall mean all of the following which any Pledgor now or hereafter
owns or in which any Pledgor now or hereafter has an interest (pursuant to a Copyright License or
otherwise): (a) all copyright rights in any work subject to the copyright laws of the United States
or any other country, whether as author, assignee, transferee or otherwise, whether registered or
unregistered, (b) all registrations and applications for registration of any such Copyright in the
United States or any other country, including registrations, supplemental registrations and pending
applications for registration in the United States Copyright Office and the right to obtain all
renewals thereof, including those listed on Schedule 5.17, (c) all claims for, and rights to sue for,
past or future infringements of any of the foregoing and (d) all income, royalties, damages and
payments now or hereafter due and payable with respect to any of the foregoing, including
damages and payments for past or future infringement thereof.

               “Credit Agreement” shall have the meaning assigned to such term in the
preliminary statement of this Agreement.

               “Debtors” has the meaning set forth in the recitals hereto.

               “Default” means any event or condition that constitutes an Event of Default or that,
with the giving of any notice, the passage of time, or both, would be an Event of Default.

              “Default Rate” means an interest rate equal to the Applicable Rate plus 2.0% per
annum to the fullest extent permitted by applicable Laws.

                “Defaulting Lender” means any Lender that (a) has failed to (i) fund all or any
portion of its Loans within two (2) Business Days of the date such Loans were required to be
funded hereunder unless such Lender notifies the Administrative Agent and the Borrower in
writing that such failure is the result of such Lender’s determination that one or more conditions
precedent to funding (each of which conditions precedent, together with any applicable default,
shall be specifically identified in such writing) has not been satisfied, or (ii) pay to the
Administrative Agent or any other Lender any other amount required to be paid by it hereunder
within two (2) Business Days of the date when due, (b) has notified the Borrower or the
Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lender’s obligation to fund a Loan hereunder and states that such position is based
on such Lender’s determination that a condition precedent to funding (which condition precedent,
together with any applicable default, shall be specifically identified in such writing or public
statement) cannot be satisfied), (c) has failed, within three (3) Business Days after written request
by the Administrative Agent or the Borrower, to confirm in writing to the Administrative Agent
and the Borrower that it will comply with its prospective funding obligations hereunder (provided



                                                 8
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 133 of 270



that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon receipt of
such written confirmation by the Administrative Agent and the Borrower), or (d) has, or has a
direct or indirect parent company that has, (i) been deemed insolvent or become the subject of a
bankruptcy or insolvency proceeding, (ii) had appointed for it a receiver, custodian, conservator,
trustee, administrator, assignee for the benefit of creditors or similar Person charged with
reorganization or liquidation of its business or assets, including the Federal Deposit Insurance
Corporation or any other state, federal or foreign regulatory authority acting in such a capacity, or
(iii) become the subject of a Bail-in Action; provided that a Lender shall not be a Defaulting Lender
solely by virtue of the ownership or acquisition of any equity interest in that Lender or any direct
or indirect parent company thereof by a Governmental Authority so long as such ownership
interest does not result in or provide such Lender with immunity from the jurisdiction of courts
within the United States or from the enforcement of judgments or writs of attachment on its assets
or permit such Lender (or such Governmental Authority) to reject, repudiate, disavow or disaffirm
any contracts or agreements made with such Lender. Any determination by the Administrative
Agent that a Lender is a Defaulting Lender under any one or more of clauses (a) through (d) above
shall be conclusive and binding absent manifest error, and such Lender shall be deemed to be a
Defaulting Lender upon delivery of written notice of such determination to the Borrower and each
Lender.

                “Disposition” or “Dispose” means the sale, transfer, license, lease or other
disposition of any asset or property by any Person (including any Sale Leaseback and any sale of
Equity Interests).

                “Disqualified Equity Interests” means, with respect to any Person, any Equity
Interest of such Person which, by its terms, or by the terms of any security or other Equity Interests
into which it is convertible or for which it is exchangeable, or upon the happening of any event or
condition, (a) matures or is mandatorily redeemable (other than solely for Qualified Equity
Interests), pursuant to a sinking fund obligation or otherwise (except as a result of a change of
control or asset sale so long as any rights of the holders thereof upon the occurrence of a change
of control or asset sale event shall be subject to the prior repayment in full of the Loans and all
other Obligations that are accrued and payable and the termination of the Commitments), (b) is
redeemable at the option of the holder thereof (other than solely for Qualified Equity Interests), in
whole or in part, (c) provides for the scheduled payments of dividends in cash, or (d) is or becomes
convertible into or exchangeable for Indebtedness or any other Equity Interests that would
constitute Disqualified Equity Interests, in each case, prior to the date that is ninety one (91) days
after the Maturity Date then in effect; provided that, if such Equity Interests are issued pursuant to
a plan for the benefit of employees of the Borrower or any of its Subsidiaries or by any such plan
to such employees, such Equity Interests shall not constitute Disqualified Equity Interests solely
because they may be required to be repurchased by the Borrower or any of its Subsidiaries in order
to satisfy applicable statutory or regulatory obligations.

                “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institution
described in clause (a) of this definition, or (c) any financial institution established in an EEA
Member Country which is a subsidiary of an institution described in clauses (a) or (b) of this
definition and is subject to consolidated supervision with its parent.


                                                  9
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 134 of 270



               “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

               “EEA Resolution Authority” means any public administrative authority or any
person entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

               “Eligible Assignee” means any Person that meets the requirements to be an
assignee under Section 10.07(b)(iii), (v) and (vi) (subject to such consents, if any, as may be
required under Section 10.07(b)(iii)).

                “Environmental Action” means any action, suit, demand, demand letter, claim,
notice of non-compliance or violation, notice of liability or potential liability, investigation,
proceeding, consent order or consent agreement relating to any Environmental Law, any
Environmental Permit or Hazardous Material or arising from alleged injury or threat to health and
safety as it relates to any Hazardous Material or the environment, including, without limitation,
(a) by any Governmental Authority for enforcement, cleanup, removal, response, remedial or other
actions or damages relating to Releases of Hazardous Materials or actual or alleged violations of
Environmental Laws and (b) by any Governmental Authority or third party for damages,
contribution, indemnification, cost recovery, compensation or injunctive relief.

                 “Environmental Laws” means any and all federal, provincial, local and foreign
statutes, laws, regulations, ordinances, rules, decrees or other governmental restrictions of legal
effect relating to the environment, to the release of any Hazardous Materials into the environment
or to the manufacture, processing, distribution, use, treatment, storage, disposal, transport or
handling of Hazardous Materials but only to the extent such Environmental Laws are legally
applicable to any Loan Party pursuant to any Environmental Law.

                “Environmental Liability” in respect of any Person, any and all legal obligations
and liabilities under Environmental Laws for any Release caused by such Person or which is
discovered or uncovered during the ownership or control of any real property by such Person and
which adversely impacts any Person, property or the environment whether or not caused by a
breach of applicable laws (including Environmental Laws).

                “Environmental Permit” means any permit, approval, hazardous waste
identification number, license or other authorization issued by or submitted to a Governmental
Authority required under any Environmental Law.

                “Equity Interests” means, with respect to any Person, all of the shares of capital
stock of (or other ownership or profit interests in) such Person, all of the warrants, options or other
rights for the purchase or acquisition from such Person of shares of capital stock of (or other
ownership or profit interests in) such Person, all of the securities convertible into or exchangeable
for shares of capital stock of (or other ownership or profit interests in) such Person or warrants,
rights or options for the purchase or acquisition from such Person of such shares (or such other
interests), and all of the other ownership or profit interests in such Person (including partnership,
member or trust interests therein), whether voting or nonvoting.




                                                  10
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 135 of 270



             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time and Treasury regulations promulgated and rulings issued thereunder.

              “ERISA Affiliate” means any trade or business (whether or not incorporated) that
is under common control with any Loan Party and is treated as a single employer within the
meaning of Section 414 of the Code or Section 4001 of ERISA.

                 “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a
withdrawal by any Loan Party or any ERISA Affiliate from a Pension Plan subject to Section 4063
of ERISA during a plan year in which it was a substantial employer (as defined in
Section 4001(a)(2) of ERISA) or a cessation of operations at any facility of any Loan Party or
ERISA Affiliate as described in Section 4062(e) of ERISA; (c) a complete or partial withdrawal
by any Loan Party or any ERISA Affiliate from a Multiemployer Plan, notification of any Loan
Party or ERISA Affiliate concerning the imposition of withdrawal liability or notification that a
Multiemployer Plan is insolvent or is in reorganization within the meaning of Title IV of ERISA
(or that is in endangered or critical status, within the meaning of Section 305 of ERISA); (d) the
filing of a notice of intent to terminate, the treatment of a Pension Plan amendment as a termination
under Sections 4041 or 4041A of ERISA, or the commencement of proceedings by the PBGC to
terminate a Pension Plan or Multiemployer Plan; (e) an event or condition which constitutes
grounds under Section 4042 of ERISA for the termination of, or the appointment of a trustee to
administer, any Pension Plan or Multiemployer Plan; (f) the imposition of any liability under Title
IV of ERISA, other than for PBGC premiums due but not delinquent under Section 4007 of
ERISA, upon any Loan Party or any ERISA Affiliate; (g) a determination that any Pension Plan
is, or is expected to be, in “at-risk” status (within the meaning of Section 303(i)(4) of ERISA or
Section 430(i)(4) of the Code); or (h) the conditions for imposition of a lien under Section 303(k)
of ERISA shall have been met with respect to any Pension Plan.

               “Erroneous Payment” has the meaning assigned to it in Section 9.15(a).

               “Erroneous Payment Deficiency Assignment” has the meaning assigned to it in
Section 9.15(d)(i).

               “Erroneous Payment Impacted Class” has the meaning assigned to it in Section
9.15(d)(i).

               “Erroneous Payment Return Deficiency” has the meaning assigned to it in Section
9.15(d)(i).

               “Erroneous Payment Subrogation Rights” has the meaning assigned to it in Section
9.15(e).

              “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule
published by the Loan Market Association (or any successor person), as in effect from time to
time.

               “Event of Default” has the meaning specified in Section 8.01.




                                                 11
 24-22284-dsj       Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 136 of 270



                 “Exchange Act” means the Securities Exchange Act of 1934, as amended from time
to time.

                “Excluded Account” shall mean any Deposit Account or Securities Account that
(a) is solely used for the purpose of (x) making payroll and withholding tax payments related
thereto and other employee wage and benefits payments and accrued and unpaid employee
compensation payments (including salaries, wages, benefits, and expense reimbursements, 401(k)
and other retirement plans and employee benefits, including rabbi trusts for deferred compensation
and health care benefits), (y) paying taxes, including sales taxes or (z) the Professional Fee Escrow
Account (as defined in the applicable Financing Order), or (b) is a fiduciary or trust account or
otherwise held exclusively for the benefit of an unaffiliated third party.

                 “Excluded Collateral” shall have the meaning assigned to such term in Section
13.01.

                 “Excluded Equity Interests” shall have the meaning assigned to such term in
Section 12.01.

                “Excluded Taxes” means any of the following Taxes imposed on or with respect to
a Recipient or required to be withheld or deducted from a payment to a Recipient, (a) Taxes
imposed on or measured by net income (however denominated), franchise Taxes, and branch
profits Taxes, in each case, (i) imposed as a result of such Recipient being organized under the
laws of, or having its principal office or, in the case of any Lender, its Applicable Lending Office
located in, the jurisdiction imposing such Tax (or any political subdivision thereof) or (ii) that are
Other Connection Taxes, (b) in the case of a Lender, U.S. federal withholding Taxes imposed on
amounts payable to or for the account of such Lender with respect to an applicable interest in a
Loan or Commitment pursuant to a law in effect on the date on which (i) such Lender acquires
such interest in the Loan or Commitment (other than pursuant to an assignment request by the
Borrower under Section 3.07(b) or (ii) such Lender changes its lending office, except in each case
to the extent that, pursuant to Section 3.01, amounts with respect to such Taxes were payable either
to such Lender’s assignor immediately before such Lender became a party hereto or to such Lender
immediately before it changed its lending office, (c) Taxes attributable to such Recipient’s failure
to comply with Section 3.01(g) and (d) any U.S. federal withholding Taxes imposed under
FATCA.

             “Excluded Subsidiary” means Biotie Therapies GmbH, a German limited liability
company, and Acorda Therapeutics Ireland Limited, an Irish company.

                 “Existing Agreements” means, the Prepetition Notes Documents.

                 “Exit Fee” has the meaning specified in Section 2.06(b).

                “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this
Agreement (or any amended or successor version that is substantively comparable and not more
onerous to comply with), any current or future regulations or official interpretations thereof, any
agreement entered into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory
legislation, rules or practices adopted pursuant to any intergovernmental agreement, treaty or



                                                 12
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 137 of 270



convention among Governmental Authorities entered into in connection with the implementation
of the foregoing.

               “Final DIP Loan Commitment” means, with respect to each Lender holding an
Interim DIP Loan Commitment, the commitment of such Lender to make an Final DIP Loan,
which commitment is in the amount set forth opposite such Lender’s name on Schedule 2.01 hereto
under the caption “Final DIP Loan Commitment.” The aggregate amount of the Final DIP Loan
Commitments on the Closing Date shall be the lesser of (a) $10,000,000 and (b) such amount as
approved by the Bankruptcy Court authorizing Final DIP Loan Commitments pursuant to the Final
Order.

               “Final DIP Loans” has the meaning specified in the Preliminary Statements hereto;
provided that such Loans shall be in one or more drawings, but in any event the Final DIP Loans
shall not exceed two drawings in aggregate, and shall be in an aggregate principal amount not to
exceed the aggregate Final DIP Loan Commitments.

                “Final Order” means the order or judgment of the Bankruptcy Court as entered on
the docket of the Bankruptcy Court substantially in the form of Interim Order, inter alia, (a)
approving on a final basis this Agreement and the other Loan Documents, (b) authorizing the
incurrence by the Loan Parties of the post-petition secured indebtedness under this Agreement, (c)
approving the payment by the Loan Parties of the fees contemplated by this Agreement and the
other Loan Documents, (d) authorizing on a final basis the Loan Parties to use cash collateral (as
defined in the Bankruptcy Code), and (b) granting the Prepetition Noteholders certain adequate
protection, among other related relief, which order or judgment is in effect and not stayed, and as
the same may be amended, supplemented or modified from time to time after entry thereof with
the consent of the Required Lenders.

               “Final Sale Order” has the meaning set forth in the applicable Financing Order.

               “Financial Advisor” means Perella Weinberg Partners, in its capacity as financial
advisor to the Lenders and their counsel solely with respect to the Loan Documents.

               “Financing Orders” means, collectively, the Interim Order and the Final Order.

             “Fiscal Year” means the fiscal year of the Borrower and its Subsidiaries, ending on
December 31 of each calendar year.

               “Fitch” means Fitch Ratings, Inc. and its successors.

               “Foreign Lender” means (a) if the borrower is a U.S. Person, a Lender that is not a
U.S. Person, and (b) if the Borrower is not a U.S. Person, a Lender that is a resident or organized
under the laws of a jurisdiction other than that in which the Borrower is a resident for tax purposes.

              “Foreign Subsidiary” means any direct or indirect Subsidiary of the Borrower
organized outside the United States.

               “FRB” means the Board of Governors of the Federal Reserve System of the United
States.


                                                 13
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 138 of 270



                “Fund” means any Person (other than an individual) that is or will be engaged in
making, purchasing, holding or otherwise investing in commercial loans and similar extensions of
credit in the ordinary course.

                “GAAP” means generally accepted accounting principles in the United States, as
in effect from time to time.

                “Governmental Authority” means any nation or government, any provincial, state,
local, municipal or other political subdivision thereof, and any entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government.

                “Governmental Authorization” means any authorization, approval, consent,
franchise, license, covenant, order, ruling, permit, certification, exemption, notice, declaration or
similar right, undertaking or other action of, to or by, or any filing, qualification or registration
with, any Governmental Authority.

               “Granting Lender” has the meaning specified in Section 10.07(f).

                “Guarantee Obligations” means, with respect to any Person, any obligation or
arrangement of such Person to guarantee or intended to guarantee any Indebtedness or other
payment obligations (“primary obligations”) of any other Person (the “primary obligor”) in any
manner, whether directly or indirectly, including, without limitation, (a) the direct or indirect
guarantee, endorsement (other than for collection or deposit in the ordinary course of business),
co-making, discounting with recourse or sale with recourse by such Person of the Obligation of a
primary obligor, (b) the obligation to make take-or-pay or similar payments, if required, regardless
of non-performance by any other party or parties to an agreement or (c) any obligation of such
Person, whether or not contingent, (i) to purchase any such primary obligation or any property
constituting direct or indirect security therefor, (ii) to advance or supply funds (A) for the purchase
or payment of any such primary obligation or (B) to maintain working capital or equity capital of
the primary obligor or otherwise to maintain the net worth or solvency of the primary obligor,
(iii) to purchase property, assets, securities or services primarily for the purpose of assuring the
owner of any such primary obligation of the ability of the primary obligor to make payment of
such primary obligation or (iv) otherwise to assure or hold harmless the holder of such primary
obligation against loss in respect thereof. The amount of any Guarantee Obligation shall be
deemed to be an amount equal to the stated or determinable amount of the primary obligation in
respect of which such Guarantee Obligation is made (or, if less, the maximum amount of such
primary obligation for which such Person may be liable pursuant to the terms of the instrument
evidencing such Guarantee Obligation) or, if not stated or determinable, the maximum reasonably
anticipated liability in respect thereof (assuming such Person is required to perform thereunder),
as determined by such Person in good faith.

               “Guarantors” means the has the meaning specified in the Preliminary Statements
hereto.

                 “Hazardous Materials” means any material, substance or waste that is regulated,
classified, or otherwise characterized under or pursuant to any Environmental Law as “hazardous”,



                                                  14
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 139 of 270



“toxic”, a “pollutant”, a “contaminant”, a “deleterious substance”, “dangerous goods”,
“radioactive” or words of similar meaning or effect, including petroleum and its by-products,
asbestos, polychlorinated biphenyls, radon, greenhouse gases, mold, urea formaldehyde insulation,
chlorofluorocarbons and all other ozone-depleting substances.

                 “Indebtedness” of any Person means, without duplication, (a) all obligations of
such Person for borrowed money, (b) all obligations of such Person evidenced by bonds,
debentures, notes or similar instruments, (c) all obligations of such Person under conditional sale
or other title retention agreements relating to property acquired by such Person, (d) all obligations
of such Person in respect of the deferred purchase price of property or services (excluding in each
case (i) accounts payable and other accrued liabilities incurred in the ordinary course of business
not past due for more than ninety (90) days after its stated due date (except for accounts payable
contested in good faith), (ii) any earn-out obligation until such obligation is both required to be
reflected as a liability on the balance sheet of such Person in accordance with GAAP and not paid
after becoming due and payable and (iii) deferred or equity compensation arrangements entered
into in the ordinary course of business and payable to directors, officers or employees), (e) all
Indebtedness (excluding prepaid interest thereon) of others secured by (or for which the holder of
such Indebtedness has an existing right, contingent or otherwise, to be secured by) any Lien on
property owned or acquired by such Person, whether or not the Indebtedness secured thereby has
been assumed but, in the case of Indebtedness which is not assumed by such Person, limited to the
lesser of (x) the amount of such Indebtedness and (y) the fair market value of such property, (f) all
Attributable Indebtedness of such Person, (g) all obligations, contingent or otherwise, of such
Person as an account party in respect of letters of credit and letters of guaranty (excluding the
portion thereof that has been fully cash collateralized in a manner permitted by this Agreement),
(h) all obligations, contingent or otherwise, of such Person in respect of bankers’ acceptances,
surety bonds and performance bonds, whether or not matured, (i) all obligations of such Person in
respect of Disqualified Equity Interests and (j) all guarantees by such Person in respect of any of
the foregoing. The Indebtedness of any Person shall include the Indebtedness of any other entity
(including any partnership in which such Person is a general partner) to the extent such Person is
directly liable therefor as a result of such Person’s ownership interest in or other relationship with
such entity, except to the extent the terms of such Indebtedness provide that such Person is not
liable therefor. Anything herein to the contrary notwithstanding, obligations in respect of any
Indebtedness that has been irrevocably defeased (either covenant or legal) or satisfied and
discharged pursuant to the terms of the instrument creating or governing such Indebtedness shall
not constitute Indebtedness.

               “Indemnified Liabilities” has the meaning specified in Section 10.05(a).

                “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or
with respect to any payment made by or on account of any obligation of any Loan Party under any
Loan Document and (b) to the extent not otherwise described in (a), Other Taxes.

               “Indemnitees” has the meaning specified in Section 10.05(a).

               “Information” has the meaning specified in Section 10.08.




                                                 15
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 140 of 270



             “Initial Approved Budget” means the “Initial Approved Budget” as defined in the
Financing Orders.

               “Intellectual Property” has the meaning specified in Section 5.17.

               “Interim DIP Loan Commitment” means, with respect to each Lender holding an
Interim DIP Loan Commitment, the commitment of such Lender to make an Interim DIP Loan,
which commitment is in the amount set forth opposite such Lender’s name on Schedule 2.01 hereto
under the caption “Interim DIP Loan Commitment.” The aggregate amount of the Interim DIP
Loan Commitments on the Closing Date shall be the lesser of (a) $10,000,000 and (b) such amount
as approved by the Bankruptcy Court authorizing Interim DIP Loan Commitments pursuant to the
Interim Order.

               “Interim DIP Loans” has the meaning specified in the Preliminary Statements
hereto; provided that such Loans shall be made on the Closing Date, and shall be in an aggregate
principal amount not to exceed the aggregate Interim DIP Loan Commitments.

               “IP Agreements” shall mean all Copyright Licenses, Patent Licenses, Trademark
Licenses, and all other material agreements relating to the license, development, use or disclosure
of any Intellectual Property to which a Pledgor, now or hereafter, is a party or beneficiary,
including, without limitation, the agreements set forth on Schedule 5.17 hereto.

            “Interest Payment Date” means the last Business Day of each calendar month,
commencing April 30, 2024, and the Maturity Date.

               “Interest Period” means, with respect to each Loan, a period commencing on the
 date of the making of such Loan and ending one month thereafter; provided, however, that (a) if
 any Interest Period would end on a day that is not a Business Day, such Interest Period shall be
 extended (subject to clauses (c)-(d) below) to the next succeeding Business Day, (b) any Interest
 Period that would end on a day that is not a Business Day shall be extended to the next succeeding
 Business Day unless such Business Day falls in another calendar month, in which case such
 Interest Period shall end on the next preceding Business Day, (c) with respect to an Interest Period
 that begins on the last Business Day of a calendar month (or on a day for which there is no
 numerically corresponding day in the calendar month at the end of such Interest Period), the
 Interest Period shall end on the last Business Day of the calendar month that is one month after
 the date on which the Interest Period began, as applicable, and (d) the Borrower may not elect an
 Interest Period which will end after the Maturity Date.
                “Interim Order” means the order or judgment of the Bankruptcy Court as entered
on the docket of the Bankruptcy Court with respect to the Chapter 11 Case substantially in the
form of Exhibit G, inter alia, (a) authorizing, on an interim basis, the Loan Parties to use cash
collateral (as defined in the Bankruptcy Code), and (b) granting the Prepetition Noteholders certain
adequate protection, among other related relief, which order or judgment is in effect and not stayed,
and as the same may be amended, supplemented or modified from time to time after entry thereof
with the consent of the Required Lenders.

             “Investment” in any Person, means any loan or advance to such Person, any
purchase or other acquisition of any voting Equity Interests or other Equity Interests or


                                                 16
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 141 of 270



Indebtedness or the assets comprising a division or business unit or a substantial part or all of the
business of such Person, any capital contribution to such Person or any other direct or indirect
investment in such Person.

               “IRS” means the United States Internal Revenue Service.

                “Laws” means, collectively, all international, foreign, federal, state, provincial and
local statutes, treaties, rules, guidelines, regulations, ordinances, codes and administrative or
judicial precedents or authorities, including the interpretation or administration thereof by any
Governmental Authority charged with the enforcement, interpretation or administration thereof,
and all applicable administrative orders, directed duties, requests, licenses, authorizations and
permits of, and agreements with, any Governmental Authority.

               “Lender” means any Lender that may be a party to this Agreement from time to
time, including its successors and assigns as permitted hereunder (each of which is referred to
herein as a “Lender”).

               “Lien” means any assignment, mortgage, charge, pledge, lien, encumbrance, title
retention agreement (including Capital Leases but excluding operating leases) or any other security
interest whatsoever, howsoever created or arising, whether fixed or floating, legal or equitable,
perfected or not, but specifically excludes any legal, contractual or equitable right of set-off.

                 “Loan” means an extension of credit by a Lender to the Borrower under Article
 II, which shall include (a) the Interim DIP Loans, (b) the Final DIP Loans and (c) following the
 Roll-Up Effective Time, the deemed extensions of credit under Section 2.02(d) in the form of
 Roll-Up Loans, and “Loan” means any of such Loans.
                “Loan Documents” means, collectively, (i) the Collateral Documents, (ii) the
Notes, (iii) any agency fee letter entered into between the Borrower and the Agent in connection
with this Agreement and the other Loan Documents, (v) the Financing Orders and (vi) all other
instruments and documents delivered from time to time by or on behalf of the Borrower or any of
its Subsidiaries in connection herewith or therewith.

               “Loan Parties” or “Loan Party” means, collectively or individually as the context
may require, the Borrower and each Guarantor.

                 “Material Adverse Effect” means (a) a material adverse change in, or a material
adverse effect upon, the operations, business, properties, assets, liabilities (actual or contingent),
financial condition of the Borrower and its Subsidiaries, taken as a whole, except as a result of
(i) the commencement of the Chapter 11 Case or the events and conditions related and/or leading
up thereto, (ii) the effects that customarily result from the commencement of a Chapter 11 Case
(including the issuance of the Financing Orders), or (iii) any defaults under agreements as a result
of the commencement of the Chapter 11 Case that have no effect under the terms of the Bankruptcy
Code; (b) a material impairment of the ability of any Loan Party or its Subsidiaries to perform its
obligations under any Loan Document to which it is a party; (c) a material adverse effect upon the
legality, validity, binding effect or enforceability against any Loan Party of any Loan Document
to which it is a party; or (d) a material impairment of the Agent’s or the Lenders’ ability to enforce
the Obligations or realize upon the Collateral.


                                                 17
 24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                          Pg 142 of 270




               “Material Contracts” means any Contractual Obligation of any Loan Party the
failure to comply with which, or the termination (without contemporaneous replacement) of which,
could reasonably be expected to have a Material Adverse Effect or otherwise result in liabilities in
excess of $500,000.

                “Maturity Date” means, the earliest to occur of (i) the date that is one hundred and
eighty (180) calendar days after the Petition Date, (ii) if the Final Order has not been entered,
twenty nine (29) calendar days after the Petition Date, (iii) the acceleration of the Loans and the
termination of the Commitments upon the occurrence, and during the continuance of an Event of
Default, (iv) the effective date of any Chapter 11 plan, (v) the date the Bankruptcy Court converts
any of the Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code, (vi) the date the
Bankruptcy Court dismisses any of the Chapter 11 Case, (vii) the date of the entry of the Final
Sale Order by the Bankruptcy Court, (viii) the Final Sale Order and (ix) the date an order is entered
in any bankruptcy case appointing a Chapter 11 trustee or examiner.

                “Milestone” has the meaning assigned to such term in the then applicable Financing
Order.

                “Moody’s” means Moody’s Investors Service, Inc. and its successors.

              “Multiemployer Plan” means a multiemployer plan, as defined in
Section 4001(a)(3) of ERISA, to which any Loan Party or any ERISA Affiliate is making or
accruing an obligation to make contributions, or has within any of the preceding five plan years
made or accrued an obligation to make contributions.

                “Net Cash Proceeds” means:

                  (a)     with respect to the Disposition of any asset by any Loan Party or any
         Casualty Event the excess, if any, of (i) the sum of cash and Cash Equivalents received in
         connection with such Disposition or Casualty Event (including any cash or Cash
         Equivalents received by way of deferred payment pursuant to, or by monetization of, a note
         receivable or otherwise, but only as and when so received and, with respect to any Casualty
         Event, any insurance proceeds or condemnation awards in respect of such Casualty Event
         actually received by or paid to or for the account of the Borrower or any of its Subsidiaries)
         over (ii) the sum of (A) the principal amount of any Indebtedness permitted by this
         Agreement that is secured by a lien (other than a Lien on the Collateral that is subordinated
         or junior to the Liens securing the Obligations) by the asset subject to such Disposition or
         Casualty Event and that is repaid (and is timely repaid) in connection therewith (other than
         Indebtedness under the Loan Documents), (B) the reasonable out-of-pocket expenses
         actually incurred and paid by the Borrower or any of its Subsidiaries in connection with
         such Disposition or Casualty Event (including, reasonable and documented attorney’s,
         accountant’s and other similar professional advisor’s fees, investment banking fees, survey
         costs, title insurance premiums, and related search and recording charges, transfer taxes,
         deed or mortgage recording taxes, other customary expenses and brokerage, consultant,
         and other customary fees) to third parties (other than the Loan Parties or any of their



                                                  18
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 143 of 270



       Affiliates), (C) taxes paid or reasonably estimated to be actually payable or that are actually
       accrued in connection therewith with respect to the current tax year as a result of any gain
       recognized in connection therewith by such Person or any of the direct or indirect
       stockholders thereof and attributable to such Disposition or Casualty Event; provided that,
       if the amount of any estimated taxes pursuant to this subclause (C) exceeds the amount of
       taxes actually required to be paid in cash, the aggregate amount of such excess shall
       constitute Net Cash Proceeds and (D) any reasonable reserve actually maintained in respect
       of (x) the sale price of such asset or assets established in accordance with GAAP, and
       (y) any liabilities associated with such asset or assets and retained by the Borrower or any
       of its Subsidiaries after such sale or other Disposition thereof, including pension and other
       post-employment benefit liabilities and liabilities related against any indemnification
       obligations associated with such transaction and it being understood that “Net Cash
       Proceeds” shall include any cash or Cash Equivalents (1) received upon the Disposition of
       any non-cash consideration received by such Person in any such Disposition, and
       (2) received upon the reversal (without the satisfaction of any applicable liabilities in cash
       in a corresponding amount) of any reserve described in subclause (D) above or, if such
       liabilities have not been satisfied in cash and such reserve not reversed within two years
       after such Disposition or Casualty Event, the amount of such reserve, in each case of
       subclauses (A) through (D) above, to the extent approved by the Bankruptcy Court (if such
       approval is necessary pursuant to the Bankruptcy Code); and

                (b)    with respect to the incurrence or issuance of any Indebtedness by the
       Borrower or any of its Subsidiaries not permitted under Section 7.03, the excess, if any, of
       (i) the sum of the cash received in connection with such incurrence or issuance over (ii) the
       investment banking fees, underwriting discounts, commissions, costs and other
       out-of-pocket expenses and other customary expenses (including reasonable attorney’s,
       accountant’s and other similar professional advisor’s fees), incurred by such Loan Party in
       connection with such incurrence or issuance to third parties (other than the Loan Parties or
       any of their Affiliates), in the case of the foregoing clause (ii), to the extent approved by
       the Bankruptcy Court (if such approval is necessary pursuant to the Bankruptcy Code)

             “New Money DIP Facility” has the meaning assigned to such term in the recitals to
this Agreement.

             “New Money DIP Loans” has the meaning assigned to such term in the recitals to
this Agreement.

                “New York UCC” shall mean the Uniform Commercial Code as from time to time
in effect in the State of New York; provided, however, that in the event that, by reason of
mandatory provisions of law, any or all of the perfection or priority of, or remedies with respect
to, any Collateral is governed by the Uniform Commercial Code as enacted and in effect in a
jurisdiction other than the State of New York, the term “New York UCC” shall mean the Uniform
Commercial Code as enacted and in effect in such other jurisdiction solely for purposes of the
provisions hereof relating to such perfection, priority or remedies.

               “Non-Consenting Lender” has the meaning specified in Section 3.07(c).



                                                 19
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 144 of 270



               “Note” means a promissory note of the Borrower payable to a Lender or its assigns,
substantially in the form of Exhibit B hereto, evidencing the aggregate Indebtedness of the
Borrower owing to such Lender resulting from the Loans made by such Lender.

               “NPL” means the National Priorities List under CERCLA.

                “Obligations” means all advances to, and debts, liabilities, obligations, covenants
and duties of, any Loan Party arising under any Loan Document or otherwise with respect to any
Loan, whether direct or indirect (including those acquired by assumption), absolute or contingent,
due or to become due, now existing or hereafter arising. Without limiting the generality of the
foregoing, the Obligations of the Loan Parties under the Loan Documents include the obligation
(including Guarantee Obligations) to pay principal, interest, reimbursement obligations, charges,
expenses, fees (including pursuant to the Agent Fee Letter), Attorney Costs, any Loan Party’s
obligations to pay, discharge and satisfy subrogation rights in connection with any the Erroneous
Payment Subrogation Rights, indemnities, and other amounts payable by any Loan Party under
any Loan Document.

                “Organization Documents” means (a) with respect to any corporation, the
certificate or articles of incorporation and the bylaws; (b) with respect to any limited liability
company, the certificate and/or articles of formation, incorporation, association or organization
and, if applicable, operating agreement; and (c) with respect to any partnership, joint venture, trust
or other form of business entity, the partnership, joint venture or other applicable agreement of
formation or organization and any agreement, declaration, instrument, filing or notice with respect
thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or
articles of formation or organization of such entity.

                “Other Connection Taxes” means, with respect to any Recipient, Taxes imposed as
a result of a present or former connection between such Recipient and the jurisdiction imposing
such Tax (other than connections arising from such Recipient having executed, delivered, become
a party to, performed its obligations under, received payments under, received or perfected a
security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document, or sold or assigned an interest in any Loan or Loan Document).

                “Other Taxes” means all present or future stamp, court or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution,
delivery, performance, enforcement or registration of, from the receipt or perfection of a security
interest under, or otherwise with respect to, any Loan Document, except any such Taxes that are
Other Connection Taxes imposed with respect to an assignment (other than an assignment made
pursuant to Section 3.07(b)).

               “Participant” has the meaning specified in Section 10.07(d).

               “Participant Register” has the meaning specified in Section 10.07(d).

               “Patent License” shall mean any written agreement, now or hereafter in effect,
granting to any Pledgor any right under any Patent, now or hereafter owned by any other person



                                                 20
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 145 of 270



(including, without limitation, any such rights that such Pledgor has the right to license) and all
rights of any Pledgor under any such agreement.

               “Patent Security Agreement” means any Patent Security Agreement, in form and
substance satisfactory to Required Lenders.

                 “Patents” shall mean all of the following which any Pledgor now or hereafter owns
or in which any Pledgor now or hereafter has an interest (pursuant to a Patent License or
otherwise): (a) all letters patent of the United States or the equivalent thereof in any other country
or jurisdiction, including those listed on Schedule 5.17, and all applications for letters patent of the
United States or the equivalent thereof in any other country or jurisdiction, including those listed
on Schedule 5.17, (b) all provisionals, reissues, extensions, continuations, divisions, continuations-
in-part, reexaminations or revisions thereof, and the inventions disclosed or claimed therein,
including the right to make, use, import, offer for sale and/or sell the inventions or designs
disclosed or claimed therein, (c) all claims for, and rights to sue for, past or future infringements
of any of the foregoing and (d) all income, royalties, damages and payments now or hereafter due
and payable with respect to any of the foregoing, including damages and payments for past or
future infringement thereof.

               “Payment Recipient” has the meaning assigned in Section 9.15(a).

               “PBGC” means the Pension Benefit Guaranty Corporation (or any successor
thereof).

               “Pension Plan” means any “employee pension benefit plan” (as such term is defined
in Section 3(2) of ERISA) other than a Multiemployer Plan, that is subject to Title IV of ERISA
and is sponsored or maintained by any Loan Party or any ERISA Affiliate or to which any Loan
Party or any ERISA Affiliate contributes or has an obligation to contribute, or in the case of a
multiple employer or other plan described in Section 4064(a) of ERISA, has made contributions
at any time since January 1, 2003.

               “Permitted Liens” has the meaning specified in Section 7.01.

             “Permitted Variances” means the “Permitted Variances” as defined in the
Financing Orders.

                “Person” means any individual, sole proprietorship, partnership, limited liability
company, joint venture, company, trust, unincorporated organization, association, corporation,
institution, public benefit corporation, firm, joint stock company, estate, entity or government
agency.

               “Petition Date” has the meaning specified in the Preliminary Statements hereto.

               “PIK Interest” has the meaning set forth in Section 2.05(a).

               “Plan” means any “employee benefit plan” (as such term is defined in Section 3(3)
of ERISA) established by any Loan Party or, with respect to any such plan that is subject to
Section 412 of the Code or Title IV of ERISA, any ERISA Affiliate.


                                                  21
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 146 of 270



               “Platform” has the meaning specified in Section 10.02(e).

               “Pledged Collateral” shall have the meaning assigned to such term in Section 12.01.

               “Pledged Debt Securities” shall have the meaning assigned to such term in Section
12.01.

               “Pledged Equity Interests” shall have the meaning assigned to such term in Section
12.01.

                “Pledged Securities” shall mean any promissory notes, stock certificates or other
certificated securities now or hereafter included in the Pledged Collateral, including all certificates,
instruments or other documents representing or evidencing any Pledged Collateral.

               “Pledgor” shall mean the Borrower and each Subsidiary Loan Party.

             “Prepayment Notice” means a notice of prepayment in respect of any voluntary or
mandatory prepayment in substantially the form of Exhibit A-2.

               “Pro Rata Share” means, with respect to each Lender at any time a fraction
(expressed as a percentage, carried out to the ninth decimal place), the numerator of which is the
amount of the Commitment of such Lender at such time and the denominator of which is the
amount of the Aggregate Commitments at such time; provided that if the Aggregate Commitments
have been terminated, then the Pro Rata Share of each Lender shall be determined based on the
outstanding principal amount of the Loans held by such Lender divided by the aggregate principal
amount of all outstanding Loans held by all Lenders.

               “Proceeding” has the meaning specified in Section 10.05(a).

              “Professional Persons” means professionals or professional firms retained by the
Debtors, Lenders and any official committee of creditors.

               “Public Lender” has the meaning specified in Section 10.02(h).

               “Qualified Equity Interests” means any Equity Interests that are not Disqualified
Equity Interests.

               “Recipient” means the Agent or any Lender, as applicable.

                “Register” has the meaning specified in Section 10.07(c).

              “Registered” means, with respect to Intellectual Property, issued by, registered
with, renewed by or the subject of a pending application before any Governmental Authority or
Internet domain name registrar.

               “Related Parties” means, with respect to any Person, such Person’s Affiliates and
the partners, directors, officers, employees, agents, trustees, administrators, managers, advisors
and representatives of such Person and of such Person’s Affiliates.



                                                  22
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 147 of 270



              “Release” means any release, spill, emission, leaking, pumping, pouring, injection,
escaping, deposit, disposal, discharge, leeching or migration of any Hazardous Material in or into
the environment (including the abandonment or disposal of any barrels, tanks, containers or
receptacles containing any Hazardous Material), or out of any vessel or facility, including the
movement of any Hazardous Material through the air, soil, subsoil, surface, water, ground water,
rock formation or otherwise.

                 “Reportable Event” means with respect to any Plan any of the events set forth in
Section 4043(c) of ERISA or the regulations issued thereunder, other than events for which the
thirty (30) day notice period has been waived that could reasonably be expected to result in a
material liability for a Loan Party.

              “Required Lenders” means, as of any date of determination, Lenders holding more
than 50% of the aggregate principal amount of all outstanding Loans and unused Commitments at
such time. provided that the unused Commitments of, and the portion of the Aggregate
Commitments held or deemed held by, any Defaulting Lender shall be excluded for purposes of
making a determination of Required Lender.

                “Requirement of Law” means, as to any Person, any law (including common law),
statute, ordinance, treaty, rule, regulation, order, decree, judgment, writ, injunction or settlement
agreement, requirement or determination of an arbitrator or a court or other Governmental
Authority, in each case applicable to or binding upon such Person or any of its property or to which
such Person or any of its property is subject.

              “Resolution Authority” means an EEA Resolution Authority or, with respect to any
UK Financial Institution, a UK Resolution Authority.

                “Responsible Officer” means the chief executive officer, president, chief financial
officer, treasurer or, except for purposes of Sections 6.02 or 6.03, any other similar officer or a
Person performing similar functions of a Loan Party (and, as to any document delivered on the
Closing Date, to the extent permitted or required by the terms of this Agreement, any secretary or
assistant secretary of a Loan Party). Any document delivered hereunder that is signed by a
Responsible Officer of a Loan Party shall be conclusively presumed to have been authorized by
all necessary corporate, partnership and/or other action on the part of such Loan Party and such
Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan Party.

               “Restricted Payment” means any:

               (a)     dividend or other distribution (whether in cash, securities or other property)
       or any payment (whether in cash, securities or other property), in each case, with respect
       to any capital stock or other Equity Interest of any Person or any of its Subsidiaries,
       including any sinking fund or similar deposit, on account of the purchase, retraction,
       redemption, retirement, defeasance, acquisition, cancellation or termination of any such
       capital stock or other Equity Interest, or on account of any return of capital to any Person’s
       stockholders, partners or members (or the equivalent of any thereof and including any
       thereof acquired through the exercise of warrants or rights of conversion, exchange or
       purchase); and



                                                 23
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 148 of 270



              (b)     payment of any management or similar type fees by a Loan Party or its
       Subsidiary to any Affiliate thereof.

               “Restricting Information” has the meaning assigned to such term in
Section 10.02(i).

               “Restructuring Support Agreement” means the Restructuring Support Agreement
dated as of April [1], 2024, by and among [______].

               “Roll-Up DIP Facility” has the meaning assigned to such term in the recitals to this
Agreement.
               “Roll-Up Effective Time” means, as applicable, the moment in time with respect to
 the Roll-Up Financing, immediately following the entry of the Final Order by the Bankruptcy Court
 approving the roll-up of the Prepetition Secured Obligations as contemplated therein and herein.
               “Roll-Up Lender” means each Person listed on Schedule 2.02(d) (as updated by the
 Administrative Agent from time to time on or prior to the Roll-Up Effective Time in accordance
 with the terms of the Final Order, as set forth in Section 2.02(d)) and any other Person that shall
 become a party to this Agreement as a Roll-Up Lender pursuant to an Assignment and Assumption
 with respect to a Roll-Up Loan, other than any Person that ceases to be a party hereto as a Lender
 pursuant to an Assignment and Assumption.
              “Roll-Up Loan Amount” means, with respect to a Roll-Up Lender, the
 percentage of the Roll-Up Loans allocated to such Roll-Up Lender as set forth opposite such
 Roll-Up Lender’s name on Schedule 2.02(d) under the heading “Roll-Up Loan Amount” (as
 updated by the Administrative Agent from time to time on or prior to the Roll-Up Effective
 Time in accordance with the terms of Final Order, as set forth in Section 2.02(d)).
               “Roll-Up Loans” has the meaning assigned thereto in Section 2.02(d).
               “S&P” means Standard & Poor’s Ratings Services LLC, a Standard & Poor’s
Financial Services LLC business, and its successors.

                “Sale Leaseback” means any transaction or series of related transactions pursuant
to which the Borrower or any of its Subsidiaries (a) sells, transfers or otherwise disposes of any
property, real or personal, whether now owned or hereafter acquired, and (b) as part of such
transaction, thereafter rents or leases such property or other property that it intends to use for
substantially the same purpose or purposes as the property being sold, transferred or disposed.

                “Sanctions” means economic or financial sanctions or trade embargos imposed,
administered or enforced from time to time by (a) the U.S. government, including those
administered by OFAC or the U.S. Department of State, or (b) the United Nations Security
Council, the European Union, Canada, any European Union member state, His Majesty’s Treasury
of the United Kingdom or the Swiss State Secretariat for Economic Affairs SECO and the Swiss
Directorate of International Law.

               “Sanctioned Country” means, at any time, a country or territory which is itself the
subject or target of any comprehensive Sanctions (at the time of this Agreement, the so-called



                                                24
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 149 of 270



Donetsk People’s Republic, the so- called Luhansk People’s Republic, the Crimea Region of
Ukraine, Zaporizhzhia and Kherson Regions of Ukraine, Cuba, Iran, North Korea and Syria).

                 “Sanctioned Person” means any individual or entity, at any time, that is the subject
or target or Sanctions, including (a) any individual or entity listed in any Sanctions-related list of
designated Persons maintained by the Office of Foreign Assets Control of the U.S. Department of
the Treasury or the U.S. Department of State, the United Nations Security Council, the European
Union, Canada, any Member State of the European Union, the United Kingdom or Switzerland,
(b) any individual or entity operating, organized or resident in a Sanctioned Country or (c) any
entity that is, in the aggregate, 50 percent or greater owned, directly or indirectly or otherwise, or
where relevant under Sanctions, controlled by any such person or entity described in clause (a).

               “SEC” means the Securities and Exchange Commission, or any Governmental
Authority succeeding to any of its principal functions.

              “Secured Parties” means, collectively, (a) the Lenders, (b) the Agent, (c) each
Supplemental Agent, (d) the beneficiaries of each indemnification obligation undertaken by any
Loan Party under any Loan Document and (d) the successors and permitted assigns of each of the
foregoing.

               “Security Interest” shall have the meaning assigned to such term in Section 13.01.

               “SPC” has the meaning specified in Section 10.07(f).

                “Subsidiary” is, as to any Person, a corporation, partnership, limited liability
company or other entity of which shares of stock or other ownership interests having ordinary
voting power (other than stock or such other ownership interests having such power only by reason
of the happening of a contingency) to elect a majority of the board of directors or other managers
of such corporation, partnership or other entity are at the time owned, or the management of which
is otherwise controlled, directly or indirectly through one or more intermediaries, or both, by such
Person. Unless the context otherwise requires, each reference to a Subsidiary herein shall be a
reference to a Subsidiary of Borrower.
               Unless otherwise specified, all references herein to a “Subsidiary” or to
“Subsidiaries” shall refer to a Subsidiary or Subsidiaries of the Borrower.

               “Subsidiary Guarantor” means (a) each Subsidiary of the Borrower, including each
Subsidiary listed under the heading “Subsidiary Guarantors” on Schedule 2, and (b) each other
Subsidiary that becomes a Guarantor pursuant to a Supplement or other documentation in form
and substance reasonably satisfactory to the Required Lenders, provided that in no event shall any
Excluded Subsidiary be a Subsidiary Guarantor.

               “Subsidiary Loan Party” shall include each Subsidiary of Borrower identified on
Schedule 2 hereto and any other person that is required to become a Subsidiary Guarantor pursuant
to the Credit Agreement.

                “Supplement” means a Supplement to this Agreement, in form and substance
satisfactory to Required Lenders.


                                                 25
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 150 of 270



             “Supplemental Agent” has the meaning specified in Section 9.13(a) and
“Supplemental Agents” shall have the corresponding meaning.

               “Supplemental Approved Budget” means the “Supplemental Approved Budget” as
defined in the Financing Orders.

               "Swiss Limitation" has the meaning given to that term in paragraph (a) of Section
10.22.

               "Swiss Loan Party" means any Loan Party incorporated in Switzerland.

               "Swiss Restricted Obligations" has the meaning given to that term in paragraph (a)
of Section 10.22.

               "Swiss Withholding Tax" means any Taxes levied pursuant to the Swiss Federal
Act on Withholding Tax (Bundesgesetz über die Verrechnungssteuer vom 13. Oktober 1965, SR
642.21), together with the related ordinances, regulations and guidelines, all as amended and
applicable from time to time.

               “Taxes” means any and all present or future taxes, duties, levies, imposts,
deductions, assessments, fees, stamp taxes, withholdings (including backup withholding) or other
charges imposed by any Governmental Authority (including additions to tax, penalties and interest
with respect thereto).

            “Termination of the DIP Financing” means, collectively, the termination of all
Lenders’ Commitments and payment in full in cash of all Obligations (other than Unasserted
Contingent Obligations).
               “Threshold Amount” means $1,000,000.

               “Ticking Fee” has the meaning specified in Section 2.06(c).

               “Trade Date” has the meaning specified in Section 10.07(h).

               “Trademark License” shall mean any written agreement, now or hereafter in effect,
granting to any Pledgor any right under any Trademark now or hereafter owned by any third party
(including, without limitation, any such rights that such Pledgor has the right to license).

              “Trademark Security Agreement” means any Trademark Security Agreement, in
form and substance satisfactory to Required Lenders.

               “Trademarks” shall mean all of the following which any Pledgor now or hereafter
owns or in which any Pledgor now or hereafter has an interest (pursuant to a Trademark License
or otherwise): (a) all trademarks, service marks, trade names, brand names, domain names,
corporate names, company names, business names, fictitious business names, trade styles, trade
dress, logos, other source or business identifiers, designs and general intangibles of like nature,
now existing or hereafter adopted or acquired, all registrations thereof (if any), and all registration
and recording applications filed in connection therewith, including registrations and registration
applications in the United States Patent and Trademark Office or any similar offices in any State


                                                  26
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 151 of 270



of the United States or any other country or any political subdivision thereof (except for “intent-
to-use” applications for trademark or service mark registrations filed pursuant to Section 1(b) of
the Lanham Act, 15 U.S.C. § 1051, unless and until an Amendment to Allege Use or a Statement
of Use under Sections 1(c) and 1(d) of the Lanham Act has been filed and accepted, to the extent
that, and solely during the period for which, any assignment of an “intent-to-use” application prior
to such filing and acceptance would violate the Lanham Act), and all renewals thereof, including
those listed on Schedule 5.17, (b) all goodwill associated therewith or symbolized thereby, (c) all
claims for, and rights to sue for, past or future infringements of any of the foregoing and (d) all
income, royalties, damages and payments now or hereafter due and payable with respect to any of
the foregoing, including damages and payments for past or future infringement thereof.

                 “UK Financial Institution” means any BRRD Undertaking (as such term is defined
under the PRA Rulebook (as amended from time to time) promulgated by the United Kingdom
Prudential Regulation Authority) or any person falling within IFPRU 11.6 of the FCA Handbook
(as amended from time to time) promulgated by the United Kingdom Financial Conduct Authority,
which includes certain credit institutions and investment firms, and certain affiliates of such credit
institutions or investment firms.

               “UK Resolution Authority” means the Bank of England or any other public
administrative authority having responsibility for the resolution of any UK Financial Institution.

                “Uniform Commercial Code” means the Uniform Commercial Code as the same
may from time to time be in effect in the State of New York or the Uniform Commercial Code (or
similar code or statute) of another jurisdiction, to the extent it may be required to apply to any
security interest in any item or items of Collateral.

               “United States” and “U.S.” mean the United States of America.

              “U.S. Person” means any Person that is a “United States Person” as defined in
Section 7701(a)(30) of the Code.

               “U.S. Tax       Compliance      Certificate”   has    the   meaning     specified   in
Section 3.01(g)(ii)(B)(3).

               “USA PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Pub. L.
107-56 (signed into law October 26, 2001)), as the same may be amended, supplemented,
modified, replaced or otherwise in effect from time to time.

              “Unasserted Contingent Obligations” means, at any time, any contingent
indemnification and reimbursement obligations that are not yet due and payable and for which no
claim has been asserted as of such time.

               “Wholly-owned” means, with respect to a Subsidiary of a Person, a Subsidiary of
such Person all of the outstanding Equity Interests of which (other than (x) director’s qualifying
shares and (y) shares issued to foreign nationals to the extent required by applicable Law) are
owned by such Person and/or by one or more wholly-owned Subsidiaries of such Person.



                                                 27
 24-22284-dsj         Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                          Pg 152 of 270



                “Withdrawal Liability” means the liability of a Multiemployer Plan as a result of a
complete or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I
of Subtitle E of Title IV of ERISA.

                “Withholding Agent” means any Loan Party and the Administrative Agent.

                  “Write-Down and Conversion Powers” means, (a) with respect to any EEA
Resolution Authority, the write-down and conversion powers of such EEA Resolution Authority
from time to time under the Bail-In Legislation for the applicable EEA Member Country, which
write-down and conversion powers are described in the EU Bail-In Legislation Schedule, and (b)
with respect to the United Kingdom, any powers of the applicable Resolution Authority under the
Bail-In Legislation to cancel, reduce, modify or change the form of a liability of any UK Financial
Institution or any contract or instrument under which that liability arises, to convert all or part of
that liability into shares, securities or obligations of that person or any other person, to provide that
any such contract or instrument is to have effect as if a right had been exercised under it or to
suspend any obligation in respect of that liability or any of the powers under that Bail-In
Legislation that are related to or ancillary to any of those powers.

Section 1.02 Other Interpretive Provisions. With reference to this Agreement and each other
Loan Document, unless otherwise specified herein or in such other Loan Document:

                (a)    The meanings of defined terms are equally applicable to the singular and
        plural forms of the defined terms.

                (b)    The words “herein”, “hereto”, “hereof” and “hereunder” and words of
        similar import when used in any Loan Document shall refer to such Loan Document as a
        whole and not to any particular provision thereof.

               (c)      Article, Section, paragraph, clause, subclause, Exhibit and Schedule
        references are to the Loan Document in which such reference appears.

                (d)      The term “including” is by way of example and not limitation.

               (e)    The term “documents” includes any and all instruments, documents,
        agreements, certificates, notices, reports, financial statements and other writings, however
        evidenced, whether in physical or electronic form.

                (f)     In the computation of periods of time from a specified date to a later
        specified date, the word “from” means “from and including”; the words “to” and “until”
        each mean “to but excluding”; and the word “through” means “to and including”.

               (g)    Section headings herein and in the other Loan Documents are included for
        convenience of reference only and shall not affect the interpretation of this Agreement or
        any other Loan Document.

               (h)    Whenever the context may require, any pronoun shall include the
        corresponding masculine, feminine or neuter forms.



                                                   28
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 153 of 270



Section 1.03 Accounting Terms. (a) All accounting terms not specifically or completely defined
herein shall be construed in conformity with, and all financial data (including financial ratios and
other financial calculations) required to be submitted pursuant to this Agreement shall be prepared
in conformity with, GAAP consistently applied, except as otherwise specifically prescribed herein;
provided, however, that if the Borrower notifies the Administrative Agent in writing that the
Borrower requests an amendment to any provision hereof to eliminate the effect of any Accounting
Change occurring after the Closing Date or in the application thereof on the operation of such
provision, regardless of whether any such notice is given before or after such Accounting Change
or in the application thereof, then the Lenders and the Borrower agree that they will negotiate in
good faith amendments to the provisions of this Agreement that are directly affected by such
Accounting Change with the intent of having the respective positions of the Lenders and the
Borrower after such Accounting Change conform as nearly as possible to their respective positions
as of the date of this Agreement and, until any such amendments have been agreed upon, (i) the
provisions in this Agreement shall be calculated as if no such Accounting Change had occurred
and (ii) the Borrower shall provide to the Administrative Agent and the Lenders a written
reconciliation in form and substance reasonably satisfactory to the Required Lenders, between
calculations of any baskets and other requirements hereunder before and after giving effect to such
Accounting Change.

              (b)     Where reference is made to a Person “and its Subsidiaries on a consolidated
basis” or similar language, such consolidation shall not include any subsidiaries other than
Subsidiaries.

Section 1.04 References to Agreements, Laws, Etc. Unless otherwise expressly provided herein,
(a) references to documents, agreements (including the Loan Documents) and other contractual
instruments shall be deemed to include all subsequent amendments, restatements, amendments and
restatements, extensions, supplements and other modifications thereto, but only to the extent that
such amendments, restatements, amendments and restatements, extensions, supplements and other
modifications are not prohibited by any Loan Document; and (b) references to any Law shall
include all statutory and regulatory provisions consolidating, amending, replacing, supplementing
or interpreting such Law.

Section 1.05 Times of Day. Unless otherwise specified, all references herein to times of day
shall be references to Eastern time (daylight or standard, as applicable).

Section 1.06 Timing of Payment or Performance. When the payment of any obligation or the
performance of any covenant, duty or obligation is stated to be due or performance required on a
day which is not a Business Day, the date of such payment or performance shall extend to the
immediately succeeding Business Day.

Section 1.07 UCC Terms. The following terms shall have the respective meanings provided for
in the Uniform Commercial Code as in effect from time to time in the State of New York:
“Accounts”, “Account Debtor”, “Cash Proceeds”, “Certificate of Title”, “Chattel Paper”,
“Commercial Tort Claim”, “Commodity Account”, “Commodity Contracts”, “Deposit Account”,
“Documents”, “Electronic Chattel Paper”, “Equipment”, “Fixtures”, “General Intangibles”,
“Goods”, “Instruments”, “Inventory”, “Investment Property”, “Letter-of-Credit Rights”,



                                                29
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                       Pg 154 of 270



“Noncash Proceeds”, “Payment Intangibles”, “Proceeds”, “Promissory Notes”, “Record”,
“Securities Account”, “Software”, “Supporting Obligations” and “Tangible Chattel Paper”.

Section 1.08 Swiss Terms. In this Agreement with respect to a Swiss Loan Party, a reference to:

               (a)     receiver, administrative receiver, administrator, trustee in bankruptcy,
       custodian, conservator, liquidator, receiver manager, compulsory manager, monitor or
       similar officer refers to any (i) Sachwalter appointed in accordance with the Swiss Code of
       Obligations (Schweizerisches Obligationenrecht; SR 220, "Swiss Code of Obligations"),
       (ii) Liquidator appointed in accordance with the Swiss Code of Obligations and (iii)
       Konkursamt, Konkursverwaltung or Sanierunsbeauftragter (including a supervisory
       authority acting in any such capacity) or any of its officials or employees, any Liquidator
       or Sachwalter or other officer appointed in accordance with the Swiss Federal Act on Debt
       Enforcement and Bankruptcy (Bundesgesetz über Schuldbetreibung und Konkurs; SR
       281.1, "Swiss Federal Act on Debt Enforcement and Bankruptcy").

               (b)     a liquidation, winding-up, administration, dissolution, bankruptcy,
       liquidation, composition with creditors or moratorium refers to (i) a filing for the
       declaration of bankruptcy (Antrag auf Konkurseröffnung) or a formal declaration of
       bankruptcy (Konkurseröffnung) within the meaning of the Swiss Federal Act on Debt
       Enforcement and Bankrupt, (ii) the filing for a request for a moratorium (Gesuch um
       Nachlassstundung) or a grant of a moratorium (provisorische oder definitive
       Nachlassstundung/Stundung/Notstundung/Fälligkeitsaufschub) or protective measures
       (Schutzmassnahmen/sichernde Massnahmen) within the meaning of the Swiss Federal Act
       on Debt Enforcement and Bankruptcy, (iii) a moratorium on any of its indebtedness, its
       dissolution or liquidation and (iv) the notification of the court of over-indebtedness
       pursuant to article 725b paragraph 3 of the Swiss Code of Obligations.

             (c)    a person being unable to pay its debts refers to that person being in a state
       of inability to make payments (Zahlungsunfähigkeit) and being over-indebted
       (Überschuldung).

              (d)     a director or a manager refers to in relation to a company limited by shares
       (Aktiengesellschaft) a member of the board of directors (Verwaltungsrat) or a member of
       the executive management (Geschäftsleitung).

                                         ARTICLE II

                          THE COMMITMENTS AND THE LOANS

Section 2.01 The Commitments and the Loans. Subject to the terms and conditions set forth
herein, each Lender severally agrees to make (or cause its Applicable Lending Office to make) to
the Borrower, from time to time on and after the Closing Date and until the Commitment
Expiration Date, term loans in one or more drawings in an aggregate principal amount not to
exceed such Lender’s Commitment; provided that the Loans made by all Lenders under this
Section 2.01 shall not exceed in the aggregate the lesser of (i) the Aggregate Commitments and
(ii) the maximum amount authorized by the Final Order. The Commitment of each Lender shall



                                               30
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 155 of 270



be reduced by the amount of any funding thereunder and shall be terminated on the Commitment
Expiration Date. Amounts paid or prepaid in respect of the Loans may not be reborrowed. Subject
to Section 6.19, the proceeds of all Loans shall remain in a bank account maintained by the
Borrower that is subject to a control agreement in favor of the Administrative Agent (for the benefit
of the Secured Parties) until such proceeds are used in accordance with Section 6.12.

Section 2.02 Borrowings of Loans. (a) Each borrowing of Loans shall be made upon the
Borrower’s irrevocable notice to the Administrative Agent of such borrowing. Each such notice
must be received by the Administrative Agent not later than 12:00 noon (New York, New York
time) four (4) Business Days prior to the requested date of any borrowing of Loans in the form of
a written Committed Loan Notice, appropriately completed and signed by a Responsible Officer
of the Borrower. Each borrowing of Loans shall be in a principal amount of $5,000,000 or a whole
multiple of $5,000,000 in excess thereof. Each Committed Loan Notice shall specify, as
applicable, (i) the requested date of the borrowing (which shall be a Business Day), (ii) the
principal amount of Loans to be borrowed (iii) the principal amount of Loans to be borrowed and
(iv) the location and number of the relevant Borrower’s account or any other designated account(s)
to which funds are to be disbursed (which may be in the form of a funds flow memorandum).
Notwithstanding anything to the contrary contained herein, the Borrower may not submit more
than three (3) Committed Loan Notices in connection with borrowings, such Committed Loan
Notices to be delivered (ii) in connection with the initial borrowing on the Closing Date (if any)
and (ii) in connection with the borrowings to be made (if any) thereafter in accordance with the
terms of this Agreement and the Final Order.

                (b)    Following receipt of a Committed Loan Notice, the Administrative Agent
shall promptly notify each Lender of the amount of its Pro Rata Share of the Loans requested. In
the case of each borrowing, each Lender shall make (or cause its Applicable Lending Office to
make) the amount of its Loan available to the Administrative Agent in immediately available funds
at the Administrative Agent’s Office not later than 1:00 p.m. (New York, New York time) on the
Business Day specified in the applicable Committed Loan Notice. Upon satisfaction or waiver of
the applicable conditions set forth in Section 4.02 (or, if such borrowing is the initial borrowing,
Section 4.01), the Administrative Agent shall make all funds so received available to the Borrower
in like funds as received by the Administrative Agent by wire transfer of such funds, in each case
in accordance with instructions provided to (and reasonably acceptable to) the Administrative
Agent by the Borrower.

               (c)    The failure of any Lender to make the Loan to be made by it as part of any
borrowing shall not relieve any other Lender of its obligation, if any, hereunder to make its Loan
on the date of such borrowing, but no Lender shall be responsible for the failure of any other
Lender to make the Loan to be made by such other Lender on the date of any borrowing.

                 (d) Effective upon the occurrence of the Roll-Up Effective Time, without any
 further action by any party to this Agreement, the Bankruptcy Court or any other Person, to the
 extent set forth in the Final Order, a portion of the Prepetition Secured Obligations owing to the
 Prepetition Noteholders at the Roll-Up Effective Time shall, on a pro rata basis as among each
 Roll-Up Lender in respect of its Roll-Up Loan Amount, be substituted and exchanged for (and
 deemed prepaid by) and deemed to be Loans hereunder held by (and owing by the Borrowers
 to) each Roll-Up Lender in an aggregate principal amount for such Roll-Up Lender equal to


                                                 31
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 156 of 270



 such Roll-Up Lender’s Roll-Up Loan Amount (collectively, the “Roll-Up Loans”); provided
 that, for the avoidance of doubt, such Roll-Up Loans shall be secured by a perfected lien and
 security interest on all Collateral unless otherwise provided for under the Loan Documents.
 Subject to the terms and conditions set forth herein and in the Final Order, on the Roll-Up
 Effective Time, each Roll-Up Lender’s Roll-Up Loans shall, from and after such date, be
 designated as such and administered hereunder. For the avoidance of doubt, each Roll-Up
 Lender acknowledges and agrees that by accepting the benefits of this Agreement, on the Roll-
 Up Effective Time, each Prepetition Noteholder rolling up Prepetition Secured Obligations
 under this Agreement shall, to the extent such Roll-up Lender has not executed a signature page
 to this Agreement on the Closing Date, become a party to this Agreement as a Roll-Up Lender
 hereunder by executing and delivering a joinder to this Agreement. Amounts of Roll-Up Loans
 that are issued or deemed issued under this Section 2.02(d) that are repaid or prepaid may not
 be reborrowed. At the Roll-Up Effective Time, the Administrative Agent shall update Schedule
 2.02(d) in accordance with the terms of the Final Order, as applicable, to reflect each Roll-Up
 Lender’s Roll-Up Loan Amount (which Roll-Up Loan Amount shall be conclusive absent
 manifest error) and deliver such updated Schedule 2.02(d) to the Borrower and the Roll-Up
 Lenders, whereupon such updated Schedule 2.02(d) shall constitute Schedule 2.02(d) for all
 purposes hereunder. Notwithstanding anything in this Agreement, including Schedule 2.02(d)
 as in effect from time to time, or any other Loan Document to the contrary, (a) the aggregate
 principal amount of each Roll-Up Lender’s Roll-Up Loans shall not exceed such Roll-Up
 Lender’s Roll-Up Loan Amount and (b) the aggregate principal amount of all Roll-Up Loans
 of all Roll-Up Lenders shall not exceed $40,0000,000 at any time. To the extent that there is a
 successful challenge to any Prepetition Secured Obligations that are converted into the Roll-Up
 Loans, (i) the Roll-Up Loans shall be automatically unwound and deemed null and void in an
 equivalent amount and (ii) notwithstanding anything to the contrary in this Section 2.02(d), the
 Prepetition Secured Obligations that previously were deemed “Roll-Up Loans” shall be
 reinstated and constitute outstanding Prepetition Secured Obligations under the Prepetition
 Indenture on the same terms and priorities as if the Roll-Up Loans never occurred.
 Notwithstanding anything to the contrary set forth herein, upon the Required Lenders’ consent
 the outstanding principal amount of Roll-Up Loans and any accrued and unpaid interest
 thereon may be subject to a different treatment, including pursuant to a plan of reorganization
 filed in the Chapter 11 Case.

Section 2.03 Prepayments. (a) Optional Prepayments. The Borrower may, upon delivery of a
Prepayment Notice to the Administrative Agent, at any time or from time to time voluntarily
prepay Loans, in whole or in part subject to payment of the Exit Fee at the time of such prepayment;
provided that (1) such notice must be received by the Administrative Agent not later than 12:00
noon (New York, New York time) two (2) Business Days prior to any date of prepayment of
Loans; and (2) any prepayment of Loans shall be in a principal amount of $5,000,000 or a whole
multiple of $1,000,000 in excess thereof or, in each case, if less, the entire principal amount thereof
then outstanding, in each case, with accrued and unpaid interest on the Loans to be repaid. Each
such notice shall specify the date and amount of such prepayment. The Administrative Agent will
promptly notify each Lender of its receipt of each such notice, and of the amount of such Lender’s
Pro Rata Share of such prepayment. If such notice is given by the Borrower, the Borrower shall
make such prepayment and the payment amount specified in such notice shall be due and payable
on the date specified therein. Each prepayment of Loans pursuant to this Section 2.03(a) shall be
paid to the Lenders in accordance with their respective Pro Rata Shares.


                                                  32
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 157 of 270



               (b)      Mandatory Prepayments.

                (i) If the Borrower or any of its Subsidiaries receives any Net Cash Proceeds from
               any Disposition (other than any Disposition permitted under Section 7.05 (c), (d),
               (e) or (f), the Borrower shall, subject to Section 2.03(c), cause to be prepaid an
               aggregate principal amount of the Loans equal to 100% of all Net Cash Proceeds
               received therefrom as promptly as reasonably practicable, but in any event prior to
               the date which is three (3) Business Days after the receipt of such Net Cash
               Proceeds. If the Borrower or any of its Subsidiaries receives any Net Cash Proceeds
               from any Casualty Event, the Borrower shall, subject to Section 2.03(c), cause to
               be prepaid an aggregate principal amount of the Loans equal to 100% of all Net
               Cash Proceeds received therefrom as promptly as reasonably practicable, but in any
               event prior to the date which is three (3) Business Days after the receipt of such Net
               Cash Proceeds.

               (ii)   If the Borrower or any of its Subsidiaries incurs or issues any Indebtedness
               not expressly permitted to be incurred or issued pursuant to Section 7.03, the
               Borrower shall cause to be prepaid an aggregate principal amount of the Loans
               equal to 100% of all Net Cash Proceeds received therefrom as promptly as
               reasonably practicable, but in any event, prior to the date which is three
               (3) Business Days after the receipt of such Net Cash Proceeds.

                (b)    If the Borrower or any of its Subsidiaries receives any Net Cash Proceeds
from any issuance of Equity Interests (including capital contributions), the Borrower shall cause
to be prepaid an aggregate principal amount of the Loans equal to 100% of all Net Cash Proceeds
received therefrom as promptly as reasonably practicable, but in any event, prior to the date which
is three (3) Business Days after the receipt of such Net Cash Proceeds.

(iv)   The Borrower shall notify the Administrative Agent in writing of any mandatory
prepayment of Loans required to be made pursuant to clauses (i) through (iv) of this
Section 2.03(b) at least two (2) Business Days prior to the date of such prepayment pursuant to a
Prepayment Notice. Each such notice shall specify the date of such prepayment and provide a
reasonably detailed calculation of the amount of such prepayment. The Administrative Agent will
promptly notify each Lender of the contents of the Borrower’s Prepayment Notice and of such
Lender’s Pro Rata Share of the prepayment, in each case, with accrued and unpaid interest on the
Loans to be repaid and the Exit Fee with respect to such Loans.

                (c)    Restrictions. Notwithstanding the foregoing, to the extent any or all of the
Net Cash Proceeds of any Disposition by, or Casualty Event of, a Foreign Subsidiary otherwise
giving rise to a prepayment pursuant to Section 2.03(b) is prohibited or delayed by any applicable
local Requirements of Law from being repatriated to the Borrower including through the
repayment of intercompany Indebtedness (each, a “Repatriation”; with “Repatriated” having a
correlative meaning) (Borrower hereby agreeing to use reasonable efforts to cause the applicable
Foreign Subsidiary to take promptly all actions reasonably required by such Requirements of Law
to permit such Repatriation), or if the Borrower has determined in good faith that Repatriation of
any such amount would reasonably be expected to have material adverse tax or legal consequences
with respect to its Subsidiaries, after taking into account any foreign tax credit or benefit actually


                                                 33
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 158 of 270



received in connection with such Repatriation, the portion of such Net Cash Proceeds so affected
(such amount, the “Excluded Prepayment Amount”) will not be required to be applied to prepay
Loans at the times as provided in this Section 2.03; provided, that if and to the extent any such
Repatriation ceases to be prohibited or delayed by applicable local Requirements of Law at any
time immediately following the date on which the applicable mandatory prepayment pursuant to
this Section 2.03(c) was required to be made, the Borrower shall reasonably promptly repatriate,
or cause to be repatriated, an amount equal to such portion of the Excluded Prepayment Amount,
and the Borrower shall reasonably promptly pay such portion of the Excluded Prepayment Amount
to the Lenders, which payment shall be applied in accordance with this Section 2.03. For the
avoidance of doubt, the non-application of any Excluded Prepayment Amount pursuant to this
Section 2.03(c) if such Repatriation ceases to be prohibited or delayed shall constitute a Default or
an Event of Default.

                (d)     Interest. All prepayments under this Section 2.03 shall be accompanied by
all accrued interest thereon.

Section 2.04 Repayment of Loans. The Borrower shall repay in cash on the Maturity Date to the
Administrative Agent (for the ratable account of the Lenders) the aggregate principal amount of
all Loans, together with all accrued and capitalized interest (including interest paid in kind) and
fees thereon (including the Exit Fee and all other outstanding Obligations), outstanding on such
date.

Section 2.05 Interest (a) Subject to the provisions of Section 2.05(b), each Loan shall bear
interest on the outstanding principal amount thereof at a rate per annum equal to the Applicable
Rate. The accrued interest shall be due and payable in kind on each Interest Payment Date.
Notwithstanding the foregoing or anything to the contrary contained herein, on each date on which
interest is to be paid in accordance with this Section 2.05, such interest shall be paid in kind on
each such date by capitalizing and adding such interest to the then outstanding principal balance
of each Loan (“PIK Interest”) and any interest to be so capitalized pursuant to this clause (a) shall
be capitalized on the relevant date provided for payment herein and added to the then-outstanding
principal amount of the applicable Loans so as to increase the principal balance of such Loan,
which principal amount shall be payable when the principal amount of such Loans is payable in
accordance with Section 2.06. For purposes of this Agreement and the other Loan Documents,
from the date so capitalized, PIK Interest capitalized pursuant to this Section 2.05 shall bear
interest in accordance with this Section 2.05 as if it had originally been part of the outstanding
principal amount of the applicable Loans and all references herein or in any other Loan Document
to the principal amount of the applicable Loans shall include PIK Interest. For avoidance of doubt,
interest at the Default Rate shall not be PIK Interest.

                (b)       Commencing upon the occurrence and during the continuance of any Event
of Default, the Borrower shall pay interest on (i) the principal amount of the Loans and (ii) to the
extent then due and payable all other outstanding Obligations hereunder, in each case under
clauses (i) and (ii), at an interest rate per annum at all times equal to the Default Rate to the fullest
extent permitted by applicable Laws. Accrued and unpaid interest on past due amounts (including
interest on past due interest to the fullest extent permitted by applicable Laws) shall be due and
payable upon demand in cash.



                                                   34
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 159 of 270



                (c)    Interest on each Loan shall be due and payable in arrears on each Interest
Payment Date applicable thereto in accordance with Section 2.05(a) and at such other times as
may be specified herein. Interest hereunder shall be due and payable in accordance with the terms
hereof before and after any judgment. Interest shall accrue on a daily basis and shall be payable in
arrears upon any prepayment of that Loan, whether voluntary or mandatory, to the extent accrued
on the amount being prepaid; and (iii) shall accrue on a daily basis and shall be payable in arrears
at maturity of the Loans, including final maturity of the Loans.

                (d)    The basis for determining the rate of interest with respect to any Loan, and
the Interest Period, shall be as set forth herein and notified to Administrative Agent and Lenders
pursuant to any Committed Loan Notice.

Section 2.06 Fees.

               (a)     Commitment Fee. The Borrower shall pay to each Lender on the Closing
Date a commitment fee (the “Commitment Fee”) equal to 2.00% of the sum of the (x) Interim DIP
Loan Commitments and (y) Final DIP Loan Commitments, in each case of such Lender as of the
Closing Date. The Commitment Fee of each Lender shall be fully earned and due on the Closing
Date and, shall be paid in kind and capitalized to the balance sheet of the Borrower upon the entry
of the Final Order. For the avoidance of doubt, no Commitment Fee shall be earned or payable on
the Roll-Up Loans.

                 (b)   Exit Fee. The Borrower shall pay in cash to each Lender, on the earlier of
(i) the date of repayment of all or a portion of any Loans and (ii) the Maturity Date, for the account
of each Lender, an exit fee (the “Exit Fee”) equal to 2.00% of the aggregate Loans actually
advanced hereunder, payable to each Lender ratably based on the amount of Loans actually
advanced by such Lender hereunder (whether or not such Lender is a Lender as of the date of the
payment of the Exit Fee), subject to reduction in the case of any partial payment of the Exit Fee in
connection with any partial repayment of the Loans in accordance with this Agreement. The Exit
Fee (x) shall be fully earned on the Closing Date, and (y) once paid shall not be refundable. For
the avoidance of doubt, an Exit Fee shall be earned and payable on the Roll-Up Loans.

               (c)      Ticking Fee. The Borrower shall pay to each Lender a ticking fee (the
“Ticking Fee”) equal to such Lender’s Pro Rata Share of the product of (i) 2.00% per annum
multiplied by (ii) for each monthly period (or partial period if applicable), the actual daily amount
by which the Aggregate Commitment exceeds the aggregate amount of Loans advanced. The
Ticking Fee shall be payable monthly in arrears on the last Business Day of each calendar month,
commencing April 30, 2024 and shall accrue at all times from and after the execution and delivery
of this Agreement through the earlier of: (a) the Commitment Expiration Date and (b) the
Termination of the Obligations. The Ticking Fee shall, subject to Section 2.04, be paid in cash and
fully earned and due when paid and once paid shall not be refundable for any reason.

               (d)    Administration Fee. The Borrower shall pay to the Lenders or their
respective designees on the Closing Date, for the account of each Lender, an administration fee
(the “Administration Fee”) in the aggregate amount for all such Lenders equal to $50,000, paid
ratably to the Lenders based on their Pro Rata Share of the Commitments. The Administration




                                                 35
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 160 of 270



Fee shall be paid in cash and fully earned on the Closing Date and once paid shall not be refundable
for any reason.

                 (e)    Agent Fees. The Borrower shall pay to the Agent, for its own account, the
fees set forth in the Agent Fee Letter as between the Borrower and the Agent.

Section 2.07 Computation of Interest and Fees. All computations of fees and interest shall be
made on the basis of a three hundred and sixty (360) day year and actual days elapsed. Interest
shall accrue on each Loan for the day on which such Loan is made, and shall not accrue on such
Loan, or any portion thereof, for the day on which such Loan or such portion is paid; provided that
any such Loan that is repaid on the same day on which it is made shall, subject to Section 2.09(a),
bear interest for one (1) day. Each determination by the Administrative Agent of an interest rate
or fee hereunder shall be conclusive and binding for all purposes, absent manifest error.

Section 2.08 Evidence of Indebtedness. (a) The Loans made by each Lender shall be evidenced
by one or more accounts or records maintained by such Lender and evidenced by one or more
entries in the Register maintained by the Administrative Agent, as agent for the Borrower, in each
case in the ordinary course of business. The accounts or records maintained by the Administrative
Agent and each Lender shall be prima facie evidence absent manifest error of the amount of the
Loans made by the Lenders to the Borrower and the interest and payments thereon. Any failure
to so record or any error in doing so shall not, however, limit or otherwise affect the obligation of
the Borrower hereunder to pay any amount owing with respect to the Obligations. In the event of
any conflict between the accounts and records maintained by any Lender and the accounts and
records of the Administrative Agent in respect of such matters, the accounts and records of the
Administrative Agent shall control in the absence of manifest error. Upon the request of any
Lender made through the Administrative Agent upon reasonable notice, the Borrower shall execute
and deliver to such Lender (directly or through the Administrative Agent) a Note payable to such
Lender, which shall evidence such Lender’s Loans in addition to such accounts or records. Each
Lender may attach schedules to its Note and endorse thereon the date, amount and maturity of its
Loans and payments with respect thereto.

               (b)    In addition to the accounts and records referred to in Section 2.08(c), each
Lender and the Administrative Agent shall maintain in accordance with its usual practice accounts
or records. In the event of any conflict between the accounts and records maintained by the
Administrative Agent and the accounts and records of any Lender in respect of such matters, the
accounts and records of the Administrative Agent shall control in the absence of manifest error.

               (c)     Entries made in good faith by the Administrative Agent in the Register
pursuant to Section 2.08(a), and by each Lender in its account or accounts pursuant to
Section 2.08(a), shall be prima facie evidence of the amount of principal and interest due and
payable or to become due and payable from the Borrower to, in the case of the Register, each
Lender and, in the case of such account or accounts, such Lender, under this Agreement and the
other Loan Documents, absent manifest error; provided that the failure of the Administrative Agent
or such Lender to make an entry, or any finding that an entry is incorrect, in the Register or such
account or accounts shall not limit or otherwise affect the obligations of the Borrower under this
Agreement and the other Loan Documents.



                                                 36
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 161 of 270



Section 2.09 Payments Generally. (a) All payments to be made by the Borrower shall be made
without condition or deduction for any counterclaim, defense, recoupment or setoff. Except as
otherwise expressly provided herein, all payments by the Borrower hereunder shall be made to the
Administrative Agent, for the account of the respective Lenders to which such payment is owed,
at the applicable Administrative Agent’s Office and in immediately available funds not later than
2:00 p.m. (New York, New York time) on the date specified herein. The Administrative Agent
will promptly distribute to each Lender its Pro Rata Share (or other applicable share as provided
herein) of such payment in like funds as received by wire transfer to such Lender’s Applicable
Lending Office. All payments received by the Administrative Agent after 2:00 p.m. (New York,
New York time) shall be deemed received on the next succeeding Business Day and any applicable
interest or fee shall continue to accrue.

               (b)     If any payment to be made by the Borrower shall come due on a day other
than a Business Day, payment shall be made on the next following Business Day, and such
extension of time shall be reflected in computing interest or fees, as the case may be.

                (c)     If any Lender makes available to the Agent funds for any Loan to be made
by such Lender as provided in the foregoing provisions of this Article II, and such funds are not
made available to the Borrower by the Agent because the conditions (if any) to the Loan set forth
in Article IV are not satisfied or waived in accordance with the terms hereof, the Agent shall return
such funds (in like funds as received from such Lender) to such Lender, without interest.

                (d)     The obligations of the Lenders hereunder to make Loans are several and not
joint. The failure of any Lender to make any Loan on any date required hereunder shall not relieve
any other Lender of its corresponding obligation to do so on such date, and neither the Agent nor
any Lender shall be responsible for the failure of any other Lender to make its Loan.

                (e)     Nothing herein shall be deemed to obligate any Lender to obtain the funds
for any Loan in any particular place or manner or to constitute a representation by any Lender that
it has obtained or will obtain the funds for any Loan in any particular place or manner.

               (f)     Whenever any payment received by the Agent under this Agreement or any
of the other Loan Documents is insufficient to pay in full all amounts due and payable to the Agent
and the Lenders under or in respect of this Agreement and the other Loan Documents on any date,
such payment shall be distributed by the Agent and applied by the Agent and the Lenders in the
order of priority set forth in Section 8.03. If the Agent receives funds for application to the
Obligations of the Loan Parties under or in respect of the Loan Documents under circumstances
for which the Loan Documents do not specify the manner in which such funds are to be applied,
the Agent may, but shall not be obligated to, elect to distribute such funds to each of the Lenders
in accordance with such Lender’s Pro Rata Share of the aggregate principal amount of all Loans
outstanding at such time.

Section 2.10 Sharing of Payments. If, other than as expressly provided elsewhere herein
(including, without limitation, in Section 10.07), any Lender shall obtain on account of the Loans
made by it in excess of its ratable share (or other share contemplated hereunder subject to the
priorities set forth herein) thereof, such Lender shall immediately (a) notify the Administrative
Agent of such fact and (b) purchase from the other Lenders such participations in the Loans made


                                                 37
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 162 of 270



by them as shall be necessary to cause such purchasing Lender to share the excess payment in
respect of such Loans pro rata with each of them; provided that if all or any portion of such excess
payment is thereafter recovered from the purchasing Lender under any of the circumstances
described in Section 10.06 (including pursuant to any settlement entered into by the purchasing
Lender in its discretion), such purchase shall to that extent be rescinded and each other Lender
shall repay to the purchasing Lender the purchase price paid therefor, together with an amount
equal to such paying Lender’s ratable share (according to the proportion of (i) the amount of such
paying Lender’s required repayment to (ii) the total amount so recovered from the purchasing
Lender) of any interest or other amount paid or payable by the purchasing Lender in respect of the
total amount so recovered, without further interest thereon. The Borrower agrees that any Lender
so purchasing a participation from another Lender may, to the fullest extent permitted by
applicable Law, exercise all its rights of payment (including the right of setoff, but subject to
Section 10.09) with respect to such participation as fully as if such Lender were the direct creditor
of the Borrower in the amount of such participation. The Administrative Agent will keep records
(which shall be conclusive and binding in the absence of manifest error) of participations
purchased under this Section 2.10 and will in each case notify the Lenders following any such
purchases or repayments. Each Lender that purchases a participation pursuant to this Section 2.10
shall from and after such purchase have the right to give all notices, requests, demands, directions
and other communications under this Agreement with respect to the portion of the Obligations
purchased to the same extent as though the purchasing Lender were the original owner of the
Obligations purchased.

                                          ARTICLE III

            TAXES, INCREASED COSTS PROTECTION AND ILLEGALITY

Section 3.01 Taxes.

               (a) Defined Terms. For purposes of this Section 3.01, the term “applicable
law” includes FATCA.

               (b)     Payments Free of Taxes. Any and all payments by or on account of any
obligation of any Loan Party under any Loan Document shall be made without deduction or
withholding for any Taxes, except as required by applicable law. If any applicable law (as
determined in the good faith discretion of an applicable Withholding Agent) requires the deduction
or withholding of any Tax from any such payment by a Withholding Agent, then the applicable
Withholding Agent shall be entitled to make such deduction or withholding and shall timely pay
the full amount deducted or withheld to the relevant Governmental Authority in accordance with
applicable law and, if such Tax is an Indemnified Tax, then the sum payable by the applicable
Loan Party shall be increased as necessary so that after such deduction or withholding has been
made (including such deductions and withholdings applicable to additional sums payable under
this Section 3.01(b)) the applicable Recipient receives an amount equal to the sum it would have
received had no such deduction or withholding been made.

                (c)   Payment of Other Taxes by the Loan Parties. The Loan Parties shall timely
pay to the relevant Governmental Authority in accordance with applicable law, or at the option of
the Administrative Agent timely reimburse it for the payment of, any Other Taxes.


                                                 38
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 163 of 270



               (d)    Indemnification by the Loan Parties. The Loan Parties shall jointly and
severally indemnify each Recipient, within ten (10) days after demand therefor, for the full amount
of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or attributable to
amounts payable under this Section 3.01 (d)) payable or paid by such Recipient or required to be
withheld or deducted from a payment to such Recipient and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legally
imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
such payment or liability delivered to the Borrower by a Lender (with a copy to the Agent), or by
the Agent on its own behalf, shall be conclusive absent manifest error.

                 (e)   Indemnification by the Lenders. Each Lender shall severally indemnify the
Agent, for the full amount of any Taxes imposed by any Governmental Authority that are
attributable to such Lender (but only to the extent that any Loan Party has not already indemnified
the Agent for such Indemnified Taxes and without limiting the obligation of the Loan Parties to
do so), and that are payable or paid by the Agent, together with all interest, penalties, reasonable
costs and expenses arising therefrom or with respect thereto, as determined by the Agent in good
faith. Should the applicable Withholding Agent not deduct or withhold any Taxes imposed by
FATCA from a payment under any Loan Document based on the documentation provided by a
Lender pursuant to Section 3.01(g)(ii), any amounts subsequently determined by a Governmental
Authority to be subject to United States Federal withholding Tax imposed pursuant to FATCA
(plus any penalties, interest or other charges imposed by the relevant Governmental Authority)
shall be indemnified by such Lender. A certificate as to the amount of such payment or liability
delivered to any Lender by the Withholding Agent shall be conclusive absent manifest error. Each
Lender hereby authorizes the Agent to set off and apply any and all amounts at any time owing to
such Lender under any Loan Document or otherwise payable by the Agent to the Lender from any
other source against any amount due to the Agent under this paragraph (e).

                 (f)   Evidence of Payments. As soon as practicable after any payment of Taxes
by any Loan Party to a Governmental Authority pursuant to this Section 3.01, such Loan Party
shall deliver to the Administrative Agent the original or a certified copy of a receipt issued by such
Governmental Authority evidencing such payment, a copy of the return reporting such payment or
other evidence of such payment reasonably satisfactory to the Administrative Agent.

                (g)    Status of Lenders. (i) Any Lender that is entitled to an exemption from or
reduction of withholding Tax with respect to payments made under any Loan Document shall
deliver to the Borrower and the Administrative Agent, at the time or times reasonably requested
by the Borrower or the Administrative Agent, such properly completed and executed
documentation reasonably requested by the Borrower or the Administrative Agent as will permit
such payments to be made without withholding or at a reduced rate of withholding. in addition,
any Lender, if reasonably requested by the Borrower or the Administrative Agent, shall deliver
such other documentation prescribed by applicable law or reasonably requested by the Borrower
or the Administrative Agent as will enable the Borrower or the Administrative Agent to determine
whether or not such Lender is subject to backup withholding or information reporting
requirements. Notwithstanding anything to the contrary in the preceding two sentences, the
completion, execution and submission of such documentation (other than such documentation set
forth in Section 3.01(iv) (A), (B) and (D) below) shall not be required if in the Lender’s reasonable
judgment such completion, execution or submission would subject such Lender to any material


                                                 39
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                       Pg 164 of 270



unreimbursed cost or expense or would materially prejudice the legal or commercial position of
such Lender.

(iv)   Without limiting the generality of the foregoing.

                     (A)    any Lender that is a U.S. Person shall deliver to the Borrower and
              the Administrative Agent on or prior to the date on which such Lender becomes a
              Lender under this Agreement (and from time to time thereafter upon the reasonable
              request of the Borrower or the Administrative Agent), executed copies of IRS
              Form W-9 certifying that such Lender is exempt from U.S. federal backup
              withholding tax;

                      (B)     any Foreign Lender shall, to the extent it is legally entitled to do so,
              deliver to the Borrower and the Administrative Agent (in such number of copies as
              shall be requested by the recipient) on or prior to the date on which such Foreign
              Lender becomes a Lender under this Agreement (and from time to time thereafter
              upon the reasonable request of the Borrower or the Administrative Agent),
              whichever of the following is applicable:

                              (1)     in the case of a Foreign Lender claiming the benefits of an
                      income tax treaty to which the United States is a party (x) with respect to
                      payments of interest under any Loan Document, executed copies of IRS
                      Form W-8BEN (or W-8BEN-E, as applicable) establishing an exemption
                      from, or reduction of, U.S. federal withholding Tax pursuant to the
                      “interest” article of such tax treaty and (y) with respect to any other
                      applicable payments under any Loan Document, IRS Form W-8BEN (or
                      W-8BEN-E, as applicable) establishing an exemption from, or reduction of,
                      U.S. federal withholding Tax pursuant to the “business profits” or “other
                      income” article of such tax treaty;

                             (2)     executed copies of IRS Form W-8ECI;

                              (3)     in the case of a Foreign Lender claiming the benefits of the
                      exemption for portfolio interest under Section 881(c) of the Code, (x) a
                      certificate substantially in the form provided by Administrative Agent and
                      the other Lenders to the effect that such Foreign Lender is not a “bank”
                      within the meaning of Section 881(c)(3)(A) of the Code, a “10 percent
                      shareholder” of the Borrower within the meaning of Section 881(c)(3)(B)
                      of the Code, or a “controlled foreign corporation” described in
                      Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance Certificate”)
                      and (y) executed copies of IRS Form W-8BEN (or W-8BEN-E, as
                      applicable); or

                             (4)    to the extent a Foreign Lender is not the beneficial owner,
                      executed copies of IRS Form W-8IMY, accompanied by IRS Form W-
                      8ECI, IRS Form W-8BEN (or W-8BEN-E, as applicable), a U.S. Tax
                      Compliance Certificate substantially in the form provided by



                                                40
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                        Pg 165 of 270



                       Administrative Agent and the other Lenders, IRS Form W-9, and/or other
                       certification documents from each beneficial owner, as applicable; provided
                       that if the Foreign Lender is a partnership and one or more direct or indirect
                       partners of such Foreign Lender are claiming the portfolio interest
                       exemption, such Foreign Lender may provide a U.S. Tax Compliance
                       Certificate substantially in the form provided by Administrative Agent and
                       the other Lenders on behalf of each such direct and indirect partner;

                       (C)     any Foreign Lender shall, to the extent it is legally entitled to do so,
               deliver to the Borrower and the Administrative Agent (in such number of copies as
               shall be requested by the recipient) on or prior to the date on which such Foreign
               Lender becomes a Lender under this Agreement (and from time to time thereafter
               upon the reasonable request of the Borrower or the Administrative Agent), executed
               copies of any other form prescribed by applicable law as a basis for claiming
               exemption from or a reduction in U.S. federal withholding Tax, duly completed,
               together with such supplementary documentation as may be prescribed by
               applicable law to permit the Borrower or the Administrative Agent to determine the
               withholding or deduction required to be made; and

                        (D)   if a payment made to a Lender under any Loan Document would be
               subject to U.S. federal withholding Tax imposed by FATCA if such Lender were
               to fail to comply with the applicable reporting requirements of FATCA (including
               those contained in Section 1471(b) or 1472(b) of the Code, as applicable), such
               Lender shall deliver to the Borrower and the Administrative Agent at the time or
               times prescribed by law and at such time or times reasonably requested by the
               Borrower or the Administrative Agent such documentation prescribed by
               applicable law (including as prescribed by Section 1471(b)(3)(C)(i) of the Code)
               and such additional documentation reasonably requested by the Borrower or the
               Administrative Agent as may be necessary for the Borrower and the Administrative
               Agent to comply with their obligations under FATCA and to determine that such
               Lender has complied with such Lender’s obligations under FATCA or to determine
               the amount to deduct and withhold from such payment. Solely for purposes of this
               clause (D), “FATCA” shall include any amendments made to FATCA after the date
               of this Agreement.

              Each Lender agrees that if any form or certification it previously delivered expires
or becomes obsolete or inaccurate in any respect, it shall update such form or certification or
promptly notify the Borrower and the Administrative Agent in writing of its legal inability to do
so.

                (h)     Treatment of Certain Refunds. If any party determines, in its sole discretion
exercised in good faith, that it has received a refund of any Taxes as to which it has been
indemnified pursuant to this Section 3.01 (including by the payment of additional amounts
pursuant to this Section 3.01), it shall pay to the indemnifying party an amount equal to such refund
(but only to the extent of indemnity payments made under this Section with respect to the Taxes
giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of such indemnified
party and without interest (other than any interest paid by the relevant Governmental Authority


                                                 41
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 166 of 270



with respect to such refund). Such indemnifying party, upon the request of such indemnified party,
shall repay to such indemnified party the amount paid over pursuant to this paragraph (h) (plus
any penalties, interest or other charges imposed by the relevant Governmental Authority) in the
event that such indemnified party is required to repay such refund to such Governmental Authority.
Notwithstanding anything to the contrary in this paragraph (h), in no event will the indemnified
party be required to pay any amount to an indemnifying party pursuant to this paragraph (h) the
payment of which would place the indemnified party in a less favorable net after-Tax position than
the indemnified party would have been in if the Tax subject to indemnification and giving rise to
such refund had not been deducted, withheld or otherwise imposed and the indemnification
payments or additional amounts with respect to such Tax had never been paid. This paragraph
shall not be construed to require any indemnified party to make available its Tax returns (or any
other information relating to its Taxes that it deems confidential) to the indemnifying party or any
other Person.

               (i)    Survival. Each party’s obligations under this Section 3.01 shall survive the
resignation or replacement of the Agent or any assignment of rights by, or the replacement of, a
Lender, the termination of the Commitments and the repayment, satisfaction or discharge of all
obligations under any Loan Document.

Section 3.02 [Reserved].

Section 3.03 [Reserved].

Section 3.04 Increased Cost and Reduced Return; Capital and Liquidity Requirements.

               (a)      Increased Costs Generally. If any Change in Law shall:

                      (i)     impose, modify or deem applicable any reserve, special deposit,
               compulsory loan, insurance charge or similar requirement against assets of,
               deposits with or for the account of, or credit extended or participated in by, any
               Lender;

                       (ii)     subject any Recipient to any Taxes (other than (A) Indemnified
               Taxes, (B) Taxes described in clauses (b) through (d) of the definition of Excluded
               Taxes and (C) Connection Income Taxes) on its loans, loan principal, letters of
               credit, commitments, or other obligations, or its deposits, reserves, other liabilities
               or capital attributable thereto; or

                      (iii) impose on any Lender any other condition, cost or expense (other
               than Taxes) affecting this Agreement or Loans made by such Lender;

and the result of any of the foregoing shall be to increase the cost to such Lender or such other
Recipient of making, converting to, continuing or maintaining any Loan or of maintaining its
obligation to make any such Loan, or to reduce the amount of any sum received or receivable by
such Lender or other Recipient hereunder (whether of principal, interest or any other amount) then,
upon request of such Lender or other Recipient, the Borrower will pay to such Lender or other
Recipient, as the case may be, such additional amount or amounts as will compensate such Lender
or other Recipient, as the case may be, for such additional costs incurred or reduction suffered.


                                                 42
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 167 of 270



               (b)     Capital Requirements. If any Lender reasonably determines that any
Change in Law affecting such Lender or any lending office of such Lender or such Lender’s
holding company, if any, regarding capital or liquidity requirements, has or would have the effect
of reducing the rate of return on such Lender’s capital or on the capital of such Lender’s holding
company, if any, as a consequence of this Agreement, the Commitments of such Lender or the
Loans made by such Lender to a level below that which such Lender or such Lender’s holding
company could have achieved but for such Change in Law (taking into consideration such
Lender’s policies and the policies of such Lender’s holding company with respect to capital
adequacy), then from time to time the Borrower will pay to such Lender such additional amount
or amounts as will compensate such Lender or such Lender’s holding company for any such
reduction suffered.

               (c)     Certificates for Reimbursement. A certificate of a Lender setting forth the
amount or amounts necessary to compensate such Lender or its holding company, as the case may
be, as specified in paragraph (a) or (b) of this Section and delivered to the Borrower, shall be
conclusive absent manifest error. The Borrower shall pay such Lender the amount shown as due
on any such certificate within fifteen (15) days after receipt thereof.

                (d)     Delay in Requests. Failure or delay on the part of any Lender to demand
compensation pursuant to this Section 3.04 shall not constitute a waiver of such Lender’s right to
demand such compensation; provided that the Borrower shall not be required to compensate a
Lender pursuant to this Section for any increased costs incurred or reductions suffered more than
nine months prior to the date that such Lender notifies the Borrower of the Change in Law giving
rise to such increased costs or reductions, and of such Lender’s intention to claim compensation
therefor (except that, if the Change in Law giving rise to such increased costs or reductions is
retroactive, then the nine-month period referred to above shall be extended to include the period
of retroactive effect thereof).

Section 3.05 [Reserved].

Section 3.06 Matters Applicable to All Requests for Compensation.

                 (a)     The Agent or any Lender claiming compensation under this Article III shall
deliver a certificate to the Borrower setting forth the additional amount or amounts to be paid to it
hereunder, which shall be conclusive absent manifest error. In determining such amount, the
Agent or such Lender may use any reasonable averaging and attribution methods.

                (b)     With respect to any Lender’s claim for compensation under Sections 3.01
or 3.04, the Borrower may, by notice to such Lender (with a copy to the Administrative Agent),
suspend the obligation of such Lender to make Loans or continue to make Loans from one Interest
Period to another, until the event or condition giving rise to such request ceases to be in effect (in
which case the provisions of Section 3.06(c) shall be applicable); provided that such suspension
shall not affect the right of such Lender to receive the compensation so requested.

               (c)     If the obligation of any Lender to make or continue any Loan shall be
suspended pursuant to Section 3.06(b) hereof, such Lender’s applicable Loan shall be repaid on
the last day of the then current Interest Period for such Loan and, unless and until such Lender



                                                 43
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 168 of 270



gives notice that the circumstances specified in Section 3.01 or Section 3.04 hereof that gave rise
to such conversion no longer exist (which such Lender agrees to do promptly upon such
circumstances ceasing to exist).

Section 3.07 Mitigation Obligations; Replacement of Lenders under Certain Circumstances.

                  (a)     Designation of a Different Applicable Lending Office. If any Lender
requests compensation under Section 3.04, or requires the Borrower to pay any Indemnified Taxes
or additional amounts to any Lender or any Governmental Authority for the account of any Lender
pursuant to Section 3.01, then such Lender shall (at the request of the Borrower) use reasonable
efforts to designate a different Applicable Lending Office for funding or booking its Loans
hereunder or to assign its rights and obligations hereunder to another of its offices, branches or
affiliates, if, in the judgment of such Lender, such designation or assignment (i) would eliminate
or reduce amounts payable pursuant to Section 3.04 or Section 3.01, as the case may be, in the
future, and (ii) would not subject such Lender to any unreimbursed cost or expense and would not
otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable
and documented costs and expenses incurred by any Lender in connection with any such
designation or assignment.

               (b)     Replacement of Lenders. If at any time (i) any Lender requests
compensation under Section 3.04, (ii) the Borrower is required to pay any Indemnified Taxes or
additional amounts to any Lender or any Governmental Authority for the account of any Lender
pursuant to Section 3.01 and, in each case, such Lender has declined or is unable to designate a
different Applicable Lending Office in accordance with Section 3.07(a), (iii) any Lender is a Non-
Consenting Lender, or (iv) any Lender becomes a Defaulting Lender, then the Borrower may, at
its sole expense and effort, upon notice to such Lender and the Administrative Agent, require such
Lender (and such Lender shall be obligated to) to assign and delegate, without recourse (in
accordance with and subject to the restrictions contained in, and consents required by,
Section 10.07(b)), all of its interests, rights (other than its existing rights to payments pursuant to
Section 3.04 or Section 3.01) and obligations under this Agreement and the related Loan
Documents to an Eligible Assignee that shall assume such obligations (which assignee may be
another Lender, if a Lender accepts such assignment); provided that:

                      (i)    the Borrower shall have paid to the Administrative Agent the
               assignment fee (if any) specified in Section 10.07(b);

                       (ii)   such Lender shall have received payment of an amount equal to the
               outstanding principal of its Loans, accrued interest thereon, accrued fees and all
               other amounts payable to it hereunder and under the other Loan Documents from
               the assignee (to the extent of such outstanding principal and accrued interest and
               fees) or the Borrower (in the case of all other amounts);

                      (iii) in the case of any such assignment resulting from a claim for
               compensation under Section 3.04 or payments required to be made pursuant to
               Section 3.01, such assignment will result in a reduction in such compensation or
               payments thereafter;




                                                  44
 24-22284-dsj     Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                         Pg 169 of 270



                      (iv)    such assignment does not conflict with applicable law;

                      (v)    in the case of any assignment resulting from a Lender becoming a
               Non-Consenting Lender, the applicable assignee shall have consented to the
               applicable amendment, waiver or consent; and

                      (vi)   in connection with any such replacement, if any such Non-
               Consenting Lender or Defaulting Lender does not execute and deliver to the
               Administrative Agent a duly executed Assignment and Assumption reflecting such
               replacement within five (5) Business Days of the date on which the assignee Lender
               executes and delivers such Assignment and Assumption to such Non-Consenting
               Lender or Defaulting Lender, then such Non-Consenting Lender or Defaulting
               Lender shall be deemed to have executed and delivered such Assignment and
               Assumption without any action on the part of the Non-Consenting Lender or
               Defaulting Lender.

               A Lender shall not be required to make any such assignment or delegation if, prior
               thereto, as a result of a waiver by such Lender or otherwise, the circumstances
               entitling the Borrower to require such assignment and delegation cease to apply.

               (c)     In the event that (i) the Borrower or the Agent has requested that the
Lenders consent to a departure or waiver of any provisions of the Loan Documents or agree to any
amendment thereto, (ii) the consent, waiver or amendment in question requires the agreement of
all affected Lenders in accordance with the terms of Section 10.01 or all the Lenders and (iii) the
Required Lenders have agreed to such consent, waiver or amendment, then any Lender who does
not agree to such consent, waiver or amendment shall be deemed a “Non-Consenting Lender”.

Section 3.08 Survival. All of the Borrower’s obligations under this Article III shall survive
termination of the Aggregate Commitments and repayment of all other Obligations hereunder.

                                         ARTICLE IV

                          CONDITIONS PRECEDENT TO LOANS

Section 4.01 Conditions to Initial Loans. The obligation of each Lender to make initial Loans is
subject to satisfaction or waiver of the following conditions precedent, except as otherwise agreed
between the Borrower, the Administrative Agent and the Required Lenders:

               (a)    The Administrative Agent’s or the Lenders’ (as applicable) receipt of the
following, each properly executed by a Responsible Officer of the signing Loan Party, and each in
form and substance reasonably satisfactory to the Required Lenders:

                    (i)     executed counterparts of this Agreement and each other Loan
               Document by each party thereto;

                       (ii)   an original Note executed by the Borrower in favor of each Lender
               that has requested a Note;



                                                45
 24-22284-dsj      Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59           Main Document
                                           Pg 170 of 270



                       (iii)    a Committed Loan Notice relating to the initial Loans; and

                      (iv)    the certificates, documents, instruments, agreements and
               deliverables set forth on the Closing Checklist attached hereto as Schedule 1.

            (b)        The Administrative Agent and each Lender shall have received the Initial
Approved Budget.

               (c)     All proceedings commenced in connection with the execution of this
Agreement, all other Loan Documents and approval thereof by the Bankruptcy Court (including,
without limitation, the nature, scope and extent of notices to interested parties with respect to all
hearings related hereto and thereto) shall be satisfactory in all respects to the Administrative Agent
and the Required Lenders.

               (d)     The Loan Parties shall have commenced the Chapter 11 Case and all of the
“first day motions,” “first day orders” and all related pleadings entered or to be entered at the time
of the Petition Date or shortly thereafter shall have been made available to the Administrative
Agent and Lenders in advance, and shall be reasonably satisfactory in form and substance to the
Administrative Agent and the Required Lenders.

                (e)     The Interim Order shall have been entered by the Bankruptcy Court, within
five (5) days of the Petition Date (but in any event not later than the Closing Date), which Interim
Order shall be in form and substance satisfactory to the Administrative Agent and the Required
Lenders and shall have been entered on the docket for the Chapter 11 Case on such prior notice to
such parties in accordance with Bankruptcy Rule 4001, and the Administrative Agent and the
Lenders (or their respective counsel) shall have received a copy of same, and such order shall be
in full force and effect and shall not have been stayed, vacated, revised, rescinded, amended or
modified in a manner that is adverse to the Administrative Agent and the Lenders without the prior
written consent of the Administrative Agent and the Required Lenders. The Loan Parties shall be
in compliance in all respects with the Interim Order.

                 (f)    All orders entered by the Bankruptcy Court pertaining to cash management
and adequate protection, including the Financing Orders, and all other motions and documents
filed or to be filed with, and submitted to the Bankruptcy Court in connection therewith, shall be
satisfactory in all respects in form and substance to the Administrative Agent and the Required
Lenders.

                (g)    (i) No trustee, examiner or receiver shall have been appointed or designated
with respect to the Loan Parties or their business, properties or assets and no motion shall be
pending seeking any such relief, and (ii) no order shall have been entered permitting a Person to
exercise control over Collateral with an aggregate fair market value in excess of $100,000 with
respect to all such orders; provided that this clause (ii) shall not apply to any order that is being
contested in good faith by the Loan Parties.

              (h)     The Borrower shall have paid all accrued and unpaid costs, fees and
expenses (including applicable Attorney Costs (with respect to the reasonable and documented
fees and expenses of King & Spalding LLP) and the reasonable and documented out-of-pocket
fees and expenses of the Financial Advisor, and any other advisors to the Agent and the Lenders


                                                 46
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 171 of 270



(including pursuant to the Agent Fee Letter)) and any other compensation required to be paid to
the Agent and the Lenders on or prior to the Closing Date shall have been received (to the extent
an invoice for such costs, fees and expenses has been provided to the Borrower at least three (3)
Business Days prior to the Closing Date).

               (i)     The Lenders shall have received at least three (3) Business Days on or prior
to the Closing Date (or such shorter period as the Lenders may reasonably agree) all documentation
and other information required by regulatory authorities under applicable “know your customer”
and anti-money laundering rules and regulations that each Lender reasonably requests, including
without limitation the USA PATRIOT Act, to each Lender who has requested the same at least
five (5) Business Days prior to the Closing Date, in order to allow the Lenders to comply therewith.

                (j)    The Administrative Agent shall have received a certificate signed by a
Responsible Officer of the Borrower in substantially the form of Exhibit E certifying as to clauses
(a) and (b) of Section 4.02.

               (k)     Since the Petition Date, there shall have been no event or circumstance,
either individually or in the aggregate, that has had or would reasonably be expected to have a
Material Adverse Effect, except for (i) the commencement of the Chapter 11 Case, (ii) the
continuation of the circumstances giving rise to the filing thereof or as a result thereof, and (iii)
any defaults under agreements as a result of the commencement of the Chapter 11 Case that have
no effect under the terms of the Bankruptcy Code.

                (l)    The Restructuring Support Agreement shall have been executed by all
parties thereto and shall be in full force and effect.

                (m)     The filing of the Chapter 11 Case with the Bankruptcy Court (the date of
such filing, the “Petition Date”).

               (n)    The Chapter 11 Case of the Debtors shall not have been dismissed or
converted to a case under chapter 7 of the Bankruptcy Code.

              (o)     The entry into the Loan Documents shall not violate any Requirement of
Law and shall not be enjoined, temporarily, preliminarily or permanently.

                (p)    Pursuant to the Interim Order, the Collateral Agent shall have a valid and
perfected lien on and security interest in the Collateral with the priority described herein.

Without limiting the generality of the provisions of Section 9.03, for purposes of determining
compliance with the conditions specified in this Section 4.01, each Lender that has signed this
Agreement shall be deemed to have consented to, approved or accepted or to be satisfied with,
each document or other matter required thereunder to be consented to or approved by or acceptable
or satisfactory to a Lender unless the Administrative Agent shall have received notice from such
Lender prior to the Closing Date specifying its objection thereto.

Section 4.02 Conditions to all Loans. The obligation of each Lender to make Loans on any date,
including on the Closing Date, is subject to satisfaction or waiver of the following conditions



                                                 47
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 172 of 270



precedent, except as otherwise agreed between the Borrower, the Administrative Agent and the
Lenders in accordance with Section 10.01:

                (a)     The representations and warranties of the Borrower and each other Loan
Party contained in Article V or any other Loan Document shall be true and correct in all material
respects on and as of the date of the incurrence of such Loans (before and after giving effect to the
incurrence of such Loans); provided that to the extent that such representations and warranties
specifically refer to an earlier date, they shall be true and correct in all material respects as of such
earlier date; provided further that any representation and warranty that is qualified as to
“materiality”, “Material Adverse Effect” or similar language shall be true and correct (after giving
effect to any qualification therein) in all respects on such respective dates.

               (b)    No Default or Event of Default shall exist, or would result from the
incurrence of such Loans or from the application of the proceeds therefrom.

               (c)    The aggregate outstanding amount of Loans after giving effect to such Loan
shall not exceed the lesser of (i) the Aggregate Commitments and (ii) the maximum amount
authorized by the applicable Financing Order, and each condition to borrowing such Loan in the
applicable Financing Order shall have been satisfied.

                (d)     The applicable Financing Order shall be in full force and effect, and shall
not have been vacated, reversed, rescinded, and an appeal of such order shall not have been timely
filed and a stay of such order pending appeal shall not be presently effective, and without the prior
written consent of the Administrative Agent and the Required Lenders, such order shall not have
been amended or modified. The Loan Parties shall be in compliance with the applicable Financing
Order.

                (e)    With respect to any Final DIP Loan, (i) such borrowing shall be in an
amount of $5 million, (ii) the projected cash reserve in an Approved Budget for the two weeks
following the date of the applicable Final DIP Loan is less than $10,000,000 (excluding any cash
held by Biotie Therapies AG in any deposit account or securities account) and (iii) the proceeds of
the Final DIP Loan shall be used to make the expenditures set forth in the Approved Budget
(subject to the Permitted Variances).

               Each Committed Loan Notice submitted by the Borrower shall be deemed to be a
representation and warranty that the conditions specified in Section 4.02(a) through (e) have been
satisfied on and as of the date of the applicable Loans.

                                             ARTICLE V

                          REPRESENTATIONS AND WARRANTIES

                The Borrower represents and warrants to the Administrative Agent and the Lenders
that:

Section 5.01 Existence, Qualification and Power; Compliance with Laws. Except as set forth on
Schedule 5.01 or, in the case of clause (d), Schedule 5.06, each Loan Party and each of its
Subsidiaries (a) is duly incorporated, organized or formed, and validly existing and in good


                                                   48
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 173 of 270



standing under the Laws of the jurisdiction of its incorporation or organization (to the extent such
concept exists in such jurisdiction), (b) subject to the entry of the applicable Financing Order and
subject to the terms thereof, has all requisite power and authority to (i) own or lease its material
assets and carry on its business and (ii) subject to the entry and effectiveness of the applicable
Financing Order, execute, deliver and perform its obligations under the Loan Documents to which
it is a party, (c) subject to the entry of the applicable Financing Order and subject to the terms
thereof, is duly qualified and in good standing (to the extent such concept exists) under the Laws
of each jurisdiction where its ownership, lease or operation of properties or the conduct of its
business requires such qualification, (d) is in compliance with all Laws (including, without
limitation, Regulation X of the Board of Governors of the Federal Reserve System), orders, writs,
injunctions (except to the extent failure to comply therewith is permitted by Chapter 11 of the
Bankruptcy Code) and orders and (e) subject to the entry of the applicable Financing Order, has
all requisite governmental licenses, authorizations, consents and approvals to operate its business
as currently conducted, except, with respect to the foregoing clauses (c), (d) and (e), to the extent
failure to do so would not, individually or in the aggregate, be reasonably likely to have a Material
Adverse Effect.

Section 5.02 Authorization; No Contravention. Subject to the entry of the applicable Financing
Order, the execution, delivery and performance by each Loan Party of each Loan Document to
which such Person is a party, and the consummation of the any transactions hereunder, (a) are
within such Loan Party’s corporate or other powers, (b) have been duly authorized by all necessary
corporate or other organizational action, and (c) do not and will not (i) contravene the terms of any
of such Person’s Organization Documents, (ii) except as set forth on Schedule 5.02, conflict with
or result in any breach or contravention (except in respect of the Existing Agreements) of, or the
creation of any Lien under (other than as permitted by Section 7.01), or require any payment to be
made under (x) any Material Contracts to which such Person is a party or affecting such Person or
the properties of such Person or any of its Subsidiaries or (y) any material order, injunction, writ
or decree of any Governmental Authority or any arbitral award to which such Person or its property
is subject, or (iii) violate any material applicable Law.

Section 5.03 Governmental Authorization; Other Consents. No approval, consent, exemption,
authorization, or other action by, or notice to, or filing with, any Governmental Authority (except
as required under the Bankruptcy Code and applicable state and federal bankruptcy rules) or any
other Person is necessary or required in connection with (a) the execution, delivery or performance
by, or enforcement against, any Loan Party of this Agreement or any other Loan Document, (b) the
grant by any Loan Party of the Liens granted by it pursuant to the Collateral Documents, (c) the
perfection or maintenance of the Liens created under the Collateral Documents (including the
priority thereof) or (d) the exercise by the Agent (at the direction of the Required Lenders) or any
Lender of its rights under the Loan Documents or the remedies in respect of the Collateral pursuant
to the Collateral Documents, except for (i) the approval of the Bankruptcy Court in or pursuant to
the applicable Financing Order; and (ii) the approvals, consents, exemptions, authorizations,
actions, notices and filings which have been duly obtained, taken, given or made and are in full
force and effect; (iii) those approvals, consents, exemptions, authorizations or other actions,
notices or filings, the failure of which to obtain or make could not, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect.




                                                  49
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 174 of 270



Section 5.04 Binding Effect. Subject to the entry of the applicable Financing Order and subject
to the terms thereof, this Agreement and each other Loan Document has been duly executed and
delivered by each Loan Party that is party thereto. Upon entry of the applicable Financing Order,
this Agreement and each other Loan Document constitutes a legal, valid and binding obligation of
such Loan Party, enforceable against each Loan Party that is party thereto in accordance with its
terms, except as limited by applicable bankruptcy, insolvency, reorganization, moratorium, or
similar laws at the time in effect affecting the rights of creditors generally and to the effect of
general principles of equity whether applied by a court of law or equity.

Section 5.05 No Material Adverse Effect Since the Petition Date, there has been no event or
circumstance, either individually or in the aggregate, that has had or would reasonably be expected
to have a Material Adverse Effect, except for (i) the commencement of the Chapter 11 Case, (ii)
the continuation of the circumstances giving rise to the filing thereof or as a result thereof, or
(iii) any defaults under agreements as a result of the commencement of the Chapter 11 Case that
have no effect under the terms of the Bankruptcy Code.

Section 5.06 Litigation. Except for the Chapter 11 Case and claims, actions, suits, investigations,
litigation or proceedings stayed by 11 U.S.C. § 362 and set forth on Schedule 5.06, there is no
action, suit, investigation, litigation or proceeding affecting any Loan Party or its Subsidiaries,
including any Environmental Action, pending or, to the knowledge of any Loan Party, threatened
in writing before any Governmental Authority or arbitrator that (i) would be reasonably likely to
result in liabilities in excess of the Threshold Amount other than liabilities for which payment is
stayed or excused under the Bankruptcy Code or (ii) purports to affect the legality, validity or
enforceability of any Loan Document in a way that could, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect.

Section 5.07 Ownership of Property; Liens. (a) Each Loan Party and its Subsidiaries is the legal
and beneficial owner of the Collateral pledged by it free and clear of any Lien, except for Permitted
Liens.

                  (b)     Each Loan Party and each of its Subsidiaries has good and marketable title
in fee simple to (or otherwise holds full legal (and, if applicable, beneficial) ownership under
applicable Law), or valid leasehold interests in, or easements or other limited property interests in,
all material real property necessary in the ordinary conduct of its business, free and clear of all
Liens except for defects in title that do not materially interfere with its ability to conduct its
business or to utilize such assets for their intended purposes and Liens permitted by Section 7.01
and except where the failure to have such title or other interest would not reasonably be expected
to have a Material Adverse Effect. Set forth as Schedule 5.07(b) hereto is a complete and accurate
list of all real property owned by any Loan Party or any of its Subsidiaries, showing, as of the date
hereof, the street address, state and any other relevant jurisdiction, record owner and fair market
value. Set forth on Schedule 5.07(b) hereto is a complete and accurate list of all leases of real
property under which any Loan Party or any Subsidiary is the tenant, showing as of the date hereof
the street address, state and any other relevant jurisdiction, parties thereto, sublessee (if any),
expiration date and annual base rental cost thereof.

Section 5.08 Secured, Super-Priority Obligations. Subject to the entry of the applicable
Financing Order, the provisions of the Collateral Documents, taken together with, and subject to


                                                 50
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 175 of 270



the terms of, the applicable Financing Order are effective to create in favor of the Collateral Agent
for the benefit of the Secured Parties and any other secured parties identified therein, a legal, valid
and enforceable Lien or security interest in all right, title and interest of the Loan Parties in the
Collateral and all proceeds thereof with the priority set forth in the applicable Financing Order
(and subject to the Carve-Out). Pursuant to the terms of the applicable Financing Order, no filing
or other action will be necessary to perfect or protect such Liens and security interests.

Section 5.09 Environmental Compliance. Except as set forth on Schedule 5.09 or as would not
individually be reasonably expected to result in a liability in excess of the Threshold Amount to
the Loan Parties and their Subsidiaries (provided that the aggregate of all such events,
circumstances, developments and liabilities could not reasonably be expected to result in a
Material Adverse Effect):

                (a)    The operations and properties of each Loan Party and each of its
       Subsidiaries comply in all material respects with all applicable Environmental Laws and
       Environmental Permits, all past non-compliance with such Environmental Laws and
       Environmental Permits has been resolved without ongoing obligations or costs, and no
       circumstances exist that would be reasonably likely to (A) to the knowledge of the Loan
       Parties, form the basis of an Environmental Action against any Loan Party or any
       Subsidiary or any of their properties or (B) cause any such property to be subject to any
       restrictions on ownership, occupancy, use or transferability under any Environmental Law.

               (b)      None of the properties currently or, to the knowledge of the Loan Parties,
       formerly, owned or operated by any Loan Party or any of its Subsidiaries is listed or, to
       such Loan Party’s or each of its Subsidiaries’ knowledge, proposed for listing on the NPL
       or on the CERCLIS or any analogous foreign, state or local list or is adjacent to any such
       property; there are no, and, to the knowledge of the Loan Parties, never have been, any
       underground or aboveground storage tanks other than in compliance with applicable
       Environmental Laws or any surface impoundments, septic tanks, pits, sumps or lagoons in
       which Hazardous Materials are being or have been treated, stored or disposed on any
       property currently owned or operated by any Loan Party or any of its Subsidiaries or, to
       the best of its knowledge, on any property formerly owned or operated by any Loan Party
       or any of its Subsidiaries other than in compliance with applicable Environmental Laws;
       and other than in compliance with applicable Environmental Laws, there is no asbestos or
       asbestos-containing material on any property currently owned or operated by any Loan
       Party or any of its Subsidiaries; and Hazardous Materials have not been released,
       discharged or disposed of by any Loan Party or any of its Subsidiaries on any property
       currently or formerly owned or operated by any Loan Party or any of its Subsidiaries other
       than in material compliance with applicable Environmental Laws.

               (c)    Neither any Loan Party nor any of its Subsidiaries is undertaking, and has
       not completed, either individually or together with other potentially responsible parties,
       any investigation or assessment or remedial or response action relating to any actual or
       threatened release, discharge or disposal of Hazardous Materials at any site, location or
       operation, either voluntarily or pursuant to the order of any governmental or regulatory
       authority or the requirements of any Environmental Law; and all Hazardous Materials
       generated, used, treated, handled or stored at, or transported by or on behalf of any Loan


                                                  51
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 176 of 270



       Party or any of its Subsidiaries to or from, any property currently or formerly owned or
       operated by any Loan Party or any of its Subsidiaries have, to the knowledge of the Loan
       Parties, been disposed of in a manner not reasonably expected to result in material liability
       to any Loan Party or any of its Subsidiaries.

               (d)    The Borrower and each of its Subsidiaries has obtained all material
       Environmental Permits required for ownership and operation of its property and business
       as presently conducted. Neither the Borrower nor any of its Subsidiaries has received any
       written notification pursuant to any applicable Environmental Law or otherwise has
       knowledge that (A) any work, repairs, construction or capital expenditures are required to
       be made in order to be in or continue to be in compliance with any applicable
       Environmental Laws or any material Environmental Permit or (B) any Environmental
       Permit is about to be reviewed, made subject to new limitations or conditions, revoked,
       withdrawn or terminated.

               (e)   Except as would not reasonably be expected to result in a material liability,
       no Loan Party nor any of its Subsidiaries has contractually assumed any liability or
       obligation under or relating to any applicable Environmental Law.

                (f)     Nothing contained in this Section 5.09 is intended to apply to any action,
       suit, investigation, litigation or proceeding (including any Environmental Action) relating
       to exposure to asbestos, in any form, or any asbestos containing materials.

Section 5.10 Taxes. (a) Each of the Loan Parties and each of their respective Subsidiaries has
timely filed all income and all other material Tax returns and reports required to be filed, and have
timely paid all Taxes (whether or not shown on such tax returns or reports) and all other amounts
of federal, provincial, state, municipal, foreign and other taxes, assessments, fees and other
governmental charges levied or imposed upon them or their properties, income or assets otherwise
due and payable, except those which are set forth on Schedule 5.10(a), are being contested in good
faith by appropriate proceedings and for which adequate reserves have been provided in
accordance with GAAP, or for which payment is stayed or excused pursuant to the Bankruptcy
Code.

               (a)      Except as set forth on Schedule 5.10(b) or as would not, individually or in
the aggregate, be reasonably likely to result in any material liability (including because payment
is stayed or excused pursuant to the Bankruptcy Code), (i) there are no claims being asserted in
writing with respect to any amounts of Taxes, (ii) there are no presently effective waivers or
extensions of statutes in writing with respect to any amounts of Taxes, and (iii) no Tax returns are
being examined by, and no written notification of intention to examine has been received from,
the IRS or any other Taxing authority, in each case, with respect to the Loan Parties or any of their
respective Subsidiaries.

              (c)    Neither the Borrower nor any of its Subsidiaries is party to any Tax sharing
agreement other than with an affiliate included in a consolidated or combined Tax return.




                                                 52
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 177 of 270



Section 5.11 Compliance with ERISA. (a) Each Plan is in compliance with the applicable
provisions of ERISA, the Code and other federal or state Laws, except as is not, either individually
or in the aggregate, reasonably likely to have a Material Adverse Effect.

                (b)     Except as is not, either individually or in the aggregate, reasonably likely to
have a Material Adverse Effect (i) no ERISA Event has occurred or is reasonably expected to
occur; (ii) none of the Loan Parties or any of their Subsidiaries has incurred, or reasonably expects
to incur, any liability (and no event has occurred which, with the giving of notice under
Section 4219 of ERISA, would result in such liability) under Section 4201 et seq. or 4243 of
ERISA with respect to a Multiemployer Plan; and (iii) none of the Loan Parties or any of their
Subsidiaries or any ERISA Affiliate has engaged in a transaction that would be subject to
Section 4069 or 4212(c) of ERISA.

Section 5.12 Labor Matters. There are no strikes pending or, to the knowledge of any Loan
Party, threatened in writing against the Borrower or any of its Subsidiaries that, individually or in
the aggregate, would reasonably be expected to have a Material Adverse Effect. The (i) hours
worked and payments made to employees of the Borrower or any of its Subsidiaries have not been
in violation in any material respect of the Fair Labor Standards Act or any other applicable law
dealing with such matters, except where such violations, individually or in the aggregate, would
not reasonably be expected to have a Material Adverse Effect, and (ii) all material payments due
from the Borrower or any of its Subsidiaries or for which any claim may be made against the
Borrower or any of its Subsidiaries, on account of wages and employee health and welfare
insurance and other benefits have been paid or accrued as a liability on the books of the Borrower
or such Subsidiary to the extent required by GAAP except for liabilities the payment of which is
stayed or excused pursuant to the Bankruptcy Code and except as would not, individually or in the
aggregate, be expected to have a Material Adverse Effect.

Section 5.13 Insurance. The properties of the Loan Parties and their Subsidiaries are insured in
the manner contemplated by Section 6.07.

Section 5.14 Subsidiaries; Equity Interests. As of the date hereof, the Loan Parties do not have
any Subsidiaries other than those specifically disclosed in Schedule 5.14, and all of the outstanding
Equity Interests in each such Person and each such Subsidiary have been validly issued, are fully
paid and non-assessable. As of the date hereof, Schedule 5.14 (a) sets forth the name and
ownership interest of each Person that owns any Equity Interests in the direct and indirect
Subsidiaries of the Borrower, (b) sets forth the name and jurisdiction of organization of the
Borrower and each direct and indirect Subsidiary of the Borrower, (c) sets forth the ownership
interest of each direct and indirect Subsidiary of the Borrower, including the percentage of such
ownership and (d) sets forth a notation as to whether each such Subsidiary is a debtor in the Chapter
11 Case.

Section 5.15 Margin Regulations; Investment Company Act; Anti-Terrorism Laws; Sanctions
and Other Regulations. (a) None of the Loan Parties or any of their Subsidiaries is engaged nor
will engage, principally or as one of its important activities, in the business of purchasing or
carrying margin stock (within the meaning of Regulation U issued by the FRB), or extending credit
for the purpose of purchasing or carrying margin stock, and no proceeds of any Loans will be used
for any purpose that violates Regulation U issued by the FRB.


                                                  53
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 178 of 270



                (b)    None of the Loan Parties or any of their Subsidiaries is required to be
registered as an “investment company” under the Investment Company Act of 1940, as amended.

                (c)     No Loan Party nor any of its Subsidiaries or to its knowledge any of the
respective officers, directors, brokers or agents of such Loan Party or Subsidiary has violated any
applicable Anti-Terrorism Law in any material respect.

               (d)     No Loan Party, nor any of its Subsidiaries, any of their respective directors,
officers or employees, or to the knowledge of the Loan Party, any agent of the Loan Party or any
Subsidiary that act in any capacity in connection with the Loans, is (i) a Sanctioned Person, (ii)
organized, resident or located in a Sanctioned Country, (iii) in violation of Sanctions, or (iv)
engaged in any transactions or dealings with a Sanctioned Person or in a Sanctioned Country; and
each Loan Party has instituted and maintains policies and procedures designed to ensure continued
compliance by each Loan Party, its Subsidiaries, and their respective directors, officers, employees
and agents with Sanctions.

                (e)      No Loan Party or any of its Subsidiaries or to its knowledge any of the
respective officers, directors, brokers or agents of such Loan Party or Subsidiary acting or
benefiting in any capacity in connection with the Loans (i) deals in, or otherwise engages in any
transaction related to, any property or interests in property blocked pursuant to any Anti-Terrorism
Law or (ii) engages in or conspires to engage in any transaction that evades or avoids, or has the
purpose of evading or avoiding, or attempts to violate, any of the prohibitions set forth in any Anti-
Terrorism Law.

               (f)     No Loan Party nor any of its Subsidiaries or any of the respective officers,
directors, brokers or agents of such Loan Party or Subsidiary will directly or indirectly use the
proceeds of the Loans or otherwise make available such proceeds to any individual or entity (i) for
the purpose of funding, financing, or facilitating any activities, business or transaction of or with
a Sanctioned Person, or in any Sanctioned Country, or (ii) in any manner that would result in a
violation of Sanctions by any party to this agreement.

                (g)     None of the Loan Parties or any of its Subsidiaries nor, to the knowledge of
the Borrower, any director, officer, agent, employee or other person acting on behalf of the
Borrower or any of its Subsidiaries has taken any action, directly or indirectly, that would result
in a material violation by such persons of the Foreign Corrupt Practices Act of 1977, as amended,
and the rules and regulations thereunder or any other applicable anti-corruption law (collectively,
“Anti-Corruption Laws”); and the Loan Parties have instituted and maintain policies and
procedures designed to ensure continued compliance therewith in all material respects.

                (h)     None of the Loan Parties or any of its Subsidiaries is a “holding company”
or an “affiliate” of a “holding company” or a “subsidiary company” of a “holding company” as
each term is defined and used in the Public Utility Holding Company Act of 2005.

Section 5.16 Disclosure. No report, financial statement, certificate or other written information
furnished by or on behalf of the Borrower or any of its Subsidiaries to the Agent or any Lender in
connection with the transactions contemplated hereby and the negotiation of this Agreement or
delivered hereunder or any other Loan Document (as modified or supplemented by other



                                                 54
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 179 of 270



information so furnished) when taken as a whole contains when furnished any material
misstatement of fact or omits to state any material fact necessary to make the statements therein,
in the light of the circumstances under which they were made, not materially misleading; provided
to the extent any information is included in an Approved Budget or constitutes projections or other
forward-looking information, the Borrower represents only that such information was prepared in
good faith based upon assumptions believed to be reasonable at the time of preparation; it being
understood that such projections may vary from actual results and that such variances may be
material.

Section 5.17 Intellectual Property. As of the date hereof, set forth on Schedule 5.17 and the
schedules to the Collateral Documents is a complete and accurate list of all Registered patents,
trademarks, service marks, domain names and copyrights, owned by the Borrower or any of its
Subsidiaries and all IP Agreements as of such date, showing as of such date the jurisdiction in
which each such item of registered Intellectual Property is registered or in which an application is
pending and the registration or application number. The Borrower and each Subsidiary owns or
has the right to use, all of the trademarks, service marks, trade names, domain names, copyrights,
patents, know-how, technology and other intellectual property recognized under applicable Law
(collectively, “Intellectual Property”) that are material to the operation of their respective
businesses as currently conducted and, to the knowledge of the Loan Parties, except as set forth in
the “Disputes or Litigation” section of Schedule 5.17, the use of such Intellectual Property by such
Person or the operation of their respective businesses is not infringing upon any Intellectual
Property rights held by any other Person and there are no other disputes or litigation proceedings
involving such Intellectual Property.

Section 5.18 Initial Approved Budget. The Initial Approved Budget was prepared in good faith
by the management of the Loan Parties, based on assumptions believed by the management of the
Loan Parties to be reasonable at the time made and upon information believed by the management
of the Loan Parties to have been accurate based upon the information available to the management
of the Loan Parties at the time such Initial Approved Budget was furnished (it being understood
and agreed that financial projections are not a guarantee of financial performance, actual results
may differ from financial projections and such differences may be material and financial
projections are subject to significant uncertainties and contingencies, many of which are beyond
the control of the Loan Parties).

Section 5.19 EEA Financial Institution. Neither the Borrower nor any other Loan Party is an
EEA Financial Institution.

Section 5.20 Contractual Obligations. Set forth on Schedule 5.20 hereto are all Material
Contracts to which the Loan Parties and their Subsidiaries are party as of the Closing Date. As of
the Closing Date, none of the Loan Parties or their Subsidiaries have knowledge of any events of
default under any such Material Contracts.

Section 5.21 Financing Order.

               (a)    The Loan Parties are in compliance with the terms and conditions of the
applicable Financing Order.




                                                55
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 180 of 270



               (b)    The applicable Financing Order is in full force and effect and has not been
vacated, reversed, rescinded, amended or modified without the prior written consent of the
Administrative Agent and the Required Lenders, in their sole discretion and no appeal of such
order has been timely filed or, if timely filed, no stay pending such appeal is currently effective.


                                          ARTICLE VI

                                AFFIRMATIVE COVENANTS

               So long as any Lender shall have any Commitment outstanding hereunder or any
Loan or other Obligation hereunder which is accrued and payable shall remain unpaid or
unsatisfied, the Borrower shall, and shall (except in the case of the covenants set forth in
Section 6.01, Section 6.02 and Section 6.03) cause each Subsidiary to:

Section 6.01 Financial Statements. Deliver to the Administrative Agent and to each Lender:

               (a)     Quarterly and Annual Financial Statements. (i) As soon as available, but in
       any event, within forty-five (45) days after the end of each of the first three fiscal quarters
       of each Fiscal Year of the Borrower (commencing with the first full fiscal quarter ended
       after the Closing Date), unaudited internally prepared balance sheet of the Borrower and
       its Subsidiaries as at the end of such fiscal quarter, and the related unaudited internally
       prepared consolidated statements of income or operations and cash flows for such fiscal
       quarter, certified by a Responsible Officer of the Borrower as fairly presenting in all
       material respects the financial condition, results of operations and cash flows of the
       Borrower and its Subsidiaries in accordance with GAAP, subject to year-end adjustments,
       and (ii) as soon as available, but no later than one hundred and twenty (120) days after the
       last day of Borrower’s fiscal year, internally prepared consolidated financial statements of
       the Borrower for the fiscal year then ended (to be comprised of a consolidated balance
       sheet and income statement and cash flows covering the Borrower’s and its Subsidiaries’
       operations for such fiscal year), prepared in a manner consistent with GAAP and with prior
       practices, and complete and correct in all material respects, subject to normal year-end
       adjustments that, in the aggregate, are not material to the Borrower’s business operations,
       certified by a Responsible Officer.

               (b)     Management Discussion and Analysis Reports. Simultaneously with the
       delivery of each set of consolidated financial statements referred to in Section 6.01(a), a
       report setting forth management’s analysis and discussion of the condition (financial and
       otherwise) and operations, in respect of the business of the Borrower and its Subsidiaries.

              (c)    Approved Budget. The Borrower shall deliver to the Administrative Agent
       and the Lenders the proposed Supplemental Approved Budget and variance reports in
       accordance with the applicable Financing Order;

             (d)     Monthly Financial Statements. At the request of the Required Lenders, the
       Borrower shall provide to the Lenders a consolidated balance sheet of the Borrower and its




                                                 56
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 181 of 270



       Subsidiaries as of the end of last fiscal month, and the related consolidated statements of
       income or operations for such fiscal month.

               (e)      [Reserved].

               (f)     Other Statements. Contemporaneous with the delivery to the holders under
       the Prepetition Notes Documents (and in any case no later than three (3) days following
       such delivery), copies of all statements, reports, notices made available to Borrower’s
       security holders generally, or to any other holders of Indebtedness for borrowed money or
       notes, including, without limitation, (i) notice of the occurrence of any default, which
       notice shall specify the nature thereof, the period of existence thereof and what action the
       Borrower proposes to take with respect thereto and (ii) notice of the occurrence of any
       matter that has resulted or could reasonably be expected to result in a Material Adverse
       Effect.

               (g)     Notices to Prepetition Noteholders. Copies of all notices to or from, and
       agreements and documents (including any amendments or modifications thereto) entered
       into in connection with the documents in connection with the Prepetition Indenture (or the
       trustee thereof), in each case, within one (1) Business Day of delivery, receipt or execution
       as the case may be.

Section 6.02 Certificates; Reports; Other Information. Promptly deliver to the Administrative
Agent and to each Lender:

              (a)  upon delivery of the financial statements referred to in Section 6.01(a) a
duly completed Compliance Certificate signed by a Responsible Officer of the Borrower;

                (b)     promptly after the same are publicly available, copies of all annual, regular,
periodic and special reports and registration statements which the Borrower files with the SEC or
with any successor Governmental Authority (other than amendments to any registration statement
(to the extent such registration statement, in the form it became effective, is delivered), exhibits to
any registration statement and, if applicable, any registration statement on Form S-8) and in any
case not otherwise required to be delivered to the Administrative Agent pursuant hereto;

                 (c)    promptly upon receipt thereof, notice that any third party has expressed an
interest in writing (either formally or informally) in acquiring all or substantially all of the Loan
Parties’ business (other than the Stalking Horse Bidder (as defined in the First Day Declaration
referred to in the Financing Orders);

                 (d)     prior to the filing thereof in the Bankruptcy Court, drafts of all material
filings related to the transactions contemplated by this Agreement and the other Loan Documents;
it being understood that the foregoing requirement will be deemed satisfied to the extent such
drafts are delivered to counsel for the Administrative Agent and counsel for the Lenders;

               (e)    all filings made with the Bankruptcy Court by any of the Loan Parties in the
Chapter 11 Case (except to the extent filed under seal and disclosure to the Administrative Agent
or Lenders is not permitted); it being understood that the foregoing requirement will be deemed



                                                  57
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 182 of 270



satisfied to the extent such filings required to be delivered are available online and reasonably
accessible to the Administrative Agent and Lenders; and

               (f)     no later than the first Business Day after delivery thereof, all written reports
given by any of the Loan Parties to any official or unofficial creditors’ committee in the Chapter 11
Case, except to the extent disclosure thereof is not permitted.

                (g)    as soon as commercially reasonable, and in any event not less than two (2)
Business Days prior to filing, all material pleadings, motions and other documents (provided that
any of the foregoing relating to the Loan Documents shall be deemed material) to be filed on behalf
of the Debtors with the Bankruptcy Court to the Administrative Agent and the Lenders and their
counsel.

                (h)    Promptly deliver via email, upon receipt of same, to the Administrative
Agent and the Lenders copies of any term sheets, proposals, presentations or other documents,
from any party, related to (i) the restructuring of the Debtors, or (ii) the sale of assets of one or all
of the Debtors.

                Delivery of any reports, information and documents under Section 6.01 and Section
6.02 as well as any such reports, information and documents pursuant to this Agreement, to the
Administrative Agent and the Lenders is for informational purposes only and the Administrative
Agent’s and Lenders’ receipt of such shall not constitute constructive notice of any information
contained therein or determinable from information contained therein, including the Borrower’s
compliance with any of its covenants hereunder (as to which the Administrative Agent and the
Lenders are entitled to rely exclusively on the Compliance Certificates). The Administrative
Agent and the Lenders shall have no responsibility or liability for the filing, timeliness or content
of any report required under Section 6.01 or Section 6.02 or any other reports, information and
documents required under this Agreement (aside from any report that is expressly the
responsibility of the Lenders subject to the terms hereof).

Section 6.03 Notice Requirements; Other Information. Promptly after a Responsible Officer
obtains knowledge thereof, notify the Administrative Agent and each Lender of each of the
following events or circumstances and provide to the Administrative Agent and each Lender the
following information and documents:

                (a)    the occurrence of any Default, which notice shall specify the nature thereof,
        the period of existence thereof and what action the Borrower proposes to take with respect
        thereto;

               (b)     the occurrence of any matter that has resulted or could reasonably be
        expected to result in a Material Adverse Effect;

               (c)    the commencement of, or any material development in, any litigation or
        governmental proceeding (including without limitation pursuant to any applicable
        Environmental Laws) pending against the Borrower or any of the Subsidiaries that could
        reasonably be expected to be determined adversely and, if so determined, to result in a
        Material Adverse Effect;



                                                   58
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 183 of 270



              (d)     the occurrence of any ERISA Event (x) that results in a liability of a Loan
       Party which is above the Threshold Amount or (y) which could otherwise have a Material
       Adverse Effect or the material breach of any representation in Section 5.12;

              (e)    any information with respect to environmental matters as required by
       Section 6.04(b);

               (f)    copies of all notices, requests and other documents (other than any filings
       made with the Bankruptcy Court that are available online and reasonably accessible to the
       Administrative Agent and the Lenders) received by any Loan Party or any of its
       Subsidiaries under or pursuant to any instrument, indenture, loan or credit or similar
       agreement relating to Indebtedness in excess of the Threshold Amount regarding or related
       to any breach or default by any party thereto or any other event that could materially impair
       the value of the interests or the rights of any Loan Party or otherwise have a Material
       Adverse Effect and copies of any amendment, modification or waiver of any provision of
       any such instrument, indenture, loan or credit or similar agreement relating to Indebtedness
       in excess of the Threshold Amount and, from time to time upon request by the
       Administrative Agent (at the direction of the Required Lenders), such information and
       reports regarding such instruments, indentures and loan and credit and similar agreements
       relating to Indebtedness in excess of the Threshold Amount as the Administrative Agent
       may reasonably request (at the direction of the Required Lenders);

                (g)    a tax event or liability not previously disclosed in writing by the Borrower
       to the Administrative Agent which would reasonably be expected to result in a material
       liability, together with any other information as may be reasonably requested by the
       Required Lenders to enable the Required Lenders to evaluate such matters, other than any
       tax event or liability the payment of which is stayed or excused under the Bankruptcy Code;

               (h)      any occurrence of a Change of Control; and

               (i)    any change (i) in any Loan Party’s corporate name, (ii) any Loan Party’s
       identity and corporate structure, (iii) any Loan Party’s taxpayer identification number or
       (iv) any Loan Party’s jurisdiction of incorporation.

Section 6.04 Environmental Matters. (a) Comply and cause each of its Subsidiaries to comply,
in all material respects, with all applicable Environmental Laws and Environmental Permits; obtain
and renew, and cause each of its Subsidiaries to obtain and renew, all material Environmental
Permits required under Environmental Laws for its operations and properties; and conduct, and
cause each of its Subsidiaries to conduct, any investigation, study, sampling and testing, and
undertake any cleanup, removal, remedial or other action required to remove and clean up all
releases or threatened releases of Hazardous Materials from any of its properties, as required under,
and in accordance with the requirements of all Environmental Laws; provided, however, that
neither the Borrower nor any of its Subsidiaries shall be required to undertake any such cleanup,
removal, remedial or other action to the extent that its obligation to do so is being contested in
good faith and by proper proceedings and, to the extent required by GAAP, appropriate reserves
are being maintained with respect to such circumstances.




                                                 59
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 184 of 270



              (b)     Promptly, and in any event within ten (10) Business Days, after a
Responsible Officer obtains knowledge thereof, notify the Administrative Agent of, or deliver to
the Administrative Agent, for further distribution to each Lender, copies of any and all material,
non-privileged written communications and material, non-privileged documents concerning:

                      (i)      any Environmental Action against or of any non-compliance by any
       Loan Party or any of its Subsidiaries with any Environmental Law or Environmental Permit
       that would (1) reasonably be expected to result in a liability to any Loan Party in excess of
       the Threshold Amount or (2) cause any owned real property to be subject to any restrictions
       on ownership, occupancy, use or transferability under any Environmental Law;

                        (ii)    to the extent any of the following is reasonably expected to result in
       a liability to any Loan Party in excess of the Threshold Amount: (1) any occurrence of any
       release or threatened release of Hazardous Materials required to be reported to any
       Governmental Authority under applicable Environmental Law, (2) any remedial actions
       taken by any Loan Party or its Subsidiaries in respect of any such release or threatened
       release that could reasonably be expected to result in an Environmental Action or (3) the
       Loan Parties’ discovery of any occurrence of or condition on any real property adjoining
       or in the vicinity of any site or facility that would be reasonably expected to cause such site
       or facility or any part thereof to be subject to any restrictions on the ownership, occupancy,
       transferability or use thereof under any Environmental Laws;

                       (iii) to the extent reasonably expected to result in a liability to any Loan
       Party in excess of the Threshold Amount, any action proposed to be taken by the Borrower
       or any of its Subsidiaries to modify current operations in a manner that would reasonably
       be expected to subject the Borrower and its Subsidiaries to any material additional
       obligations or requirements under Environmental Laws;

                      (iv)    copies of all material environmental reports or audits (whether
       produced by the Borrower or its Subsidiaries or any third party or Governmental Authority)
       and any Phase I or Phase II reports in respect of any sites or real property owned, leased or
       operated by the Borrower and its Subsidiaries that are in possession or control of any Loan
       Party or any of its Subsidiaries;

                       (v)    to the extent any of the following is reasonably expected to result in
       a liability to any Loan Party in excess of the Threshold Amount: copies of any and all
       material, non-privileged written communications with respect to (A) any Environmental
       Action, (B) any release or threatened release or non-compliance with any Environmental
       Law required to be reported to any Governmental Authority and (C) any request for
       information from a Governmental Authority that suggests such Governmental Authority is
       investigating the potential responsibility of the Borrower or any of its Subsidiaries as a
       potentially responsible party;

                      (vi)  the good faith belief that a release of Hazardous Materials, or a
       violation of Environmental Law reasonably likely to result in a fine or penalty in excess of
       the Threshold Amount, has occurred on or after the Closing Date, and within 60 days after
       such request and at the expense of the Borrower, any additional environmental site


                                                 60
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 185 of 270



       assessment reports for any of its or its Subsidiaries’ properties described in such request
       prepared by an environmental consulting firm acceptable to the Required Lenders,
       indicating the presence or absence of such Hazardous Materials and the estimated cost of
       any compliance, removal or remedial action in connection with any such Hazardous
       Materials on such properties; without limiting the generality of the foregoing, if the
       Required Lenders reasonably determine at any time that a material risk exists that any such
       report will not be provided within the time referred to above, the Administrative Agent
       may retain an environmental consulting firm to prepare such report at the expense of the
       Borrower, and the Borrower hereby grants and agrees to cause any Subsidiary that owns
       any property described in such request to grant at the time of such request to the
       Administrative Agent, the Lenders, such firm and any agents or representatives thereof, the
       right, subject to the rights of tenants, to enter onto their respective properties to undertake
       such an assessment; and

                      (vii) any such other documents and information as the Administrative
       Agent (at the direction of the Required Lenders) may reasonably request from time to time.

Section 6.05 Maintenance of Existence. (a) Preserve, renew and maintain in full force and effect
its legal existence, structure and name under the Laws of the jurisdiction of its organization and
(b) take all commercially reasonable action to maintain all rights, privileges (including its good
standing, where such concept exists), permits, licenses and franchises necessary or desirable in the
normal conduct of its business, except (i) other than with respect to any Loan Party, to the extent
the Borrower’s board of directors (or in the case of clause (b), a Responsible Officer) shall
determine that the preservation thereof is no longer desirable in the conduct of the business of the
Borrower and its Subsidiaries and to the extent that the loss thereof shall not be disadvantageous
to Borrower, its Subsidiaries or the Lenders in any material respect, (ii) pursuant to a transaction
permitted by Section 7.04 or Section 7.05 or (iii) in the case of clause (b), failure to do so could
not reasonably be expected to have a Material Adverse Effect.

Section 6.06 Maintenance of Properties. Maintain, preserve and protect all of its material
properties and equipment that are used or useful in the operation of its business in good working
order, repair and condition, ordinary wear and tear excepted and casualty or condemnation
excepted, and make all commercially reasonable and appropriate repairs, renewals, replacements,
modifications, improvements, upgrades, extensions and additions thereof except where failure to
do so would not reasonably be expected to materially adversely affect the use of the related
property.

Section 6.07 Maintenance of Insurance. Maintain with financially sound and reputable
insurance companies (in the good faith judgment of management of the Borrower), insurance with
respect to its properties and business against loss or damage of the kinds customarily insured
against by Persons engaged in the same or similar business, of such types and in such amounts
(after giving effect to any self-insurance reasonable and customary for similarly situated Persons
engaged in the same or similar businesses as the Borrower and its Subsidiaries) as are customarily
carried by Person engaged in similar businesses and owning or leasing similar properties in the
same general areas in which the Borrower or such Subsidiary operates. Subject to the terms of the
applicable Financing Order, Borrower shall cause all property policies to have a lender’s loss
payable endorsement showing Collateral Agent as lender loss payee for the benefit of the Lenders


                                                 61
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 186 of 270



and use commercially reasonable efforts to cause such endorsement to provide that the insurer
must give Collateral Agent at least thirty (30) days’ notice before canceling, amending, or
declining to renew its policy. All liability policies shall show, or have endorsements showing,
Collateral Agent as an additional insured, and all such policies (or the loss payable and additional
insured endorsements) shall provide that the insurer shall give Collateral Agent at least twenty (30)
days’ notice before canceling, amending, or declining to renew its policy. At any Lender’s request,
each Loan Party shall deliver certified copies of policies and evidence of all premium payments.
Proceeds payable under any casualty policy in connection with a Casualty Event shall be subject
to Section 2.03(b)(ii).

Section 6.08 Compliance with Laws. Except as otherwise excused or prohibited by the
Bankruptcy Code, and subject to any required approval by the Bankruptcy Court, comply in all
material respects with the requirements of all Laws and all orders, writs, injunctions, decrees and
judgments applicable to it or to its business or property, except where such non-compliance is not,
either individually or in the aggregate, reasonably likely to have a Material Adverse Effect.

Section 6.09 Books and Records. Maintain proper books of record and account, in which entries
that are full, true and correct in all material respects and as are sufficient to permit the preparation
of financial statements in conformity with GAAP consistently applied, shall be made of all material
financial transactions and matters involving the assets and business of any of the Loan Parties.

Section 6.10 Inspection Rights; Lender Calls. (a) Permit representatives and independent
contractors of the Agent and each Lender (including, without limitation, financial advisors retained
by or for the benefit of the Agent or the Lenders or their counsel, including the Financial Advisor)
to visit and inspect any properties and books and records of the Borrower and its Subsidiaries
(subject, in the case of third party customer sites, to customary access agreements) and to discuss
its affairs, finances and accounts with its directors, officers, advisors and independent public
accountants, all at the reasonable expense of the Borrower and at such reasonable times during
normal business hours and as often as may be reasonably desired, upon reasonable advance notice
to the Borrower; provided, however, that such visits and inspections shall be coordinated through
the Required Lenders and any review of books and records shall be done no more frequently than
once per month absent the continuation of an Event of Default. The Agent and the Lenders shall
give the Borrower the opportunity to participate in any discussions with the Borrower’s
independent public accountants to the extent reasonably feasible. Neither the Borrower nor any
Subsidiary shall be required to disclose to the Agent or any Lender any information that, in the
opinion of counsel to the Borrower or such Subsidiary, is prohibited by Law to be disclosed, is
subject to attorney client privilege or constitutes attorney work product or the disclosure of which
would cause a material breach of a binding non-disclosure agreement with a third party to the
extent such agreement is not made in contemplation of the avoidance of this Section 6.10.

                (b)     Up to one (1) time in every two-week period, upon the reasonable request
of the Required Lenders, the Borrower’s chief financial officer, together with the Borrower’s
financial advisor shall hold a conference call (at a mutually agreeable time, the cost of such call to
be paid by the Borrower) with the Administrative Agent and the Lenders, on which conference
calls shall be reviewed the Loan Parties’ financial performance, operations, current trends and
variance reports.



                                                  62
 24-22284-dsj       Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 187 of 270



Section 6.11 Additional Guarantors. Notify the Administrative Agent and the Lenders at the
time that any Subsidiary becomes a debtor in the Chapter 11 Case, and (a) promptly thereafter (and
in any event within five business (5) days), seek an order of the Bankruptcy Court authorizing such
Person to become a Guarantor and (b) immediately upon the entry of such order, (i) cause such
Person to become a Guarantor by executing and delivering to the Administrative Agent a
supplement to this Agreement substantially in the form attached to this Agreement, and (ii) deliver
to the Administrative Agent any applicable documents of the types referred to in Section 4.01(a),
all in form, content and scope reasonably satisfactory to the Required Lenders.

Section 6.12 Use of Proceeds. Use the proceeds of any Loan, whether directly or indirectly,
(i) to pay certain costs, fees, and expenses related to the Chapter 11 Case, including the fees, costs,
and expenses of Professional Persons, (ii) to make adequate protection payments and other
payments pursuant to any applicable Financing Order entered by the Bankruptcy Court and any
related orders; provided that the form and substance of such orders shall be acceptable to the
Required Lenders, and (iii) to fund working capital needs and expenditures of the Debtors during
the Chapter 11 Case, in each case in accordance with the Approved Budget and the Loan
Documents; provided further, solely in the manner set forth in the applicable Financing Order, and
the Approved Budget, subject to the Permitted Variances. Notwithstanding the foregoing and
subject to the terms of the Restructuring Support Agreement, no part of the proceeds of any Loan
shall be used directly or indirectly:

              (a)     for any purpose that is prohibited under the Bankruptcy Code or the
       applicable Financing Order;

              (b)      to make any distribution under a plan of reorganization in the Chapter 11
       Case; or

                (c)    to finance in any way payment of the fees and expenses of any Person
       incurred in connection with (i) the investigation (including discovery proceedings),
       initiation or prosecution of any claims, causes of action, adversary proceedings, suits,
       arbitrations, proceedings, applications, motions or other litigation of any type adverse to
       any of the Secured Parties or any of their respective Affiliates, agents or representatives,
       or their respective rights and remedies under or in respect of the Loans provided pursuant
       to this Agreement or the applicable Financing Order; (ii) challenging the amount, validity,
       perfection, priority or enforceability of, or asserting any defense, counterclaim or offset to,
       the obligations and liens and security interests granted under the Loan Documents or the
       Existing Agreements, including, in each case, without limitation, for lender liability or
       pursuant to Section 105, 510, 544, 547, 548, 549, 550 or 552 of the Bankruptcy Code,
       applicable non-bankruptcy law or otherwise; or (iii) attempting to prevent, hinder or
       otherwise delay any of the Lenders’ or the Collateral Agent’s assertion, enforcement or
       realization upon any of the Collateral.

               Notwithstanding the foregoing, the Loan Parties shall be permitted to pay
compensation and reimbursement of fees and expenses of professionals allowed and payable under
Sections 328, 330 and 331 of the Bankruptcy Code, as the same may be due and payable, to the
extent expressly permitted by the applicable Financing Order.



                                                  63
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 188 of 270



                Nothing herein shall in any way prejudice or prevent the Agent or the Lenders from
objecting, for any reason, to any requests, motions or applications made in the Bankruptcy Court,
including any application of final allowances of compensation for services rendered or
reimbursement of expenses incurred under Sections 105(a), 330 or 331 of the Bankruptcy Code,
by any party in interest (and each such order shall preserve the Agent’s and the Lenders’ right to
review and object to any such requests, motions or applications).

Section 6.13 Anti-Corruption and Sanctions Laws. To the extent existing on the Closing Date,
the Borrower will maintain in effect such policies and procedures designed to promote compliance
in all material respects by the Borrower, its Subsidiaries, and their respective directors, officers,
employees, and agents with the FCPA and any other applicable anti-corruption laws as well as
Sanctions.

Section 6.14 Taxes. To the extent permitted by the Bankruptcy Court and the Bankruptcy Code,
pay and discharge, and will cause each of its Subsidiaries to pay and discharge, all Taxes,
assessments and governmental charges or levies arising after the Closing Date imposed upon it or
upon its income or profits, or upon any properties belonging to it, in each case on a timely basis,
which, if unpaid when due and payable, may reasonably be expected to become a Tax Lien upon
any properties of the Borrower or any of its Subsidiaries thereof not otherwise permitted under this
Agreement; provided that neither the Borrower nor any of its Subsidiaries shall be required to pay
any such Tax, assessment, charge, levy or claim (i) which is being contested in good faith and by
proper proceedings if it has maintained adequate reserves with respect thereto in accordance with
GAAP unless and until any Tax Lien resulting therefrom attaches to its property and becomes
enforceable against its other creditors or (ii) non-payment of which is required under the
Bankruptcy Code or order of the Bankruptcy Court.

Section 6.15 End of Fiscal Years; Fiscal Quarters. Cause (i) its fiscal year to end on or about
December 31 of each calendar year and (ii) its fiscal quarters to end on or about March 31, June 30,
September 30 and December 31 of each calendar year, in each case unless otherwise approved by
the Required Lenders.

Section 6.16 ERISA. (a) ERISA Events and ERISA Reports. (i) Promptly and in any event
within ten (10) days after any Loan Party, any Subsidiary or any ERISA Affiliate knows or has
reason to know that any ERISA Event that could reasonably be expected to result in a liability of
a Loan Party in excess of the Threshold Amount has occurred, a statement of a Responsible Officer
of the Borrower describing such ERISA Event and the action, if any, that such Loan Party, such
Subsidiary or such ERISA Affiliate has taken and proposes to take with respect thereto and (ii) on
the date any records, documents or other information must be furnished to the PBGC with respect
to any Plan pursuant to Section 4010 of ERISA, a copy of such records, documents and
information.

               (b)     Plan Terminations. Promptly and in any event within five (5) Business
Days after receipt thereof by any Loan Party or any ERISA Affiliate, copies of each notice from
the PBGC stating its intention to terminate any Plan or to have a trustee appointed to administer
any Plan.




                                                 64
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 189 of 270



                (c)     Plan Annual Reports. Promptly and in any event within thirty (30) days
after the filing thereof with the IRS, copies of each Schedule B (Actuarial Information) to the
annual report (Form 5500 Series) with respect to each Plan.

                (d)   Multiemployer Plan Notices. Promptly and in any event within five (5)
Business Days after receipt thereof by any Loan Party, any Subsidiary or any ERISA Affiliate
from the sponsor of a Multiemployer Plan, copies of each notice concerning (i) the imposition of
Withdrawal Liability by any such Multiemployer Plan, (ii) the reorganization or termination, or a
determination that such Multiemployer Plan is in endangered or critical status, within the meaning
of Title IV of ERISA, of any such Multiemployer Plan or (iii) the amount of liability incurred, or
that may be incurred, by such Loan Party, such Subsidiary or such ERISA Affiliate in connection
with any event described in clause (i) or (ii).

Section 6.17 Further Assurances. Execute and deliver, or cause to be executed and delivered, to
the Agent such reasonable documents and agreements, and shall take or cause to be taken such
reasonable actions, as the Agent may, from time to time, reasonably request (at the direction of the
Required Lenders) to carry out the terms and conditions of this Agreement and the other Loan
Documents.

Section 6.18 Business. Except to the extent required or authorized by the Bankruptcy Court, the
Borrower will only, and will only permit the Subsidiaries to, engage directly or indirectly in the
business engaged in by the Borrower and the Subsidiaries as of the Closing Date and reasonable
extensions thereof and businesses ancillary, corollary, synergistic or complimentary thereto.

Section 6.19 Post-Closing Matters. To the extent not prohibited by any Requirement of Law and
not otherwise resulting in material adverse tax consequences to the Borrower and its Subsidiaries,
at the request of the Required Lenders (or automatically to the extent requested under the
Prepetition Indenture), the Borrower shall cause its Foreign Subsidiaries designated by the
Required Lenders to execute such guarantees, pledge agreements and security documents as shall
be customary in such local jurisdictions to grant to Collateral Agent, for the benefit of the Secured
Parties, a guaranty of the Obligations secured by the equity interests and substantially all assets of
such Subsidiaries within sixty (60) days of such request (or such longer period as the Required
Lenders may agree in their sole discretion). In addition, the Borrower shall deliver the following
within forty-five (45) days of the Closing Date (or such longer period as the Required Lenders
may agree in their sole discretion): (i) control agreements with respect to the Borrower’s deposit
accounts listed on the schedules to the Collateral Documents (other than any Excluded Account)
and (ii) insurance endorsements in accordance with Section 6.07, in each case in form and
substance reasonably acceptable to the Collateral Agent (subject to indemnity provisions in such
control agreements being subject to the Collateral Agent’s approval in its sole discretion) and the
Required Lenders.

Section 6.20 Compliance with Financing Order. Comply with the applicable Financing Order
to the extent the Loan Parties’ compliance therewith is required at such time.

Section 6.21 Milestones. Each of the Debtors covenants and agrees with Administrative Agent
and each Lender that, so long as this Agreement shall remain in effect and until the Commitments
have been terminated and the principal of and interest on each Loan, all fees and all other expenses


                                                 65
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 190 of 270



or amounts payable under any Loan Document have been paid in full in cash, each of the Debtors
shall and shall cause each of the Subsidiaries to ensure that each of the Milestones set forth in the
applicable Financing Order is achieved in accordance with the applicable timing referred to therein
(or such later dates as may be approved in writing by the Required Lenders in their sole discretion).

Section 6.22 Bankruptcy Covenants. Notwithstanding anything in the Loan Documents to the
contrary, the Debtors shall comply with all material covenants, terms and conditions and otherwise
perform all obligations set forth in the applicable Financing Orders in all material respects.

Section 6.23 Cash Management. Subject to approval by the Bankruptcy Court, after
commencement of the Chapter 11 Case, the Debtors shall use a cash management system that is
the same as or substantially similar to its cash management system in effect prior to such date. Any
material changes from such prepetition cash management system must be acceptable to the Agent
(at the direction of the Required Lenders).

Section 6.24 No Flowback to Switzerland. None of the proceeds borrowed under the Loans may
be used in Switzerland in a manner which would constitute a use of proceeds in Switzerland as
interpreted by the Swiss Federal Tax Administration for purposes of Swiss Withholding Tax
unless: (i) a tax ruling countersigned by the Swiss Federal Tax Administration is obtained
confirming that any such use of proceeds in Switzerland does not result in Swiss Withholding Tax
consequences, or (ii) any such use of proceeds in Switzerland does not result in any Swiss
Withholding Tax consequences under then applicable Swiss tax laws.


                                          ARTICLE VII

                                   NEGATIVE COVENANTS

                So long as any Lender shall have any Commitment outstanding hereunder or any
Loan or other Obligation hereunder which is accrued and payable shall remain unpaid or
unsatisfied, the Borrower shall not, and shall not permit any of its Subsidiaries to, directly or
indirectly:

Section 7.01 Liens. Subject to the applicable Financing Order, create, incur, assume or suffer to
exist any Lien upon any of its property, assets or revenues (including accounts receivable), whether
now owned or hereafter acquired, other than the following Liens (collectively, “Permitted Liens”):

               (a)    Liens pursuant to any Loan Document which shall have the priority set forth
       in the applicable Financing Order;

               (b)      Liens existing on the Petition Date and listed on Schedule 7.01(b);

               (c)    Liens for Taxes, assessments, governmental charges which are not overdue
       for a period of more than thirty (30) days or which are being contested in good faith and
       by appropriate proceedings, if adequate reserves with respect thereto are maintained on the
       books of the applicable Person to the extent required in accordance with GAAP;




                                                 66
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                      Pg 191 of 270



               (d)   statutory or common law Liens of landlords, carriers, warehousemen,
     mechanics, materialmen, repairmen, suppliers, construction contractors, employees,
     pension plan administrators or other like Liens arising in the ordinary course of business
     which secure amounts not overdue for a period of more than thirty (30) days or if more
     than thirty (30) days overdue, are unfiled (or if filed have been discharged or stayed) and
     no other action has been taken to enforce such Lien or which are being contested in good
     faith, if adequate reserves with respect thereto are maintained on the books of the applicable
     Person to the extent required in accordance with GAAP;

              (e)    Liens (i) arising out of pledges or deposits made in the ordinary course of
     business in connection with workers’ compensation, unemployment insurance and other
     types of social security or other insurance (including unemployment insurance) and (ii)
     pledges and deposits in the ordinary course of business securing liability for reimbursement
     or indemnification obligations of (including obligations in respect of letters of credit or
     bank guarantees for the benefit of) insurance carriers providing property, casualty or
     liability insurance to the Borrower or any Subsidiary and (iii) Liens securing the financing
     of insurance premiums (to the extent such Liens extend to the unearned premiums for such
     insurance) in the ordinary course of business;

            (f)    Liens consisting of deposits made in connection with Indebtedness of the
     types permitted under Sections 7.03(e) or 7.03(g) (in each case, other than for borrowed
     money) entered into in the ordinary course of business or to secure the obligations
     otherwise permitted;

            (g)     easements,     rights-of-way,    covenants,    conditions,     restrictions,
     encroachments, and other survey defects protrusions and other similar encumbrances and
     minor title defects affecting real property which were not incurred in connection with
     Indebtedness and do not in any case materially and adversely interfere with the use of the
     property encumbered thereby for its intended purposes;

              (h)    Liens arising by virtue of any contractual, statutory or common law
     provision relating to banker’s Liens, rights of set-off or similar rights and remedies
     (i) relating to the establishment of depository relations with banks or other financial
     institutions not given in connection with the incurrence of Indebtedness, (ii) relating to
     pooled deposit or sweep accounts of the Borrower or any Subsidiary Guarantor (so long as
     such Subsidiary remains a Subsidiary Guarantor) to permit satisfaction of overdraft or
     similar obligations incurred in the ordinary course of business of the Borrower or such
     Subsidiary Guarantor or (iii) relating to purchase orders and other agreements entered into
     with customers of the Borrower or any of its Subsidiaries in the ordinary course of business;

            (i)     Liens arising from precautionary Uniform Commercial Code financing
     statement filings regarding leases entered into by the Borrower and its Subsidiaries in the
     ordinary course of business;

           (j)    any zoning, land-use or similar law or right reserved to or vested in any
     Governmental Authority to control or regulate the use of any real property;




                                              67
 24-22284-dsj       Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 192 of 270



              (k)    the modification, replacement, renewal or extension of any Lien permitted
      by clause (b) of this Section 7.01; provided that (i) the Lien does not extend to any
      additional property or additional Indebtedness (except with respect to paid-in-kind
      obligations pursuant to the terms of such Indebtedness as in effect on the Closing Date)
      other than (A) after-acquired property that is affixed or incorporated into the property
      covered by such Lien or financed by Indebtedness permitted under Section 7.03, and
      (B) proceeds and products thereof; and (ii) the renewal, extension or refinancing of the
      obligations secured or benefited by such Liens is permitted by Section 7.03;

              (l)      nonconsensual statutory Liens arising after the Petition Date;

              (m)    judgment Liens in existence for less than thirty (30) days after the entry
      thereof, or with respect to which execution has been stayed or the payment of which is
      covered in full by insurance maintained with responsible insurance companies, or which
      judgment Liens do not otherwise result in an Event of Default under Section 8.01(h);

              (n)     any interest or title of a lessor, licensor or sublessor under any lease, license
      or sublease entered into by the Borrower or any of its Subsidiaries in the ordinary course
      of its business and covering only the assets so leased, or subleased;

              (o)      to the extent constituting a Lien and permitted under Section 7.05, any non-
      exclusive licenses of Intellectual Property granted to third parties and set forth on Schedule
      5.17 and other non-exclusive licenses after the Closing Date, in each case to the extent not
      resulting in a legal transfer of title of the licensed Intellectual Property and in the ordinary
      course of business;

              (p)    to the extent constituting Liens and permitted under Section 7.05, any
      leases, subleases, licenses, or sublicenses (other than licenses of Intellectual Property)
      granted to third parties that do not materially interfere with the Loan Parties’ ordinary
      course of business;

             (q)      Liens securing Indebtedness permitted under Section 7.03(g) which shall
      have the priority set forth in the applicable Financing Order;

              (r)      other Liens granted pursuant to the Financing Orders.

Section 7.02 Investments. Make any Investments, except:

             (a)   Investments by the Borrower or its Subsidiaries in cash and Cash
      Equivalents;

             (b)    Investments existing as of the Closing Date and disclosed on
      Schedule 7.02(b) and Investments consisting of any modification, replacement, renewal,
      reinvestment or extension of any such Investment; provided that the amount of any
      Investment permitted pursuant to this Section 7.02(b) is not increased from the amount of
      such Investment on the Closing Date;

              (c)      Investments received in connection with the bankruptcy or reorganization


                                                 68
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                        Pg 193 of 270



       of, or settlement of delinquent accounts and disputes with, customers and suppliers, in each
       case in the ordinary course of business;

               (d)     Investments in the form of trade credit to customers of the Loan Parties
       arising in the ordinary course of business and consistent with past practices;

              (e)    Contributions, loans, or advances to, or investments in, a Loan Party made
       by another Loan Party;

               (f)    Promissory notes and other noncash consideration received by any Loan
       Party in connection with any asset sale permitted hereunder, with the bankruptcy or
       reorganization of suppliers and customers, or with the settlement of delinquent obligations
       of, and disputes with, customers and suppliers arising in the ordinary course of business;

              (g)     Investments consisting of inter-company loans and inter-company
       receivables owed to a Loan Party by an Affiliate of such Loan Party (that is itself not a
       Loan Party), solely to the extent set forth in the Approved Budget.

Section 7.03 Indebtedness. Create, incur, assume or suffer to exist any Indebtedness, except the
following, without duplication:

            (a)       Indebtedness of the Borrower and other Loan Parties under the Loan
       Documents;

             (b)     Indebtedness     outstanding    on   the   Closing    Date    and   listed   on
       Schedule 7.03(b);

               (c)    Indebtedness in respect of performance of bids, trade contracts,
       governmental contracts and leases (other than Indebtedness for borrowed money), statutory
       obligations, surety, stay, indemnity, customs and appeal bonds, performance bonds and
       other obligations of a like nature (including those to secure health, safety and
       environmental obligations), and, in each case, letters of credit in respect thereof, incurred
       in the ordinary course of business;

              (d)     non-recourse Indebtedness incurred by the Borrower or any of its
       Subsidiaries to finance the payment of insurance premiums of such Person;

              (e)     Indebtedness owed to any Person providing worker’s compensation,
       unemployment insurance and other social security legislation, health, disability or other
       employee benefits or property, casualty or liability insurance to the Borrower or any of its
       Subsidiaries incurred in connection with such Person providing such benefits or insurance
       pursuant to customary reimbursement or indemnification obligations to such Person;

              (f)     to the extent constituting Indebtedness, each of the Investments permitted
       pursuant to Section 7.02;

              (g)    Indebtedness of the Borrower and the Loan Parties under the Prepetition
       Indenture in an aggregate principal amount not to exceed the outstanding aggregate


                                                69
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 194 of 270



       principal amount thereof as of the Closing Date plus any paid-in-kind interest in accordance
       with the terms thereof to the extent permitted in an Approved Bankruptcy Court Order;
       provided, that no Subsidiaries of the Borrower shall guaranty such Indebtedness unless
       such Subsidiaries also guaranty the Obligations; and

Section 7.04 Fundamental Changes. Merge, dissolve, liquidate, consolidate with or into another
Person, split or allow any change to the ownership of the Borrower or any of its Subsidiaries, or
Dispose of (whether in one transaction or in a series of transactions) all or substantially all of its
assets (whether now owned or hereafter acquired) to or in favor of any Person, except any
liquidation or share capital reduction by the Swiss Loan Party.

Section 7.05 Dispositions. Make any Disposition or enter into any agreement to make any
Disposition, except:

               (a)     Dispositions of obsolete, worn out or surplus property, whether now owned
       or hereafter acquired, in the ordinary course of business and Dispositions of property no
       longer used or useful in the conduct of the business of the Borrower and its Subsidiaries,
       in each case to the extent constituting immaterial property;

               (b)      Dispositions in the ordinary course of business of Cash Equivalents;

               (c)      sales of inventory in the ordinary course of business;

               (d)    the leasing, as lessor, of real or personal property not presently used or
       useful in such Person’s business and is otherwise in the ordinary course of business;

               (e)     Dispositions of equipment or other assets, to the extent that such equipment
       is exchanged for credit against the purchase price of similar replacement equipment or
       assets or the proceeds of such Dispositions are reasonably promptly applied to the purchase
       price of similar replacement equipment, all in the ordinary course of business;

             (f)      Dispositions constituting an Intellectual Property that is not material to the
       conduct of the business of the Borrower and its Subsidiaries;

              (g)     Dispositions otherwise permitted by Sections 7.01, 7.02 or 7.03 and
       Dispositions from any Subsidiary that is not a Loan Party to any other Subsidiary that is
       not a Loan Party; and

              (h)   any other Disposition approved by the Bankruptcy Court and approved by
       Required Lenders.

Section 7.06 Restricted Payments. Declare or make, directly or indirectly, any Restricted
Payment, except:

               (a)     to the extent constituting a Restricted Payment, the payment of fees of non-
       insider directors to the extent permitted in an Approved Bankruptcy Court Order and the
       reimbursement of reasonable expenses;



                                                 70
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 195 of 270



               (b)     the Subsidiaries of the Borrower may make direct or indirect Restricted
       Payments to the Borrower and other Subsidiaries of the Borrower that are Loan Parties,
       either by direct payment or for the Swiss Loan Party as a consequence of a liquidation or
       restructuring of its share capital, including by share capital reduction; and

              (c)     the Borrower and each Subsidiary may declare and make dividend
       payments or other distributions payable solely in the common stock or other common
       Equity Interests of such Person (other than Disqualified Equity Interests).

Section 7.07 Change in Nature of Business. Except as required by the Bankruptcy Code or as
set forth in any order of the Bankruptcy Court, engage in any line of business other than those lines
of business conducted by the Borrower and its Subsidiaries on the date hereof or any business
reasonably related or ancillary thereto.

Section 7.08 Transactions with Affiliates. Enter into any transaction of any kind with any
Affiliate of the Borrower or its Subsidiaries, whether or not in the ordinary course of business,
other than:

              (a)   transactions to the extent permitted pursuant to an Approved Bankruptcy
       Court Order;

               (b)      transactions contemplated by the Restructuring Support Agreement;

              (c)     any transactions expressly permitted under Section 7.02, Section 7.04 and
       Section 7.06; provided that all parties to such transactions are Loan Parties or their Wholly-
       owned Subsidiaries;

              (d)      so long as it has been approved by the Borrower’s or its applicable
       Subsidiary’s board of directors or other governing body to the extent required in
       accordance with applicable law, (i) customary indemnifications of non-officer directors of
       the Loan Parties and their respective Subsidiaries and (ii) the payment of reasonable and
       customary compensation and indemnification arrangements and benefit plans for officers
       and employees of the Loan Parties and their respective Subsidiaries in the ordinary course
       of business, in each case to the extent permitted in an Approved Bankruptcy Court Order
       and approved by all independent directors of the Borrower’s board of directors; and

              (e)    transactions under the agreements existing on the Closing Date and listed
       on Schedule 7.08.

Section 7.09 Prepayments and Modifications of Certain Agreements. (a) Amend or modify any
of the terms of any Indebtedness in an outstanding amount exceeding the Threshold Amount of
any of the Loan Parties or their Subsidiaries arising prior to or after the Petition Date if such
amendment or modification would add or change any terms in a manner adverse to the Loan Parties
or the Lenders, or shorten the final maturity or average life to maturity of any such Indebtedness
or require any payment to be made sooner than originally scheduled or increase the interest rate
applicable thereto.




                                                 71
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 196 of 270



               (b)     Make any payment of any Indebtedness or any claim arising prior to the
Petition Date except as permitted pursuant to the Financing Orders or other order of the Bankruptcy
Court and otherwise not prohibited by the terms of this Agreement, or make any voluntary,
optional or other non-scheduled payment, prepayment, redemption, acquisition for value, refund,
refinance or exchange of any Indebtedness of such Loan Party arising after the Petition Date
(including, without limitation, any interest, premium or other amounts owing in respect thereof),
in each case whether or not mandatory, except (i) with respect to Indebtedness under the Loan
Documents and (ii) for payments made pursuant to the applicable Financing Order.

               (c)      Amend or modify, or permit the amendment, modification or waiver of, any
provision of any Material Contract to which any Loan Party or any Subsidiary thereof is a party or
by which it or any of its property or assets is bound, in each case after the original execution and
delivery thereof (or, if later, the date hereof) in any substantive manner that would be adverse to
the Lenders’ interests hereunder, without the written consent of the Required Lenders.

Section 7.10 Negative Pledge. Enter into or suffer to exist, or permit any of its Subsidiaries to
enter into or suffer to exist, (x) any agreement prohibiting or conditioning the creation or
assumption of any Lien upon any of its property or assets except (a) agreements in favor of the
Agent or (b) prohibitions or conditions by reason of customary provisions restricting pledges,
assignments, subletting or other transfers contained in leases, licenses and similar agreements
entered into in the ordinary course of business (provided that such restrictions are limited to the
property or assets subject to such leases, licenses or similar agreements, as the case may be) or
(iii) any Indebtedness outstanding on the Closing Date (including, for the avoidance of doubt, the
Indebtedness under the Existing Agreements) or (y) any agreement or arrangement limiting the
ability of any of its Subsidiaries to declare or pay dividends or other distributions in respect of its
Equity Interests or repay or prepay any Indebtedness owed to, make loans or advances to, or
otherwise transfer assets to or make Investments in, the Borrower or any of its Subsidiaries of the
Borrower (whether through a covenant restricting dividends, loans, asset transfers or investments,
a financial covenant or otherwise), except (a) the Loan Documents and (b) any Indebtedness
outstanding on the Closing Date (including, for the avoidance of doubt, the Indebtedness under the
Existing Agreements).

Section 7.11 Amendments to Organization Documents. Amend, or permit any of its Subsidiaries
to amend, its certificate of incorporation or bylaws or other Organization Documents, without the
written consent of the Required Lenders, except any liquidation or share capital reduction by the
Swiss Loan Party.

Section 7.12 Use of Proceeds. (a) Use, directly or indirectly, the proceeds of the Loans, or lend,
contribute or otherwise make available such proceeds to any subsidiary, joint venture partner or
other Person, to fund, finance, or facilitate any activities, business, or transaction of or with any
Sanctioned Person, or in any Sanctioned Country, in a manner that would result in a violation of
Sanctions by any Person (including any Person participating in the Loans, whether as underwriter,
advisor, investor, or otherwise).

               (b)    Use any part of the proceeds of the Loans directly or indirectly, in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Law.


                                                  72
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 197 of 270



Section 7.13 Accounting Changes. Make any change in (a) accounting policies or reporting
practices, except as required by GAAP or (b) Fiscal Year.

Section 7.14 OFAC. (a) Become a Sanctioned Person, (b) become organized, resident or
located in a Sanctioned Country, or (c) engage in any transactions or dealings with a Sanctioned
Person or in a Sanctioned Country in violation of Sanctions.

Section 7.15 Ownership of Subsidiaries. Notwithstanding any other provisions of this
Agreement to the contrary, organize, create, acquire or permit to exist after the Petition Date any
Subsidiaries of the Borrower other than those existing on the Petition Date and set forth on
Schedule 5.14.

Section 7.16 Compliance with Financing Orders and Approved Budget Except as otherwise
provided herein or approved by the Required Lenders, the Loan Parties shall not use any cash or
the proceeds of any Loans or Collateral in a manner or for a purpose other than in accordance with
the applicable Financing Order and the Approved Budget, subject to the Permitted Variances.
Notwithstanding anything in this Agreement or the other Loan Documents to the contrary, in no
event shall the Loan Parties make any expenditures, payments, repayments or prepayments,
dividends, distributions, reimbursements or similar transaction to equity owners of the Borrower
or any Subsidiary thereof (excluding Borrower and any Subsidiary thereof) during the term of this
Agreement unless expressly permitted pursuant to an Approved Bankruptcy Court Order and set
forth in the Approved Budget.

Section 7.17 Compliance With Certain Laws.

                (a)    (i) Violate any Anti-Terrorism Laws, (ii) engage in any transaction,
investment, undertaking or activity that conceals the identity, source or destination of the proceeds
from any category of prohibited offenses designated by the Organization for Economic Co-
operation and Development’s Financial Action Task Force on Money Laundering or (iii) permit
any of their respective Affiliates to violate these laws or engage in these actions.

                 (b)    (i) Deal in, or otherwise engage in any transaction related to, any property
or interests in property blocked pursuant to any Anti-Terrorism Law, (ii) engage in or conspire to
engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, or
attempt to violate, any of the prohibitions set forth in any Anti-Terrorism Law.

              (c)   Become an “investment company” or a company controlled by an
“investment company” under the Investment Company Act of 1940, as amended.

Section 7.18 Chapter 11 Claims. Incur, create, assume, suffer to exist or permit any
administrative expense, unsecured claim or other super-priority claim or lien which is pari passu
with or senior to the claims or liens, as the case may be, of the Collateral Agent or the Secured
Parties against the Loan Parties hereunder, or apply to the Bankruptcy Court for authority to do




                                                 73
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 198 of 270



so, except for the Carve-Out and as expressly permitted by the Financing Orders, an Approved
Bankruptcy Court Order or the Required Lenders.

Section 7.19 Revision of Orders; Applications to Bankruptcy Court.

              (a)     Seek, consent to or suffer to exist any modification, stay, vacation or
amendment of the applicable Financing Order that is adverse to the interests of the Lenders, except
for any modifications and amendments agreed to in writing by the Administrative Agent and the
Required Lenders.

               (b)    Apply to the Bankruptcy Court for authority to take any action prohibited
by this Article VII (except to the extent such application and the taking of such action is
conditioned upon receiving the written consent of the Agent and the Required Lenders or all
Lenders, as applicable).

Section 7.20 Adequate Protection. Except as permitted in the Financing Orders, incur, create,
assume, suffer to exist or permit any obligation to make adequate protection payments, or
otherwise provide adequate protection.

                                        ARTICLE VIII

                          EVENTS OF DEFAULT AND REMEDIES

Section 8.01 Events of Default. Any of the following events referred to in this Section 8.01 shall
constitute an “Event of Default”:

               (a)    Non-Payment. Any Loan Party fails to pay (i) when and as required to be
       paid herein, any amount of principal of any Loan or (ii) within three (3) Business Days
       after the same becomes due in cash, any interest on any Loan or any other amount payable
       hereunder or with respect to any other Loan Document; or

              (b)     Specific Covenants. The Borrower fails to perform or observe any term,
       covenant or agreement contained in any of Section 6.01(d), Section 6.01(f),
       Section 6.03(a), Section 6.05, Section 6.07, Section 6.10(b), Section 6.12, Section 6.19,
       Section 6.20, Section 6.22, Section 6.23 or Article VII; or

               (c)     Other Defaults. Any Loan Party fails to perform or observe any other
       covenant or agreement (not specified in Section 8.01(a) or (b) above) contained in any
       Loan Document on its part to be performed or observed and such failure continues for
       fifteen (15) days; or

               (d)     Representations and Warranties.         Any representation, warranty,
       certification or statement of fact made or deemed made by or on behalf of any Loan Party
       herein, in any other Loan Document, or in any document required to be delivered in
       connection herewith or therewith shall be incorrect or misleading in any material respect
       when made or deemed made; or




                                                74
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                      Pg 199 of 270



             (e)     Cross-Default. Except to the extent resulting or arising from the Chapter
     11 Case, any Loan Party or any Subsidiary (A) fails to make any payment beyond the
     applicable grace period with respect thereto, if any (whether by scheduled maturity,
     required prepayment, acceleration, demand, or otherwise) in respect of any post-Petition
     Date Indebtedness (other than Indebtedness hereunder) having an aggregate principal
     amount of not less than the Threshold Amount, unless such failure to pay is a result of the
     Chapter 11 Case, or (B) fails to observe or perform any other agreement or condition
     relating to any such Indebtedness, or any other event occurs, the effect of which default or
     other event is to cause, or to permit the holder or holders of such Indebtedness (or a trustee
     or agent on behalf of such holder or holders or beneficiary or beneficiaries) to cause, with
     the giving of notice if required, such Indebtedness to become due or to be repurchased,
     prepaid, defeased or redeemed (automatically or otherwise), or an offer to repurchase,
     prepay, defease or redeem such Indebtedness to be made, prior to its stated maturity, in
     each case, unless such failure to observe or perform is a result of the Chapter 11 Case; or

            (f)    Material Adverse Effect; There occurs an event that has resulted in a
     Material Adverse Effect; or

             (g)     Judgments. After the Petition Date, there is entered against any Loan Party
     or any Subsidiary a final judgment or order for the payment of money in an aggregate
     amount exceeding the Threshold Amount (to the extent not covered by independent
     third-party insurance as to which the insurer has been notified of such judgment or order
     and does not deny or fail to confirm coverage) and such judgment or order shall not have
     been satisfied, vacated, discharged or stayed or bonded pending an appeal for a period of
     sixty (60) consecutive days; or

              (h)    ERISA. (i) An ERISA Event occurs with respect to a Pension Plan or
     Multiemployer Plan which has resulted or would reasonably be expected to result in
     liability of any Loan Party under Title IV of ERISA in an aggregate amount which would
     reasonably be expected to exceed the Threshold Amount, (ii) any Loan Party, any
     Subsidiary or any ERISA Affiliate fails to pay when due, after the expiration of any
     applicable grace period, any installment payment with respect to its Withdrawal Liability
     under Section 4201 of ERISA under a Multiemployer Plan in an aggregate amount which
     would reasonably be expected to exceed the Threshold Amount, or (iii) any Loan Party,
     any Subsidiary or any ERISA Affiliate shall have been notified by the sponsor of a
     Multiemployer Plan that such Multiemployer Plan is in reorganization or is being
     terminated, within the meaning of Title IV of ERISA, and as a result of such reorganization
     or termination the aggregate annual contributions of the Loan Parties, the Subsidiaries and
     the ERISA Affiliates to all Multiemployer Plans that are then in reorganization or being
     terminated have been or will be increased over the amounts contributed to such
     Multiemployer Plans for the plan years of such Multiemployer Plans immediately
     preceding the plan year in which such reorganization or termination occurs by an aggregate
     amount which would reasonably be expected to exceed the Threshold Amount; or

            (i)     Invalidity of Loan Documents. Any material provision of any Loan
     Document, at any time after its execution and delivery or entry (with respect to the
     applicable Financing Order) and for any reason other than as expressly permitted hereunder


                                              75
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                      Pg 200 of 270



     or thereunder or the satisfaction in full of all the Obligations, ceases to be in full force and
     effect; or any Loan Party contests in any manner the validity or enforceability of any
     provision of any Loan Document; or any Loan Party denies that it has any or further
     liability or obligation under any Loan Document (other than as a result of the Termination
     of the DIP Financing), purports to revoke or rescind any Loan Document or asserts
     (including by commencing or joining in any legal proceeding) that any Collateral
     Document is invalid or unenforceable or contests in any manner that any Loan Document
     constitutes a valid and enforceable agreement against it; or

             (j)    Change of Control; Structure. There occurs any (i) Change of Control or
     (ii) any change to the ownership of direct and indirect Subsidiaries of the Borrower from
     the ownership structure set forth on Schedule 5.14; or

            (k)     Liens. Any Collateral Document shall for any reason cease to create a valid
     and perfected Lien (having the priorities specified in the applicable Financing Order) on
     and security interest in the Collateral; or

             (l)     Dissolution or Liquidation. Any Loan Party voluntarily or involuntarily
     dissolves or is dissolved, liquidates or is liquidated or files a motion with the Bankruptcy
     Court seeking authorization to dissolve or liquidate, except a liquidation and/or a share
     capital reduction of the Swiss Loan Party; or

             (m)    Failure to Conduct Business. If any Loan Party is enjoined, restrained or in
     any way prevented by court order (other than an Approved Bankruptcy Court Order) from
     continuing to conduct all or any material part of its business affairs or any Loan Party or
     any of their respective Subsidiaries’ cessation of all or any material part of its business
     operations (other than in connection with a sale of assets permitted by the Loan Documents
     or otherwise consented to by the Required Lenders); or

           (n)     Independent Directors. With respect to the board of directors of the
     Borrower, the independent directors no longer constitute 50% of such board of directors;
     or

              (o)     Financial Advisor. The Borrower no longer retains Ducera Partners LLC
     as its financial advisor unless replaced with a financial advisor acceptable to the Required
     Lenders; or

             (p)     Financing Order. The Bankruptcy Court fails to (i) enter the Interim Order
     within five (5) days of the Petition Date (with such changes as the Administrative Agent
     and the Required Lenders may agree to), or (ii) enter the Interim Order within twenty-nine
     (29) days of the Petition Date (with such changes as the Administrative Agent and the
     Required Lenders may agree to) or the Bankruptcy Court enters an order (other than one
     subject to a stay) that reverses, vacates or stays for a period in excess of ten (10) days the
     effectiveness of the applicable Financing Order whether on appeal or otherwise, in each
     case without the written consent of the Required Lenders; or

            (q)    Certain Orders. An order with respect to the Chapter 11 Case shall be
     entered by the Bankruptcy Court (or any of the Loan Parties shall file any pleading or


                                               76
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                      Pg 201 of 270



     motion requesting entry of an order) (i) appointing a trustee under Section 1104 of the
     Bankruptcy Code, (ii) appointing an examiner with enlarged powers (beyond those set
     forth in Section 1106(a)(3) and (4) of the Bankruptcy Code) relating to the operation of the
     business under Section 1106(b) of the Bankruptcy Code, or (iii) dismissing or converting
     the Chapter 11 Case to a Chapter 7 case; or

           (r)     Non-Compliance with Financing Order. Any Loan Party fails or neglects
     to comply with any provision of the (x) Interim Order or (y) Final Order; or

             (s)     Filing of Unapproved Plan. Any Person other than a Loan Party shall have
     filed a plan of reorganization or liquidation in the Chapter 11 Case following termination
     of the Loan Parties’ exclusivity periods under Section 1121 of the Bankruptcy Code, unless
     approved by the Required Lenders; or

             (t)     Entry of Unapproved Order. (i) An order (other than one subject to a stay
     and the super priority claims granted to Stalking Horse Bidder (as defined in the First Day
     Declaration referred to in the applicable Financing Order) with respect to the Chapter 11
     Case shall be entered by the Bankruptcy Court (A) permitting any administrative expense
     claim or any other claim (now existing or hereafter arising, of any kind or nature
     whatsoever) to have priority as to any of the Loan Parties that is pari passu or senior to the
     Obligations, other than the Carve-Out or other claims expressly permitted to have priority
     over the Obligations under the applicable Financing Order; (B) granting or permitting the
     grant of a Lien on the Collateral (other than a Permitted Lien); or (ii) an order shall be
     entered by the Bankruptcy Court dismissing the Chapter 11 Case which does not provide
     for (x) the Termination of the DIP Financing and (y) until the Termination of the DIP
     Financing, the continuity and priority of the Liens of the Collateral Agent in the Collateral,
     the super-priority administrative expense claim status of the Obligations to the same extent
     as is provided in the applicable Financing Order upon such dismissal; or

             (u)    Relief from the Automatic Stay. The Bankruptcy Court enters an order or
     orders granting relief from the automatic stay applicable under Section 362 of the
     Bankruptcy Code for any reason to any Person holding a Lien upon any pre-petition or
     post-petition assets of any Loan Party with respect to any Collateral as to which the
     Collateral Agent has been granted a first priority Lien, or any other assets of any Loan
     Party where the aggregate value of the property subject to all such order or orders is greater
     than the Threshold Amount; or

             (v)     Motion against the Lenders. Any of the Loan Parties shall seek to, or shall
     support (whether by way of motion or other pleadings filed with the Bankruptcy Court or
     any other writing executed by any Loan Party or by oral argument) any other Person’s
     motion to, (i) disallow in whole or in part any of the Obligations arising under this
     Agreement or any other Loan Document or (ii) challenge the validity and enforceability of
     the Liens or security interests granted under any of the Loan Documents or in the applicable
     Financing Order in favor of the Collateral Agent; or

            (w)    Prohibited Payment. Any of the Loan Parties shall make any payment (as
     adequate protection or otherwise), or application for authority to pay, on account of any


                                              77
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 202 of 270



       claim or Indebtedness arising prior to the Petition Date other than those payments in respect
       of adequate protection permitted pursuant to the terms of the applicable Financing Order
       and payments authorized by the Bankruptcy Court in respect of (i) any payments required
       and/or permitted in the “first day orders” or any subsequent Approved Bankruptcy Court
       Order or (ii) accrued payroll and related expenses as of the Petition Date; or

               (x)     Other Bankruptcy Matters. (i) An order shall have been entered modifying
       the adequate protection obligations granted in the applicable Financing Order without the
       prior written consent of the Agent or Required Lenders, (ii) an order shall have been
       entered by the Bankruptcy Court avoiding or requiring disgorgement by the Agent and the
       Required Lenders of any amounts received in respect of the Obligations, (iii) any Loan
       Party shall file with the Bankruptcy Court a motion seeking authority to use any cash
       proceeds of any of the Collateral to the extent prohibited hereunder, without the written
       consent of the Required Lenders and the Agent or (iv) any Loan Party shall file a motion
       or other request with the Bankruptcy Court seeking any financing under Section 364(d) of
       the Bankruptcy Code secured by any of the Collateral that does not require (x) the
       Termination of the DIP Financing and (y) until the Termination of the DIP Financing, the
       continuity and priority of the Liens of the Collateral Agent in the Collateral, the super-
       priority administrative expense claim status of the Obligations to the same extent as is
       provided in the applicable Financing Order; or

                (y)     Restructuring Support Agreement. The Restructuring Support Agreement
       (i) is no longer in effect or (ii) is amended, modified or subject to a waiver, in the case of
       clause (ii), in a manner adverse to the interests of the Lenders without the consent of the
       Required Lenders.

Section 8.02 Remedies Upon Event of Default. (a) Notwithstanding the provisions of Section
362 of the Bankruptcy Code, but subject to the applicable Financing Order, if any Event of Default
occurs and is continuing, the Agent shall, at the request of the Required Lenders, by written notice
to the Borrower, take any or all of the following actions without further order of, or application to,
the Bankruptcy Court:

                     (i)    declare the commitment of each Lender to make Loans to be
       terminated, whereupon such commitments shall be terminated;

                      (ii)   declare the unpaid principal amount of all outstanding Loans, all
       interest accrued and unpaid thereon, and all other amounts owing or payable hereunder or
       under any other Loan Document to be immediately due and payable, without presentment,
       demand, protest or other notice of any kind, all of which are hereby expressly waived by
       the Borrower;

                     (iii) set-off against any outstanding Obligations amounts held for the
       account of the Loan Parties as cash collateral or in the accounts of any Loan Party
       maintained by or with the Agent, any Lender or their respective Affiliates; and




                                                 78
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 203 of 270



                      (iv)   take any action or exercise on behalf of itself and the Lenders all
       rights and remedies available to it and the Lenders under the Loan Documents or applicable
       Law.

                (b)      If an Event of Default has occurred and is continuing: (i) the Agent shall
have for the benefit the Secured Parties, in addition to all other rights of the Agent and the Lenders,
the rights and remedies of a secured party under the Uniform Commercial Code; (ii) the Agent (at
the direction of the Required Lenders) may, at any time, take possession of the Collateral and keep
it on any Loan Party’s premises, at no cost (including any charge pursuant to Section 506(c) of the
Bankruptcy Code) to the Agent or any Lender, or remove any part of it to such other place or
places as the Agent (at the direction of the Required Lenders) may desire, or the Borrower shall,
upon the Agent’s demand, at the Borrower’s cost, assemble the Collateral and make it available to
the Agent at a place or places reasonably convenient to the Agent; and (iii) the Agent (at the
direction of the Required Lenders) may sell and deliver any Collateral at public or private sales,
for cash, upon credit or otherwise, at such prices and upon such terms as the Agent deems advisable
at the direction of the Required Lenders, and may, if the Agent at the direction of the Required
Lenders deems it reasonable, postpone or adjourn any sale of the Collateral by an announcement
at the time and place of sale or of such postponed or adjourned sale without giving a new notice
of sale. Without in any way requiring notice to be given in the following manner, the Loan Parties
agree that any notice by the Agent of sale, disposition or other intended action hereunder or in
connection herewith, whether required by the Uniform Commercial Code or otherwise, shall
constitute reasonable notice to the Loan Parties if such notice is mailed by registered or certified
mail, return receipt requested, postage prepaid, or is delivered personally against receipt to the
Borrower, at least ten (10) Business Days prior to such action to the Borrower’s address specified
herein. If any Collateral is sold on terms other than payment in full at the time of sale, no credit
shall be given against the Obligations until the Agent or the Lenders receive payment, and if the
buyer defaults in payment, the Agent may resell the Collateral without further notice to the Loan
Parties. In the event the Agent (at the direction of the Required Lenders) seeks to take possession
of all or any portion of the Collateral by judicial process, the Loan Parties irrevocably waives:
(A) the posting of any bond, surety or security with respect thereto which might otherwise be
required; (B) any demand for possession prior to the commencement of any suit or action to
recover the Collateral; and (C) any requirement that the Agent retain possession and not dispose
of any Collateral until after trial or final judgment. The Loan Parties agree that the Agent has no
obligation to preserve rights to the Collateral or marshal any Collateral for the benefit of any
Person. The Agent is hereby granted a license or other right to use, without charge, but subject to
the terms of the of licenses to the Loan Parties with respect to Intellectual Property licensed to the
Loan Parties, the Loan Parties’ Intellectual Property and advertising matter, or any similar
property, in completing production of, advertising or selling any Collateral, provided, that such
licenses to be granted hereunder with respect to trademarks and service marks shall be subject to
the maintenance of quality standards with respect to the goods and services on which such
trademarks and service marks are used sufficient to preserve the validity and enforceability of such
trademark and service marks and the applicable Loan Party’s rights under all licenses and all
franchise agreements shall inure to the Agent’s benefit for such purpose. The proceeds of sale
shall be applied first to all expenses of sale, including attorneys’ fees, and then to the Obligations
in accordance with Section 8.03. Following the Termination of the DIP Financing, the Agent will
deliver any excess proceeds of the Collateral in accordance with the applicable order of the
Bankruptcy Court. The Loan Parties shall remain liable for any deficiency.


                                                  79
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 204 of 270



                (c)     Upon the occurrence and during the continuance of an Event of Default,
subject solely to the giving of five (5) Business Days’ prior written notice as set forth in clause (d)
below, the automatic stay arising pursuant to Bankruptcy Code Section 362 shall be vacated and
terminated in accordance with the applicable Financing Order r without further action or order of
the Bankruptcy Court, without the need for filing any motion for relief from the automatic stay or
any other pleading so as to permit the Agent and the Lenders full exercise of all of their rights and
remedies based on the occurrence of an Event of Default, including, without limitation, all of their
rights and remedies with respect to the Collateral and the Guarantors. With respect to the Agent’s
and Lenders’ exercise of their rights and remedies, the Loan Parties agree, waive and, release, and
shall be enjoined from attempting to contest, delay, or otherwise dispute the exercise by the Agent
and the Lenders of their rights and remedies before the Bankruptcy Court or otherwise.

               (d)     Notwithstanding the foregoing, any exercise of remedies is subject to the
giving of five (5) Business Days’ prior written notice in accordance with the terms of the
applicable Financing Order. For the avoidance of doubt, it is understood and agreed that the giving
of five (5) Business Days’ prior written notice as set forth above is a one-time requirement and is
not required to be delivered with any exercise of remedies after the first such exercise.

Section 8.03 Application of Funds. If the circumstances described in Section 2.09(f) have
occurred, or after the exercise of remedies provided for in Section 8.02 any amounts received on
account of the Obligations shall be applied by the Administrative Agent in the following order
(after giving effect to the Carve-Out and any other payments required pursuant to the applicable
Financing Order):

                First, to payment of that portion of the Obligations constituting fees, indemnities,
       expenses and other amounts (other than principal and interest, but including Attorney Costs
       payable under Section 10.04 and amounts payable under Article III) payable to the Agent
       in its capacity as such;

               Second, to payment of that portion of the Obligations constituting fees, indemnities
       and other amounts (other than principal and interest) payable to the Lenders (including
       Attorney Costs payable under Section 10.04 and amounts payable under Article III),
       ratably among them in proportion to the amounts described in this clause Second payable
       to them;

               Third, to payment of that portion of the Obligations constituting accrued and unpaid
       interest (including, but not limited to, post-petition interest), ratably among the Lenders in
       proportion to the respective amounts described in this clause Third payable to them;

               Fourth, to payment of that portion of the Obligations constituting unpaid principal
       or face amounts of the Loans, ratably among the Lenders in proportion to the respective
       amounts described in this clause Fourth held by them;

               Fifth, to the payment of all other Obligations of the Loan Parties that are due and
       payable to the Agent and the other Secured Parties on such date, ratably based upon the
       respective aggregate amounts of all such Obligations owing to the Agent and the other
       Secured Parties on such date; and



                                                  80
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 205 of 270



                Last, the balance, if any, after all of the Obligations have been indefeasibly paid in
       full, as required by the applicable order of the Bankruptcy Court.

               The Loan Parties shall remain liable for any deficiency.

                                           ARTICLE IX

                    ADMINISTRATIVE AGENT AND OTHER AGENTS

Section 9.01 Appointment and Authorization. (a) Each Lender hereby irrevocably appoints,
designates and authorizes the Agent to take such action on its behalf under the provisions of this
Agreement and each other Loan Document and to exercise such powers and perform such duties
as are expressly delegated to it by the terms of this Agreement or any other Loan Document,
together with such powers as are reasonably incidental thereto. Notwithstanding any provision to
the contrary contained in this Agreement or in any other Loan Document, the Agent shall have no
duties or responsibilities, except those expressly set forth herein, nor shall the Agent have or be
deemed to have any fiduciary relationship with any Lender or Participant, and no implied
covenants, functions, responsibilities, duties, obligations or liabilities shall be read into this
Agreement or any other Loan Document or otherwise exist against the Agent. Without limiting
the generality of the foregoing sentence, the use of the term “agent” herein and in the other Loan
Documents with reference to the Agent is not intended to connote any fiduciary or other implied
(or express) obligations arising under agency doctrine of any applicable Law. Instead, such term
is used merely as a matter of market custom, and is intended to create or reflect only an
administrative relationship between independent contracting parties.

                 Notwithstanding any provision contained in this Agreement providing for any
action in the Agent’s reasonable discretion or approval of any action or matter in the Agent’s
reasonable satisfaction, the Agent shall not have any duty to take any discretionary action or
exercise any discretionary powers, except discretionary rights and powers expressly contemplated
hereby or by the other Loan Documents that the Agent is required to exercise as directed in writing
by the Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents) which may be delivered by electronic
transmission (including e-mail by such Lenders or counsel to the Required Lenders (which on the
date hereof is King & Spalding LLP); provided that the Agent shall not be required to take any
action that, in its opinion or the opinion of its counsel, may expose the Agent to liability or that is
contrary to any Loan Document or applicable Law and shall, in the Agent’s sole discretion, be
accompanied by indemnity or security satisfactory to the Agent and subject to the indemnification
set forth in Section 9.07. The Agent shall not, except as expressly set forth herein and in the other
Loan Documents, have any duty to disclose, and shall not be liable for the failure to disclose, any
information relating to the Borrower, any other Loan Party or any of their respective Affiliates that
is communicated to or obtained by the Person serving as the Agent or any other Agent-Related
Person in any capacity.

               The Agent shall not be responsible for or have any duty to ascertain or inquire into
(i) any statement, warranty or representation made in or in connection with this Agreement or any
other Loan Document, (ii) the contents of any certificate, report or other document delivered
hereunder or thereunder or in connection herewith or therewith, (iii) the performance or


                                                  81
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 206 of 270



observance of any of the covenants, agreements or other terms or conditions set forth herein or
therein or the occurrence of any Default, (iv) the validity, enforceability, effectiveness or
genuineness of this Agreement, any other Loan Document or any other agreement, instrument or
document, or the creation, perfection or priority of any Lien purported to be created by the
Collateral Documents, (v) the value or the sufficiency of any Collateral or collectability of any
Obligations, or (vi) the satisfaction of any condition set forth in Article IV or elsewhere herein,
other than to confirm receipt of items expressly required to be delivered to the Agent.

                (b)     The Agent shall also act as the “collateral agent” under the Loan
Documents, and each of the Lenders (in its capacity as a Lender) hereby irrevocably appoints and
authorizes the Agent to act as the agent of (and to hold any security interest, charge or other Lien
created by the Collateral Documents for and on behalf of or on trust for) such Lender for purposes
of acquiring, holding and enforcing any and all Liens on Collateral granted by any of the Loan
Parties to secure any of the Obligations, together with such powers and discretion as are reasonably
incidental thereto. In this connection, the Agent, as “collateral agent” (and any co-agents,
sub-agents and attorneys-in-fact appointed by the Agent pursuant to Section 9.02 for purposes of
holding or enforcing any Lien on the Collateral (or any portion thereof) granted under the
Collateral Documents, or for exercising any rights and remedies thereunder at the direction of the
Agent), shall be entitled to the benefits of all provisions of this Article IX (including Section 9.07,
as though such co-agents, sub-agents and attorneys-in-fact were the “collateral agent” under the
Loan Documents) as If set forth in full herein with respect thereto.

                (c)     The Agent shall be entitled to request written instructions, or clarification
of any instruction, from the Required Lenders (or, if the relevant Loan Document stipulates the
matter is a decision for any other Lender or group of Lenders, from that Lender or group of
Lenders) as to whether, and in what manner, it should exercise or refrain from exercising any right,
power, authority or discretion and the Agent may refrain from acting unless and until it receives
those written instructions or that clarification. In the absence of written instructions, Agent, as
applicable, may act (or refrain from acting) as it considers to be in the best interests of the Lenders.
Whenever in the administration of the Loan Documents the Agent shall deem it desirable that a
matter be proved or established prior to taking, suffering or omitting any action hereunder, the
Agent (unless other evidence be herein specifically prescribed) may, in the absence of bad faith on
its part, may conclusively rely upon instructions from the Required Lenders. The Agent may
request that the Required Lenders or other parties deliver a certificate setting forth the names of
individuals and/or titles of officers authorized at such time to take specified actions pursuant to the
Loan Documents. The duties of the Agent under the Loan Documents are solely mechanical and
administrative in nature.

                (d)      The Agent is not obliged to expend or risk its own funds or otherwise incur
any financial liability in the performance of its duties, obligations or responsibilities or the exercise
of any right, power, authority or discretion if it has grounds for believing the repayment of such
funds or adequate indemnity against, or security for, such risk or liability is not reasonably assured
to it.

              (e)    The Agent shall not be required to ascertain or inquire as to the performance
or observance of any of the terms, conditions, provisions, covenants or agreements contained in
any of the Loan Documents or as to the use of the proceeds of the Loans or as to the existence or


                                                   82
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 207 of 270



possible existence of any Event of Default or Default or to make any disclosures with respect to
the foregoing, or (ii) have any duty to take any discretionary action or exercise any discretionary
powers, except discretionary rights and powers expressly contemplated hereby that such Agent is
instructed in writing to exercise by the Required Lenders (or such other number or percentage of
the Lenders as shall be necessary under the circumstances as provided).

Section 9.02 Delegation of Duties. The Agent may execute any of its duties under this
Agreement or any other Loan Document (including for purposes of holding or enforcing any Lien
on the Collateral (or any portion thereof) granted under the Collateral Documents or of exercising
any rights and remedies thereunder) by or through Affiliates, agents, employees or
attorneys-in-fact, such sub-agents as shall be deemed necessary by the Agent, and shall be entitled
to advice of counsel, both internal and external, and other consultants or experts concerning all
matters pertaining to such duties. The Agent shall not be responsible for the negligence or
misconduct of any agent or sub-agent or attorney-in-fact that it selects in the absence of gross
negligence or willful misconduct as determined by a final nonappealable judgment of a court of
competent jurisdiction.

Section 9.03 Liability of the Agent. (a) No Agent-Related Person shall (x) be liable to any
Lender for any action taken or omitted to be taken by any of them under or in connection with this
Agreement or any other Loan Document or the transactions contemplated hereby (except for its
own gross negligence or willful misconduct, as determined by the final nonappealable judgment
of a court of competent jurisdiction, in connection with its duties expressly set forth herein), or
(y) be responsible in any manner to any Lender or Participant for any recital, statement,
representation or warranty made by any Loan Party or any officer thereof, contained herein or in
any other Loan Document, or in any certificate, report, statement or other document referred to or
provided for in, or received by the Agent under or in connection with, this Agreement or any other
Loan Document, or the validity, effectiveness, genuineness, enforceability or sufficiency of this
Agreement or any other Loan Document, or the perfection or priority of any Lien or security
interest created or purported to be created under the Collateral Documents, or for any failure of
any Loan Party or any other party to any Loan Document to perform its obligations hereunder or
thereunder. No Agent-Related Person shall be under any obligation to any Lender or Participant
to ascertain or to inquire as to the observance or performance of any of the agreements contained
in, or conditions of, this Agreement or any other Loan Document, or to inspect the properties,
books or records of any Loan Party or any Affiliate thereof. The Agent shall not be responsible or
liable for special, indirect, punitive or consequential loss or damage of any kind whatsoever
(including, but not limited to, loss of profit) irrespective of whether the Agent has been advised of
the likelihood of such loss or damage and regardless of the form of action. In no event shall the
be responsible or liable for any failure or delay in the performance of its obligations hereunder
arising out of or caused by, directly or indirectly, forces beyond its control, including without
limitation, strikes, work stoppages, accidents, acts of war or terrorism, civil or military
disturbances, nuclear or natural catastrophes, pandemics or epidemics, or acts of God and
interruptions, loss or malfunctions of utilities, communications or computer (software and
hardware) services; it being understood that the Agent shall use reasonable efforts consistent with
accepted practices in the banking industry to resume performance as soon as practicable under the
circumstances. Calculation of any prepayment premium shall not be a duty or obligation of Agent
or “collateral agent.” In no event shall the Agent be liable for any indirect, special, punitive or
consequential loss or damage of any kind whatsoever, including, but not limited to, lost profits,


                                                 83
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 208 of 270



even if such loss or damage was foreseeable or it has been advised of the likelihood of such loss
or damage and regardless of the form of action. Except with respect to its own gross negligence
or wilful misconduct, the Agent shall not be responsible to any Secured Party for the due execution,
legality, validity, enforceability, genuineness, sufficiency or value of, or the perfection or priority
of any lien or security interest created or purported to be created under or in connection with, any
security document or any other instrument or document furnished pursuant thereto.

(b) Beyond the exercise of reasonable care in the custody thereof, the Agent shall have no duty
as to any Collateral in its possession or control or in the possession or control of any agent or
bailee or any income thereon or as to preservation of rights against prior parties or any other
rights pertaining thereto and the Agent shall not be responsible for filing any financing or
continuation statements or recording any documents or instruments in any public office at any
time or times or otherwise perfecting or maintaining the perfection of any security interest in the
Collateral. The Agent shall be deemed to have exercised reasonable care in the custody of the
Collateral in its possession if the Collateral is accorded treatment substantially equal to that
which it accords similar collateral and shall not be liable or responsible for any loss or
diminution in the value of any of the Collateral, by reason of the act or omission of any carrier,
forwarding agency or other agent or bailee. The Agent shall have no responsibility for or
liability with respect to monitoring compliance of any other party to the Loan Documents or any
other document related hereto or thereto. The Agent has no duty to monitor the value or rating
of any Collateral on an ongoing basis.

Section 9.04 Reliance by the Agent. (a) The Agent shall be entitled to rely, and shall be fully
protected in relying, upon any writing, communication, signature, resolution, representation,
notice, consent, certificate, affidavit, letter, telegram, facsimile, telex or telephone message,
electronic mail message, statement or other document or conversation believed by it in good faith
to be genuine and correct and to have been signed, sent or made by the proper Person or Persons,
and upon advice and statements of legal counsel (including counsel to any Loan Party),
independent accountants and other experts selected by the Agent. The Agent shall be fully justified
in failing or refusing to take any action under any Loan Document unless it shall first receive such
advice or concurrence of the Required Lenders as it deems appropriate and, if it so requests, it shall
first be indemnified to its satisfaction by the Lenders against any and all liability and expense
which may be incurred by it by reason of taking or continuing to take any such action. The Agent
shall be justified in taking any action reasonably believed to it to be required by any order of the
Bankruptcy Court. The Agent shall in all cases be fully protected in acting, or in refraining from
acting, under this Agreement or any other Loan Document in accordance with any order of the
Bankruptcy Court or in accordance with a request or consent of the Required Lenders (or such
greater number of Lenders as may be expressly required hereby in any instance) and such request
and any action taken or failure to act pursuant thereto shall be binding upon all the Lenders.

               (b)     For purposes of determining compliance with the conditions specified in
Section 4.01, each Lender that has signed this Agreement shall be deemed to have consented to,
approved or accepted or to be satisfied with, each document or other matter required thereunder to
be consented to or approved by or acceptable or satisfactory to a Lender unless the Agent shall
have received notice from such Lender prior to the proposed Closing Date specifying its objection
thereto.



                                                  84
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 209 of 270



Section 9.05 Notice of Default. The Agent shall not be deemed to have knowledge or notice of
the occurrence of any Default, except with respect to defaults in the payment of principal, interest
and fees required to be paid to the Agent for the account of the Lenders, unless the Agent shall
have received written notice from a Lender or the Borrower referring to this Agreement, describing
such Default and stating that such notice is a “notice of default”. The Agent will promptly notify
the Lenders of its receipt of any such notice. The Agent shall take such action with respect to any
Event of Default as may be directed by the Required Lenders in accordance with Article VIII;
provided that unless and until the Agent has received any such direction, the Agent may (but shall
not be obligated to) take such action, or refrain from taking such action, with respect to such Event
of Default as it shall deem advisable or in the best interest of the Lenders.

Section 9.06 Credit Decision; Disclosure of Information by the Agent. Each Lender
acknowledges that no Agent-Related Person has made any representation or warranty to it, and
that no act by the Agent hereafter taken, including any consent to and acceptance of any assignment
or review of the affairs of any Loan Party or any Affiliate thereof, shall be deemed to constitute
any representation or warranty by any Agent-Related Person to any Lender as to any matter,
including whether Agent-Related Persons have disclosed material information in their possession.
Each Lender represents to the Agent that it has, independently and without reliance upon any
Agent-Related Person and based on such documents and information as it has deemed appropriate,
made its own appraisal of and investigation into the business, prospects, operations, property,
financial and other condition and creditworthiness of the Loan Parties and their respective
Subsidiaries, and all applicable bank or other regulatory Laws relating to the transactions
contemplated hereby, and made its own decision to enter into this Agreement and to extend credit
to the Borrower and the other Loan Parties hereunder. Each Lender also represents that it will,
independently and without reliance upon any Agent-Related Person and based on such documents
and information as it shall deem appropriate at the time, continue to make its own credit analysis,
appraisals and decisions in taking or not taking action under this Agreement and the other Loan
Documents, and to make such investigations as it deems necessary to inform itself as to the
business, prospects, operations, property, financial and other condition and creditworthiness of the
Borrower and the other Loan Parties. Except for notices, reports and other documents expressly
required to be furnished to the Lenders by the Agent herein, the Agent shall not have any duty or
responsibility to provide any Lender with any credit or other information concerning the business,
prospects, operations, property, financial and other condition or creditworthiness of any of the
Loan Parties or any of their respective Affiliates which may come into the possession of any
Agent-Related Person.

Section 9.07 Indemnification of the Agent. Whether or not the transactions contemplated hereby
are consummated, the Lenders shall indemnify upon demand each Agent-Related Person (to the
extent not reimbursed by or on behalf of any Loan Party and without limiting the obligation of any
Loan Party to do so), pro rata, and hold harmless each Agent-Related Person from and against any
and all Indemnified Liabilities to the extent incurred by it; provided that no Lender shall be liable
for the payment to any Agent-Related Person of any portion of such Indemnified Liabilities to the
extent resulting from such Agent-Related Person’s own gross negligence or willful misconduct, as
determined by the final non-appealable judgment of a court of competent jurisdiction; provided
that no action taken in accordance with the directions of the Required Lenders (or such other
number or percentage of the Lenders as shall be required by the Loan Documents) shall be deemed
to constitute gross negligence or willful misconduct for purposes of this Section 9.07. In the case


                                                 85
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 210 of 270



of any investigation, litigation or proceeding giving rise to any Indemnified Liabilities, this
Section 9.07 applies whether any such investigation, litigation or proceeding is brought by any
Lender or any other Person. Without limitation of the foregoing, each Lender shall reimburse the
Agent upon demand for its ratable share of any costs or out-of-pocket expenses (including
Attorney Costs) incurred by the Agent in connection with the preparation, execution, delivery,
administration, modification, amendment or enforcement (whether through negotiations, legal
proceedings or otherwise) of, or legal advice in respect of rights or responsibilities under, this
Agreement, any other Loan Document, or any document contemplated by or referred to herein, to
the extent that the Agent is not reimbursed for such expenses by or on behalf of the Borrower;
provided that such reimbursement by the Lenders shall not affect the Borrower’s continuing
reimbursement obligations with respect thereto, if any. The language in this Section 9.07 shall
survive termination of the Aggregate Commitments, the payment of all other Obligations and the
resignation or removal of the Agent.

Section 9.08 The Agent in its Individual Capacity. The Agent and its Affiliates may, but has no
obligation to, make loans to, issue letters of credit for the account of, accept deposits from, acquire
Equity Interests in and generally engage in any kind of banking, trust, financial advisory,
underwriting or other business with each of the Loan Parties and their respective Affiliates as
though the Agent were not the Agent hereunder and without notice to or consent of the Lenders.
The Lenders acknowledge that, pursuant to such activities, the Agent or its Affiliates may receive
information regarding any Loan Party or any Affiliate of a Loan Party (including information that
may be subject to confidentiality obligations in favor of such Loan Party or such Affiliate) and
acknowledge that the Agent shall not be under any obligation to provide such information to them.
With respect to its Loans, the Agent shall have the same rights and powers under this Agreement
as any other Lender and may exercise such rights and powers as though it were not the Agent, and
the terms “Lender” and “Lenders” include Cantor Fitzgerald Securities in its individual capacity.

Section 9.09 Successor Agents. The Agent may resign as the Agent upon thirty (30) days’ notice
to the Lenders and the Borrower. If the Agent resigns under this Agreement, the Required Lenders
shall appoint a successor agent for the Lenders. If no successor agent is appointed prior to the
effective date of the resignation of the Agent, the retiring Agent may appoint, after consulting with
the Lenders, a successor agent from among the Lenders. Upon the acceptance of its appointment
as successor agent hereunder, the Person acting as such successor agent shall succeed to all the
rights, powers and duties of the retiring Agent and the term “Agent”, shall mean such successor
administrative agent and/or Supplemental Agent, or collateral agent and/or supplemental collateral
agent, as the case may be, and the retiring Agent’s appointment, powers and duties as the Agent
shall be terminated. After the retiring Agent’s resignation hereunder as the Agent, the provisions
of this Article IX and Section 10.04 and Section 10.05 shall inure to its benefit as to any actions
taken or omitted to be taken by it while it was the Agent under this Agreement. If no successor
agent has accepted appointment as the Agent by the date which is thirty (30) days following the
retiring Agent’s notice of resignation, the retiring Agent’s resignation shall nevertheless thereupon
become effective and the Lenders shall perform all of the duties of the Agent hereunder until such
time, if any, as the Required Lenders appoint a successor agent as provided for above. Lenders
assuming the role of Agent as specified in the immediately preceding sentence shall assume the
rights and obligations of the Agent (including the indemnification provisions set forth in
Section 9.07) as if each such Lender were the Agent. Upon the acceptance of any appointment as
the Agent hereunder by a successor and upon the execution and filing or recording of such


                                                  86
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 211 of 270



financing statements, or amendments thereto, and such other instruments or notices, as may be
necessary or desirable, or as the Required Lenders may reasonably request, in order to continue
the perfection of the Liens granted or purported to be granted by the Collateral Documents, the
successor Agent shall thereupon succeed to and become vested with all the rights, powers,
discretion, privileges, and duties of the retiring Agent, and the retiring Agent shall be discharged
from its duties and obligations under the Loan Documents.

Section 9.10 Agent May File Proofs of Claim. The Agent (irrespective of whether the principal
of any Loan shall then be due and payable as herein expressed or by declaration or otherwise and
irrespective of whether the Agent shall have made any demand on the Borrower) shall be entitled
and empowered, by intervention in such proceeding or otherwise:

               (a)    to file and prove an administrative claim for the whole amount of the
       principal and interest owing and unpaid in respect of the Loans and all other Obligations
       that are owing and unpaid and to file such other documents as may be necessary or
       advisable in order to have the claims of the Lenders and the Agent (including any claim for
       the reasonable compensation, expenses, disbursements and advances of the Lenders and
       the Agent and their respective agents and counsel and all other amounts due the Lenders
       and the Agent under Section 2.06 and Section 10.04 or otherwise hereunder) allowed in an
       applicable proceeding; and

              (b)     to collect and receive any monies or other property payable or deliverable
       on any such claims and to distribute the same; and

               (c)     any custodian, receiver, assignee, trustee, liquidator, sequestrator or other
       similar official in any such judicial proceeding is hereby authorized by each Lender to
       make such payments to the Agent and, in the event that the Agent shall consent to the
       making of such payments directly to the Lenders, to pay to the Agent any amount due for
       the reasonable compensation, expenses, disbursements and advances of the Agent and its
       agents and counsel, and any other amounts due to the Agent under Section 2.06 and
       Section 10.04 or otherwise hereunder.

               Nothing contained herein shall be deemed to authorize the Agent to authorize or
consent to or accept or adopt on behalf of any Lender any plan of reorganization, arrangement,
adjustment or composition affecting the Obligations or the rights of any Lender or to authorize the
Agent to vote in respect of the claim of any Lender in any such proceeding.

Section 9.11 Release of Collateral and Guarantee. The Lenders irrevocably agree and authorize
the Collateral Agent:

               (a)    to release any Lien on any property granted to or held by the Collateral
       Agent under any Loan Document (i) upon the Termination of the Obligations, (ii) upon
       any permitted sale, lease, transfer or other disposition of any item of Collateral of any Loan
       Party (including, without limitation, as a result of the sale, in accordance with the terms of
       the Loan Documents, of the Loan Party that owns such Collateral) in accordance with the
       terms of the Loan Documents, (iii) subject to Section 10.01, if the release of such Lien is
       approved, authorized or ratified in writing by the Required Lenders, (iv) if the property



                                                87
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 212 of 270



        subject to such Lien is owned by a Guarantor, upon release of such Guarantor from its
        obligations under this Agreement pursuant to clause (b) below, or (v) in accordance with
        an order of the Bankruptcy Court; and

                (b)     in the case of any Subsidiary, such Person ceasing to be subject to Section
        6.11 as a result of a transaction permitted hereunder (as certified by a Responsible Officer)
        and the Borrower notifying the Collateral Agent in writing that it wishes such Guarantor
        to be released from its obligations under this Agreement.

                The Collateral Agent will, at the Borrower’s expense, execute and deliver to such
Loan Party such documents as such Loan Party may reasonably request to evidence the release of
Collateral pursuant to this Section 9.11 from the assignment and security interest granted under
the Collateral Documents (or the release of the Guarantor from its Guarantee Obligations in respect
of the Obligations) in accordance with the terms of the Loan Documents (provided that the
Borrower shall have delivered to the Collateral Agent a certificate of a Responsible Officer
certifying that such transaction has been consummated in compliance with the Loan Documents
and the execution and delivery of such documents are authorized and permitted under the Loan
Documents, and the Collateral Agent may conclusively rely on such certification without further
inquiry). Upon request by the Collateral Agent at any time, the Required Lenders will confirm in
writing the Collateral Agent’s authority to release its interest in particular types or items of
property in accordance with this Section 9.11.

Section 9.12 Other Agents; Arrangers and Managers. None of the Lenders shall have any right,
power, obligation, liability, responsibility or duty under this Agreement other than those applicable
to all Lenders as such. Without limiting the foregoing, none of the Lenders shall have or be deemed
to have any fiduciary relationship with any other Lender. Each Lender acknowledges that it has
not relied, and will not rely, on any of the other Lenders in deciding to enter into this Agreement
or in taking or not taking action hereunder.

Section 9.13 Appointment of Supplemental Agent. (a) It is the purpose of this Agreement and
the other Loan Documents that there shall be no violation of any Law of any jurisdiction denying
or restricting the right of banking corporations or associations to transact business as agent or
trustee in such jurisdiction. It is recognized that in case of litigation under this Agreement or any
of the other Loan Documents, and in particular in case of the enforcement of any of the Loan
Documents, or in case the Agent deems in its reasonable discretion that by reason of any present
or future Law of any jurisdiction it may not exercise any of the rights, powers or remedies granted
herein or in any of the other Loan Documents or take any other action which may be desirable or
necessary in connection therewith, the Agent is hereby authorized to appoint an additional
individual or institution selected by the Agent in its sole discretion as a separate trustee, co-trustee,
Agent, collateral agent, administrative sub-agent or administrative co-agent (any such additional
individual or institution being referred to herein individually as a “Supplemental Agent” and
collectively as “Supplemental Agents”).

               (b)     In the event that the Agent appoints a Supplemental Agent with respect to
any Collateral, (i) each and every right, power, privilege or duty expressed or intended by this
Agreement or any of the other Loan Documents to be exercised by or vested in or conveyed to the
Agent with respect to such Collateral shall be exercisable by and vest in such Supplemental Agent


                                                   88
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 213 of 270



to the extent, and only to the extent, necessary to enable such Supplemental Agent to exercise such
rights, powers and privileges with respect to such Collateral and to perform such duties with
respect to such Collateral, and every covenant and obligation contained in the Loan Documents
and necessary to the exercise or performance thereof by such Supplemental Agent shall run to and
be enforceable by either the Agent or such Supplemental Agent, and (ii) the provisions of this
Article IX and of Section 10.04 and Section 10.05 that refer to the Agent shall inure to the benefit
of such Supplemental Agent and all references therein to the Agent shall be deemed to be
references to the Agent and/or such Supplemental Agent, as the context may require.

               (c)     Should any instrument in writing from any Loan Party be required by any
Supplemental Agent so appointed by the Agent for more fully and certainly vesting in and
confirming to him or it such rights, powers, privileges and duties, the Borrower shall, or shall cause
such Loan Party to, execute, acknowledge and deliver any and all such instruments promptly upon
request by the Agent. In case any Supplemental Agent, or a successor thereto, shall die, become
incapable of acting, resign or be removed, all the rights, powers, privileges and duties of such
Supplemental Agent, to the extent permitted by Law, shall vest in and be exercised by the Agent
until the appointment of a new Supplemental Agent.

Section 9.14 Certain Bankruptcy Matters.

                (a)    Except to the extent provided otherwise in the applicable Financing Order
and subject to the Carve-Out, the Borrower hereby agrees that the Obligations shall (i) constitute
super-priority allowed administrative expense claims in the Bankruptcy case having priority
pursuant to Section 364(c)(1) of the Bankruptcy Code over all administrative expense claims and
unsecured claims against any Loan Party now existing or hereafter arising, of any kind or nature
whatsoever, including, without limitation, all administrative expense claims of the kind specified
in Sections 503(b) and 507(b) of the Bankruptcy Code and all super-priority administrative
expense claims granted to any other Person, the establishment of which super-priority shall have
been approved and authorized by the Bankruptcy Court and (ii) be secured pursuant to
Sections 364(c)(2), (c)(3) and (d)(1) of the Bankruptcy Code subject to the priority set forth in the
applicable Financing Order and, to the extent provided in the applicable Financing Order, shall not
be subject to claims against the Collateral pursuant to Section 506(c) of the Bankruptcy Code.

               (b)     The Collateral Agent’s Liens and the super-priority administrative expense
claim priority granted pursuant to clause (a) above have been independently granted by the Loan
Documents, and may be independently granted by other Loan Documents heretofore or hereafter
entered into. The Collateral Agent’s Liens and the administrative expense claim priority granted
pursuant to clause (a) above, this Agreement, the applicable Financing Order and the other Loan
Documents supplement each other, and the grants, priorities, rights and remedies of the Lenders
and the Collateral Agent hereunder and thereunder are cumulative. In the event of a direct conflict
between the applicable Financing Order and any other Loan Document, the applicable Financing
Order shall control.

               (c)      Notwithstanding anything to the contrary contained herein or elsewhere:

                    (i)     The Collateral Agent’s Liens on Collateral of the Loan Parties shall
       be deemed valid and automatically perfected by entry of the applicable Financing Order,


                                                 89
 24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                       Pg 214 of 270



      which entry shall have occurred on or prior to the Closing Date. The Collateral Agent and
      the Lenders shall not be required to file, register or publish any financing statements,
      mortgages, hypothecs, notices of Lien or similar instruments in any jurisdiction or filing or
      registration office, or to take possession of any Collateral or to take any other action in
      order to validate, render enforceable or perfect the Liens on Collateral granted by or
      pursuant to this Agreement, the applicable Financing Order or any other Loan Document.
      If the Collateral Agent (at the direction of the Required Lenders) or the Required Lenders
      shall, in its or their sole discretion, from time to time elect to file, register or publish any
      such financing statements, mortgages, hypothecs, notices of Lien or similar instruments,
      take possession of any Collateral, or take any other action to validate, render enforceable
      or perfect all or any portion of the Collateral Agent’s Liens on Collateral, all such
      documents and actions shall be deemed to have been filed, registered, published or
      recorded or taken at the time and on the date the applicable Financing Order is entered.

                      (ii)    The Liens, lien priorities, super-priority administrative expense
      claims and other rights and remedies granted to the Collateral Agent and the Lenders
      pursuant to this Agreement, the applicable Financing Order or the other Loan Documents
      (specifically including, but not limited to, the existence, perfection, enforceability and
      priority of the Liens provided for herein and therein, and the administrative expense claim
      priority provided herein and therein) shall not be modified, altered or impaired in any
      manner by any other financing or extension of credit or incurrence of debt by the Borrower
      (pursuant to Section 364 of the Bankruptcy Code or otherwise), or by dismissal or
      conversion of the Chapter 11 Case, or by any other act or omission whatsoever. Without
      limiting the generality of the foregoing, notwithstanding any such order, financing,
      extension, incurrence, dismissal, conversion, act or omission:

                      (A)     no costs or expenses of administration which have been or may be
              incurred in the Chapter 11 Case or any conversion of the same or in any other
              proceedings related thereto, and no priority claims, are or will be prior to or on a
              parity with any claim of any Lender or the Collateral Agent against the Borrower
              in respect of any Obligation;

                     (B)    the Collateral Agent’s Liens on Collateral shall constitute valid,
              enforceable and perfected Liens with the priority set forth in the applicable
              Financing Order; and

                       (C)     the Collateral Agent’s Liens on the Collateral shall continue to be
              valid, enforceable and perfected without the need for the Agent or any Lender to
              file, register or publish any financing statements, mortgages, hypothecs, notices of
              Lien or similar instruments or to otherwise perfect the Collateral Agent’s Liens
              under applicable nonbankruptcy law.

Section 9.15 Erroneous Payments.

   (a) If the Agent (x) notifies a Lender or Secured Party, or any Person who has received funds
       on behalf of a Lender or Secured Party (any such Lender, Secured Party or other recipient
       (and each of their respective successors and assigns), a “Payment Recipient”) that the


                                                90
24-22284-dsj       Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                       Pg 215 of 270



     Agent has determined in its reasonable discretion (whether or not after receipt of any notice
     under immediately succeeding clause (b)) that any funds (as set forth in such notice from
     the Agent) received by such Payment Recipient from the Agent or any of its Affiliates were
     erroneously or mistakenly transmitted to, or otherwise erroneously or mistakenly received
     by, such Payment Recipient (whether or not known to such Lender, Secured Party or other
     Payment Recipient on its behalf) (any such funds, whether transmitted or received as a
     payment, prepayment or repayment of principal, interest, fees, distribution or otherwise,
     individually and collectively, an “Erroneous Payment”) and (y) demands in writing the
     return of such Erroneous Payment (or a portion thereof) (provided, that, without limiting
     any other rights or remedies (whether at law or in equity), the Agent may not make any
     such demand under this clause (a) with respect to an Erroneous Payment unless such
     demand is made within 5 Business Days of the date of receipt of such Erroneous Payment
     by the applicable Payment Recipient), such Erroneous Payment shall at all times remain
     the property of the Agent pending its return or repayment as contemplated below in this
     Section 9.15 and held in trust for the benefit of the Agent, and such Lender or Secured
     Party shall (or, with respect to any Payment Recipient who received such funds on its
     behalf, shall cause such Payment Recipient to) promptly, but in no event later than two
     Business Days thereafter (or such later date as the Agent may, in its sole discretion, specify
     in writing), return to the Agent the amount of any such Erroneous Payment (or portion
     thereof) as to which such a demand was made, in same day funds (in the currency so
     received) and a rate determined by the Agent in accordance with banking industry rules on
     interbank compensation from time to time in effect. A notice of the Agent to any Payment
     Recipient under this clause (a) shall be conclusive, absent manifest error.

  (b) Without limiting immediately preceding clause (a), each Lender, Secured Party or any
      Person who has received funds on behalf of a Lender, or Secured Party (and each of their
      respective successors and assigns), agrees that if it receives a payment, prepayment or
      repayment (whether received as a payment, prepayment or repayment of principal, interest,
      fees, distribution or otherwise) from the Agent (or any of its Affiliates) (x) that is in a
      different amount than, or on a different date from, that specified in this Agreement or in a
      notice of payment, prepayment or repayment sent by the Agent (or any of its Affiliates)
      with respect to such payment, prepayment or repayment, (y) that was not preceded or
      accompanied by a notice of payment, prepayment or repayment sent by the Agent (or any
      of its Affiliates), or (z) that such Lender, or Secured Party, or other such recipient,
      otherwise becomes aware was transmitted, or received, in error or by mistake (in whole or
      in part), then in each such case:

             (i)      it acknowledges and agrees that (A) in the case of immediately preceding
                      clauses (x) or (y), an error and mistake shall be presumed to have been made
                      (absent written confirmation from the Agent to the contrary) or (B) an error
                      and mistake has been made (in the case of immediately preceding clause
                      (z)), in each case, with respect to such payment, prepayment or repayment;
                      and


                                               91
24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                        Pg 216 of 270




             (ii)      such Lender, or Secured Party shall use commercially reasonable efforts to
                       (and shall use commercially reasonable efforts to cause any other recipient
                       that receives funds on its respective behalf to) promptly (and, in all events,
                       within one Business Day of its knowledge of the occurrence of any of the
                       circumstances described in immediately preceding clauses (x), (y) and (z))
                       notify the Agent of its receipt of such payment, prepayment or repayment,
                       the details thereof (in reasonable detail) and that it is so notifying the Agent
                       pursuant to this Section 9.15(b).

     For the avoidance of doubt, the failure to deliver a notice to the Agent pursuant to this
     Section 9.15(b) shall not have any effect on a Payment Recipient’s obligations pursuant to
     Section 9.15(a) or on whether or not an Erroneous Payment has been made.

  (c) Each Lender or Secured Party hereby authorizes the Agent to set off, net and apply any
      and all amounts at any time owing to such Lender or Secured Party under any Loan
      Document, or otherwise payable or distributable by the Agent to such Lender or Secured
      Party under any Loan Document with respect to any payment of principal, interest, fees or
      other amounts, against any amount that the Agent has demanded to be returned under
      immediately preceding clause (a).

  (d) (i) In the event that an Erroneous Payment (or portion thereof) is not recovered by the
      Agent for any reason, after demand therefor in accordance with immediately preceding
      clause (a), from any Lender that has received such Erroneous Payment (or portion thereof)
      (and/or from any Payment Recipient who received such Erroneous Payment (or portion
      thereof) on its respective behalf) (such unrecovered amount, an “Erroneous Payment
      Return Deficiency”), upon the Agent’s notice to such Lender at any time, then effective
      immediately (with the consideration therefor being acknowledged by the parties hereto),
      (A) such Lender shall be deemed to have assigned its Loans (but not its Commitments) of
      the relevant Class with respect to which such Erroneous Payment was made (the
      “Erroneous Payment Impacted Class”) in an amount equal to the Erroneous Payment
      Return Deficiency (or such lesser amount as the Agent may specify) (such assignment of
      the Loans (but not Commitments) of the Erroneous Payment Impacted Class, the
      “Erroneous Payment Deficiency Assignment”) (on a cashless basis and such amount
      calculated at par plus any accrued and unpaid interest (with the assignment fee to be waived
      by the Agent in such instance)), and is hereby (together with the Borrower) deemed to
      execute and deliver an Assignment and Assumption (or, to the extent applicable, an
      agreement incorporating an Assignment and Assumption by reference pursuant to an
      Approved Electronic Platform as to which the Agent and such parties are participants) with
      respect to such Erroneous Payment Deficiency Assignment, and such Lender shall deliver
      any Notes evidencing such Loans to the Borrower or the Agent (but the failure of such
      Person to deliver any such Notes shall not affect the effectiveness of the foregoing
      assignment), (B) the Agent as the assignee Lender shall be deemed to have acquired the
      Erroneous Payment Deficiency Assignment, (C) upon such deemed acquisition, the Agent


                                                 92
24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                       Pg 217 of 270



     as the assignee Lender shall become a Lender, as applicable, hereunder with respect to such
     Erroneous Payment Deficiency Assignment and the assigning Lender shall cease to be a
     Lender, as applicable, hereunder with respect to such Erroneous Payment Deficiency
     Assignment, excluding, for the avoidance of doubt, its obligations under the
     indemnification provisions of this Agreement and its applicable Commitments which shall
     survive as to such assigning Lender, (D) the Agent and the Borrower shall each be deemed
     to have waived any consents required under this Agreement to any such Erroneous
     Payment Deficiency Assignment, and (E) the Agent will reflect in the Register its
     ownership interest in the Loans subject to the Erroneous Payment Deficiency Assignment.
     For the avoidance of doubt, no Erroneous Payment Deficiency Assignment will reduce the
     Commitments of any Lender and such Commitments shall remain available in accordance
     with the terms of this Agreement.
     (ii) Subject to Section 10.07 (but excluding, in all events, any assignment consent or
     approval requirements (whether from the Borrower or otherwise)), the Agent may, in its
     discretion, sell any Loans acquired pursuant to an Erroneous Payment Deficiency
     Assignment and upon receipt of the proceeds of such sale, the Erroneous Payment Return
     Deficiency owing by the applicable Lender shall be reduced by the net proceeds of the sale
     of such Loan (or portion thereof), and the Agent shall retain all other rights, remedies and
     claims against such Lender (and/or against any recipient that receives funds on its
     respective behalf). In addition, an Erroneous Payment Return Deficiency owing by the
     applicable Lender (x) shall be reduced by the proceeds of prepayments or repayments of
     principal and interest, or other distribution in respect of principal and interest, received by
     the Agent on or with respect to any such Loans acquired from such Lender pursuant to an
     Erroneous Payment Deficiency Assignment (to the extent that any such Loans are then
     owned by the Agent) and (y) may, in the sole discretion of the Agent, be reduced by any
     amount specified by the Agent in writing to the applicable Lender from time to time.

  (e) The parties hereto agree that (x) irrespective of whether the Agent may be equitably
      subrogated, in the event that an Erroneous Payment (or portion thereof) is not recovered
      from any Payment Recipient that has received such Erroneous Payment (or portion thereof)
      for any reason, the Agent shall be subrogated to all the rights and interests of such Payment
      Recipient (and, in the case of any Payment Recipient who has received funds on behalf of
      a Lender or Secured Party, to the rights and interests of such Lender or Secured Party, as
      the case may be) under the Loan Documents with respect to such amount (the “Erroneous
      Payment Subrogation Rights”) (provided that the Loan Parties’ Obligations under the Loan
      Documents in respect of the Erroneous Payment Subrogation Rights shall not be
      duplicative of such Obligations in respect of Loans that have been assigned to the Agent
      under an Erroneous Payment Deficiency Assignment) and (y) an Erroneous Payment shall
      not pay, prepay, repay, discharge or otherwise satisfy any Obligations owed by the
      Borrower or any other Loan Party; provided that this Section 9.15 shall not be interpreted
      to increase (or accelerate the due date for), or have the effect of increasing (or accelerating
      the due date for), the Obligations of the Borrower relative to the amount (and/or timing for
      payment) of the Obligations that would have been payable had such Erroneous Payment
      not been made by the Agent; provided, further, that for the avoidance of doubt,


                                                93
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 218 of 270



       immediately preceding clauses (x) and (y) shall not apply to the extent any such Erroneous
       Payment is, and solely with respect to the amount of such Erroneous Payment that is,
       comprised of funds received by the Agent from the Borrower for the purpose of making
       such Erroneous Payment.

   (f) To the extent permitted by applicable law, no Payment Recipient shall assert any right or
       claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any claim,
       counterclaim, defense or right of set-off or recoupment with respect to any demand, claim
       or counterclaim by the Agent for the return of any Erroneous Payment received, including,
       without limitation, any defense based on “discharge for value” or any similar doctrine.

   (g) Each party’s obligations, agreements and waivers under this Section 9.15 shall survive the
       resignation or replacement of the Agent, the termination of the Commitments and/or the
       repayment, satisfaction or discharge of all Obligations (or any portion thereof) under any
       Loan Document.

Section 9.16 Collateral. Where a Guarantor is required to promptly and duly authorize, execute
and deliver, and have recorded, such further instruments and documents and take such further
actions as are necessary and as the Agent may reasonably request for the purpose of obtaining or
preserving the full benefits of this Agreement and of the rights and powers herein granted,
including, without limitation, the filing of any financing or continuation statements under the
Uniform Commercial Code (or other similar laws) in effect in any jurisdiction within the United
States with respect to the security interests created hereby (the “Recording Requirements”), such
Guarantor shall perform the Recording Requirements without the written request of the Collateral
Agent. Notwithstanding anything in the Loan Documents to the contrary, the Agent shall have no
responsibility for the preparation, filing or recording of any instrument, document or financing
statement or for the perfection or maintenance of any security interest created hereunder.

               (b)     No provision of this Agreement, or any of the other Loan Documents shall
require the Agent to expend or risk its own funds or otherwise incur any financial liability in the
performance of any of its duties under this Agreement, any of the other Loan Documents or the
exercise of any of its rights or powers. If it shall have reasonable grounds for believing that
repayment of such funds or adequate indemnity against such risk or liability including an advance
of moneys necessary to perform work or to take the action requested is not reasonably assured to
it, the Agent may decline to act unless it receives indemnity satisfactory to it in its sole discretion,
including an advance of moneys necessary to take the action requested.

               (c)     The Agent shall be under no obligation or duty to take any action under this
Agreement, any of the other Loan Documents or otherwise if taking such action (i) would subject
the Agent to a tax in any jurisdiction where it is not then subject to a tax or (ii) would require the
Agent to qualify to do business in any jurisdiction where it is not then so qualified.

                (d)    Notwithstanding anything else to the contrary herein, whenever reference is
made in this Agreement to any discretionary action by, consent, designation, specification,
requirement or approval of, notice, request or other communication from, or other direction given
or action to be undertaken or to be (or not to be) suffered or omitted by the Agent or to any election,


                                                  94
 24-22284-dsj      Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                          Pg 219 of 270



decision, opinion, acceptance, use of judgment, expression of satisfaction, reasonable satisfaction
or other exercise of discretion, rights or remedies to be made (or not to be made) by the Agent, it
is understood that in all cases the Agent shall be fully justified in failing or refusing to take any
such action under this Agreement if it shall not have received such written instruction, advice or
concurrence of the Agent, as it deems appropriate. This provision is intended solely for the benefit
of the Agent and the Agent’s successors and permitted assigns and is not intended to and will not
entitle the other parties hereto to any defense, claim or counterclaim, or confer any rights or
benefits on any party hereto.

               (e)     Agent will not be liable or responsible for any loss or diminution in the
value of any of the Collateral by reason of the act or omission of any agent selected by the Agent
in good faith. Agent will have no additional duty as to any Collateral in its possession or control
or in the possession or control of any agent or bailee or any income thereon or as to preservation
of rights against prior parties or any other rights pertaining thereto and the Agent will not be
responsible for filing any financing or continuation statements or recording any documents or
instruments in any public office at any time or times or otherwise perfecting or maintaining the
perfection of any Liens on the Collateral

                                           ARTICLE X

                                       MISCELLANEOUS

Section 10.01 Amendments, Etc. No amendment or waiver of any provision of this Agreement,
nor consent to any departure by any Loan Party therefrom, shall in any event be effective unless
the same shall be in writing and signed by the Required Lenders and the Borrower, and then such
waiver or consent shall be effective only in the specific instance and for the specific purpose for
which given; provided, however, that:

               (a)    no amendment, waiver or consent shall, unless in writing and signed by all
       of the Lenders, do any of the following at any time:

                       (i)     change the number of Lenders or the percentage of (x) the
               Commitments or (y) the aggregate unpaid principal amount of Loans that, in each
               case, shall be required for the Lenders or any of them to take any action hereunder
               (including pursuant to any change to the definition of “Required Lenders”),

                       (ii)    release one or more Guarantors (or otherwise limit such Guarantors’
       liability with respect to the Obligations owing to the Agent and the Lenders under this
       Agreement), if such release or limitation is in respect of all or substantially all of the value
       represented by this Agreement to the Lenders,

                       (iii) release, or subordinate the Collateral Agent’s Liens in, all or
               substantially all of the Collateral in any transaction or series of related transactions
               (other than as expressly permitted herein or in the applicable Financing Order), or

                       (iv)    amend any provision of this Section 10.01;




                                                 95
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 220 of 270



              (b)     no amendment, waiver or consent shall, unless in writing and signed by each
       Lender specified below for such amendment, waiver or consent:

                      (i)     increase the Commitments of a Lender without the consent of such
               Lender;

                       (ii)    reduce the principal of, or stated rate of interest on, the Loans owed
               to a Lender or any fees or other amounts stated to be payable hereunder or under
               the other Loan Documents to such Lender without the consent of such Lender;
               provided if the Required Lenders agree to waive, or forbear from exercising
               remedies with respect to, any Event of Default and such waiver or forbearance is
               effective in accordance with this Section 10.01 or if the Required Lenders agree to
               change any financial definitions that would reduce the stated rate of interest or any
               fees or other non-principal amounts stated to be payable hereunder or under the
               other Loan Documents pursuant to any amendment, waiver or consent not being
               effected in order to reduce the stated rate of interest or such fees or other amounts,
               then only the consent of the Required Lenders shall be necessary to waive any
               obligation of the Borrower to pay interest at the Default Rate in connection with
               such Event of Default or reduce the stated rate of interest or such fees in connection
               with such amendment, waiver or consent described in this proviso to clause (b)(ii),
               as applicable; or

                       (iii) except as provided in the definition of “Maturity Date”, postpone
               any date scheduled for any payment of principal of, or interest on, the Loans
               pursuant to Section 2.04 or Section 2.05, any date scheduled for payment or for any
               date fixed for any payment of fees hereunder in each case payable to a Lender
               without the consent of such Lender; or

                     (iv)    modify Section 8.03 in any manner that adversely affects the
               Lenders without the consent of each Lender directly and adversely affected thereby;
               or

                      (v)     modify Section 2.10 without the consent of each Lender directly and
               adversely affected thereby;

provided further that no amendment, waiver or consent shall, unless in writing and signed by the
Agent in addition to the Lenders required above to take such action, affect the rights or duties of
the Agent under this Agreement or the other Loan Documents.

Section 10.02 Notices and Other Communications; Facsimile and Electronic Copies. (a) General.
Unless otherwise expressly provided herein, all notices and other communications provided for
hereunder or under any other Loan Document shall be in writing (including by facsimile
transmission) (and, as to service of process, only in writing and in accordance with applicable law)
and, to the extent set forth in Section 10.02(e), in an electronic medium and delivered as set forth
in Section 10.02(e). All such written notices shall be mailed, faxed or delivered to the applicable
address, facsimile number or electronic mail address, and all notices and other communications




                                                96
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 221 of 270



expressly permitted hereunder to be given by telephone shall be made to the applicable telephone
number, as follows:

                       (i)     if to any Loan Party:

                       c/o Acorda Therapeutics, Inc.
                       2 Blue Hill Plaza, 3rd Floor
                       Pearl River, NY United States 10965
                       Attention:     Neil Belloff
                       E-mail:        nbelloff@acorda.com

                       With a copy (which shall not constitute notice) to:

                       Baker & McKenzie LLP
                       452 Fifth Avenue
                       New York, New York 10018
                       Attention:    Blaire Cahn; John Dodd; Kevin Whittam
                       E-mail:Blaire.Cahn@bakermckenzie.com;
                       John.Dodd@bakermckenzie.com; kevin.whittam@bakermckenzie.com

                       (ii)    if to the Agent, to the address, facsimile number, electronic mail
               address or telephone number specified for such Person on Schedule 10.02 or to such
               other address, facsimile number, electronic mail address or telephone number as
               shall be designated by such party in a notice to the other parties from time to time;
               and

                      (iii) if to any other Lender, to the address, facsimile number or electronic
               mail address specified in its Administrative Questionnaire or to such other address,
               facsimile number, electronic mail address or telephone number as shall be
               designated by such party in a written notice to the Borrower and the Agent.

               All such notices and other communications shall be deemed to be given or made
upon the earlier to occur of (i) actual receipt by the relevant party hereto and (ii) (A) if delivered
by hand or by courier, when signed for by or on behalf of the relevant party hereto; (B) if delivered
by mail, four (4) Business Days after deposit in the mails, postage prepaid; (C) if delivered by
facsimile, when sent and receipt has been confirmed by telephone; and (D) if delivered by
electronic mail (which form of delivery is subject to the provisions of Section 10.02(b)), when
delivered; provided that notices and other communications to the Borrower and the Administrative
Agent pursuant to Article II shall not be effective until actually received by such Person during the
Person’s normal business hours. In no event shall a voice mail message be effective as a notice,
communication or confirmation hereunder.

                (b)     Effectiveness of Facsimile Documents and Signatures. Loan Documents
may be transmitted and/or signed by facsimile or other electronic transmission (including a .pdf or
.tif copy); provided that original copies are delivered promptly thereafter (it being understood that
the failure to request or deliver the same shall not limit the effectiveness of any document or
signature delivered by facsimile or electronic transmission).


                                                 97
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 222 of 270



                (c)     Reliance by the Agent and Lenders. The Agent and the Lenders shall be
entitled to rely and act upon any notices (including telephonic Committed Loan Notices) in good
faith purportedly given by or on behalf of the Borrower even if (i) such notices were not made in
a manner specified herein, were incomplete or were not preceded or followed by any other form
of notice specified herein, or (ii) the terms thereof, as understood by the recipient, varied from any
confirmation thereof. The Borrower shall indemnify each Agent-Related Person and each Lender
from all losses, costs, expenses and liabilities resulting from the reliance by such Person on each
notice purportedly given by or on behalf of the Borrower in the absence of gross negligence or
willful misconduct by such Agent-Related Person or such Lender as determined by a final non-
appealable judgment.

               (d)    Notice to other Loan Parties. The Borrower agrees that notices to be given
to any other Loan Party under this Agreement or any other Loan Document may be given to the
Borrower in accordance with the provisions of this Section 10.02 with the same effect as if given
to such other Loan Party in accordance with the terms hereunder or thereunder.

                 (e)     The Borrower hereby agrees that it will provide to the Agent all information,
documents and other materials that it is obligated to furnish to the Agent pursuant to the Loan
Documents, including, without limitation, all notices, requests, financial statements, financial and
other reports, certificates and other information materials, but excluding any such communication
that (i) relates to a request for a new Loan, (ii) relates to the payment of any principal or other
amount due under this Agreement prior to the scheduled date therefor, (iii) provides notice of any
Default or Event of Default under this Agreement or (iv) is required to be delivered to satisfy any
condition precedent to the effectiveness of this Agreement and/or any Loan hereunder (all such
non-excluded communications being referred to herein collectively as “Communications”), by
transmitting the Communications in an electronic/soft medium in a format acceptable to the Agent
to an electronic mail address specified by the Agent to the Borrower. In addition, the Borrower
agrees to continue to provide the Communications to the Agent in the manner specified in the Loan
Documents but only to the extent requested by the Agent. The Borrower further agrees that the
Agent may make the Communications available to the Lenders by posting the Communications
on IntraLinks or a substantially similar electronic transmission system (the “Platform”).

           (f)   THE PLATFORM IS PROVIDED “AS IS” AND “AS AVAILABLE.”
THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE ACCURACY OR
COMPLETENESS OF THE COMMUNICATIONS OR THE ADEQUACY OF THE
PLATFORM AND EXPRESSLY DISCLAIM LIABILITY FOR ERRORS OR OMISSIONS IN
THE COMMUNICATIONS. NO WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR
STATUTORY, INCLUDING, WITHOUT LIMITATION, ANY WARRANTY OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT
OF THIRD PARTY RIGHTS OR FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS,
IS MADE BY THE AGENT PARTIES IN CONNECTION WITH THE COMMUNICATIONS
OR THE PLATFORM. IN NO EVENT SHALL THE AGENT OR ANY OF ITS AFFILIATES
OR ANY OF THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS,
ADVISORS OR REPRESENTATIVES (COLLECTIVELY, “AGENT PARTIES”) HAVE ANY
LIABILITY TO THE BORROWER, ANY LENDER OR ANY OTHER PERSON OR ENTITY
FOR DAMAGES OF ANY KIND, INCLUDING, WITHOUT LIMITATION, DIRECT OR
INDIRECT, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES, LOSSES OR


                                                 98
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 223 of 270



EXPENSES (WHETHER IN TORT, CONTRACT OR OTHERWISE) ARISING OUT OF THE
BORROWER’S OR THE AGENT’S TRANSMISSION OF COMMUNICATIONS THROUGH
THE PLATFORM, EXCEPT TO THE EXTENT THE LIABILITY OF ANY AGENT PARTY IS
FOUND IN A FINAL NON-APPEALABLE JUDGMENT BY A COURT OF COMPETENT
JURISDICTION TO HAVE RESULTED PRIMARILY FROM SUCH AGENT PARTY’S
GROSS NEGLIGENCE OR WILLFUL MISCONDUCT.

                 (g)    The Agent agrees that the receipt in accordance with Section 10.02 of the
Communications by the Agent at its e-mail address set forth on Schedule 10.02 shall constitute
effective delivery of the Communications to the Agent for purposes of the Loan Documents. Each
Lender agrees that notice to it (as provided in the next sentence) specifying that the
Communications have been posted to the Platform shall constitute effective delivery of the
Communications to such Lender for purposes of the Loan Documents. Each Lender agrees (i) to
notify the Agent in writing (including by electronic communication) from time to time of such
Lender’s e-mail address to which the foregoing notice may be sent by electronic transmission and
(ii) that the foregoing notice may be sent to such e-mail address. Nothing herein shall prejudice
the right of the Agent or any Lender to give any notice or other communication pursuant to any
Loan Document in any other manner specified in such Loan Document.

                (h)    Each Loan Party hereby acknowledges that certain of the Lenders may be
“public-side” Lenders (i.e., Lenders that do not wish to receive material non-public information
with respect to any Loan Party or its securities) (each, a “Public Lender”). Each Loan Party hereby
agrees that (i) Communications that are to be made available on the Platform to Public Lenders
who notify the Borrower and the Agent of such Lender’s status as a Public Lender shall be clearly
and conspicuously marked by such Loan Party as “PUBLIC,” which, at a minimum, shall mean
that the word “PUBLIC” shall appear prominently on the first page thereof, (ii) by marking
Communications “PUBLIC,” each Loan Party shall be deemed to have authorized the Agent and
the Lenders to treat such Communications as either publicly available information or not material
information (although it may contain sensitive business information and remains subject to the
confidentiality undertakings of Section 10.08) with respect to such Loan Party or its securities for
purposes of United States Federal and state securities laws, (iii) all Communications marked
“PUBLIC” are permitted to be made available through a portion of the Platform designated “Public
Side Information,” and (iv) the Agent shall be entitled to treat any Communications that are not
marked “PUBLIC” as being suitable only for posting on a portion of the Platform not designated
“Public Side Information.”

               (i)    EACH LENDER ACKNOWLEDGES THAT UNITED STATES
FEDERAL AND STATE SECURITIES LAWS PROHIBIT ANY PERSON WITH MATERIAL,
NON-PUBLIC INFORMATION ABOUT AN ISSUER FROM PURCHASING OR SELLING
SECURITIES OF SUCH ISSUER OR, SUBJECT TO CERTAIN LIMITED EXCEPTIONS,
FROM COMMUNICATING SUCH INFORMATION TO ANY OTHER PERSON. EACH
LENDER AGREES TO COMPLY WITH APPLICABLE LAW AND ITS RESPECTIVE
CONTRACTUAL OBLIGATIONS WITH RESPECT TO CONFIDENTIAL AND MATERIAL
NON-PUBLIC INFORMATION. Each Lender that is not a Public Lender confirms to the Agent
that such Lender has adopted and will maintain internal policies and procedures reasonably
designed to permit such Lender to take delivery of Restricting Information (as defined below) and
maintain its compliance with applicable law and its respective contractual obligations with respect


                                                99
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 224 of 270



to confidential and material non-public information. A Public Lender may elect not to receive
Communications and Information that contains material non-public information with respect to
the Loan Parties or their securities (such Communications and Information, collectively,
“Restricting Information”), in which case it will identify itself to the Agent as a Public Lender.
Such Public Lender shall not take delivery of Restricting Information and shall not participate in
conversations or other interactions with the Agent Parties, any Lender or any Loan Party in which
Restricting Information may be discussed. No Agent Party, however, shall by making any
Communications and Information (including Restricting Information) available to a Lender
(including any Public Lender), by participating in any conversations or other interactions with a
Lender (including any Public Lender) or otherwise, be responsible or liable in any way for any
decision a Lender (including any Public Lender) may make to limit or to not limit its access to the
Communications and Information. In particular, no Agent Party shall have, and the Agent, on
behalf of all Agent Parties, hereby disclaims, any duty to ascertain or inquire as to whether or not
a Lender (including any Public Lender) has elected to receive Restricting Information, such
Lender’s policies or procedures regarding the safeguarding of material nonpublic information or
such Lender’s compliance with applicable laws related thereto. Each Public Lender acknowledges
that circumstances may arise that require it to refer to Communications and Information that might
contain Restricting Information. Accordingly, each Public Lender agrees that it will nominate at
least one designee to receive Communications and Information (including Restricting Information)
on its behalf and identify such designee (including such designee’s contact information) on such
Public Lender’s Administrative Questionnaire. Each Public Lender agrees to notify the
Administrative Agent in writing from time to time of such Public Lender’s designee’s address to
which notice of the availability of Restricting Information may be sent. Each Public Lender
confirms to the Agent and the Lenders that are not Public Lenders that such Public Lender
understands and agrees that the Agent and such other Lenders may have access to Restricting
Information that is not available to such Public Lender and that such Public Lender has elected to
make its decision to enter into this Agreement and to take or not take action under or based upon
this Agreement, any other Loan Document or related agreement knowing that, so long as such
Person remains a Public Lender, it does not and will not be provided access to such Restricting
Information. Nothing in this Section 10.02(i) shall modify or limit a Lender’s (including any
Public Lender) obligations under Section 10.08 with regard to Communications and Information
and the maintenance of the confidentiality of or other treatment of Communications or
Information.

Section 10.03 No Waiver; Cumulative Remedies. No failure by any Lender or the Agent to
exercise, and no delay by any such Person in exercising, any right, remedy, power or privilege
hereunder or under any other Loan Document shall operate as a waiver thereof; nor shall any single
or partial exercise of any right, remedy, power or privilege hereunder preclude any other or further
exercise thereof or the exercise of any other right, remedy, power or privilege. The rights,
remedies, powers and privileges herein provided, and provided under each other Loan Document,
are cumulative and not exclusive of any rights, remedies, powers and privileges provided by Law.

Section 10.04 Costs and Expenses. The Borrower agrees (a) to pay or reimburse the Agent and
Lenders for all reasonable and documented out-of-pocket costs and expenses incurred before, on
or after the Closing Date in connection with the preparation, execution, delivery and administration
of this Agreement and the other Loan Documents, and any amendment, waiver, consent or other
modification of the provisions hereof and thereof requested by the Borrower or negotiated in


                                                100
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 225 of 270



consultation with Borrower (in each case, whether or not the transactions contemplated thereby
are consummated), including all Attorney Costs, (b) to pay or reimburse the Agent and each
Lender for all reasonable and documented out-of-pocket costs and expenses incurred in connection
with the enforcement of any rights or remedies under this Agreement or the other Loan Documents
(including all Attorney Costs and other costs and expenses incurred in connection with any
workout or restructuring in respect of the Loans and all such costs and expenses incurred during
any legal proceeding, including any proceeding in the Chapter 11 Case and (c) without limiting
the generality of the foregoing, to pay all reasonable and documented out-of-pocket fees and
expenses of any financial advisory, appraisers or accounting firm retained by or for the benefit of
the Agent or Lenders or by King & Spalding LLP, as counsel to the Agent or Lenders, as
applicable, including, without limitation, the fees and expenses of the Financial Advisor. The
Borrower’s obligation to pay all such reasonable and documented out-of-pocket costs, expenses
and charges includes, without limitation, any such costs, expenses and charges that accrue after
any conversion of the Chapter 11 Case to proceedings administered under Chapter 7 of the
Bankruptcy Code. The foregoing costs and expenses shall include all reasonable search, filing,
recording and title insurance charges and fees related thereto, and other reasonable and
documented out-of-pocket expenses incurred by the Agent. The agreements in this Section 10.04
shall survive the termination of the Aggregate Commitments and repayment of all other
Obligations. All amounts due under this Section 10.04 shall be paid within ten (10) Business Days
of receipt by the Borrower of an invoice relating thereto setting forth such expenses in reasonable
detail. If any Loan Party fails to pay when due any costs, expenses or other amounts payable by
it hereunder or under any Loan Document, such amount may be paid on behalf of such Loan Party
by the Agent in its sole discretion.

Section 10.05 Indemnification by the Borrower. (a) Whether or not the transactions contemplated
hereby are consummated, the Borrower shall indemnify and hold harmless the Agent, each
Agent-Related Person (including without limitation, King & Spalding LLP), each Lender and their
respective Affiliates, directors, officers, employees, counsel, agents, trustees, advisors and
attorneys-in-fact (including without limitation, King & Spalding LLP and Perella Weinberg
Partners LLC) (collectively the “Indemnitees”) from and against any and all liabilities,
obligations, losses, taxes, damages, penalties, claims, demands, actions, judgments, suits, costs,
expenses and disbursements (including one counsel to the Agent and a separate counsel to the
Lenders, taken as a whole) (and, in the event of any actual conflict of interest, additional counsel
to the affected parties) of any kind or nature whatsoever which may at any time be imposed on,
incurred by or asserted against any such Indemnitee in any way relating to or arising out of or in
connection with (i) the execution, delivery, enforcement, performance or administration of any
Loan Document or any other agreement, letter or instrument delivered in connection with the
transactions contemplated thereby or the consummation of the transactions contemplated thereby,
(ii) any Commitment or Loan or the use or proposed use of the proceeds therefrom, (iii) any actual
or alleged presence or release of Hazardous Materials on, at, under or from any property currently
or formerly owned or operated by the Borrower, any Subsidiary or any other Loan Party, or any
Environmental Liability related to the Borrower, any Subsidiary or any other Loan Party, or
(iv) any actual or prospective claim, litigation, investigation or proceeding relating to any of the
foregoing, whether based on contract, tort or any other theory (including any investigation of,
preparation for, or defense of any pending or threatened claim, investigation, litigation or
proceeding) (any of the foregoing described in this clause (iv), a “Proceeding”) (all the foregoing
described in clauses (ii) to (iv), collectively, the “Indemnified Liabilities”), in all cases, whether


                                                 101
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 226 of 270



or not caused by or arising, in whole or in part, out of the negligence of the Indemnitee and whether
brought by an Indemnitee, a third party or by the Borrower or any other Loan Party or any of the
Borrower’s or such Loan Party’s directors, shareholders or creditors, and regardless of whether
any Indemnitee is a party thereto and whether or not any of the transactions contemplated hereby
are consummated; provided that such indemnity shall not, as to any Indemnitees, be available to
the extent that such liabilities, obligations, losses, damages, penalties, claims, demands, actions,
judgments, suits, costs, expenses or disbursements resulted from the gross negligence or willful
misconduct of such Indemnitee or of any affiliate, director, officer, employee, counsel, agent or
attorney-in-fact of such Indemnitee as determined by a final non-appealable judgment of a court
of competent jurisdiction. No Indemnitee shall be liable for any damages arising from the use by
others of any information or other materials obtained through the Platform, nor shall any
Indemnitee or any Loan Party have any liability for any special, punitive, indirect or consequential
damages relating to this Agreement or any other Loan Document. All amounts due in respect of
costs, expenses and disbursements under this Section 10.05 shall be paid within ten (10) Business
Days after demand therefor; provided, that each Indemnitee receiving any such reimbursement
shall repay such amounts to the relevant Loan Party in the event that such Indemnitee shall not be
entitled thereto pursuant to the provisions hereof. The agreements in this Section 10.05 shall
survive the resignation or removal of the Agent, the replacement of any Lender, the termination of
the Aggregate Commitments and the repayment, satisfaction or discharge of all the other
Obligations.

                 (c)     The Borrower shall not be liable for any settlement of any Proceedings
effected without its consent (which consent shall not be unreasonably withheld or delayed), but if
settled with the Borrower’s consent or if there is a final judgment for the plaintiff in such
Proceedings, the Borrower shall indemnify and hold harmless each Indemnitee from and against
any Indemnified Liabilities in accordance with the foregoing clause (a). The Borrower shall not,
without the prior written consent of an Indemnitee (which consent shall not be unreasonably
withheld or delayed), effect any settlement or consent to the entry of any judgment of any pending
or threatened Proceedings in respect of which indemnity could have been sought hereunder by
such Indemnitee unless (i) such settlement includes an unconditional release of such Indemnitee
in form and substance satisfactory to such Indemnitee from all liability on claims that are the
subject matter of such Proceedings, (ii) does not include any statement as to or any admission of
fault, culpability or a failure to act by or on behalf of any Indemnitee and (iii) contains customary
confidentiality and non-disparagement provisions.

                (d)    In the event that an Indemnitee is requested or required to appear as a
witness in any action brought by or on behalf of or against the Borrower or any of its Subsidiaries
or Affiliates in which such Indemnitee is not named as a defendant, the Borrower shall reimburse
such Indemnitee for all reasonable and documented expenses incurred by it in connection with
such Indemnitee’s appearing and preparing to appear as such a witness, including without
limitation, the reasonable and documented fees and expenses of its legal counsel.

Section 10.06 Payments Set Aside. To the extent that any payment by or on behalf of the
Borrower is made to the Agent or any Lender, or the A Agent or any Lender exercises its right of
setoff, and such payment or the proceeds of such setoff or any part thereof is subsequently
invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant to
any settlement entered into by the Agent or such Lender in its discretion) to be repaid to a trustee,


                                                102
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 227 of 270



receiver or any other party, in connection with any proceeding in the Chapter 11 Case or otherwise,
then (a) to the extent of such recovery, the obligation or part thereof originally intended to be
satisfied shall be revived and continued in full force and effect as if such payment had not been
made or such setoff had not occurred, and (b) each Lender severally agrees to pay to the Agent
upon demand its applicable share of any amount so recovered from or repaid by the Agent, plus
interest thereon from the date of such demand to the date such payment is made at a rate per annum
equal to the Applicable Rate.

Section 10.07 Successors and Assigns.

                (a)     Successors and Assigns Generally. The provisions of this Agreement shall
be binding upon and inure to the benefit of the parties hereto and their respective successors and
assigns permitted hereby, except that neither the Borrower nor any other Loan Party may assign
or otherwise transfer any of its rights or obligations hereunder without the prior written consent of
the Administrative Agent and each Lender, and no Lender may assign or otherwise transfer any of
its rights or obligations hereunder except (i) to an assignee in accordance with the provisions of
Section 10.07(b), (ii) by way of participation in accordance with the provisions of
Section 10.07(d), (iii) by way of pledge or assignment of a security interest subject to the
restrictions of Section 10.07(e) or (iv) to an SPC in accordance with the provisions of
Section 10.07(f) (and any other attempted assignment or transfer by any party hereto shall be null
and void). Nothing in this Agreement, expressed or implied, shall be construed to confer upon any
Person (other than the parties hereto, their respective successors and assigns permitted hereby,
Participants to the extent provided in Section 10.07(d) and, to the extent expressly contemplated
hereby, the Related Parties of each of the Agent and the Lenders) any legal or equitable right,
remedy or claim under or by reason of this Agreement.

               (b)      Assignments by Lenders. Any Lender may at any time assign to one or
more assignees all or a portion of its Commitment and/or the Loans at the time owing to it (and its
rights and obligations under this Agreement relating thereto); provided that any such assignment
shall be subject to the following conditions:

               (i)      Minimum Amounts.

                       (A)      in the case of an assignment of the entire remaining amount of the
               assigning Lender’s Commitment and/or the Loans at the time owing to it or
               contemporaneous assignments to related Approved Funds (determined after giving
               effect to such assignments) that equal at least the amount specified in paragraph
               (b)(i)(B) of this Section in the aggregate or in the case of an assignment to a Lender,
               an Affiliate of a Lender or an Approved Fund, no minimum amount need be
               assigned; and

                       (B)     in any case not described in paragraph (b)(i)(A) of this Section, the
               aggregate amount of the Commitment (which for this purpose includes Loans
               outstanding thereunder) or, if the applicable Commitment is not then in effect, the
               principal outstanding balance of the Loans of the assigning Lender subject to each
               such assignment (determined as of the date the Assignment and Assumption with
               respect to such assignment is delivered to the Administrative Agent or, if “Trade


                                                103
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 228 of 270



               Date” is specified in the Assignment and Assumption, as of the Trade Date) shall
               not be less than $1,000,000 unless the Administrative Agent consents (such consent
               not to be unreasonably withheld or delayed).

                       (ii)  Proportionate Amounts. Each partial assignment shall be made as
               an assignment of a proportionate part of all the assigning Lender’s rights and
               obligations under this Agreement with respect to the Loan or the Commitment
               assigned.

                       (iii)   Required Consents. Any such assignment shall require the prior
               written consent of the Borrower, which consent shall not be unreasonably withheld,
               conditioned, delayed or burdened; provided, however, that (A) no consent of the
               Borrower shall be required for an assignment to a Lender, to an Affiliate of a
               Lender, to an Approved Fund or, if an Event of Default has occurred and is
               continuing, to any other assignee, and (B) the Borrower shall be deemed to have
               consented to any such assignment unless it objects thereto by written notice
               delivered to the Administrative Agent within ten (10) Business Days after having
               received notice thereof.

                       (iv)    Assignment and Assumption. The parties to each assignment shall
               execute and deliver to the Administrative Agent an Assignment and Assumption,
               together with a processing and recordation fee of $3,500; provided that the
               Administrative Agent may, in its sole discretion, elect to waive such processing and
               recordation fee in the case of any assignment. The assignee, if it is not a Lender,
               shall deliver to the Administrative Agent an Administrative Questionnaire and the
               tax documentation required pursuant to Section 3.01.

                       (v)     [Reserved].

                      (vi)   No Assignment to Natural Persons. No such assignment shall be
               made to a natural Person (or a holding company, investment vehicle or trust for, or
               owned and operated for the primary benefit of, a natural Person).

Subject to acceptance and recording thereof by the Administrative Agent pursuant to
Section 10.07(c), from and after the effective date specified in each Assignment and Assumption,
the assignee thereunder shall be a party to this Agreement and, to the extent of the interest assigned
by such Assignment and Assumption, have the rights and obligations of a Lender under this
Agreement, and the assigning Lender thereunder shall, to the extent of the interest assigned by
such Assignment and Assumption, be released from its obligations under this Agreement (and, in
the case of an Assignment and Assumption covering all of the assigning Lender’s rights and
obligations under this Agreement, such Lender shall cease to be a party hereto) but shall continue
to be entitled to the benefits of Sections 3.01, 3.04, 10.04 and 10.05 with respect to facts and
circumstances occurring prior to the effective date of such assignment. Any assignment or transfer
by a Lender of rights or obligations under this Agreement that does not comply with this paragraph
shall be treated for purposes of this Agreement as a sale by such Lender of a participation in such
rights and obligations in accordance with paragraph (d) of this Section.




                                                 104
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 229 of 270



                (c)    Register. The Administrative Agent shall maintain at the Administrative
Agent’s Office a copy of each Assignment and Assumption delivered to it and a register for the
recordation of the names and addresses of the Lenders, and the Commitments of, and principal
amounts (and stated interest) of the Loans owing to, each Lender pursuant to the terms hereof from
time to time (the “Register”). The entries in the Register shall be conclusive absent manifest error,
and the Borrower, the Administrative Agent and the Lenders shall treat each Person whose name
is recorded in the Register pursuant to the terms hereof as a Lender hereunder for all purposes of
this Agreement. The Register shall be available for inspection by the Borrower and any Lender,
at any reasonable time and from time to time upon reasonable prior notice.

                (d)     Participations. Any Lender may at any time, without the consent of, or
notice to, the Borrower or the Administrative Agent, sell participations to any Person (other than
a natural Person, or a holding company, investment vehicle or trust for, or owned and operated for
the primary benefit of, a natural Person, or the Borrower or any of the Borrower’s Affiliates or
Subsidiaries) (each, a “Participant”) in all or a portion of its Commitment and/or the Loans at the
time owing to it (and its rights and obligations under this Agreement relating thereto); provided
that (i) such Lender’s obligations under this Agreement shall remain unchanged, (ii) such Lender
shall remain solely responsible to the other parties hereto for the performance of such obligations,
and (iii) the Borrower, the Administrative Agent and Lenders shall continue to deal solely and
directly with such Lender in connection with such Lender’s rights and obligations under this
Agreement. For the avoidance of doubt, each Lender shall be responsible for the indemnity under
Section 9.07 with respect to any payments made by such Lender to its Participant(s).

                Any agreement or instrument pursuant to which a Lender sells such a participation
shall provide that such Lender shall retain the sole right to enforce this Agreement and the other
Loan Documents and to approve any amendment, modification or waiver of any provision of this
Agreement or the other Loan Documents; provided that such agreement or instrument may provide
that such Lender will not, without the consent of the Participant, agree to any amendment, waiver
or other modification described in Section 10.01(a) or Section 10.01(b) that directly and adversely
affects such Participant. The Borrower agrees that each Participant shall be entitled to the benefits
of Sections 3.01 and 3.04 (subject to the requirements and limitations therein, including the
requirements under Section 3.01(g) (it being understood that the documentation required under
Section 3.01(g) shall be delivered to the participating Lender)) to the same extent as if it were a
Lender and had acquired its interest by assignment pursuant to paragraph (b) of this Section;
provided that such Participant shall not be entitled to receive any greater payment under
Sections 3.01 or 3.04, with respect to any participation, than its participating Lender would have
been entitled to receive, except to the extent such entitlement to receive a greater payment results
from a Change in Law that occurs after the Participant acquired the applicable participation. Each
Lender that sells a participation agrees, at the Borrower’s request and expense, to use reasonable
efforts to cooperate with the Borrower to effectuate the provisions of Section 3.07(b) with respect
to any Participant. To the extent permitted by applicable Law, each Participant also shall be entitled
to the benefits of Section 10.09 as though it were a Lender; provided that such Participant agrees
to be subject to Section 2.10 as though it were a Lender. Each Lender that sells a participation
shall, acting solely for this purpose as a non-fiduciary agent of the Borrower, maintain a register
on which it enters the name and address of each Participant and the principal amounts (and stated
interest) of each Participant’s interest in the Loans or other obligations under the Loan Documents
(the “Participant Register”); provided that no Lender shall have any obligation to disclose all or


                                                 105
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 230 of 270



any portion of the Participant Register (including the identity of any Participant or any information
relating to a Participant’s interest in any commitments, loans, letters of credit or its other
obligations under any Loan Document) to any Person except to the extent that such disclosure is
necessary to establish that such commitment, loan, letter of credit or other obligation is in
registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The
Participant Register shall be available for inspection by the Administrative Agent and any Lender
at any reasonable time and from time to time upon reasonable prior notice. The entries in the
Participant Register shall be conclusive absent manifest error, and such Lender shall treat each
Person whose name is recorded in the Participant Register as the owner of such participation for
all purposes of this Agreement notwithstanding any notice to the contrary. For the avoidance of
doubt, the Administrative Agent (in its capacity as Administrative Agent) shall have no
responsibility for maintaining a Participant Register.

                 (e)     Certain Pledges. Any Lender may at any time pledge or assign a security
interest in all or any portion of its rights under this Agreement (including under its Note, if any) to
secure obligations of such Lender, including any pledge or assignment to secure obligations to a
Federal Reserve Bank or central bank having jurisdiction over such Lender; provided that no such
pledge or assignment shall release such Lender from any of its obligations hereunder or substitute
any such pledgee or assignee for such Lender as a party hereto.

                (f)    SPCs. Notwithstanding anything to the contrary contained herein, any
Lender (a “Granting Lender”) may grant to a special purpose funding vehicle identified as such in
writing from time to time by the Granting Lender to the Agent and the Borrower (an “SPC”) the
option to provide all or any part of any Loan that such Granting Lender would otherwise be
obligated to make pursuant to this Agreement; provided that (i) nothing herein shall constitute a
commitment by any SPC to fund any Loan and (ii) if an SPC elects not to exercise such option or
otherwise fails to make all or any part of such Loan, the Granting Lender shall be obligated to
make such Loan pursuant to the terms hereof. Each party hereto hereby agrees that (i) neither the
grant to any SPC nor the exercise by any SPC of such option shall increase the costs or expenses
or otherwise increase or change the obligations of the Borrower under this Agreement (including
its obligations under Section 3.01 or 3.04), (ii) no SPC shall be liable for any indemnity or similar
payment obligation under this Agreement for which a Lender would be liable and such liability
shall remain with the Granting Lender, and (iii) the Granting Lender shall for all purposes,
including the approval of any amendment, waiver or other modification of any provision of any
Loan Document, remain the lender of record hereunder. The making of a Loan by an SPC
hereunder shall utilize the Commitment of the Granting Lender to the same extent, and as if, such
Loan were made by such Granting Lender. Notwithstanding anything to the contrary contained
herein, any SPC may (i) with notice to, but without prior consent of the Borrower and the Agent,
assign all or any portion of its right to receive payment with respect to any Loan to the Granting
Lender and (ii) disclose on a confidential basis any non-public information relating to its funding
of Loans to any rating agency, commercial paper dealer or provider of any surety or Guarantee
Obligation or credit or liquidity enhancement to such SPC.

                 (g)    Notwithstanding anything to the contrary contained herein, (1) any Lender
may in accordance with applicable Law create a security interest in all or any portion of the Loans
owing to it and the Note, if any, held by it and (2) any Lender that is a Fund may create a security
interest in all or any portion of the Loans owing to it and the Note, if any, held by it to the trustee


                                                 106
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 231 of 270



for holders of obligations owed, or securities issued, by such Fund as security for such obligations
or securities; provided that unless and until such trustee actually becomes a Lender in compliance
with the other provisions of this Section 10.07, (i) no such pledge shall release the pledging Lender
from any of its obligations under the Loan Documents and (ii) such trustee shall not be entitled to
exercise any of the rights of a Lender under the Loan Documents even though such trustee may
have acquired ownership rights with respect to the pledged interest through foreclosure or
otherwise.

Section 10.08 Confidentiality. Each of the Agent and the Lenders agrees to maintain the
confidentiality of the Information and to not use or disclose such information, except that
Information may be disclosed (a) to its Affiliates and its and its Affiliates’ directors, officers,
employees, trustees, investment advisors and agents, including accountants, legal counsel and
other advisors (it being understood that the Persons to whom such disclosure is made will be
informed of the confidential nature of such Information and instructed to keep such Information
confidential); (b) to the extent requested by any Governmental Authority or examiner regulating
any Lender or the Agent; (c) to the extent required by applicable Laws or regulations or by any
subpoena or similar legal process; (d) to any other party to this Agreement; (e) to any pledgee
referred to in Section 10.07(e) or Section 10.07(g), Eligible Assignee of or Participant in, or any
prospective Eligible Assignee of or Participant in, any of its rights or obligations under this
Agreement (it being understood that the Persons to whom such disclosure is made will be informed
of the confidential nature of such Information and instructed to keep such Information
confidential); (f) with the written consent of the Borrower; (g) to the extent such Information
becomes publicly available other than as a result of a breach of this Section 10.08 by the disclosing
party; (h) to any rating agency when required by it (it being understood that, prior to any such
disclosure, such rating agency shall undertake to preserve the confidentiality of any Information
relating to the Loan Parties received by it from such Lender); (i) to the extent not known by it to
consist of non-public information, (j) for purposes of establishing a “due diligence” defense or
(k) in connection with the exercise of any remedies hereunder or under any other Loan Document
or any action or proceeding relating to this Agreement or any other Loan Document or the
enforcement of rights hereunder or thereunder. In addition, the Agent and the Lenders may
disclose the existence of this Agreement and information about this Agreement to market data
collectors, similar service providers to the lending industry, and service providers to the Agent and
the Lenders in connection with the administration and management of this Agreement, the other
Loan Documents, the Commitments and the Loans. For the purposes of this Section 10.08,
“Information” means all information received from any Loan Party or its Affiliates or its Affiliates’
directors, officers, employees, trustees, investment advisors or agents, relating to the Borrower or
any of their Subsidiaries or their business, other than any such information that is publicly available
to the Agent or any Lender prior to disclosure by any Loan Party other than as a result of a breach
of this Section 10.08, including, without limitation, information delivered pursuant to
Section 6.01, 6.02 or 6.03 hereof.

Section 10.09 Setoff. In addition to any rights and remedies of the Agent and the Lenders
provided by Law, upon the occurrence and during the continuance of any Event of Default, subject
to the applicable Financing Order, each Lender and its Affiliates and the Agent and its Affiliates
is authorized at any time and from time to time, without prior notice to the Borrower or any other
Loan Party, any such notice being waived by the Borrower (on its own behalf and on behalf of
each Loan Party and its Subsidiaries) to the fullest extent permitted by applicable Law, to set off


                                                 107
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 232 of 270



and apply any and all deposits (general or special, time or demand, provisional or final) at any time
held by, and other Indebtedness at any time owing by, such Lender and its Affiliates or the Agent
and its Affiliates, as the case may be, to or for the credit or the account of the respective Loan
Parties and their Subsidiaries against any and all Obligations owing to such Lender and its
Affiliates or the Agent and its Affiliates hereunder or under any other Loan Document, now or
hereafter existing, irrespective of whether or not the Agent or such Lender or Affiliate shall have
made demand under this Agreement or any other Loan Document and although such Obligations
may be contingent or unmatured or denominated in a currency different from that of the applicable
deposit or Indebtedness. Each Lender and the Agent agrees promptly to notify the Borrower and
the Agent after any such set off and application made by such Lender or the Agent, as the case
may be; provided that the failure to give such notice shall not affect the validity of such setoff and
application. The rights of the Agent and each lender under this Section 10.09 are in addition to
other rights and remedies (including other rights of setoff) that the Agent and such Lender may
have.

Section 10.10 Counterparts. This Agreement and each other Loan Document may be executed in
one or more counterparts, each of which shall be deemed an original, but all of which together
shall constitute one and the same instrument. Delivery by facsimile transmission or other
electronic transmission (including a .pdf or .tif copy) of an executed counterpart of a signature
page to this Agreement and each other Loan Document shall be effective as delivery of an original
executed counterpart of this Agreement and such other Loan Document; provided that original
signatures shall be promptly delivered thereafter, it being understood that that the failure to request
or deliver the same shall not limit the effectiveness of any document or signature delivered by
facsimile or electronic transmission.

Section 10.11 Integration. This Agreement comprises the complete and integrated agreement of
the parties on the subject matter hereof and thereof and supersedes all prior agreements, written or
oral, on such subject matter. In the event of any conflict or inconsistency between the provisions
of this Agreement and those of any other Loan Document, the provisions of this Agreement shall
control; provided that the inclusion of supplemental rights or remedies in favor of the Agent or the
Lenders in any other Loan Document shall not be deemed a conflict or inconsistency with this
Agreement. Each Loan Document was drafted with the joint participation of the respective parties
thereto and shall be construed neither against nor in favor of any party, but rather in accordance
with the fair meaning thereof.

Section 10.12 Survival of Representations and Warranties. All representations and warranties
made hereunder and in any other Loan Document or other document delivered pursuant hereto or
thereto or in connection herewith or therewith shall survive the execution and delivery hereof and
thereof. Such representations and warranties have been or will be relied upon by the Agent and
each Lender, regardless of any investigation made by the Agent or any Lender or on their behalf
and notwithstanding that the Agent or any Lender may have had notice or knowledge of any
Default at the time of any Loan, and shall continue in full force and effect as long as any Loan or
any other Obligation hereunder shall remain unpaid or unsatisfied.

Section 10.13 Severability. If any provision of this Agreement or the other Loan Documents is
held to be illegal, invalid or unenforceable, the legality, validity and enforceability of the remaining
provisions of this Agreement and the other Loan Documents shall not be affected or impaired


                                                 108
 24-22284-dsj     Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                       Pg 233 of 270



thereby. The invalidity of a provision in a particular jurisdiction shall not invalidate or render
unenforceable such provision in any other jurisdiction.

Section 10.14 GOVERNING LAW. (a) THIS AGREEMENT AND EACH OTHER LOAN
DOCUMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH,
THE LAW OF THE STATE OF NEW YORK AND, TO THE EXTENT APPLICABLE, THE
BANKRUPTCY CODE (EXCEPT, WITH RESPECT TO ANY OTHER LOAN DOCUMENT,
AS OTHERWISE EXPRESSLY PROVIDED THEREIN); PROVIDED THAT THE AGENT
AND THE LENDERS SHALL RETAIN ALL RIGHTS ARISING UNDER FEDERAL LAW.

           (b)  ANY LEGAL ACTION OR PROCEEDING ARISING UNDER ANY
LOAN DOCUMENT OR IN ANY WAY CONNECTED WITH OR RELATED OR
INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM WITH
RESPECT TO ANY LOAN DOCUMENT, OR THE TRANSACTIONS RELATED HERETO
OR THERETO, IN EACH CASE WHETHER NOW EXISTING OR HEREAFTER ARISING,
SHALL, EXCEPT AS OTHERWISE SET FORTH IN THE LOAN DOCUMENTS, BE
BROUGHT EXCLUSIVELY IN THE BANKRUPTCY COURT, AND IF THE BANKRUPTCY
COURT DOES NOT HAVE OR ABSTAINS FROM JURISDICTION, THE COURTS OF THE
STATE OF NEW YORK LOCATED IN NEW YORK COUNTY OR OF THE UNITED STATES
FOR THE SOUTHERN DISTRICT OF SUCH STATE, AND BY EXECUTION AND
DELIVERY OF THIS AGREEMENT, THE BORROWER, THE AGENT AND EACH LENDER
CONSENTS, FOR ITSELF AND IN RESPECT OF ITS PROPERTY, TO THE JURISDICTION
OF THOSE COURTS.      THE BORROWER, THE AGENT AND EACH LENDER
IRREVOCABLY WAIVES ANY OBJECTION, INCLUDING ANY OBJECTION TO THE
LAYING OF VENUE OR BASED ON THE GROUNDS OF FORUM NON CONVENIENS,
WHICH IT MAY NOW OR HEREAFTER HAVE TO THE BRINGING OF ANY ACTION OR
PROCEEDING IN SUCH JURISDICTION IN RESPECT OF ANY LOAN DOCUMENT OR
OTHER DOCUMENT RELATED THERETO.

Section 10.15 WAIVER OF RIGHT TO TRIAL BY JURY. EACH PARTY TO THIS
AGREEMENT HEREBY EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY OF ANY
CLAIM, DEMAND, ACTION OR CAUSE OF ACTION ARISING UNDER ANY LOAN
DOCUMENT OR IN ANY WAY CONNECTED WITH OR RELATED OR INCIDENTAL TO
THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM WITH RESPECT TO ANY
LOAN DOCUMENT, OR THE TRANSACTIONS RELATED HERETO OR THERETO, IN
EACH CASE WHETHER NOW EXISTING OR HEREAFTER ARISING, AND WHETHER
FOUNDED IN CONTRACT OR TORT OR OTHERWISE; AND EACH PARTY HEREBY
AGREES AND CONSENTS THAT ANY SUCH CLAIM, DEMAND, ACTION OR CAUSE OF
ACTION SHALL BE DECIDED BY COURT TRIAL WITHOUT A JURY, AND THAT ANY
PARTY TO THIS AGREEMENT MAY FILE AN ORIGINAL COUNTERPART OR A COPY
OF THIS SECTION 10.15 WITH ANY COURT AS WRITTEN EVIDENCE OF THE
CONSENT OF THE SIGNATORIES HERETO TO THE WAIVER OF THEIR RIGHT TO
TRIAL BY JURY.

Section 10.16 Binding Effect. This Agreement shall become effective when it shall have been
executed by the Borrower and the Agent, and the Administrative Agent shall have been notified
by each Lender that each such Lender has executed it and thereafter shall be binding upon and


                                               109
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 234 of 270



inure to the benefit of the Borrower, the Agent and each Lender and their respective successors
and assigns, except that the Borrower shall not have the right to assign its rights hereunder or any
interest herein without the prior written consent of the Required Lenders.

Section 10.17 Lender Action. Each Lender agrees that it shall not take or institute any actions or
proceedings, judicial or otherwise, for any right or remedy against any Loan Party or any other
obligor under any of the Loan Documents (including the exercise of any right of setoff, rights on
account of any banker’s lien or similar claim or other rights of self-help), or institute any actions
or proceedings, or otherwise commence any remedial procedures, with respect to any Collateral
or any other property of any such Loan Party, without the prior written consent of the Collateral
Agent. The provision of this Section 10.17 are for the sole benefit of the Lenders and shall not
afford any right to, or constitute a defense available to, any Loan Party.

Section 10.18 PATRIOT Act. Each Lender hereby notifies the Borrower that pursuant to the
requirements of the PATRIOT Act, it is required to obtain, verify and record information that
identifies the Borrower, which information includes the name and address of the Borrower and
other information that will allow such Lender to identify the Borrower in accordance with the
PATRIOT Act. The Borrower agrees to provide, and to cause each other Loan Party to provide,
such information promptly upon request.

Section 10.19 No Advisory or Fiduciary Responsibility. In connection with all aspects of each
transaction contemplated hereby (including in connection with any amendment, waiver or other
modification hereof or of any other Loan Document), the Borrower acknowledges and agrees, and
acknowledges and agrees that it has informed its other Affiliates, that: (i) (A) no fiduciary,
advisory or agency relationship between any of the Borrower and its Subsidiaries and the Agent
or any Lender is intended to be or has been created in respect of any of the transactions
contemplated hereby and by the other Loan Documents, irrespective of whether the Agent or any
Lender has advised or is advising any of the Borrower and its Subsidiaries on other matters, (B) the
arranging and other services regarding this Agreement provided by the Agent and the Lenders are
arm’s-length commercial transactions between the Loan Parties, on the one hand, and the Agent
and the Lenders, on the other hand, (C) the Borrower has consulted its own legal, accounting,
regulatory and tax advisors to the extent it has deemed appropriate, and (D) the Borrower is capable
of evaluating, and understands and accepts, the terms, risks and conditions of the transactions
contemplated hereby and by the other Loan Documents; (ii) (A) the Agent and each of the Lenders
is and has been acting solely as a principal and, except as may otherwise be expressly agreed in
writing by the relevant parties, has not been, is not, and will not be acting as an advisor, agent or
fiduciary for the Borrower or any of its Affiliates, or any other Person and (B) none of the Agent
or any Lender has any obligation to the Borrower or any of its Affiliates with respect to the
transactions contemplated hereby except those obligations expressly set forth herein and in the
other Loan Documents; and (iii) the Agent and the Lenders and their respective Affiliates may be
engaged in a broad range of transactions that involve interests that differ from those of the
Borrower and its Affiliates, and none of the Agent or any Lender has any obligation to disclose
any of such interests and transactions to the Borrower or any of its Affiliates. To the fullest extent
permitted by law, the Borrower hereby waives and releases any claims that it may have against the
Agent and the Lenders with respect to any breach or alleged breach of agency or fiduciary duty in
connection with any aspect of any transaction contemplated hereby.



                                                 110
 24-22284-dsj        Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 235 of 270



Section 10.20 Acknowledgement and Consent to Bail-In of Affected Financial Institution.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any
liability of any Lender that is an Affected Financial Institution arising under any Loan Document,
to the extent such liability is unsecured, may be subject to the Write-Down and Conversion Powers
of the applicable Resolution Authority and agrees and consents to, and acknowledges and agrees
to be bound by:

              (a)      the application of any Write-Down and Conversion Powers by the
       applicable Resolution Authority to any such liabilities arising hereunder which may be
       payable to it by any Lender that is an Affected Financial Institution; and

              (b)       the effects of any Bail-In Action on any such liability, including, if
       applicable:

               (i)      a reduction in full or in part or cancellation of any such liability;

               (ii)    a conversion of all, or a portion of, such liability into shares or other
       instruments of ownership in such Affected Financial Institution, its parent undertaking, or
       a bridge institution that may be issued to it or otherwise conferred on it, and that such shares
       or other instruments of ownership will be accepted by it in lieu of any rights with respect
       to any such liability under this Agreement or any other Loan Document; or

              (iii) the variation of the terms of such liability in connection with the exercise of
       the Write-Down and Conversion Powers of the applicable Resolution Authority.

Section 10.21 Conflicts with Financing Orders. In the event of a conflict between any provision
of this Agreement and any Financing Order, such Financing Order shall govern.

Section 10.22 Limitations for Swiss Loan Parties.

                (a)    Notwithstanding anything to the contrary in this Agreement or any other
Loan Document, the fulfilment of any obligation of, and the application of proceeds from the
enforcement of any security interest or guarantee granted by, any Swiss Loan Party under this
Agreement or under any other Loan Document to satisfy obligations of another Loan Party (other
than obligations of any of that Swiss Loan Party's wholly-owned direct or indirect subsidiaries)
("Swiss Restricted Obligations") shall be limited to the maximum amount permitted by law at
the time of fulfilment or enforcement (as the case may be) ("Swiss Limitation").

                (b)    The Swiss Limitation shall not release any Swiss Loan Party from the
fulfilment of its obligations or the application of enforcement proceeds in excess of the Swiss
Limitation, but merely postpone the performance date thereof until such time as it is again
permitted notwithstanding the Swiss Limitation. Each Swiss Loan Party shall take all action and
cause all action to be taken to enable the fulfilment of its obligations or the application of
enforcement proceeds as soon as possible and in an amount as large as possible notwithstanding
the Swiss Limitation. In particular, to the extent permitted by law and Swiss accounting standards
and upon request by the Administrative Agent, each Swiss Loan Party shall:



                                                  111
 24-22284-dsj          Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                            Pg 236 of 270



               (i)     write up or sell any of its assets that are shown in its balance sheet with a
               book value that is significantly lower than the market value of the assets, in case of
               a sale, however, only if such assets are not necessary for the Swiss Loan Party's
               business (nicht betriebsnotwendig); and

               (ii)       reduce its share capital to the minimum allowed under then applicable law.

                (c)   To the extent that the fulfilment of any obligation or the application of
proceeds from the enforcement of any security or guarantee to satisfy Swiss Restricted Obligations
are subject to Swiss Withholding Tax, the Swiss Loan Party:

                (i)       Shall:

                          (A)      use its best efforts to procure that the fulfilment of such obligation
                                   or the application of such enforcement proceeds can be made
                                   without deduction of Swiss Withholding Tax by discharging the
                                   liability of such tax by notification pursuant to applicable law rather
                                   than payment of the tax;

                          (B)      if the notification procedure pursuant to sub-paragraph (A) above
                                   does not apply, deduct the Swiss Withholding Tax at such rate (i) as
                                   in force from time to time or (ii) as provided by any applicable
                                   double tax treaties, from the respective amount to be paid and
                                   promptly pay any such Swiss Withholding Tax deducted to the
                                   Swiss Federal Tax Administration; and

                          (C)      provide the Administrative Agent with evidence that such a
                                   notification of the Swiss Federal Tax Administration has been made
                                   or, as the case may be, such Swiss Withholding Tax deducted has
                                   been paid to the Swiss Federal Tax Administration;

                (ii)      shall use its best efforts to procure that any person who is entitled to a full
                          or partial refund of the Swiss Withholding Tax deducted pursuant to this
                          paragraph (ii):

                          (A)      requests a refund of the Swiss Withholding Tax under applicable law
                                   as soon as possible; and

                          (B)      pays to the Administrative Agent upon receipt any amount so
                                   refunded to cover any outstanding part of the Restricted Obligation;

             (iii)     notwithstanding anything to the contrary in any Loan Document, shall not be
                       required to gross up, indemnify or hold harmless any Finance Party for the
                       deduction of Swiss Withholding Tax in an amount exceeding the Swiss
                       Limitation, provided that this should not in any way limit any obligations of any
                       other Loan Party under the Loan Documents to indemnify the Finance Parties
                       in respect of the deduction of the Swiss Withholding Tax.



                                                    112
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 237 of 270



The Administrative Agent shall deduct the amount necessary for payment of the Swiss
Withholding Tax (at the expense of the Finance Parties) from the net proceeds from the
enforcement of any security interest or guarantee which is subject to the Swiss Limitation and
shall pay, on behalf of the Swiss Loan Party, such amount to the Swiss Federal Tax
Administration. The Swiss Loan Party shall provide to the Administrative Agent (or shall
procure that the Administrative Agent will be provided with) any evidence and/or documents
requested by the Swiss Federal Tax Administration in connection with the deduction of such
Swiss Withholding Tax.


                                          ARTICLE XI

                                          GUARANTEE


        Section 11.01. Guarantee. Subject to the Financing Orders, each Guarantor unconditionally
guarantees, jointly with the other Guarantors and severally, to the Agent for the ratable benefit of
the Secured Parties, as a primary obligor and not merely as a surety, the due and punctual payment
and performance of the Obligations. Each Guarantor further agrees that the Obligations may be
extended or renewed, in whole or in part, or amended or modified, in each case, in accordance
with the terms of the Loan Documents, without notice to or further assent from such Guarantor,
and that such Guarantor will remain bound upon its guarantee hereunder notwithstanding any
extension or renewal, or amendment or modification, of any Obligation. Each Guarantor waives
promptness, presentment to, demand of payment from and protest to the Borrower or any other
Loan Party of any of the Obligations, and also waives notice of acceptance of its guarantee and
notice of protest for nonpayment. Capitalized terms used but not defined in this Article IXX shall
have the meaning set forth in the New York UCC.

        Section 11.02. Guarantee of Payment and Performance; Continuing Guarantee. Each
Guarantor further agrees that its guarantee hereunder constitutes a guarantee of payment and
performance when due (whether at the stated maturity, by acceleration or otherwise) and not
merely of collection, and waives any right to require that any resort be had by the Agent or any
other Secured Party to any security held for the payment of any of the Obligations or to any balance
of any Deposit Account or credit on the books of the Agent or any other Secured Party in favor of
any Loan Party or any other person. The obligations of each Guarantor hereunder are independent
of the obligations of the Borrower or any other Guarantor, and a separate action or actions may be
brought and prosecuted against each Guarantor whether or not action is brought against the
Borrower or any other Guarantor and whether or not the Borrower or any other Guarantor is joined
in any such action or actions. Each Guarantor agrees that its guarantee hereunder is continuing in
nature and applies to all of the Obligations, whether currently existing or hereafter incurred.

        Section 11.03. No Limitations, Etc. (a) Except for termination of a Guarantor’s obligations
hereunder as expressly provided for in this Agreement, the obligations of each Guarantor
hereunder shall not be subject to any reduction, limitation, impairment or termination for any
reason, including any claim of waiver, release, surrender, alteration or compromise, and shall not
be subject to any defense or setoff, counterclaim, recoupment or termination whatsoever by reason
of the invalidity, illegality or unenforceability of any of the Obligations, any impossibility in the


                                                113
 24-22284-dsj     Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                         Pg 238 of 270



performance of any of the Obligations or otherwise. Without limiting the generality of the
foregoing, except for termination or release of a Guarantor’s obligations hereunder in accordance
with the terms of this Agreement (but without prejudice to Section 11.04), the obligations of each
Guarantor hereunder, to the fullest extent permitted by applicable law, shall not be discharged or
impaired or otherwise affected by, and each Guarantor hereby waives any defense to the
enforcement hereof by reason of:

                      (i)    the failure of the Agent or any other Secured Party to assert any
               claim or demand or to exercise or enforce any right or remedy under the provisions
               of any Loan Document or otherwise;

                       (ii)  any rescission, waiver, amendment or modification of, or any
               release from any of the terms or provisions of, any Loan Document or any other
               agreement, including with respect to any other Guarantor under this Agreement;

                       (iii) the failure to perfect any security interest in, the impairment of or
               the release of, any of the Collateral held by or on behalf of the Collateral Agent or
               any other Secured Party for the Obligations;

                       (iv)   any default, failure or delay, willful or otherwise, in the performance
               of the Obligations;

                       (v)     any other act or omission that may in any manner or to any extent
               vary the risk of any Guarantor or otherwise operate as a discharge of any Guarantor
               as a matter of law or equity;

                     (vi)   any illegality, lack of validity or enforceability of any Obligation or
               any Loan Document;

                       (vii) any change in the corporate existence, structure or ownership of any
               Loan Party, or any insolvency, bankruptcy, reorganization or similar proceeding
               affecting any Loan Party or its assets or any resulting release or discharge of any of
               the Obligations;

                      (viii) the existence of any claim, set-off or other rights that any Guarantor
               may have at any time against the Borrower, the Agent, any other Secured Party or
               any other person, whether in connection herewith, the other Loan Documents or
               any unrelated transactions;

                       (ix)    this Agreement having been determined (on whatsoever grounds) to
               be invalid, non-binding or unenforceable against any other Guarantor ab initio or
               at any time after the Closing Date;

                       (x)    the fact that any person that, pursuant to the Loan Documents, was
               required to become a party hereto may not have executed or is not effectually bound
               by this Agreement, whether or not this fact is known to the Secured Parties;

                      (xi)    any action permitted or authorized hereunder;


                                                114
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 239 of 270



                      (xii) any other circumstance (including any statute of limitations) or any
               act or omission that may in any manner or to any extent vary the risk of any
               Guarantor or otherwise operate as a defense to, or a legal or equitable discharge of,
               the Borrower or any Guarantor or any other guarantor or surety (other than the
               payment in full in cash or immediately available funds of the Obligations (without
               prejudice to Section 11.04)); or

                      (xiii) any extension, renewal, settlement, compromise, waiver or release
               in respect of any obligation of the Borrower, any other Guarantor or any other
               person under any Loan Document, by operation of law or otherwise.

Each Guarantor expressly authorizes the Secured Parties to take and hold security for the payment
and performance of the Obligations, to exchange, waive or release any or all such security (with
or without consideration), to enforce or apply such security and direct the order and manner of any
sale thereof in their sole discretion or to release or substitute any one or more other guarantors or
obligors upon or in respect of the Obligations or take any other actions permitted by the Loan
Documents, all without affecting the obligations of any Guarantor hereunder.

                (b)     To the fullest extent permitted by applicable law and except for termination
or release of a Guarantor’s obligations hereunder in accordance with the terms of this Agreement
(but without prejudice to Section 11.04), each Guarantor waives any defense based on or arising
out of any defense of any other Loan Party or the unenforceability of the Obligations or any part
thereof from any cause, or the cessation from any cause of the liability of any other Loan Party,
other than, after all Commitments have been terminated, the payment in full in cash or immediately
available funds of all the Obligations (other than Unasserted Contingent Obligations) (but without
prejudice to Section 11.04). The Agent and the other Secured Parties may, at their election,
exercise any right or remedy available to them against any other Loan Party pursuant to this
Agreement or the other Loan Documents, without affecting or impairing in any way the liability
of any Guarantor hereunder except to the extent that after giving effect thereto all Obligations have
been terminated and paid in full (other than Unasserted Contingent Obligations) (but without
prejudice to Section 11.04). To the fullest extent permitted by applicable law, each Guarantor
waives any defense arising out of any such election or exercise by any Secured Party even though
such election or exercise operates, pursuant to applicable law, to impair or to extinguish any right
of reimbursement or subrogation or other right or remedy of such Guarantor against any other
Loan Party, or any security, including, without limitation, the Collateral. To the fullest extent
permitted by applicable law, each Guarantor waives any all suretyship defenses.

        Section 11.04. Reinstatement. Each Guarantor agrees that its guarantee hereunder shall
continue to be effective or be reinstated, as the case may be, if, at any time payment, or any part
thereof, of any Obligation is rescinded or must otherwise be restored by the Agent or any other
Secured Party upon the bankruptcy or reorganization (or analogous proceeding in any jurisdiction)
of the Borrower or any other Loan Party or otherwise. The provisions of this Section 11.04 shall
survive the termination of this Agreement.

        Section 11.05. Agreement To Pay; Contribution; Subrogation. In furtherance of the
foregoing and not in limitation of any other right that the Agent, or any other Secured Party has at
law or in equity against any Guarantor by virtue hereof, upon the failure of any Loan Party to pay


                                                115
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 240 of 270



any Obligation when and as the same shall become due, whether an amortization payment, at
maturity, by acceleration, after notice of prepayment or otherwise, each Guarantor hereby promises
to and will forthwith pay, or cause to be paid, to the Agent for distribution to the applicable Secured
Parties in cash or other immediately available funds the amount of such unpaid Obligation. Subject
to the foregoing, to the extent that any Guarantor shall, under this Agreement or the Credit
Agreement as a joint and several obligor, repay any of the Obligations constituting Loans or other
advances made to or reimbursement obligations owed by another Loan Party under the Credit
Agreement (an “Accommodation Payment”), then the Guarantor making such Accommodation
Payment shall be entitled to contribution and indemnification from, and be reimbursed by, each of
the other Guarantors in an amount equal to a fraction of such Accommodation Payment, the
numerator of which fraction is such other Guarantor’s Allocable Amount and the denominator of
which is the sum of the Allocable Amounts of all of the Guarantors; provided that such rights of
contribution and indemnification shall be subordinated to the discharge of Obligations. As of any
date of determination, the “Allocable Amount” of each Guarantor shall be equal to the maximum
amount of liability for Accommodation Payments which could be asserted against such Guarantor
hereunder and under the Credit Agreement without (a) rendering such Guarantor “insolvent”
within the meaning of Section 101 (31) of the Bankruptcy Code, Section 2 of the Uniform
Fraudulent Transfer Act (“UFTA”) or Section 2 of the Uniform Fraudulent Conveyance Act
(“UFCA”), (b) leaving such Guarantor with unreasonably small capital or assets, within the
meaning of Section 548 of the Bankruptcy Code, Section 4 of the UFTA, or Section 5 of the UFCA,
or (c) leaving such Guarantor unable to pay its debts as they become due within the meaning of
Section 548 of the Bankruptcy Code or Section 4 of the UFTA, or Section 5 of the UFCA. Upon
payment by any Guarantor of any sums to the Agent as provided above, all rights of such Guarantor
against the Borrower, any other Loan Party or any other Guarantor arising as a result thereof by
way of right of subrogation, contribution, reimbursement, indemnity or otherwise shall in all
respects be subject to Article VI hereof.

       Section 11.06. Information. Each Guarantor assumes all responsibility for being and
keeping itself informed of the financial condition and assets of the Borrower and each other Loan
Party and of all other circumstances bearing upon the risk of nonpayment of the Obligations and
the nature, scope and extent of the risks that such Guarantor assumes and incurs hereunder, and
agrees that no Secured Party will have any duty or obligation to advise such Guarantor of
information known to it or any of them regarding such circumstances or risks.

        Section 11.07. Maximum Liability. Each Guarantor, and by its acceptance of this
guarantee, each Secured Party hereby confirms that it is the intention of all such persons that this
guarantee and the Obligations of each Guarantor hereunder not constitute a fraudulent transfer or
conveyance for purposes of the Bankruptcy Code or any other federal, state or foreign bankruptcy,
insolvency, receivership or similar law, the UFCA, the UFTA or any similar foreign, federal or
state law to the extent applicable to this guarantee and the Obligations of each Guarantor
hereunder. To effectuate the foregoing intention, the Agent, the other Secured Parties and the
Guarantors hereby irrevocably agree that the Obligations of Guarantor under this guarantee at any
time shall be limited to the maximum amount as will result in the Obligations of such Guarantor
under this guarantee not being void or voidable under applicable law, including under Section 548
of the Bankruptcy Code or any comparable provisions under any other applicable law.




                                                 116
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                         Pg 241 of 270



      Section 11.08. Taxes. The provisions of Section 3.01 of this Agreement shall apply to each
Guarantor mutatis mutandis.




                                           ARTICLE XII

                                    PLEDGE OF SECURITIES

Section 12.01 Pledge. Subject to the Financing Orders, as security for the payment or
performance, as the case may be, in full of its Obligations, each Pledgor hereby pledges to the
Collateral Agent, its successors and permitted assigns, for the benefit of the Secured Parties, and
hereby grants to the Collateral Agent, its successors and permitted assigns, for the benefit of the
Secured Parties, a security interest in all of such Pledgor’s right, title and interest in, to and under:

        (a)(i) the Equity Interests directly owned by it (including those Equity Interests listed on
Error! Reference source not found.) and (ii) any other Equity Interests obtained in the future by
such Pledgor and, in each case, the certificates representing all such Equity Interests (the foregoing
clauses (i) and (ii), collectively, the “Pledged Equity Interests”); provided that the Pledged Equity
Interests shall not include any Equity Interests constituting an amount greater than 65% of the
voting Equity Interests of any “first tier” Foreign Subsidiary that are controlled financial
corporations (collectively, the “Excluded Equity Interests”);

        (b)(i) all Indebtedness and the promissory notes and any instruments evidencing such
Indebtedness owned by it as of the Closing Date (including those listed opposite the name of such
Pledgor on Error! Reference source not found.) and (ii) any promissory notes and instruments
and any Indebtedness in the future issued to such Pledgor (the foregoing clauses (i) and (ii)
collectively, the “Pledged Debt Securities”), in each case including all interest, cash, instruments
and other property from time to time received, receivable or otherwise distributed in respect of or
in exchange for any or all Pledged Debt Securities;

       (c) all payments of principal or interest, dividends, cash, instruments and other property
from time to time received, receivable or otherwise distributed in respect of, in exchange for or
upon the conversion of, and all other proceeds received in respect of, the securities referred to in
clauses e and interest in, to and under:

        (a) and (b) above;

        (d) all rights and privileges of such Pledgor with respect to the securities and other property
referred to in clauses e and interest in, to and under:

        (a), (b) and    (c) above; and

       (e) all proceeds of any of the foregoing (the items referred to in clauses e and interest in, to
and under:

        (a) through (e) being collectively referred to as the “Pledged Collateral”).


                                                  117
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59               Main Document
                                        Pg 242 of 270



                To have and to hold the Pledged Collateral, together with all right, title, interest,
powers, privileges and preferences pertaining or incidental thereto, unto the Collateral Agent, its
successors and permitted assigns, for the benefit of the Secured Parties, forever, subject, however,
to the terms, covenants and conditions hereinafter set forth.

Section 12.02 Voting Rights; Dividends and Interest, Etc. (a) Unless and until an Event of Default
shall have occurred and be continuing and the Collateral Agent shall have given written notice to
the relevant Pledgors of the Collateral Agent’s intention to exercise its rights hereunder:

                       (i)     Each Pledgor shall be entitled to exercise any and all voting and/or
               other consensual rights and powers inuring to an owner of Pledged Collateral or
               any part thereof for any purpose consistent with the terms of this Agreement, the
               Financing Orders, the Credit Agreement and the other Loan Documents; provided
               that, except as expressly permitted under the Credit Agreement and the Financing
               Orders, such rights and powers shall not be exercised in any manner that could
               materially and adversely affect the rights inuring to a holder of any Pledged
               Collateral, the rights and remedies of any of the Collateral Agent or the other
               Secured Parties under this Agreement, the Financing Orders, the Credit Agreement
               or any other Loan Document or the 118bilityy of the Secured Parties to exercise the
               same.

                      (ii)    The Collateral Agent shall promptly execute and deliver to each
               Pledgor (at such Pledgor’s sole expense), or cause to be executed and delivered to
               such Pledgor, all such proxies, powers of attorney and other instruments as such
               Pledgor may reasonably request for the purpose of enabling such Pledgor to
               exercise the voting and/or consensual rights and powers it is entitled to exercise
               pursuant to subparagraph (i) above, in each case, as shall be specified in such
               request.

                       (iii) Each Pledgor shall be entitled to receive and retain any and all
               dividends, interest, principal and other distributions paid on or distributed in respect
               of the Pledged Collateral to the extent and only to the extent that such dividends,
               interest, principal and other distributions are permitted by, and otherwise paid or
               distributed in accordance with, the terms and conditions of the Credit Agreement,
               the Financing Orders, the other Loan Documents and applicable laws; provided that
               (A) any noncash dividends, interest, principal or other distributions, payments or
               other consideration in respect thereof, including any rights to receive the same to
               the extent not so distributed or paid, that would constitute Pledged Securities,
               whether resulting from a subdivision, combination or reclassification of the
               outstanding Equity Interests of the issuer of any Pledged Securities, received in
               exchange for Pledged Securities or any part thereof, or in redemption thereof, as a
               result of any merger, consolidation, acquisition or other exchange of assets to which
               such issuer may be a party or otherwise and (B) any noncash dividends and other
               distributions paid or payable in respect of any Pledged Securities that would
               constitute Pledged Securities in connection with a partial or total liquidation or
               dissolution or in connection with a reduction of capital, capital surplus or paid in
               surplus, shall be and become part of the Pledged Collateral, and, if received by any


                                                118
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 243 of 270



               Pledgor during the continuance of an Event of Default, shall not be commingled by
               such Pledgor with any of its other funds or property but shall be held separate and
               apart therefrom, shall be held in trust for the benefit of the Collateral Agent, for the
               ratable benefit of the Secured Parties, and shall be forthwith delivered to the
               Collateral Agent, for the ratable benefit of the Secured Parties, in the same form as
               so received (endorsed in a manner, or with any necessary stock or note powers or
               other instruments of transfer, reasonably satisfactory to the Collateral Agent).

                 (b)    Upon the occurrence and during the continuance of an Event of Default and
after written notice by the Collateral Agent to the relevant Pledgors of the Collateral Agent’s
intention to exercise its rights hereunder, all rights of any Pledgor to dividends, interest, principal
or other distributions that such Pledgor is authorized to receive pursuant to paragraph (a)(iii) of
this Section 12.02 shall cease, and all such rights shall thereupon become vested, for the ratable
benefit of the Secured Parties, in the Collateral Agent which shall have the sole and exclusive right
and authority to receive and retain such dividends, interest, principal or other distributions, subject
to the Financing Orders. All dividends, interest, principal or other distributions received by any
Pledgor contrary to the provisions of this Section 12.02 shall not be commingled by such Pledgor
with any of its other funds or property but shall be held separate and apart therefrom, shall be held
in trust for the benefit of the Collateral Agent, for the ratable benefit of the Secured Parties, and
shall be forthwith delivered to the Collateral Agent, for the ratable benefit of the Secured Parties,
in the same form as so received (endorsed in a manner, or with any necessary stock or note powers
or other instruments of transfer, sufficient to transfer title to the Collateral Agent). Any and all
money and other property paid over to or received by the Collateral Agent pursuant to the
provisions of this paragraph (b) shall be retained by the Collateral Agent in an account of the
Collateral Agent and shall be applied in accordance with the provisions of this Agreement. After
all Events of Default have been cured or waived, the Collateral Agent shall promptly repay to each
Pledgor (without interest) all dividends, interest, principal or other distributions that such Pledgor
would otherwise be permitted to retain pursuant to the terms of paragraph (a)(iii) of this Section
12.02 and that remain in such account, subject to the Financing Orders.

                (c)    Upon the occurrence and during the continuance of an Event of Default and
after the Collateral Agent (at the direction of the Required Lenders) shall have given written notice
to the Borrower of the Collateral Agent’s intention to exercise its rights hereunder, all rights of
any Pledgor to exercise the voting and/or consensual rights and powers it is entitled to exercise
pursuant to paragraph (a)(i) of this Section 12.02, and the obligations of the Collateral Agent under
paragraph (a)(ii) of this Section 12.02, shall cease, and all such rights shall thereupon become
vested in the Collateral Agent, for the ratable benefit of the Secured Parties, which shall have the
sole and exclusive right and authority to exercise such voting and consensual rights and powers,
subject to the Financing Orders; provided that unless otherwise directed by the Required Lenders,
the Collateral Agent shall have the right from time to time following and during the continuance
of an Event of Default to permit the Pledgors to exercise such rights. After all Events of Default
have been cured or waived, each Pledgor shall have the right to exercise the voting and/or
consensual rights and powers that such Pledgor would otherwise be entitled to exercise pursuant
to the terms of paragraph (a)(i) above.

               (d)    In order to permit the Collateral Agent to exercise the voting and other
consensual rights which it may be entitled to exercise pursuant hereto and to receive all dividends


                                                 119
 24-22284-dsj      Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                           Pg 244 of 270



and other distributions which it may be entitled to receive hereunder, each Pledgor shall promptly
execute and deliver (or cause to be promptly executed and delivered) to the Collateral Agent all
proxies, dividend payment orders and other instruments as are necessary or that the Collateral
Agent (at the direction of the Required Lenders) may from time to time reasonably request in
writing in accordance with the terms of this Section 12.02.

Section 12.03 Agent Not Partner or Limited Liability Company Member. Nothing contained in
this Agreement shall be construed to make the Agent or any other Secured Party liable as a member
of any limited liability company or as a partner of any partnership and neither the Agent nor any
other Secured Party by virtue of this Agreement or otherwise (except as referred to in the following
sentence) shall have any of the duties, obligations or liabilities of a member of any limited liability
company or as a partner in any partnership. The parties hereto expressly agree that, unless the
Agent shall become the absolute owner of any Pledged Equity Interests consisting of a limited
liability company interest or a partnership interest pursuant hereto, this Agreement shall not be
construed as creating a partnership or joint venture among the Agent, any other Secured Party, any
Pledgor and/or any other Person.

                                           ARTICLE XIII

               SECURITY INTERESTS IN OTHER PERSONAL PROPERTY

Section 13.01 Security Interest. Subject to the Financing Orders, as security for the payment or
performance when due (whether at the stated maturity, by acceleration or otherwise), as the case
may be, in full of the Obligations, each Pledgor hereby pledges to the Collateral Agent, its
successors and permitted assigns, for the benefit of the Secured Parties, and hereby grants to the
Collateral Agent, its successors and permitted assigns, for the benefit of the Secured Parties, a
security interest (the “Security Interest”) in all right, title and interest in or to any and all of the
following assets and properties now owned or at any time hereafter acquired by such Pledgor or
in which such Pledgor now has or at any time in the future may acquire any right, title or interest
(collectively, the “Article 9 Collateral”):

                       (i)      all Accounts;

                       (ii)     all Chattel Paper;

                       (iii)    all cash, cash equivalents and Deposit Accounts;

                       (iv)     all Documents;

                       (v)      all Equipment, Fixtures and other Goods;

                       (vi)     all General Intangibles (other than Intellectual Property);

                       (vii)    all Instruments;

                       (viii) all Inventory;

                       (ix)     all Investment Property;


                                                   120
 24-22284-dsj      Doc 7       Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                           Pg 245 of 270



                       (x)      all Letter of Credit Rights;

                       (xi)    all Intellectual Property, together with the right to sue or otherwise
               recover for any past, present and future infringement, dilution, misappropriation, or
               other violation or impairment thereof, and all Proceeds of the foregoing, including
               without limitation license fees, royalties, income, payments, claims, damages and
               proceeds of suit, now or hereafter due and/or payable with respect thereto;

                      (xii) all Commercial Tort Claims, including, without limitation, those
               described on Error! Reference source not found. hereto;

                       (xiii) (1) Securities Accounts, (2) Investment Property credited to
               Securities Accounts or Deposit Accounts from time to time and all Security
               Entitlements in respect thereof, (3) all cash held in any Securities Account or
               Deposit Account, (4) all other demand, deposit, time, savings, cash management,
               passbook and similar accounts maintained by such Pledgor with any bank or other
               financial institution and (5) all other Money in the possession of the Collateral
               Agent;

                       (xiv)    all books and Records pertaining to the Article 9 Collateral;

                      (xv) all Proceeds, Supporting Obligations and products of (i) any and all
               of the foregoing, (ii) Excluded Collateral to the extent the proceeds of such
               Excluded Collateral is not itself Excluded Collateral and (iii) all collateral security
               and guarantees given by any person with respect to any of the foregoing; and

                       (xvi)    all other “Collateral” as defined in the Financing Orders.

        Notwithstanding anything to the contrary in this Agreement, this Agreement shall not
constitute a grant of a Security Interest in, and each reference to Article 9 Collateral or to any
relevant type or item of property constituting Article 9 Collateral shall be deemed to exclude, the
following (“Excluded Collateral”): (a) any “intent-to-use” applications for trademark or service
mark registrations filed pursuant to Section 1(b) of the Lanham Act, 15 U.S.C. § 1051, unless and
until an Amendment to Allege Use or a Statement of Use under Sections 1(c) and 1(d) of the
Lanham Act has been filed and accepted; (b) any governmental licenses or state or local franchises,
charters and authorizations to the extent a security interest in such licenses, franchises, charters or
authorizations is prohibited or restricted thereby (other than to the extent that any such prohibition
would be rendered ineffective pursuant to any other applicable requirements of law, including
pursuant to Section 9-406, 9-407, 9-408 or 9-409 of the Code) or any other applicable anti-
assignment provisions of the Code; (c) any asset the granting of a security interest in which is
prohibited or restricted by applicable law; (d) any Excluded Account, (e) any lease, license,
contract or other agreement of such Loan Party if the grant of a security interest in such lease,
license, contract or other agreement in the manner contemplated by the Loan Documents is
prohibited under the terms of such lease, license, contract or other agreement or under applicable
law or would result in default thereunder, the termination thereof or give the other parties thereto
the right to terminate, accelerate or otherwise alter such Loan Party’s rights, titles and interests




                                                 121
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 246 of 270



thereunder (including upon the giving of notice or the lapse of time or both) and (f) any segregated
deposits that constitute Permitted Liens and are prohibited from being subject to other Liens.

        Each Pledgor hereby irrevocably authorizes the Collateral Agent at any time and from time
to time to file in any relevant jurisdiction any financing statements (including fixture filings) with
respect to the Collateral (including all Article 9 Collateral consisting of Pledged Collateral) or any
part thereof and amendments thereto that contain the information required by Article 9 of the
Uniform Commercial Code of each applicable jurisdiction for the filing of any financing statement
or amendment (or the analogous legislation of each applicable jurisdiction), including (i) whether
such Pledgor is an organization, the type of organization and any organizational identification
number issued to such Pledgor, (ii) in the case of a financing statement filed as a fixture filing, a
sufficient description of the property to which such Article 9 Collateral relates and (iii) a
description of collateral that describes such property in any other manner as the Collateral Agent
may reasonably determine is necessary to ensure the perfection of the security interest in the
Collateral granted under this Agreement, including describing such property as “all assets”,
whether now owned or hereafter acquired, or words of similar effect. Each Pledgor agrees to
provide such information to the Collateral Agent promptly upon request. For the avoidance of
doubt, the Agent and Lenders each shall have no responsibility for the preparation, filing or
recording of any instrument, document or financing statement or for the perfection or maintenance
of any security interest created hereunder.

               The Collateral Agent is further authorized to file with the United States Patent and
Trademark Office or United States Copyright Office (or any successor office) such documents as
may be reasonably necessary for the purpose of perfecting, continuing, enforcing or protecting the
Security Interest granted by each Pledgor, without the signature of any Pledgor, and naming any
Pledgor or the Pledgors as debtors and the Collateral Agent as secured party. For the avoidance
of doubt, the Agent and Lenders each shall have no responsibility for the preparation, filing or
recording of any instrument, document or financing statement or for the perfection or maintenance
of any security interest created hereunder.

                Notwithstanding the foregoing authorizations, each Pledgor agrees to file and
deliver to the Collateral Agent upon recording such financing statements as are or may be
necessary to establish and maintain a valid, enforceable, perfected security interest in the Collateral
as provided herein and the other rights and security contemplated hereby or as the Collateral Agent
may from time to time reasonably request, and authorization to the Collateral Agent hereunder
shall not relieve the Pledgor of its obligation to make such filings.

Section 13.02 Security Interest Absolute. All rights of the Collateral Agent hereunder, the
Security Interest in the Article 9 Collateral, the security interest in the Pledged Collateral and all
obligations of each Pledgor hereunder shall be absolute and unconditional irrespective of (a) any
lack of validity or enforceability of the Credit Agreement, any other Loan Document, any
agreement with respect to any of the Obligations or any other agreement or instrument relating to
any of the foregoing, (b) any change in the time, manner or place of payment of, or in any other
term of, all or any of the Obligations, or any other amendment or waiver of or any consent to any
departure from the Credit Agreement, any other Loan Document or any other agreement or
instrument, (c) any exchange, release or non-perfection of any Lien on other collateral, or any
release or amendment or waiver of or consent under or departure from any guarantee, securing or


                                                 122
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                         Pg 247 of 270



guaranteeing all or any of the Obligations or (d) subject only to termination or release of a
Guarantor’s obligations hereunder in accordance with the terms of Error! Reference source not
found. hereof, any other circumstance that might otherwise constitute a defense available to, or a
discharge of, any Pledgor in respect of the Obligations or this Agreement (other than a defense of
payment or performance).

All rights, remedies and powers provided in this Agreement may be exercised only to the extent
that the exercise thereof does not violate any applicable provision of law, and all the provisions of
this Agreement are intended to be subject to all applicable mandatory provisions of law that may
be controlling and to be limited to the extent necessary so that they shall not render this Agreement
invalid, unenforceable, in whole or in part, or not entitled to be recorded, registered or filed under
the provisions of any applicable law.

Section 13.03 Binding Effect; Several Agreement. This Agreement shall become effective as to
any party to this Agreement when a counterpart hereof executed on behalf of such party shall have
been delivered to the Agent and a counterpart hereof shall have been executed on behalf of the
Agent, and thereafter shall be binding upon such party and the Agent and their respective permitted
successors and assigns, and shall inure to the benefit of such party, the Agent and the other Secured
Parties and their respective permitted successors and assigns, except that no party shall have the
right to assign or transfer its rights or obligations hereunder or any interest herein or in the
Collateral (and any such assignment or transfer shall be void) except as expressly contemplated by
this Agreement or any other Loan Document. This Agreement shall be construed as a separate
agreement with respect to each Loan Party and may be amended, modified, supplemented, waived
or released with respect to any Loan Party without the approval of any other Loan Party and
without affecting the obligations of any other Loan Party hereunder.

Section 13.04 Agent’s Fees and Expenses; Indemnification. The parties hereto agree that the
Agent shall be entitled to payment of fees and reimbursement of its expenses incurred hereunder
pursuant to the Agent Fee Letter and to be indemnified and held harmless by each Pledgor, jointly
with the other Pledgors and severally, as provided in Sections 10.04 and 10.05 of the Credit
Agreement and such provisions shall be incorporated by reference herein and apply to each Pledgor
mutatis mutandis. The Lenders, by acceptance of the benefits of this Agreement, hereby
acknowledge and agree that the rights, privileges and immunities in the Credit Agreement
(including without limitation Article IX thereof) and the other Loan Documents shall be
incorporated by reference herein and apply to each Lender mutatis mutandis. This Section 13.01
shall survive the termination of this Agreement or any other Loan Document, the repayment of the
Obligations, the invalidity or unenforceability of any term or provision of this Agreement or any
other Loan Document, the resignation or removal of the Agent or any investigation made by or on
behalf of any Secured Party.

Section 13.05 Collateral Agent Appointed Attorney-in-Fact. Each Pledgor hereby irrevocably
appoints the Collateral Agent the attorney-in-fact of such Pledgor for the purpose of carrying out
the provisions of this Agreement and taking any action and executing any instrument that the
Collateral Agent may deem necessary to accomplish the purposes hereof subject to the Financing
Orders, which appointment is irrevocable and coupled with an interest. The Collateral Agent shall
have the right, upon the occurrence and during the continuance of an Event of Default and at the
direction of the Required Lenders, subject to the Financing Orders, with full power of substitution


                                                 123
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 248 of 270



either in the Collateral Agent’s name or in the name of such Pledgor, (a) to receive, endorse, assign
or deliver any and all notes, acceptances, checks, drafts, money orders or other evidences of
payment relating to the Collateral or any part thereof, (b) to demand, collect, receive payment of,
give receipt for and give discharges and releases of all or any of the Collateral, (c) to ask for,
demand, sue for, collect, receive and give acquittance for any and all moneys due or to become
due under and by virtue of any Collateral, (d) to sign the name of any Pledgor on any invoice or
bill of lading relating to any of the Collateral, (e) to send verifications of Accounts to any Account
Debtor, (f) to commence and prosecute any and all suits, actions or proceedings at law or in equity
in any court of competent jurisdiction to collect or otherwise realize on all or any of the Collateral
or to enforce any rights in respect of any Collateral, (g) to settle, compromise, compound, adjust
or defend any actions, suits or proceedings relating to all or any of the Collateral, (h) to notify, or
to require any Pledgor to notify, Account Debtors to make payment directly to the Collateral
Agent, and (i) to use, sell, assign, transfer, pledge, make any agreement with respect to or otherwise
deal with all or any of the Collateral, and to do all other acts and things necessary to carry out the
purposes of this Agreement, as fully and completely as though the Collateral Agent were the
absolute owner of the Collateral for all purposes; provided that nothing herein contained shall be
construed as requiring or obligating the Agent to make any commitment or to make any inquiry as
to the nature or sufficiency of any payment received by the Agent, or to present or file any claim
or notice, or to take any action with respect to the Collateral or any part thereof or the moneys due
or to become due in respect thereof or any property covered thereby. The Agent and the other
Secured Parties shall be accountable only for amounts actually received as a result of the exercise
of the powers granted to them herein, and neither they nor their officers, directors, employees or
agents shall be responsible to any Pledgor for any act or failure to act hereunder, except for their
own gross negligence or willful misconduct. Each Pledgor acknowledges that the rights and
responsibilities of the Agent under this Agreement with respect to any action taken by the Agent
or the exercise or non-exercise by the Agent of any option, voting right, request, judgment or other
right or remedy provided for herein or resulting or arising out of this Agreement shall, as between
the Agent and the Secured Parties, be governed by the Credit Agreement and such other
agreements with respect thereto as may exist from time to time among them, but, as between the
Agent and the Pledgors, the Agent shall be conclusively presumed to be acting as agent for the
applicable Secured Parties with full and valid authority so to act or refrain from acting, and no
Pledgor shall be under any obligation, or entitlement, to make any inquiry respecting such
authority. The Collateral Agent shall be entitled to all of the rights, privileges and immunities
entitled to it as set forth in the Credit Agreement and the other Loan Documents, including those
rights, privileges and immunities provided to the Collateral Agent and Administrative Agent, as
applicable, whether or not expressly set forth herein.

Section 13.06 Additional Subsidiaries. Upon execution and delivery by the Collateral Agent and
any Subsidiary that is required to become a party hereto by the Credit Agreement of an instrument
in the form and substance satisfactory to Collateral Agent (as directed by Required Lenders), such
Subsidiary shall become a Subsidiary Loan Party hereunder with the same force and effect as if
originally named as a Subsidiary Loan Party herein. The execution and delivery of any such
instrument shall not require the consent of any other party to this Agreement. The rights and
obligations of each party to this Agreement shall remain in full force and effect notwithstanding
the addition of any new party to this Agreement.

Section 13.07 Financing Orders; Matters Relating to Security.


                                                 124
 24-22284-dsj      Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59              Main Document
                                         Pg 249 of 270



               (e)    Notwithstanding anything herein to the contrary, the provisions of this
Agreement are subject to the terms, covenants, conditions and provisions of the applicable
Financing Order. In the event of any conflict between the terms of this Agreement and the
applicable Financing Order, the terms of the applicable Financing Order, shall govern and control.

               (f)     The security interest granted by and pursuant to this Agreement may be
independently granted by the applicable Financing Order and the Loan Documents. This
Agreement, applicable Financing Order and such other Loan Documents supplement each other,
and the grants, priorities, rights and remedies of the Agent and Secured Parties hereunder and
thereunder are cumulative.

                (g)     The security interest hereunder shall be deemed valid, binding, continuing,
enforceable and fully perfected Liens on the Collateral by entry of, and subject to, applicable
Financing Order. Notwithstanding anything in this Agreement, the Collateral Agent shall not be
required to file any financing statements, notices of Lien or similar instruments in any jurisdiction
or filing office or to take any other action in order to validate or perfect the Liens and security
interests granted by or pursuant to this Agreement, applicable Financing Order or any other Loan
Document.

The security interest, the priority of the security interest, and the other rights and remedies granted
to the Collateral Agent pursuant to this Agreement, applicable Financing Order, and the other Loan
Documents (specifically including but not limited to the existence, validity, enforceability, extent,
perfection and priority of the security interest) and the administrative superpriority provided herein
and therein shall not be modified, altered or impaired in any manner by any other financing or
extension of credit or incurrence of debt by any Pledgor (pursuant to Section 364 of the Bankruptcy
Code or otherwise), or by any dismissal or conversion of the Bankruptcy case, or by any other act
or omission whatsoever.




                             [Remainder of Page Intentionally Blank]




                                                 125
 24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                    Pg 250 of 270



              IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed as of the date first above written.



                                            ACORDA THERAPEUTICS, INC.

                                            By:
                                            Name:
                                            Title:




                                            CIVITAS THERAPEUTICS, INC.

                                            By:
                                            Name:
                                            Title:




                                            BIOTIE THERAPIES, LLC



                                            By:
                                            Name:
                                            Title:




                                            BIOTIE THERAPIES AG




                                            By:
                                            Name:
                                            Title:




                    [Signature Page to Debtor-in-Possession Credit Agreement]
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59                Main Document
                                   Pg 251 of 270



                                           NEURONEX, INC.




                                           By:
                                           Name:
                                           Title:




                                           ACORDA THERAPEUTICS LIMITED




                                           By:
                                           Name:
                                           Title:




                   [Signature Page to Debtor-in-Possession Credit Agreement]
 24-22284-dsj    Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59        Main Document
                                     Pg 252 of 270



                                        Exhibit C
                           Committees Organized Prepetition
Pursuant to Local Rule 1007-2(a)(3), to the best of the Debtors’ knowledge and belief, the
following committees have been formed prior to the Petition Date.


 Committee                                    Counsel for Committee
 Ad Hoc Committee of Noteholders              King & Spalding, 110 N Wacker Drive, Suite
                                              3800, Chicago, Illinois 60606 (Attn: Matthew
                                              Warren and Lindsey Henrikson)
 24-22284-dsj                Doc 7         Filed 04/02/24 Entered 04/02/24 00:10:59                                         Main Document
                                                       Pg 253 of 270



                                                                     Exhibit D
                                Consolidated List of 30 Largest Unsecured Creditors
Pursuant to Local Rule 1007-2(a)(4), the following is a list of creditors holding, as of the Petition
Date, the 30 largest, unsecured claims against the Debtors, on a consolidated basis, excluding
claims of insiders as defined in 11 U.S.C. § 101.
 Name of creditor and complete mailing   Name, telephone number, and email       Nature of the   Indicate if      Amount of unsecured claim
 address, including zip code             address of creditor                     claim           claim is         If the claim is fully unsecured, fill in
                                         contact                                 (for example,   contingent,      only unsecured claim amount. If
                                                                                 trade debts,    unliquidated,    claim is partially secured, fill in total
                                                                                 bank loans,     or disputed      claim amount and deduction for value
                                                                                 professional                     of collateral or setoff to calculate
                                                                                 services, and                    unsecured claim
                                                                                 government                      Total        Deduction      Unsecured
                                                                                 contracts)                      claim, if    for value      claim
                                                                                                                 partially    of
                                                                                                                 secured      collateral
                                                                                                                              or setoff
 1.   CATALENT                           Attn: General Counsel (Legal            Settlement      Unliquidated    –            –              $4,000,000
      MASSACHUSETTS LLC                  Department)                             Agreement
      14 Schoolhouse Road                Phone: (857) 323-8641
      Somerset, NJ 08873                 Email: GensCouns@Catalent.com



 2.   CATALENT                           Attn: General Counsel (Legal            Inventory       Unliquidated    –            –               $3,216,511
      MASSACHUSETTS LLC                  Department)
      14 Schoolhouse Road                Phone: (857) 323-8641
      Somerset, NJ 08873                 Email: GensCouns@Catalent.com



 3.   NSIGHT DRIVEN                      Attn: John Tenaglia                     Trade Debt      Unliquidated    –            –               $1,448,740
      COMMUNICATIONS LLC                 Title: Partner
      379 West Broadway Suite 550        Phone: +1 (914) 204-6145
      New York, NY 10012                 Email:
                                         john.tenaglia@wearemoonrabbit.com


 4.   SYNEOS HEALTH                      Attn: Whitney Armond, III               Contract        Unliquidated    –            –               $1,110,423
      COMMERCIAL SERVICES,               Title: Sr. Vice President, Deployment   Salesforce
      LLC                                Solutions
      500 Atrium Drive                   Phone: (222) 324-8781
      Somerset, NJ 00873                 Email:
                                         Whitney.armond@syneoshealth.com

 5.   YIPKOS, INC.                       Attn: Matt Boylan                       Trade Debt      Unliquidated    –            –               $335,490
      6628 Sky Pointe Drive Suite 123    Title: CTO
      Las Vegas, NV 89131                Phone: +1 (714) 273-3679
                                         Email: matt@yipkos.com



 6.   SMC, LTD.                          Attn: Contract Administration           Inventory       Unliquidated    –            –               $279,247
      330 SMC Drive                      Phone: (715) 247-3500
      Somerset, WI 54025                 Fax: (715) 247-3611
                                         Email: SMC.AR@smcltd.com



 7.   PRIME VIGILANCE LTD                Attn: Richard O'Hara                    Trade Debt      Unliquidated    –            –               $186,672
      26-28 Frederick Sanger Road.       Title: Senior Medical Information
      Surrey Research Park               Associate
      Guildford, Surrey GU2 7YD          Phone: +44(0) 148 3307920
                                         Email:
                                         Accounts.ReceivablePV@primevigil
                                         ance.com
 8.   FORTREA PATIENT ACCESS             Attn: Lillian Steinbock                 Prescription    Unliquidated    –            –               $151,974
      PO Box 931364                      Title: Executive Director Patient       Support
      Atlanta, GA 31193-1364             Support Solutions                       Servicer
                                         Phone: (240) 623-3926
                                         Email: lillian.steinbock@fortrea.com
24-22284-dsj                Doc 7         Filed 04/02/24 Entered 04/02/24 00:10:59                                      Main Document
                                                      Pg 254 of 270


Name of creditor and complete mailing   Name, telephone number, and email    Nature of the   Indicate if      Amount of unsecured claim
address, including zip code             address of creditor                  claim           claim is         If the claim is fully unsecured, fill in
                                        contact                              (for example,   contingent,      only unsecured claim amount. If
                                                                             trade debts,    unliquidated,    claim is partially secured, fill in total
                                                                             bank loans,     or disputed      claim amount and deduction for value
                                                                             professional                     of collateral or setoff to calculate
                                                                             services, and                    unsecured claim
                                                                             government                      Total        Deduction      Unsecured
                                                                             contracts)                      claim, if    for value      claim
                                                                                                             partially    of
                                                                                                             secured      collateral
                                                                                                                          or setoff
9.   JONES DAY                          Attn: Adriane Antler                 Professional    Unliquidated    –            –              $123,282
     250 Vesey Street                   Title: Of Counsel                    Services
     New York, NY 10281-1047            Phone: (212) 326-3630
                                        Email: amantler@jonesday.com



10. SHARP CORPORATION7451               Attn: Barbara OstTitle: Vice         Packager        Unliquidated    –            –               $81,624
    Keebler WayAllentown, PA            PresidentPhone: (610) 254-
    18106                               1765Email:
                                        barbara.ost@sharpservices.com



11. APOLLO RX, LLC                      Attn: Dan Wallenberg                 Trade Debt      Unliquidated    –            –               $70,000
    150 N Riverside Plaza Suite 3400    Title: Chief Commercial Officer
    Chicago, IL 60606                   Phone: (630) 253-3535
                                        Email:
                                        dwallenberg@novosgrowth.com


12. AXIOM GLOBAL, INC.                  Attn: Lynn LaPierre                  Professional    Unliquidated    –            –               $63,000
    75 Spring Street/Floor 8            Phone: (312) 261-6040                Services
    New York, NY 10012                  Email: hello@axiomglobal.com




13. EVERSANA LIFE SCIENCE               Attn: Tammy White                    Trade Debt      Unliquidated    –            –               $56,338
    SERVICES                            Title: Associate Director, Medical
    24740 Network Place                 Communications
    Chicago, IL 60673-1247              Phone: (833) 656-1055
                                        Email: Accounting-
                                        MC@eversana.com

14. DLA PIPER LLP (US)                  Attn: Michael Sitzman                Professional    Unliquidated    –            –               $55,038
    PO Box 780528                       Title: Partner                       Services
    Philadelphia, PA 19178-0528         Phone: (415) 615-6175
                                        Email:
                                        michael.sitzman@us.dlapiper.com


15. COMPUTER PACKAGES, INC.             Attn: Anna Sarkissain                Professional    Unliquidated    –            –               $52,806
    11 N. Washington Street, Suite      Phone: (301) 424-8890                Services
    300                                 Email:
    Rockville, MD 20850                 ASarkissian@computerpackages.com



16. PRINT COTTAGE                       Attn: James Altadonna                Trade Debt      Unliquidated    –            –               $45,522
    54 Market Street                    Title: President
    Onancock, VA 23417                  Phone: (516) 369-1749
                                        Email: jaltadonna@aol.com



17. RESEARCH CATALYST, LLC              Attn: Melissa Overbaugh              Trade Debt      Unliquidated    –            –               $41,666
    701 E. Hampden Avenue Suite         Title: Director
    510                                 Phone: (720) 597-3958
    Englewood, CO 80113                 Email:
                                        moverbaugh@ResearchCat.com


18. SLATE360, INC.                      Attn: Shawn Donnelly                 Trade Debt      Unliquidated    –            –               $37,841
    6628 Sky Pointe Drive Suite 120     Title: Partner
    Las Vegas, NV 89131                 Phone: +1 (508) 298-9048
                                        Email: Accounting@slate360inc.com
24-22284-dsj                Doc 7         Filed 04/02/24 Entered 04/02/24 00:10:59                                         Main Document
                                                      Pg 255 of 270


Name of creditor and complete mailing   Name, telephone number, and email       Nature of the   Indicate if      Amount of unsecured claim
address, including zip code             address of creditor                     claim           claim is         If the claim is fully unsecured, fill in
                                        contact                                 (for example,   contingent,      only unsecured claim amount. If
                                                                                trade debts,    unliquidated,    claim is partially secured, fill in total
                                                                                bank loans,     or disputed      claim amount and deduction for value
                                                                                professional                     of collateral or setoff to calculate
                                                                                services, and                    unsecured claim
                                                                                government                      Total        Deduction      Unsecured
                                                                                contracts)                      claim, if    for value      claim
                                                                                                                partially    of
                                                                                                                secured      collateral
                                                                                                                             or setoff
19. XENON PROPERTY,                     Phone: (617) 912-7000Email:             Landlord        Unliquidated    –            –              $33,027
    LLCARE/283 Bear Hill Road           MRIWebFarm@cbre.com
    Region No. 46Waltham, MA
    02451



20. INSIGHT                             Attn: Rob McConnell                     Trade Debt      Unliquidated    –            –               $32,205
    PO Box 731069                       Title: Senior Sales Account Manager
    Dallas, TX 75373-1069               Phone: (800) 804-4155 x5752
                                        Email: Rob.McConnell@Insight.com



21. DELAWARE DEPARTMENT                 Attn: Holder Reporting Team             Government      Unliquidated    –            –               $32,185
    OF FINANCE                          Phone: (855) 505-7520                   Agency
    Office of Unclaimed Property,       Email:
    Carvel State Office Building        escheat.claimquestions@delaware.go
    P.O. Box 8923                       v
    Wilmington, DE 19899

22. IQVIA, INC.                         Attn: Sylwia Szymanski                  Trade Debt      Unliquidated    –            –               $27,627
    PO Box 8500-784290                  Title: Finance Manager
    Philadelphia, PA 19178-4290         Phone: (973) 316-4000
                                        Email: Sylwia.Szymanski@iqvia.com



23. SYNERGISTIX, INC.                   Attn: Don Schenker                      Trade Debt      Unliquidated    –            –               $27,388
    480 Sawgrass Corporate Pkwy.        Title: President & CEO
    Suite 200                           Phone: (954) 707-4201
    Sunrise, FL 33325                   Email:
                                        Don.Schenker@synergistix.com


24. THE HIBBERT COMPANY,                Attn: Oksana Posewa                     Inventory /     Unliquidated    –            –               $27,298
    INC.                                Title: Senior Director of Sales         Warehouse
    400 Pennington Avenu                Phone: (609) 222-6088
    Trenton, NJ 08618



25. EUROPEAN MEDICINES                  Phone: +31 (0)88 781 6000               Regulator       Unliquidated    –            –               $26,174
    AGENCY                              Email:
    Domenico Scarlattilaan 6 1083       accountsreceivable@ema.europa.eu
    HS
    Amsterdam, The Netherlands


26. NYS OFFICE OF THE STATE             Attn: Office of the State Comptroller   Government      Unliquidated    –            –               $25,414
    COMPTROLLER                         Phone: 1 (800) 221-9311                 Agency
    Office of Unclaimed Funds           Email: Contactus@osc.ny.gov
    Remittance Control, 2nd Floor
    110 State Street
    Albany, NY 12236

27. INDEGENE, INC.                      Attn: Matt Skoronski                    Trade Debt      Unliquidated    –            –               $22,500
    PO Box 69091                        Title: Sr Director
    Baltimore, MD 21264                 Phone: (203) 556-2115
                                        Email:
                                        matthew.skoronski@indegene.com


28. ELMORE PATENT LAW                   Attn: Carolyn ElmoreTitle:              Professional    Unliquidated    –            –               $19,518
    GROUP. PC484 Groton                 PresidentPhone: (978) 251-              Services
    RoadWestford, MA 01886              3509Email:
                                        celmore@elmorepatents.com
24-22284-dsj                Doc 7         Filed 04/02/24 Entered 04/02/24 00:10:59                                     Main Document
                                                      Pg 256 of 270


Name of creditor and complete mailing   Name, telephone number, and email   Nature of the   Indicate if      Amount of unsecured claim
address, including zip code             address of creditor                 claim           claim is         If the claim is fully unsecured, fill in
                                        contact                             (for example,   contingent,      only unsecured claim amount. If
                                                                            trade debts,    unliquidated,    claim is partially secured, fill in total
                                                                            bank loans,     or disputed      claim amount and deduction for value
                                                                            professional                     of collateral or setoff to calculate
                                                                            services, and                    unsecured claim
                                                                            government                      Total        Deduction      Unsecured
                                                                            contracts)                      claim, if    for value      claim
                                                                                                            partially    of
                                                                                                            secured      collateral
                                                                                                                         or setoff
29. THE CEMENTWORKS, LLC                Attn: Jennifer Matthews             Trade Debt      Unliquidated    –            –              $16,698
    32 Old Slip 15th Floor              Title: CEO and President
    New York, NY 10005                  Phone: (212) 524-6200
                                        Email: jmatthews@thebloc.com



30. CAREMARK, L.L.C.                    Attn: Bradley Kruk                  Customer        Unliquidated    –            –               $14,303
    2211 Sanders Road 8th Floor         Title: Manager, Trade Services
    Northbrook, IL 60062                Email: bradley.kruk@cvshealth.com
    24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                   Main Document
                                               Pg 257 of 270



                                                     Exhibit E
                   Consolidated List of Holders of the Five Largest Secured Claims
Pursuant to Local Rule 1007-2(a)(5), to the best of the Debtors’ knowledge and belief, the
following is a list of the creditors holding the five largest secured claims against the Debtors, on a
consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101. The Debtors note
that each of the holders of these claims are party to the same Indenture dated as of December 23,
2019 (as amended, supplemented or modified from time to time, the “Indenture”), by and among Acorda
Therapeutics, Inc. (“Acorda”), as issuer, its wholly-owned subsidiary Civitas Therapeutics, Inc. (“Civitas”),
along with any domestic subsidiaries acquired or formed after the date of issuance, as guarantors (the
“Guarantors”) 1 and Wilmington Trust, National Association, as trustee and collateral agent. The
descriptions of the collateral securing the underlying obligations are intended only as brief
summaries. In the event of any inconsistencies between the summaries set forth below and the
respective corporate and legal documents relating to such obligations, the descriptions in the
corporate and legal documents shall control. This list is exclusive of secured claims that may arise
by operation of law, such as those securing unmatured claims for taxes, promissory liens, or
otherwise.
At present, the Debtors do not anticipate disputing the claims listed below, however, Debtors
reserve all rights to assert that any debt or claim included herein is a disputed claim or debt, and
to challenge the priority, nature, amount, or status of any such claim or debt. The exhibit estimates
outstanding claim amounts (including principal and interest) as of the Petition Date.


     No.      Creditor name and complete address                    Amount of               Description of the
                                                                    Claim2                  collateral and value
       1      Davidson Kempner Capital Management                      $53.37 million Substantially all of
              520 Madison Avenue, 30th Floor                                          the assets of Acorda
              New York, New York 10022                                                and the Guarantors

                                                                                      Value: Unknown
       2      Highbridge Capital Management LLC                        $46.19 million Substantially all of
              277 Park Avenue, 23rd Floor                                             the assets of Acorda
              New York, New York 10172                                                and the Guarantors

                                                                                      Value: Unknown
       3      UBS AG                                                    $30.6 million Substantially all of
              One North Wacker Drive, 32nd floor                                      the assets of Acorda
              Chicago, Illinois 60606                                                 and the Guarantors

                                                                                            Value: Unknown



1
    Civitas has not formed or acquired any domestic subsidiaries since December 23, 2019.
2
    Includes principle plus accrued interest.
24-22284-dsj   Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59     Main Document
                                   Pg 258 of 270



  4    Soros Fund Management LLC                $28.51 million Substantially all of
       250 West 55th Street, 29th Floor                        the assets of Acorda
       New York, New York 10019                                and the Guarantors

                                                               Value: Unknown
  5    Canyon Capital Advisors LLC              $26.39 million Substantially all of
       2000 Avenue of the Stars, 11th FL                       the assets of Acorda
       Los Angeles, California 90067                           and the Guarantors

                                                                  Value: Unknown
    24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59                    Main Document
                                               Pg 259 of 270



                                                     Exhibit F
                              Summary of the Debtors Assets and Liabilities
Pursuant to Local Rule 1007-2(a)(6), the below is a summary of the Debtors’ assets and liabilities.
As of December 31, 2023, on a consolidated basis, the total value of the Debtors’ assets is
approximately $108,525,000, and the total value of the Debtors’ current liabilities is approximately
$227,773,000.3




3
    This data is as reported in Acorda’s Form 10-K for the period ended December 31, 2023 and filed on April 1, 2024.
    24-22284-dsj       Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59        Main Document
                                              Pg 260 of 270



                                              Exhibit G
                        Summary of the Publicly Held Securities of the Debtors
Pursuant to Local Rule 1007-2(a)(7), to the best of the Debtors’ knowledge and belief, the Debtors
have the below number and classes of publicly held stock, debentures, or securities:
    Publicly Held Security                                Approximate        Approximate
                                                          Outstanding        Number of
                                                                             Record Holders
    6.00% Convertible Senior Secured Notes due 2024 $207 million4            9
    Common stock, $0.001 par value per share              1,242,0985         10


Common stock held by officers and directors:
    Name                                            Number of Shares
    Ron Cohen, M.D.                                 7,488
    Kerry Clem                                      504
    Sandra Panem                                    24




4
    Aggregate principal amount.
5
    As of March 27, 2024.
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59             Main Document
                                        Pg 261 of 270



                                             Exhibit H
                Summary of Debtors’ Property in Possession of Third Parties
Pursuant to Local Rule 1007-2(a)(8), the following is a list of property that is in the possession or
custody of any custodian, public officer, mortgagee, pledgee, assignee of rents, secured creditor,
or agent for any such entity.
In the ordinary course of business, on any given day, property of the Debtors (including security
deposits or other collateral with counterparties to certain commercial relationships) is likely to be
in the possession of various third parties, including, vendors, shippers, common carriers,
materialmen, distributors, warehousemen, fulfillment houses, service providers, custodians, public
officers or agents, where the Debtors’ ownership interest is not affected. In the ordinary course of
business, inventory of the Debtors is held by certain known contract manufacturers, shippers,
warehousemen and logistics companies, including: (i) Cardinal Health 105, Inc.; (ii) Hibbert
Group; (iii) Sharp Corporation; (iv) Prime, Inc; (v) FedEx Corporation; (vi) DHL Global
Forwarding; and (vii) SMC Ltd.
 24-22284-dsj      Doc 7   Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                       Pg 262 of 270



                                           Exhibit I
              List of Premises from which the Debtors Operate Their Business
Pursuant to Local Bankruptcy Rule 1007-2(a)(9), the following lists the location of the premises
owned, leased, or held under other arrangement from which the Debtors operate their businesses
as of the Petition Date.
 Address                   City, State       Zip              Country        Type
                                                                             (Leased/Owned)
 2 Blue Hill Plaza, 3rd    Pearl River,      10965            USA            Leased
 Floor                     New York
 283 Bear Hill Road        Waltham, MA       02451            USA            Leased
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 263 of 270



                                            Exhibit J
    Location of the Debtors’ Substantial Assets and Books and Records and Nature and
                   Location of Debtors’ Assets Outside the United States
Pursuant to Local Rule 1007-2(a)(10), the following lists the locations of the Debtors’ substantial
assets, the location of their books and records, and the nature, location, and value of any assets
held by the Debtors outside the territorial limits of the United States.
Location of Debtors’ Substantial Assets
As of December 31, 2023, the Debtors had assets of approximately $108,525,000, as provided in
Exhibit F, with substantial assets located at (i) 2 Blue Hill Plaza, Pearl River, New York 10965
USA; (ii) 283 Bear Hill Road Waltham, MA 02451 USA; and (iii) 15 Ingram Boulevard, Suite
100, La Vergne, TN 37086.
Books and Records
The Debtors’ books and records are located at (i) 2 Blue Hill Plaza, Pearl River, New York 10965
USA; and (ii) 283 Bear Hill Road Waltham, MA 02451 USA.
Debtors’ Assets Outside the United States
The Debtors do not have significant assets located outside of the territorial limits of the United
States.
 24-22284-dsj      Doc 7    Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                        Pg 264 of 270



                                            Exhibit K
                               Legal Actions Against the Debtors
Pursuant to Local Rule 1007-2(a)(11), below is a summary of the nature and present status of each
action or proceeding, pending or threatened, against the debtor or its property where a judgment
against the debtor or a seizure of its property may be imminent.
The Debtors do not believe that there are actions or proceedings, pending or threatened, in which
a judgment against the Debtors or a seizure of their property is imminent. However, actions are
pending in the German Federal Patent Court seeking to invalidate both of the Debtors German
patents that derived from European patents, EP 1732548 (the ‘548 patent) and EP 2377536 (the
‘536 patent). At an oral hearing on March 4, 2024, the German Federal Patent Court held that the
‘536 patent was invalid. The Debtors are considering an appeal of this decision and will make a
determination following receipt of the formal written decision. At an oral hearing on July 11, 2023,
the German Federal Patent Court held that the ‘548 patent was invalid. The German Federal Patent
Court issued its formal written decision on the ‘548 patent on November 10, 2023. The Debtors
appealed the decision on December 11, 2023, and the appeal remains pending before the Federal
Court of Justice.
 24-22284-dsj       Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                          Pg 265 of 270



                                              Exhibit L
                                 The Debtors’ Senior Management
Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following provides the names of the
individuals who constitute the Debtors’ existing senior management, their tenure with the Debtors,
and a brief summary of their responsibilities and relevant experience as of the Petition Date.
 Name (Position)            Responsibilities and Relevant Experience
 Ron Cohen, M.D.            Ron Cohen, M.D. is President, CEO and founder of Acorda
 (President, Chief          Therapeutics, Inc. Dr. Cohen previously was a principal in the startup
 Executive Officer)         of Advanced Tissue Sciences, Inc., a biotechnology company engaged
                            in the growth of human organ tissues for transplantation. In addition, he
                            previously served on the board of directors of VBL Therapeutics and
                            Dyax Corp. Dr. Cohen previously served as Chair of the board of the
                            Biotechnology Innovation Organization (BIO), as Chair of the
                            Emerging Companies Section of the BIO board, and as a Director and
                            Chairman of New York Biotechnology Association (NYBA). He also
                            previously served as a member of the Columbia-Presbyterian Health
                            Sciences Advisory Council and was awarded Columbia University’s
                            Alumni Medal for Distinguished Service. In 2010 Dr. Cohen was
                            named NeuroInvestment’s (now called NeuroPerspective) CEO of the
                            Year and in 2009 he was recognized by PharmaVoice Magazine as one
                            of the 100 Most Inspirational People in the Biopharmaceutical Industry.
                            Dr. Cohen is a recipient of the Ernst & Young Entrepreneur of the Year
                            Award for the New York Metropolitan Region, and is an inductee into
                            the National Spinal Cord Injury Association’s “Spinal Cord Injury Hall
                            of Fame.” In 2010, Dr. Cohen was recognized by NYBA as its “The
                            Cure Starts Here” Business Leader of the Year and was named by
                            MM&M and PR Week as one of the top 50 health influencers of 2017.
                            Dr. Cohen received his B.A. with honors in Psychology from Princeton
                            University, and his M.D. from the Columbia College of Physicians &
                            Surgeons. He completed his residency in Internal Medicine at the
                            University of Virginia Medical Center, and is Board Certified in
                            Internal Medicine.
 Michael Gesser             Michael Gesser has been the Chief Financial Officer at Acorda since
 (Chief Financial           November 2021. Prior to joining the Company, Mr. Gesser was Chief
 Officer)                   Financial Officer of Tergus Pharmaceutical, LLC, a provider of contract
                            services for topical pharmaceutical products, from January 2020 to
                            September 2021. Prior to that, from September 2017 to August 2019,
                            Mr. Gesser was Chief Financial Officer and Chief Operating Officer of
                            BioMedomics, Inc., an early-stage medical device development
                            company. Between September 2011 and August 2017, Mr. Gesser held
                            Chief Financial Officer positions at several other biopharmaceutical
                            and medical device companies, including Osmotica Pharmaceutical
24-22284-dsj    Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                      Pg 266 of 270



                        Corp., SunTech Medical Inc., and HAP Innovations LLC. Previous to
                        those roles, he held several senior-level financial positions at Allergan
                        Pharmaceuticals. Mr. Gesser has been a member of the board of
                        directors of privately-held Flow Sciences, Inc., a provider of
                        pharmaceutical safety containment solutions, since October 2021.
                        Mr. Gesser received his B.S. in Finance from the Cameron School of
                        Business at the University of North Carolina at Wilmington, and his
                        M.B.A. from the Belk School of Business at the University of North
                        Carolina at Charlotte.
Kerry Clem              Kerry Clem has been the Chief Commercial Officer at Acorda since
(Chief Commercial       September 2021. He joined Acorda in January 2011 as VP of Sales, and
Officer)                most recently was Executive Vice President of Sales, Market Access,
                        and Commercial Operations.
                        Before joining Acorda, from 2009 to 2010, Mr. Clem was Vice
                        President of Sales at Allos Therapeutics, Inc. where he built the
                        organization’s inaugural sales force to launch their first commercially
                        available product. Also, from 2007 to 2009, Mr. Clem served as Vice
                        President of Sales and Marketing at Solstice Neurosciences, Inc. Mr.
                        Clem has over 20 years of sales and marketing experience in the areas
                        of neurology, oncology, movement disorders, cardiology,
                        anesthesiology, and pain. Over the span of his career, he has been
                        involved in the development of commercial organizations and multiple
                        product launches. Mr. Clem holds a B.S. degree from Florida State
                        University.
Neil Belloff            Neil Belloff has been the General Counsel at Acorda since November
(General Counsel)       2021 and Corporate Secretary since June 2022. Mr. Belloff has over 30
                        years of business and legal experience and from June 2018 to August
                        2021 was the General Counsel and Corporate Secretary of Eloxx
                        Pharmaceuticals, Inc. (“Eloxx”), a publicly listed global
                        biopharmaceutical company. From 2020 to 2021 Mr. Belloff was also
                        Chief Operating Officer of Eloxx. From 2011 to 2018, Mr. Belloff was
                        Senior Corporate Counsel at Celgene Corporation, formerly a publicly
                        listed global biopharmaceutical company (acquired by Bristol-Meyers
                        Squibb in 2019). Mr. Belloff also served for seven years as Executive
                        Vice President and U.S. Corporate and Securities Counsel at Deutsche
                        Telekom, one of the largest telecommunications companies in the
                        world. In addition, he previously served as a Senior Attorney-Advisor
                        in the Division of Corporation Finance at the U.S. Securities and
                        Exchange Commission in Washington, D.C.
                        Mr. Belloff holds a J.D. from Quinnipiac University School of Law, a
                        M.A. from New York University, a B.A. from Queens College of the
                        City University of New York, and completed post-graduate studies in
24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59            Main Document
                                       Pg 267 of 270



                         the LL.M. Program in Securities Regulation at Georgetown University
                         Law Center.
Denise Duca              Denise Duca has been Executive Vice President of Human Resources
(Executive Vice          at Acorda since January 2015. She has held leadership positions of
President, Human         increasing responsibility in Acorda’s human resources department
Resources)               since 2002.
                         Ms. Duca received her B.A. in Professional Studies from Pace
                         University, and an M.A. and Master of Education in Psychological
                         Counseling from Teachers College, Columbia University. She has also
                         been a doctoral candidate in the Organization and Leadership
                         Department at Teachers College, Columbia University.
Elizabeth Gorman         Elizabeth Gorman has been with Acorda Therapeutics, Inc. since Fall
(Sr. Vice President,     2013. Ms. Gorman serves as Senior Vice President, Legal Commercial
Legal Commercial         and Compliance Officer. She specializes in health care law and is
and Compliance           responsible for general legal support for the company’s commercial
Officer)                 operations, and other business units, including contract preparation and
                         negotiation, FDA promotion and Fraud and Abuse review, and
                         counseling. Additionally, she leads a team of attorneys, and is also
                         responsible for providing general legal support in other areas of the
                         business as needed. In addition, as Compliance Officer, she is
                         responsible for ensuring the compliant operations of the company.
                         Before joining Acorda, Ms. Gorman was with UCB, Inc., for three years
                         and with Schering-Plough Corporation then Merck for seven years,
                         holding various leadership positions, including Associate General
                         Counsel and Executive Director and Associate General Counsel,
                         respectively. Previously, Ms. Gorman specialized in litigation at Dewey
                         Leboeuf.
                         Ms. Gorman graduated magna cum laude from Seton Hall University
                         and earned her J.D. summa cum laude from Seton Hall University
                         School of Law. She is admitted to the State Bars of New York, New
                         Jersey, and the District of Columbia, as well as the United States Courts
                         of Appeals for the Second and Third Circuits, the United States District
                         Court for the Southern and Eastern Districts of New York and the
                         United States District Court for the District of New Jersey.
Susan Way                Susan Way has served as the Senior Vice President of Drug
(Sr. Vice President,     Development and Regulatory Affairs at Acorda Therapeutics, Inc. since
Drug Development &       2022. She is responsible for managing relationships with regulatory
Regulatory Affairs)      bodies, ensuring compliance with laws and regulations, interpreting
                         new legal mandates for organizational impact, and guiding policy and
                         procedure updates. Additionally, she oversees new product
                         development from ideation to market launch, including the
                         management of the product life cycle and the creation of design briefs
                         for strategic product initiatives. Dr. Way joined Acorda Therapeutics,
24-22284-dsj   Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                     Pg 268 of 270



                       Inc. in August 2008, initially holding positions as Vice President of
                       Program Management and later as Vice President of Regulatory Affairs
                       and Pharmaceutical and Device Development. Before her tenure at
                       Acorda, Dr. Way was employed at Boehringer Ingelheim
                       Pharmaceuticals from 1994 to 2008, where she progressed from a
                       Senior Principal Scientist to Senior Associate Director of R&D Project
                       Management.

                       Dr. Way holds a PhD in Pharmaceutical Sciences from the University
                       of Kentucky College of Pharmacy.
 24-22284-dsj     Doc 7     Filed 04/02/24 Entered 04/02/24 00:10:59          Main Document
                                        Pg 269 of 270



                                           Exhibit M
                                   Estimated Weekly Payroll
Pursuant to Local Rule 1007-2(b)(1)-(2)(A) and (C), the following provides the estimated amount
of weekly payroll to the Debtors’ employees (exclusive of officers, directors, and stockholders),
the estimated amount to be paid to officers, stockholders, directors, and the estimated amount to
be paid for services of financial and business consultants retained by the Debtors for the 30-day
period following the Petition Date.

 Payments                                        Payment Amount

 Payments to employees (not including officers, $410,000 per week
 directors, and stockholders)
 Payments to officers, directors, and            $55,000 per week
 stockholders
 Payments to financial and business consultants $1,000,000
 retained by the Debtors
    24-22284-dsj        Doc 7      Filed 04/02/24 Entered 04/02/24 00:10:59         Main Document
                                               Pg 270 of 270



                                                     Exhibit N
                                 Cash Receipts and Disbursements,
                      Net Cash Gain or Loss, Unpaid Obligations and Receivables
Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30- day period following the
Petition Date, the estimated cash receipts and disbursements, net cash gain or loss, and obligations
and receivables expected to accrue that remain unpaid, other than professional fees.
    Type                                                             Amount
    Cash Receipts                                                    $9,137,697
    Cash Disbursement                                                $(3,348,175)
    Net Cash Flow                                                    $5,789,522
    Unpaid Obligations (excluding professional fees)                 $22,164,7626
    Unpaid Receivables (excluding professional fees)                 $11,425,541




6
    Includes accrued payables, accrued expenses and gross-to-nets.
